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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLORADO

 Civil Action No. ____________________


 BOULDER VALLEY SCHOOL DISTRICT,

       Plaintiff,

 v.                                                  JURY TRIAL DEMANDED

 JUUL LABS, INC.,
 ALTRIA GROUP, INC.,
 ALTRIA CLIENT SERVICES, LLC,
 ALTRIA GROUP DISTRIBUTION COMPANY,
 ALTRIA ENTERPRISES, LLC,
 JAMES MONSEES,
 ADAM BOWEN,
 NICHOLAS PRITZKER,
 HOYOUNG HUH, and
 RIAZ VALANI,

       Defendants.



                                         COMPLAINT
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                                        I.      INTRODUCTION

         1.     The battle to end nicotine addiction and its associated diseases and death has consumed

 our nation’s public health resources for more than half a century. After five decades of tireless efforts

 by public health advocates, litigators, and regulators, the war on tobacco was on the path to victory. By

 2014, rates of smoking and nicotine addiction in this country were finally at an all-time low,

 particularly among teenagers. Until now. The United States, closer than ever to consigning the nicotine

 industry to the dustbin of history, now faces a youth nicotine epidemic of historic proportions.

         2.     JUUL products are rampant in the nation’s schools, with the percentage of 12th graders

 who reported consuming nicotine almost doubling between 2017 and 2018. In 2019, more than five

 million middle and high school students reported current use of e-cigarettes, including more than one

 in every four high schoolers. Consistent with this national trend, youth in the Boulder Valley School

 District (“BVSD” or “Plaintiff”) are using e-cigarettes at high rates—rates which continue to climb. In

 2017, 36 % (thirty-six percent) of high school students in BVSD had used e-cigarettes in the 30 days

 prior to the survey.1 The Surgeon General has warned that this new “epidemic of youth e-cigarette use”

 could condemn a generation to “a lifetime of nicotine addiction and associated health risks.” The swift

 rise in a new generation of nicotine addicts has overwhelmed parents, schools, and the medical

 community (including county public health departments) on the front lines dealing with this crisis,

 drawing governmental intervention at nearly every level—but it’s too little, too late.

         3.     This public health crisis is no accident. What had been lauded as progress in curbing

 cigarette use, JUUL Labs Inc.’s (JLI) co-founders Adam Bowen and James Monsees viewed as

 opportunity. Seizing on the decline in cigarette consumption and the lax regulatory environment for e-

 cigarettes, Bowen, Monsees, and investors in their company sought to introduce nicotine to a whole

 new generation, with JLI as the dominant supplier. To achieve that common purpose, they knew they


 1
     2017 HEALTHY KIDS COLORADO SURVEY RESULTS, High School Summary Tables -
     Weighted Data, Table 74, Region 16.

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 would need to create and market a product that would make nicotine cool again, without any of the

 stigma associated with cigarettes. With help from their early investors and board members, who

 include Nicolas Pritzker, Huyoung Huh, and Riaz Valani (together, the “Management Defendants”),

 they succeeded in hooking millions of youth, and, of course, earning billions of dollars in profits.

        4.      Every step of the way, JLI, by calculated intention, adopted the cigarette industry’s

 playbook, in coordination with one of that industry’s innovators, cigarette giant Altria. JLI was created

 in the image of the iconic American cigarette companies, which JLI founders praised for creating “the

 most successful consumer product of all time. . . . an amazing product.” The secret to that “amazing

 product”? Nicotine, a chemical that has deleterious effects on developing young brains, is the

 fundamental reason that people persist in using tobacco products even though they can cause

 pulmonary injuries, cardiovascular disease and other serious, often fatal, conditions. Through careful

 study of decades of cigarette industry documents, JLI knew that the key to developing and sustaining

 addiction was the amount and the efficiency of the nicotine delivery.

        5.      Three tactics were central to decades of cigarette industry market dominance: product

 design to maximize addiction; mass deception; and targeting of youth. JLI and its co-conspirators

 adopted and mastered them all. First, JLI and Bowen designed JUUL products to create and sustain

 addiction, not break it. JLI and Bowen were the first to design an e-cigarette that could compete with

 combustible cigarettes on the speed and strength of nicotine delivery. Indeed, JUUL products use

 nicotine formulas and delivery methods much stronger than combustible cigarettes, confirming that

 what JLI and Bowen designed was a starter product designed for youth, not a cessation or cigarette

 replacement product. JLI and Bowen also innovated by making an e-cigarette that was smooth and

 easy to inhale, practically eliminating the harsh “throat hit,” which otherwise deters nicotine

 consumption, especially among nicotine “learners,” as R.J. Reynolds’ chemist Claude Teague called

 new addicts, primarily young people.



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        6.      Second, JLI and the Management Defendants, just like cigarette companies before them,

 targeted kids as their customer base. One of JLI’s “key needs” was the need to “own the ‘cool kid’

 equity.” JUUL products were designed to appear slick and high-tech like a cool gadget, including

 video-game-like features like “party mode.” JLI offered kid-friendly flavors like mango and cool mint,

 and partnered with Altria to create and preserve the market for mint-flavored products—all because

 Defendants knew that flavors get young people hooked. Under the guise of youth smoking prevention,

 JLI sent representatives directly to schools to study teenager e-cigarette preferences.

        7.      Third, JLI, the Management Defendants and Altria engaged in a campaign of deceit,

 through sophisticated mass media and social media communications, advertisements and otherwise,

 about the purpose and dangers of JUUL products. JUUL products’ packaging and advertising grossly

 understates the nicotine content in its products. Advertising campaigns featured JUUL paired with food

 and coffee, positioning JUUL as part of a healthy meal, a normal part of a daily routine, and as safe as

 caffeine. In partnership with Altria, JLI adopted a “Make the Switch” campaign to mislead the public

 into thinking that JLI products were benign smoking cessation devices, even though JUUL was never

 designed to break addictions. JLI, the Management Defendants, and Altria also concealed the results of

 studies that revealed that JUUL products were far more powerfully addictive than was disclosed. JLI’s

 deceptive marketing scheme was carried out across the country through broad distribution channels:

 veteran cigarette industry wholesalers, distributors and retailers ensured that JUUL products would

 become widely available to a new market of nicotine-newcomers, especially youth. JLI and the

 Management Defendants joined with these veteran cigarette industry marketers to secure premium

 shelf space for vivid displays at convenience stores, like 7-11, and gas stations, including Chevron, that

 would lure e-cigarette users, particularly young people, who would become long-term customers.

 These marketing efforts have been resounding successes—when JUUL products were climbing in

 sales, most youth—and their parents—believed that e-cigarettes did not contain nicotine at all.



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        8.      JLI and the Management Defendants reached their intended demographic through a

 diabolical pairing of notorious cigarette company advertising techniques (long banned for cigarettes

 because they cause young people to start smoking) with cutting-edge viral marketing campaigns and

 social media. They hired young models and advertised using bright, “fun” themes, including on media

 long barred to the cigarette industry, such as billboards, on children’s websites such as “Nick Junior”

 and Cartoon Network, and on websites providing games and educational tools to students in middle

 school and high school. JLI and the Management Defendants also employed young social media

 “influencers” and celebrities popular with teenagers. When the public, regulators, and Congress caught

 onto JLI’s relentless focus on children, JLI and the Management Defendants simply lied, even though

 they knew well that they had purposefully targeted youth in their marketing and those efforts had been

 breathtakingly successful.

        9.      It should come as little surprise that JLI and the Management Defendants’ misconduct,

 expressly patterned after decades of cigarette company practices, could not have been carried out

 without the involvement and expertise of an actual cigarette company. In December 2018, Altria paid

 $12.8 billion to acquire a 35% stake in JLI. But even well before Altria announced its investment in

 JLI, the connections between the two companies ran deep. JLI and Altria collaborated to grow the

 e-cigarette market and the number of users addicted to nicotine, including by sharing data and

 information and coordinating marketing activities, including acquisition of key shelf space next to

 top-selling Marlboro cigarettes. Altria’s investment in JLI is not merely a financial proposition, but a

 key element of Defendants’ plan to stave off regulation and public outcry and keep their most potent

 and popular products on the market. JLI has benefitted from Altria’s expertise in designing and

 marketing addictive products, and in thwarting regulation.

        10.     There is no doubt about it—JLI, the Management Defendants, Altria, and their co-

 Defendants have created this youth public health crisis. At the heart of this disastrous epidemic are the

 concerted efforts of JLI, its co-conspirators, and all those in JUUL’s supply and distribution chain to

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 continuously expand their market share and profits by preying upon a vulnerable young population and

 deceiving the public about the true nature of the products they were selling. Nicotine is not benign like

 coffee, contrary to what many JUUL users believe. Nor is the aerosol as harmless as puffing room air.

 Worse, the flavors in JUUL products are themselves toxic and dangerous, and have never been

 adequately tested to ensure they are safe for inhalation. According to the most recent scientific

 literature, JUUL products cause acute and chronic pulmonary injuries, cardiovascular conditions, and

 seizures. Yet JUUL products and advertising contain no health risk warnings at all. And a generation

 of kids is now hooked, ensuring long-term survival of the nicotine industry because, today just as in

 the 1950s, 90% of smokers start as children.

                                  II.     JURISDICTION AND VENUE

        11.     This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. § 1331

 because Plaintiff’s racketeering claim arises under the laws of the United States, 18 U.S.C. § 1961 et

 seq., and pursuant to 28 U.S.C. § 1332(a) because: (i) the amount in controversy exceeds $75,000,

 exclusive of interests and costs, and (ii) the plaintiff and defendants are citizens of different states. This

 Court has supplemental jurisdiction over the state law claims pursuant to 28 U.S.C. § 1367.

        12.     The Court has personal jurisdiction over Defendants because they do business in the

 District of Colorado and have sufficient minimum contacts with the District. Defendants intentionally

 avail themselves of the markets in this State through the promotion, marketing, and sale of the products

 at issue in this lawsuit in Colorado, and by retaining the profits and proceeds from these activities, to

 render the exercise of jurisdiction by this Court permissible under Colorado law and the U.S.

 Constitution. The Court also has personal jurisdiction over JLI, the Management Defendants, and

 Altria under 18 U.S.C. § 1965, because at least one of these Defendants has sufficient minimum

 contacts with the District.

        13.     Venue is proper in the District of Colorado pursuant to 28 U.S.C. § 1391 (b)(2) and (3)

 because a substantial part of the events or omissions giving rise to the claims at issue in this Complaint

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 arose in this District and Defendants are subject to the Court’s personal jurisdiction with respect to this

 action.

                                             III.    PARTIES

 Plaintiff

           14.   Plaintiff Boulder Valley School District (“BVSD”) includes 56 schools serving over

 31,000 students. BVSD’s mission includes ensuring its students receive a challenging, meaningful, and

 engaging educational opportunities so that all children thrive and are prepared for successful, civically

 engaged lives. The school district covers more than 500 square miles and 11 communities. Plaintiff’s

 administrative offices are located on East Arapahoe Road in Boulder, Boulder County, Colorado.

 JUUL Labs, Inc.

           15.   Defendant JUUL Labs, Inc. (“JLI”) is a Delaware corporation, having its principal place

 of business in San Francisco, California. Ploom, Inc., a predecessor company to JLI, was incorporated

 in Delaware on March 12, 2007. In 2015, Ploom, Inc. changed its name to PAX Labs, Inc. In April

 2017, PAX Labs, Inc. changed its name to JUUL Labs, Inc., and formed a new subsidiary corporation

 with its old name, PAX Labs, Inc. That new subsidiary, PAX Labs, Inc. (“PAX”), was incorporated in

 Delaware on April 21, 2017 and has its principal place of business in San Francisco, California.

           16.   JUUL, designs, manufactures, sells, markets, advertises, promotes and distributes JUUL

 e-cigarettes devices, JUUL pods and accessories (collectively “JUUL” or “JUUL products”). Prior to

 the formation of separate entities PAX Labs, Inc. and JLI in or around April 2017, JUUL designed,

 manufactured, sold, marketed, advertised, promoted, and distributed JUUL under the name PAX Labs,

 Inc.

           17.   Together with its predecessors, JUUL Labs, Inc. is referred to herein as “JLI.”

 Altria Defendants

           18.   Defendant Altria Group Inc., (together with its wholly owned subsidiaries and their

 predecessors, “Altria” or the “Altria Defendants”) is a Virginia corporation, having its principal place

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 of business in Richmond, Virginia. Altria is one of the world’s largest producers and marketers of

 tobacco products, manufacturing and selling combustible cigarettes for more than a century.

        19.     On December 20, 2018, Altria purchased a 35% stake in JLI. Altria and JLI executed a

 Services Agreement that provides that Altria, through its subsidiaries, Philip Morris, Altria Client

 Services LLC, and Altria Group Distribution Company, would assist JLI in the selling, marketing,

 promoting, and distributing of JUUL, among other things.

        20.     Defendant Altria Client Services LLC (“Altria Client Services” or “ACS”) is a Virginia

 limited liability company with its principal place of business in Richmond, Virginia. Altria Client

 Services provides Altria Group, Inc. and its companies with services in many areas including digital

 marketing, packaging design & innovation, product development, and safety, health, and

 environmental affairs. Pursuant to Altria’s Relationship Agreement with JLI, Altria Client Services

 assists JLI in the sale, marketing, promotion and distribution of JUUL products.2 Such services include

 database support, direct marketing support, and premarket product application support.3 On September

 25, 2019, the former senior vice president and chief growth officer of Altria Client Services, K.C.

 Crosthwaite, became the new chief executive officer of JLI.

        21.     Defendant Altria Group Distribution Company (“AGDC”) is a Virginia corporation and

 wholly owned subsidiary of Altria Group, Inc. with its principal place of business in Richmond,

 Virginia. Altria Group Distribution Company provides sales, distribution and consumer engagement

 services to Altria’s tobacco companies. Altria Group Distribution Company performs services under

 the Relationship Agreement to assist JLI in the sale, marketing, promotion and distribution of JLI.

 Such services include JUUL-distribution support, the removal by Altria Group Distribution Company




 2
   Altria Group, Inc., Relationship Agreement by and among JUUL Labs, Inc., Altria Group, Inc., and
   Altria Enterprises LLC (“Relationship Agreement”) (Form 8-K), Ex. 2.2 (Dec. 20, 2018),
   https://www.sec.gov/Archives/edgar/data/764180/000119312518353970/d660871dex22.htm.
 3
   Id.

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 of Nu Mark products (such as Green Smoke or MarkTen) and fixtures in retail stores and replacing

 them with JUUL products and fixtures, and sales support services.

        22.     Defendant Altria Enterprises LLC (“Altria Enterprises”) is a wholly owned subsidiary

 of Altria Group, Inc. Altria Enterprises is a Virginia limited liability company with its principal place

 of business in Richmond, Virginia. Altria Enterprises is a party to the purchase agreement between

 Altria Group, Inc. and JLI. Altria Enterprises purchased Altria’s stake in JLI on Altria’s behalf.

 Collectively, Altria Group, Inc. and its subsidiaries named above will be referred to herein as “Altria.”

 Upon information and belief, Altria conducted meetings, interviews and inspections at the JLI facilities

 in San Francisco and engaged in frequent communications regarding JUUL with JLI in California and

 elsewhere prior to, during, and subsequent to its stock purchase.

 Management Defendants

        23.     Defendant James Monsees is a resident of the San Francisco Bay area, California. In

 2007, he co-founded Ploom with Defendant Bowen. He served as Chief Executive Officer of JLI until

 October 2015. Since October 2015, he has been Chief Product Officer of JLI. At all relevant times, he

 has been a member of the Board of Directors of JLI until he stepped down in March 2020.

        24.     Defendant Adam Bowen is a resident of the San Francisco Bay area, California. In

 2007, he co-founded Ploom with Defendant Monsees. At all relevant times, he has been Chief

 Technology Officer and a member of the Board of Directors of JLI.

        25.     Defendant Nicholas Pritzker is a resident of San Francisco, California, and a member of

 the Pritzker family, which owned the chewing-tobacco giant Conwood before selling it to Reynolds

 American, Inc., a subsidiary of British American Tobacco. Pritzker received a J.D. from the University

 of Chicago. He served as president of the Hyatt Hotels Corporation and was a member of its Board of

 Directors from 1980 to 2007. More recently, he co-founded Tao Capital, an early investor in, among




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 other companies, Tesla Motors and Uber. In 2007, he invested in JLI.4 He has been on the Board of

 Directors of JLI since at least June 2014.5 At least from October 2015 to August 2016, he was on the

 Executive Committee in the Board of Directors. As of November 2017, he controlled two Board seats

 (the second of which was occupied by Hoyoung Huh, discussed next).6

        26.    Defendant Hoyoung Huh lives and works in the Silicon Valley area, California. He

 holds an M.D. from Cornell and a Ph.D. in Genetics/Cell Biology from Cornell/Sloan-Kettering. He

 has been CEO or a Board member of numerous biotechnology businesses, including Geron

 Corporation. Huh has been on the Board of Directors of JLI since at least June 2015. At least from

 October 2015 to August 2016, he was on the Executive Committee in the Board of Directors. As of

 November 2017, he served as Pritzker’s second seat on the JLI Board.7

        27.    Defendant Riaz Valani lives near San Jose, California and is a general partner at Global

 Asset Capital, a San Francisco-based private equity investment firm. He has been on the Board of

 Directors of JLI since at least May 2011.8 At least from October 2015 to August 2016, he was on the

 Executive Committee in the Board of Directors. As of November 2017, he controlled two JLI Board

 seats, the second of which was occupied by Zach Frankel.9

        28.    Defendants Monsees, Bowen, Pritzker, Huh, and Valani are referred to collectively as

 the “Management Defendants.”

        29.    Defendants JLI, the Altria Defendants, Monsees, Bowen, Pritzker, Huh, and Valani are

 referred to collectively as the “RICO Defendants.”


 4
   Ainsley Harris, How JUUL went from a Stanford thesis to $16 billion startup, Fast Co. (Mar. 8,
   2020),        https://www.fastcompany.com/90263212/how-JUUL-went-from-a-stanford-thesis-to-16-
   billion-startup.
 5
   INREJUUL_00371187.
 6
   INREJUUL_00327603.
 7
   Id.
 8
     Ploom, Inc., Notice of Exempt Offering of Securities (Form D) (May 5, 2011),
   https://www.sec.gov/Archives/edgar/data/1520049/000152004911000001/xslFormDX01/primary_do
   c.xml.
 9
   INREJUUL_00327603.

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                            IV.     GENERAL FACTUAL ALLEGATIONS

 A.     Each Defendant Was Instrumental in Seeking to Develop and Market the Blockbuster
        Sequel to Combustible Cigarettes, the “Most Successful Consumer Product of All Time.”

        30.     JLI’s co-founder James Monsees has described the cigarette as “the most successful

 consumer product of all time . . . an amazing product.”10 This statement, which ignores the fact that

 cigarettes have caused more deaths than any other human invention, contained a kernel of truth. When

 U.S. smoking rates peaked in the mid-1960s, 42% of adults smoked cigarettes. Cigarettes were

 everywhere; people smoked on airplanes, in movie theatres, at the office, and at sports games. Movie

 stars and sports heroes smoked. Cigarette advertising wallpapered American life, glamorizing smoking

 as sophisticated, cool, and the thing to do.

        31.     But in reality, of course, this “successful” product has long been the world’s leading

 cause of preventable death.

        32.     Years of anti-smoking campaigns, including work by local government public health

 departments and school-based anti-tobacco programs, have made great strides towards de-normalizing

 cigarette smoking. But where public health officials and schools saw progress, others saw an

 opportunity.

        33.     Citing “some problems” inherent in the cigarette, Monsees and JLI co-founder Adam

 Bowen set out to “deliver[] solutions that refresh the magic and luxury of the tobacco category.”11

 Monsees saw “a huge opportunity for products that speak directly to those consumers who aren’t

 perfectly aligned with traditional tobacco products.”12 Successfully capitalizing on this opportunity

 would mean not only billions of dollars in short-term revenue but lucrative acquisition by a cigarette

 industry power player.

 10
     Kathleen Chaykowski, Billionaires-to-be: Cigarette Breakers–James Monsees and Adam Bowen
   Have Cornered the US E-Cigarette Market with Juul. Up Next: The World, FORBES INDIA (Sept. 27,
   2018), www.forbesindia.com/article/leaderboard/billionairestobe-cigarette-breakers/51425/1.
 11
    Josh Mings, Ploom Model Two Slays Smoking With Slick Design and Heated Tobacco Pods, SOLID
   SMACK (Apr. 23, 2014), www.solidsmack.com/design/ploom-modeltwo-slick-design-tobacco-pods.
 12
    Id.

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        34.     Bowen and Monsees took the first major step toward realizing their vision by

 deliberately creating an extremely potent nicotine product that looked nothing like a cigarette. But

 achieving widespread adoption of their highly addictive product required resources and expertise

 beyond those possessed by Bowen, Monsees or others at JLI.

        35.     When it became clear that Bowen and Monsees could not themselves achieve their

 vision of growing the number of nicotine-addicted e-cigarette users to ensure a base of customers for

 life, the Management Defendants planned a fundamental shift in roles to allow Pritzker, Huh, and

 Valani to direct and take control of JLI and use it to commit the Defendants’ unlawful acts.

        36.     Specifically, in October 2015, Monsees stepped down from his role as Chief Executive

 Officer of JLI (to become Chief Product Officer) and, in his stead, Pritzker, Huh, and Valani formed an

 Executive Committee of the JLI Board of Directors that would take charge of fraudulently marketing

 JUUL products, including to youth.

        37.     Prior to the installation of Tyler Goldman as JLI’s new CEO in August 2016,

 Defendants Pritzker, Huh, and Valani used their newly formed Executive Committee to expand the

 number of addicted e-cigarette users through fraudulent advertising and representations to the public,

 and specifically to minors. They cleaned house at JLI by “dismiss[ing] other senior leaders and

 effectively tak[ing] over the company.”13 Once their leadership was secure, defendants Huh, Pritzker,

 and Valani pressed for even “more aggressive rollout and [marketing].”14

        38.     But the Management Defendants knew that their desire to create a massive new market

 for JUUL on their own would be aided if they could convert Altria, an experienced cigarette company

 with a history of marketing to youth and covering it up, into an ally. They turned to Altria in the Spring

 of 2017. While Defendants JLI, Bowen, Monsees, Huh, and Valani are relative newcomers to the

 tobacco industry, Altria has been manufacturing and selling “combustible” cigarettes for more than a
 13
    Julie Creswell & Sheila Kaplan, How Juul Hooked a Generation on Nicotine, N.Y. TIMES (Nov. 23,
   2019), https://www.nytimes.com/2019/11/23/health/juul-vaping-crisis.html.
 14
    INREJUUL_00278359.

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 century. And Defendant Pritzker, for his part, has been long familiar with the tobacco industry from his

 family’s ownership of chewing-tobacco giant, Conwood, before selling it to Reynolds American, Inc.,

 a subsidiary of British American Tobacco. Notwithstanding their different histories, JLI and the

 Management Defendants, for their part, invited Altria into the fold as an ally with ample resources to

 further expand the market of nicotine-addicted e-cigarette users and to keep litigation and regulation at

 bay. While JLI, Monsees, and Bowen publicly claimed to be out to “disrupt” the industry, they and the

 other Management Defendants privately negotiated and ultimately relinquished a 35% ownership stake

 in the company to a cigarette giant.

        39.     Cigarette companies have long known that profitable growth requires a pipeline of

 “replacement” customers. Altria, after decades of tobacco litigation and regulation, had little ability to

 recruit new smokers in the ways that had driven Philip Morris’s success through most of the 1900s. In

 2017, Altria’s combustible cigarette products were facing increasing regulatory pressures. In late July

 2017, Altria’s stock value plummeted shortly after the FDA announced that it would reduce the

 amount of nicotine allowed in cigarettes with an eye toward reaching non-addictive levels.15 In late

 2017, Altria, and other major cigarette companies, also finally complied with a consent decree from the

 1990s tobacco litigation that required them to issue corrective advertising statements that highlighted

 the addictiveness and health impacts of smoking cigarettes.16

        40.     Due in large part to this litigation and regulation, cigarette use has been declining in the

 United States in the last decade, especially among youth.17 Altria estimates that the cigarette industry


 15
    See Dan Caplinger, Altria Group in 2017: The Year in Review, THE MOTLEY FOOL (Dec. 18, 2017),
   https://www.fool.com/investing/2017/12/18/altria-group-in-2017-the-year-in-review.aspx.
 16
    Chuck Stanley, Tobacco Cos. Settle Long-Running Health Warning Dispute, LAW360 (Apr. 25,
   2018,     https://www.law360.com/articles/1037281/tobacco-cos-settle-long-running-health-warning-
   dispute.
 17
        Current    Cigarette   Smoking     Among      Adults     In    the  United    States, CDC,
   https://www.cdc.gov/tobacco/data_statistics/fact_sheets/adult_data/cig_smoking/index.htm     (last
   visited       May        5,     2020);        Youth       and        Tobacco       Use,    CDC,
   https://www.cdc.gov/tobacco/data_statistics/fact_sheets/youth_data/tobacco_use/index.htm     (last
   visited May 5, 2020).

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 declined by 4% in 2017 and by 4.5% in 2018, and it predicted a continued 4% to 5% decline in the

 average annual U.S. cigarette industry volume for 2019 through 2023.18 Altria later adjusted the

 estimated rate of decline to 4% to 6%, to reflect efforts to increase the legal age for cigarette smoking

 to 21.19

            41.   Altria had undertaken its own efforts at marketing an e-cigarette product. Altria had

 launched the MarkTen product nationwide in 2014 with an aggressive marketing campaign, eclipsing

 the advertising expenditures for the market leader at that time, blu e-cigarettes.20 Of the $88.1 million

 spent on e-cigarette advertising in 2014, nearly 40% of that was Altria’s MarkTen campaign, at $35

 million.21

            42.   Altria was clear in its intent to dominate the e-cigarette market as it has the combustible

 cigarette market: “We are the market leader today and we will continue to be,” then-CEO Marty

 Barrington told investors at the time of MarkTen’s launch.22 The original MarkTen was a “cigalike,”

 designed to mimic the look and feel of a combustible cigarette.

            43.   Altria had also been acquiring small companies in the e-cigarette industry, starting in

 2014 with Green Smoke, Inc., whose e-cigarettes were also the “cigalike” style, and were sold in

 flavors including “Vanilla Dreams” and “Smooth Chocolate.”23 In 2016, Altria acquired a product


 18
       Altria’s Fourth-Quarter 2018 Earnings Conference Call, Altria (Jan. 31, 2019),
   http://investor.altria.com/Cache/1001247877.PDF?O=PDF&T=&Y=&D=&FID=1001247877&iid=4
   087349.
 19
     Altria Shares Slide As Cigarette Sales Continue to Decline, Tobacco Bus. (July 31, 2019),
   https://tobaccobusiness.com/altria-shares-slide-as-cigarette-sales-continue-to-decline/.
 20
     Jennifer Cantrell et al., Rapid increase in e-cigarette advertising spending as Altria’s MarkTen
   enters       the       marketplace,    25       Tobacco       Control       e125      (10)  (2015),
   http://dx.doi.org/10.1136/tobaccocontrol-2015-052532.
 21
    Id.
 22
    Melissa Kress, MarkTen National Rollout Hits 60,000 Stores, CONVENIENCE STORE NEWS (July 22,
   2014), https://csnews.com/markten-national-rollout-hits-60000-stores.
 23
     Mike Esterl, Altria To Launch MarkTen E-Cigarette Nationally, WALL ST. J. (Feb. 19, 2014),
   https://www.wsj.com/articles/altria-to-launch-markten-e-cigarette-nationally-1392832378; Senator
   Richard J. Durbin et al., Gateway to Addiction? A Survey of Popular Electronic Cigarette
   Manufacturers and Targeted Marketing to Youth at 12 (Apr. 14, 2014),
   https://www.durbin.senate.gov/imo/media/doc/Report%20-%20E-Cigarettes%20with%20Cover.pdf.

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 called Cync, from Vape Forward.24 Cync is a small e-cigarette device that uses prefilled pods in a

 variety of flavors, similar to the JUUL.

        44.     In February 2017, Altria told investors at the 2017 Consumer Analyst Group of New

 York (CAGNY) Conference that over the past year, “Nu Mark LLC (Nu Mark) made excellent

 progress toward its long-term aspiration of becoming a leader in e-vapor.”25 In his remarks, Altria’s

 current CEO, Howard A. Willard III, said, “Nu Mark, our e-vapor company, had a very strong year. It

 made excellent progress toward establishing MarkTen as a leading brand in the category, continued to

 improve its supply chain, and took the necessary steps to comply with the deeming regulations.” He

 noted, however, that the estimated “total 2016 e-vapor consumer spending was roughly flat compared

 to the prior year at approximately $2.5 billion.”26 In 2017, Altria’s MarkTen e-cigarettes had a market

 share of only 13.7%, well behind JLI’s growing market share of 40%.27 Thus, despite its public

 statements to the contrary, Altria knew the popularity of JUUL stood in the way of Altria becoming the

 dominant force in the e-cigarette market.

        45.     With smoking on the decline, litigation and regulatory controls were ramping up and

 threatening Altria’s ability to attract new smokers, and JUUL outperforming Altria’s products in the

 market, Altria’s best bet for maintaining its sales by increasing the number of users, and especially

 minors, addicted to nicotine was to partner with JLI (1) to maintain or increase the number of users,

 and especially minors, hooked on JUUL; and (2) to delay and prevent regulation that could interfere

 with this first scheme.
 24
     Remarks by Jody Begley, 2017 Altria Investor Day (Nov. 2, 2017), http://media.corporate-
   ir.net/media_files/IROL/80/80855/2017InvestorDay/Remarks_and_Reconciliations.pdf.
 25
    Remarks by Marty Barrington, Altria Group, Inc.’s (Altria) Chairman, CEO and President, and other
   members of Altria’s senior management team 2017 Consumer Analyst Group of New York
   (CAGNY),           (2017),       http://investor.altria.com/Cache/IRCache/1ac8e46a-7eb4-5df2-843d-
   06673f29b6b0.PDF?O=PDF&T=&Y=&D=&FID=1ac8e46a-7eb4-5df2-843d-
   06673f29b6b0&iid=4087349.
 26
    Id.
 27
    Richard Craver, Vuse falls further behind Juul on e-cig sales, WINSTON-SALEM JOURNAL (Dec. 14,
   2017),                 https://www.journalnow.com/business/vuse-falls-further-behind-juul-on-e-cig-
   sales/article_ed14c6bc-5421-5806-9d32-bba0e8f86571.html.

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        46.     For those reasons and others, Altria began coordinating with JLI and the Management

 Defendants in the Spring of 2017. Before then, Altria and JLI were members of at least one industry

 group that shared information and coordinated public statements regarding the e-cigarette market,28

 and Ploom’s advisory committee included Altria’s former growth officer. In Altria’s words, the

 company followed “JUUL’s journey rather closely” from its early beginnings.29

        47.     According to Howard Willard, Altria’s CEO, Altria first contacted JLI about a

 commercial relationship in early 2017, with “confidential discussions” beginning in the Spring of

 2017.30 JLI’s pitch deck to investors at the time boasted that “Viral Marketing Wins,” and that JUUL’s

 super potent nicotine formulation was “cornering” the consumables market with the highest customer

 retention rate, i.e. addiction rate, of any e-cigarette.31

        48.     JLI and Altria’s “confidential discussions” occurred “over a period of approximately 18

 months.”32 Pritzker and Valani, together with Burns, were the lead negotiators on the Altria deal. On

 July 30, 2018, in advance of a meeting between the lead negotiators from JLI and Altria, Pritzker

 emailed Howard Willard an opening term sheet for discussions, and made clear that an end to

 competition from Altria’s e-cigarette products was a key term of any deal. On August 1, 2018, the

 companies’ negotiators met at the Park Hyatt Hotel in Washington, D.C., to discuss terms. Pritzker,

 Valani, and Burns attended for JLI. Willard and Billy Gifford, Altria’s CFO, attended for Altria. By

 the Fall of 2017, JLI, the Management Defendants, and Altria had agreed to and had taken coordinated

 actions to maintain and expand the number of nicotine-addicted e-cigarette users in order to ensure a

 steady and growing customer base.



 28
    INREJUUL_00278740.
 29
    Olivia Zaleski & Ellen Huet, Juul Expects Skyrocketing Sales of $3.4 Billion, Despite Flavored Vape
   Restrictions, BLOOMBERG (Feb. 22, 2019), https://www.bloomberg.com/news/articles/2019-02-
   22/juul-expects-skyrocketing-sales-of-3-4-billion-despite-flavored-vape-ban.
 30
    Altria’s October 14, 2019 letter to Senator Durbin, et. al., by Howard Willard III (2019).
 31
    INREJUUL_00349529.
 32
    Id.

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        49.     During the roughly 18-month negotiating period, it was JLI (through its executives and

 employees—including Tyler Goldman and his successors) and Altria (through its executives and

 employees) that primarily directed and conducted fraudulent acts designed to grow the market of youth

 nicotine-addicted e-cigarette users, although Bowen, Monsees, Pritzker, Huh, and Valani remained

 critical to the success of these efforts. Without their control of the JLI Board of Directors and prior

 fraudulent conduct, the close coordination between JLI and Altria, and Altria’s investment in JLI,

 would not have been possible.

        50.     In December 2018, Altria decided to take the next step in its coordination with JLI and

 the Management Defendants by making a $12.8 billion equity investment in JLI, the largest equity

 investment in United States history. This arrangement was profitable for both companies, as well as

 Defendants Monsees, Bowen, Prtizker, Huh, and Valani. JLI employees received $2 billion in bonuses,

 which, split among the Company’s 1,500 employees, was approximately $1.3 million per employee,33

 and Altria received millions of loyal teen customers. In deciding to make a huge investment in JUUL,

 Altria took into account that the e-cigarette industry would see significant year-over-year growth in the

 near term, and that “JUUL continu[es] to be a growth driver for the e-vapor category.”34

        51.     In July 2018, JLI’s valuation was approximately $15 billion.35 But, in December 2018,

 Altria’s investment of $12.8 billion for a 35% stake in the company reflected a valuation of

 approximately $38 billion—more than two and a half times the valuation just five months earlier.

 Defendants Monsees, Bowen, Pritzker, Huh, and Valani thus saw the value of their investments in JLI




 33
    Olivia Zaleski, Juul Employees to Get $2 Billion Bonus in Altria Deal, BLOOMBERG (Dec. 20, 2018),
   https://www.bloomberg.com/news/articles/2018-12-20/juul-employees-said-to-get-2-billion-bonus-
   in-altria-deal.
 34
    Altria’s October 14, 2019 letter to Senator Durbin, et. al., by Howard Willard III (2019).
 35
    Rachel Becker, Why Is Juul Worth $16 Billion? It’s More Like a Cigarette Than You Think, THE
   VERGE (Jul. 3, 2018), https://www.theverge.com/2018/7/3/17529442/juul-vapes-nicotine-electronic-
   cigarettes-addiction-funding.

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 skyrocket as a result of the Altria agreement, allowing them to cash out via a special dividend and

 bonus, as well as through stock sales that were not available to other of JLI’s minority shareholders.36

        52.     This investment further intertwined JLI and Altria. According to the terms of its

 investment, Altria may appoint one third of JLI’s board. And in October 2019, JLI’s CEO resigned to

 be replaced by another career Altria executive, K.C. Crosthwaite. The key JLI negotiators of the Altria

 deal (including Pritzker and Valani), and other officers and directors including Bowen, Monsees, and

 Huh, would have been instrumental in bringing Crosthwaithe on board at JLI. Crosthwaite had most

 recently served as the vice president and chief growth officer of Altria Client Services LLC, overseeing

 the company’s work to assist Altria’s companies, including with digital marketing, packaging design &

 innovation, product development, and safety, health, and environmental affairs. Crosthwaite knows the

 cigarette industry’s playbook all too well, having previously served as the president and CEO of Phillip

 Morris USA, the vice president and general manager at Marlboro—the leading cigarette brand among

 youth—and the vice president of strategy and business development of at Altria Client Services LLC.

        53.     In addition, Joe Murillo, who headed regulatory affairs for Altria, and served as

 President and General Manager of Nu Mark, LLC (Altria’s e-cigarette business), became JLI’s chief

 regulatory officer in October 2019.

        54.     Both before and after Altria’s investment, JLI, through its employees and officers,

 provided Altria with critical information regarding the design and nicotine content of the JUUL

 product, the labeling of the JUUL product, and related topics including advertising, retail distribution,

 online sales, age verification procedures, information on underage user’s flavor preferences, and

 regulatory strategies. Altria, for its part, guided JLI and the Management Defendants in these areas and

 helped them devise and execute schemes to maintain and expand the e-cigarette market.



 36
   Tiffany Kary, JUUL Founders Sued for Self-Dealing Over Altria's $12.8 Billion, BLOOMBERG (Jan.
  13,    2020),      https://www.bloomberg.com/news/articles/2020-01-13/juul-founders-sued-for-self-
  dealing-over-altria-s-12-8-billion.

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        55.       JLI, the Management Defendants, and Altria worked together to implement their shared

 goal of growing a new market in the image of the combustible cigarette market through a multi-

 pronged strategy to: (1) create a highly addictive product that users would not associate with cigarettes

 and that would appeal to the lucrative youth market; (2) deceive the public, and especially young

 people, into thinking the product was a fun and safe alternative to cigarettes that would help smokers

 quit; (3) actively attract young users through targeted marketing, and (4) use a variety of tools,

 including false and deceptive statements to the public and regulators, to delay regulation of e-

 cigarettes. As detailed more fully throughout this Amended Complaint, each of the Defendants played

 a critical role—at times overlapping and varying over time—in each of these strategies.

 B.     Defendants’ Strategy Was to Create a Nicotine Product That Would Maximize Profits
        Through Addiction.

        1.        Defendants Understood that the “Magic” Behind Cigarettes’ Stratospheric
                  Commercial Success Was Nicotine Addiction.

        56.       The first step in replicating the success of combustible cigarettes was to create a product

 that, like combustible cigarettes, was based on getting users addicted to the nicotine in the product.

 Nicotine is an alkaloid, a class of plant-derived nitrogenous compounds that is highly addictive and the

 key ingredient that drives addiction to cigarettes. Nicotine’s addictive properties are similar to heroin

 and cocaine.37

        57.       Route of administration and speed of delivery are key to understanding nicotine’s

 addictive potential. Dr. Neal Benowitz, Scientific Editor of the 1988 Surgeon General’s Report on

 nicotine addiction, wrote: “After a puff, high levels of nicotine reach the brain in 10–20 s[econds],

 faster than with intravenous administration, producing rapid behavioral reinforcement. The rapidity of

 rise in nicotine levels permits the smoker to titrate the level of nicotine and related effects during




 37
   See e.g., U.S. Dep’t of Health and Human Servs., Nicotine Addiction: A Report of the Surgeon
  General, DHHS Publication Number (CDC) 88-8406, (1988).

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 smoking, and makes smoking the most reinforcing and dependence-producing form of nicotine

 administration.”38

        58.     Again, according to Dr. Benowitz, “The rapid rate of delivery of nicotine by smoking

 … results in high levels of nicotine in the central nervous system with little time for development of

 tolerance. The result is a more intense pharmacologic action. The short time interval between puffing

 and nicotine entering the brain also allows the smoker to titrate the dose of nicotine to a desired

 pharmacologic effect [often subconsciously], further reinforcing drug self-administration and

 facilitating the development of addiction.”39

        59.     Nicotine fosters addiction through the brain’s “reward” pathway. Both a stimulant and a

 relaxant, nicotine affects the central nervous system; increases blood pressure, pulse, and metabolic

 rate; constricts blood vessels of the heart and skin; and causes muscle relaxation. Long-term exposure

 to nicotine causes upregulation—an increase in the number of these high-affinity nicotinic receptors in

 the brain. When nicotine binds to these receptors it triggers a series of physiological effects in the user

 that are perceived as a “buzz” that includes pleasure, happiness, arousal, and relaxation of stress and

 anxiety. With regular nicotine use, however, these feelings diminish, and the user must consume

 increasing amounts of nicotine to achieve the same effects.

        60.     Kids are particularly vulnerable to nicotine addiction, as Defendants know well. As

 described by the United States Surgeon General, “Tobacco use is a pediatric epidemic.”40 Nine out of

 ten smokers begin by age 18 and 80% who begin as teens will smoke into adulthood.41




 38
    Neal L. Benowitz et al., Nicotine Chemistry, Metabolism, Kinetics and Biomarkers, 192 HANDB.
   EXP. PHARMACOL. 29 (2010), https://www.ncbi.nlm.nih.gov/pmc/articles/PMC2953858/.
 39
    Id.
 40
    Preventing Tobacco Use Among Youth and Adults, A Report of the Surgeon General (“2012 Surgeon
   General     Report”)   at    539,   U.S.     Dep’t    Health    &     Human     Servs.  (2012),
   https://www.ncbi.nlm.nih.gov/books/NBK99237/pdf/Bookshelf_NBK99237.pdf.
 41
    Preventing Tobacco Use Among Youth and Adults, A Report of the Surgeon General at 1 (2012),
   https://www.hhs.gov/surgeongeneral/reports-and-publications/tobacco/index.html.

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        61.     The above statements apply equally, if not more so, to e-cigarettes. Further, the Surgeon

 General has explained how the nicotine in e-cigarettes affects the developing brain and can addict kids

 more easily than adults: “Until about age 25, the brain is still growing. Each time a new memory is

 created, or a new skill is learned, stronger connections—or synapses—are built between brain cells.

 Young people’s brains build synapses faster than adult brains. Because addiction is a form of learning,

 adolescents can get addicted more easily than adults.”42 The effects of nicotine exposure on the brain

 of youth and young adults include not only addiction, priming for use of other addictive substances,

 but also reduced impulse control, deficits in attention and cognition, and mood disorders.43 A highly

 addictive, psychoactive substance that targets brain areas involved in emotional and cognitive

 processing, nicotine poses a particularly potent threat to the adolescent brain, as it can “derange the

 normal course of brain maturation and have lasting consequences for cognitive ability, mental health,

 and even personality.”44

        62.     In 2014, the United States Surgeon General reported that nicotine addiction is the

 “fundamental reason” that individuals persist in using tobacco products, and this persistent tobacco use

 contributes to millions of needless deaths and many diseases, including diseases that affect the heart

 and blood vessels (cardiovascular disease), lung diseases (chronic obstructive pulmonary disease

 (COPD) and lung cancer), cancer almost anywhere in the body, and birth defects.45




 42
     Know The Risks: E-Cigarettes & Young People (2019), https://e-cigarettes.surgeongeneral.gov/
   knowtherisks.html.
 43
     Menglu Yuan et al., Nicotine and the Adolescent Brain, 593 J. OF PHYSIOLOGY 3397 (2015),
   www.ncbi.nlm.nih.gov/pmc/articles/PMC4560573/; U.S. Surgeon General and U.S. Centers for
   Disease Control & Prevention, Office on Smoking and Health, Know the Risks: E-Cigarettes and
   Young People (2019), https://e-cigarettes.surgeongeneral.gov/.
 44
    Natalia A. Goriounova & Huibert D. Mansvelder, Short- and Long-Term Consequences of Nicotine
   Exposure During Adolescence for Prefrontal Cortex Neuronal Network Function, 2 COLD SPRING
   HARBOR PERSP. MED. 12 (2012), https://www.ncbi.nlm.nih.gov/pmc/articles/PMC3543069/.
   45
       U.S. Dep’t of Health and Human Servs. 2014 Surgeon General’s Report: The Health
   Consequences         of         Smoking—50           Years         of      Progress   (2014),
   https://www.cdc.gov/tobacco/data_statistics/sgr/50th-anniversary/index.htm#report.

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        63.     It took five decades of public health initiatives, government intervention, impact

 litigation, consumer education, and tobacco regulation to finally see a significant drop in cigarette

 smoking and nicotine addiction.

        64.     By 2014, the number of adults that reported using cigarettes had dropped to 18%, and

 the number of adult smokers who reported quitting smoking increased from 50.8% in 2005 to 59% by

 2016.46 By 2014, teen smoking also hit a record low.47 In June 2014, the Centers for Disease Control

 and Prevention (“CDC”) reported that “in achieving a teen smoking rate of 15.7 percent, the United

 States has met its national Healthy People 2020 objective of reducing adolescent cigarette use to 16

 percent or less.”

        65.     The United States Surgeon General reported in 2014 that: “We are at a historic moment

 in our fight to end the epidemic of tobacco use that continues to kill more of our citizens than any other

 preventable cause. The good news is that we know which strategies work best. By applying these

 strategies more fully and more aggressively, we can move closer to our goal of making the next

 generation tobacco-free.”48

        66.     Where the public health community saw progress in curbing the use of cigarettes and

 nicotine addiction, Defendants saw an opportunity.



 46
    Centers for Disease Control and Prevention, U.S. Dep’t of Health and Human Services, Trends in
   Cigarette Smoking Among High School Students—United States, 1991-2001, 51 MORBIDITY &
   MORTALITY            WKLY.            REP.            409         (May           17,           2002),
   https://www.cdc.gov/mmwr/preview/mmwrhtml/mm5119a1.htm; Teresa W. Wang et al., Tobacco
   Product Use Among Adults—United States, 2017, 67 MORBIDITY & MORTALITY WKLY. REP. 1225
   (Nov. 9, 2018), https://www.cdc.gov/mmwr/volumes/67/wr/pdfs/mm6744a2-H.pdf; U.S. Dep’t of
   Health and Human Servs. 2014 Surgeon General's Report: The Health Consequences of Smoking—
   50      Years    of   Progress      (2014),      https://www.cdc.gov/tobacco/data_statistics/sgr/50th-
   anniversary/index.htm#report.
 47
    Press Release, Centers for Disease Control and Prevention, Cigarette smoking among U.S. high
   school      students    at     lowest      level     in    22     years     (June      12,     2014),
   https://www.cdc.gov/media/releases/2014/p0612-YRBS.html.
 48
    U.S. Dep’t of Health and Human Servs. LET’S MAKE THE NEXT GENERATION TOBACCO-
   FREE: Your Guide to the 50th Anniversary Surgeon General’s Report on Smoking and Health
   (2014), https://www.hhs.gov/sites/default/files/consequences-smoking-consumer-guide.pdf.

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        2.      Following the Cigarette Industry Playbook, Defendants Sought to Market a
                Product that would Create and Sustain Nicotine Addiction, but Without the
                Stigma Associated with Cigarettes.

        67.     Seeking to build and dominate a new market for nicotine products without the baggage

 of combustible cigarettes (i.e. well-established link to death and disease), JLI engineered a cool-

 looking e-cigarette device capable of delivering more nicotine and fueling higher levels of consumer

 addiction than ever before. JLI marketed that highly-addictive device as healthy, safe, cool, and

 available in kid-friendly flavors.

        68.     In doing so, JLI followed the cigarette industry’s playbook. Monsees admitted that

 when creating JLI, he and Bowen carefully studied the marketing strategies, advertisements, and

 product design revealed in cigarette industry documents that were uncovered through litigation and

 made public under the November 1998 Master Settlement Agreement between the state Attorneys

 General of forty-six states, five U.S. territories, the District of Columbia and the four largest cigarette

 manufacturers in the United States. “[Cigarette industry documents] became a very intriguing space for

 us to investigate because we had so much information that you wouldn’t normally be able to get in

 most industries. And we were able to catch up, right, to a huge, huge industry in no time. And then we

 started building prototypes.”49

        69.     In a thesis presentation Bowen and Monsees gave in 2004, Monsees candidly admitted,

 “The cigarette is actually a carefully engineered product for nicotine delivery and addiction.”50 JLI

 researched how cigarette companies engineered their products and chemically manipulated nicotine to

 maximize delivery: “We started looking at patent literature. We are pretty fluent in ‘Patentese.’ And

 we were able to deduce what had happened historically in the tobacco industry.”51 With access to the

 trove of documents made public to curb youth smoking and aid research to support tobacco control

 49
      Gabriel Montoya, Pax Labs: Origins with James Monsees, SOCIAL UNDERGROUND,
   https://socialunderground.com/2015/01/pax-ploom-origins-future-james-monsees/.
 50
    Jordan Crook, This is the Stanford Thesis Presentation That Launched Juul, TECH CRUNCH (Feb. 27,
   2019), https://techcrunch.com/2019/02/27/this-is-the-stanford-thesis-presentation-that-launched-juul/.
 51
    Id.

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 efforts, JLI was able to review literature on manipulating nicotine pH to maximize its delivery in a

 youth-friendly vapor with minimal “throat hit.”

        70.     Through studying industry documents, JLI learned that the cigarette industry had tried

 for years to figure out ways to create and sustain addiction by delivering more nicotine in a way that

 would be easy to ingest—without the nausea, cough, or other aversive side effects that many new

 smokers experienced. In the 1970s, R.J. Reynolds scientists eventually found a solution: Combine the

 high-pH nicotine with a low-pH acid. The result was a neutralized compound referred to as nicotine

 salt. In a 1973 RJR memorandum titled “Cigarette concept to assure RJR a larger segment of the youth

 market,” RJR highlighted that this chemical manipulation of the nicotine content was expected to give

 its cigarettes an “additional nicotine ‘kick’” that would be more appealing and addictive. A young RJ

 Reynolds chemist, Thomas Perfetti, synthesized 30 different nicotine salt combinations, tested the

 salts’ ability to dissolve into a liquid, and heated them in pursuit of the “maximum release of

 nicotine.”52 Perfetti published his results in a 1979 memo stamped “CONFIDENTIAL,” which was

 found among the documents that the FDA obtained from JLI in 2018. Relying on cigarette industry

 research like this, and assistance from Perfetti himself, JLI developed a cartridge-based e-cigarette

 using nicotine salts. As described in herein, JLI’s use of nicotine salts, pioneered by major combustible

 tobacco companies, was a critical tool for addicting non-smokers, including youth.

        71.     JLI also engaged former cigarette industry researchers to consult on the design of their

 product. As Monsees noted in an interview with WIRED magazine: “The people who understood the

 science and were listed on previous patents from tobacco companies aren’t at those companies




 52
    Thomas A. Perfetti, Smoking Satisfaction and Tar/Nicotine Control (Dec. 7, 1978), https://ca-
  times.brightspotcdn.com/3a/12/a5ec27874843a56e26b4ecdfd221/nicotine-salts-investigation.pdf.

                                                     23
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 anymore. If you go to Altria’s R&D facility, it’s empty.”53 The WIRED article stated that “[s]ome of

 those people are now on [PAX Lab, Inc.’s] team of advisers, helping develop J[UUL].”54

        72.     One of the keys to JLI’s success was its ability to fuse addiction and technology. The

 JUUL e-cigarette system is comprised of three parts: (1) the JUUL e-cigarette device (2) the JUUL pod

 (with e-liquid), and (3) the Universal Serial Bus [USB] charger (collectively referred to herein as

 “JUUL”). The JUUL e-cigarette device is a thin, sleek rectangular e-cigarette device consisting of an

 aluminum shell, a battery, a magnet (for the USB-charger), a circuit board, an LED light, and a

 pressure sensor. JLI manufactures and distributes JUUL pods that contain liquid that includes nicotine,

 flavoring and other additives. Each JUUL pod is a plastic enclosure containing 0.7 milliliters of JLI’s

 patented nicotine liquid and a coil heater. When a sensor in the JUUL e-cigarette detects the movement

 of air caused by suction on the JUUL pod, the battery in the JUUL e-cigarette device activates the

 heating element, which in turn converts the nicotine solution in the JUUL pod into a vapor consisting

 of nicotine, benzoic acid, glycerin, and propylene glycol along with myriad chemical flavorings and

 other chemicals, many of which are recognized as toxic.55




 53
      David Pierce, This Might Just Be the First Great E-Cig, WIRED (Apr. 21, 2015),
   www.wired.com/2015/04/pax-juul-ecig/.
 54
    Id.
 55
            JUUL          Labs,       Inc.,     (as        of    April 8,     2018),
   https://web.archive.org/web/20180408102252/www.juullabs.com/.

                                                    24
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        73.    JLI sells the JUUL pods in packs of four or two pods, and until recently, in a variety of

 enticing flavors. Many of the flavors have no combustible cigarette analog, including “cool” cucumber,

 fruit medley, “cool” mint, and crème brûlée. Figure 1 shows the JLI device and a JLI “Starter Kit” with

 four flavored JUUL pods:




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 Figure 1




        74.     JLI attempted to distinguish JUUL products from the death and disease associated with

 cigarettes by deliberately providing a false assurance of safety. For example, on May 8, 2018, a

 document titled “Letter from the CEO” appeared on JUUL’s website. The document stated: “[JUUL]’s

 simple and convenient system incorporates temperature regulation to heat nicotine liquid and deliver

 smokers the satisfaction that they want without the combustion and the harm associated with it.”56

        75.     JLI even took this message to ninth graders: in 2018, a representative from JLI spoke at

 a high school during a presentation for ninth graders, stating that JUUL “was much safer than

 cigarettes,” that the JUUL was “totally safe,” that the JUUL was a “safer alternative than smoking

 cigarettes,” and that the “FDA was about to come out and say it [JUUL] was 99% safer than

 cigarettes . . . and that. . . would happen very soon.”57


 56
    Letter from U.S. Food & Drug Admin. to Kevin Burns, CEO of JUUL Labs, Inc. (Sept. 9, 2019),
   https://www.fda.gov/inspections-compliance-enforcement-and-criminal-investigations/warning-
   letters/juul-labs-inc-590950-09092019.
 57
    Id.

                                                      26
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        76.     This was not just a rogue employee. Internal messaging around JUUL, crafted by the

 executives, emphasized that JUUL was safer than smoking. In a “Marketing Update” presentation

 dated March 26, 2015, a message from then-Chief Marketing Officer Scott Dunlap stated that

 “[v]aporization technology is fundamentally disruptive, because it is safer, faster, more effective and

 less intrusive than alternatives.”58 More than a year later, on April 28, 2016, Tim Danaher sent Tyler

 Goldman a slide deck aimed at investors which he said that “James [Monsees] owns” and “will pull /

 update the relevant slides.”59 The deck claimed that “PAX Labs’ new delivery system is faster, safer,

 more effective and less intrusive than[,]” among other options, “[s]moking[.]”60 The consistency of the

 wording in these presentations more than a year apart shows that this was standard company language.

        77.     JLI’s mission was not to improve public health. Rather, JLI sought to introduce a new

 generation of consumers, and especially young people, to nicotine. JLI’s business model was never

 about reducing addiction. As one JLI engineer put it: “We don’t think a lot about addiction here

 because we’re not trying to design a cessation product at all . . . anything about health is not on our

 mind.”61

        78.     JLI, Bowen, and Monsees achieved their vision. Pioneering a nicotine delivery

 technology that eliminated the harshness of traditional free-base nicotine, JLI’s e-cigarette system

 provided users with palatable access to high-concentrations of nicotine like never before. Since the

 JUUL’s launch in 2015, JLI has become the dominant e-cigarette manufacturer in the United States. Its

 revenues grew by 700 percent in 2017 alone. By 2019, JLI owned three-quarters of the e-cigarette

 market.62


 58
    INREJUUL_00441986 (emphasis added).
 59
    JLI00373324.
 60
    JLI00373328 (emphasis added).
 61
      Kevin Roose, Juul’s Convenient Smoke Screen, N.Y. TIMES (Jan. 11, 2019),
   https://www.nytimes.com/2019/01/11/technology/juul-cigarettes-marketing.html.
 62
    Dick Durbin et al., Durbin & Senators to JUUL: You are More Interested in Profits Than Public
   Health, Durbin Newsroom (Apr. 8, 2019), https://www.durbin.senate.gov/newsroom/press-
   releases/durbin-and-senators-to-juul-you-are-more-interested-in-profits-than-public-health.

                                                     27
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        3.      Defendants Sought to Position JLI for Acquisition by a Major Cigarette Company.

        79.     JLI, along with the Management Defendants, worked together to maintain and expand

 the number of nicotine-addicted e-cigarette users, including young people in particular, in order to

 ensure a steady and growing customer base.

        80.     That growing customer base was crucial to JLI’s and the Management Defendants’ long

 term objective—lucrative acquisition by another company. They recognized that JLI’s product, with its

 potential to dominate the nicotine products market by hooking new users, would appeal to one segment

 of the economy in particular: the cigarette industry.

        81.     JLI and the Management Defendants also recognized that their business goal—

 becoming part of the cigarette industry—was unlikely to endear them to the consumers that they

 needed to purchase their products. Years of anti-smoking campaigns have successfully stigmatized

 cigarette smoking. When Monsees and Bowen presented their thesis and product design to their

 classmates, they included a clip from a South Park episode showing the characters assembled at the

 Museum of Tolerance and shaming a smoker.63

        82.     Monsees and Bowen needed to shape social norms such that the public attitude towards

 e-cigarettes would allow people to use their product without the stigma and self-consciousness

 smokers experienced. Monsees and Bowen saw a market opportunity in a generation of non-smoking

 young people brought up on anti-smoking norms. In Monsees’ words, they wanted to redesign the

 cigarette “to meet the needs of people who want to enjoy tobacco but don’t self-identify with—or don’t

 necessarily want to be associated with—cigarettes.”64

        83.     Part of this approach was consistently portraying JUUL as an enemy of the cigarette

 industry, with a publicly announced goal of eliminating the cigarette. In an interview, Bowen asserted

 63
      Gabriel Montoya, Pax Labs: Origins with James Monsees, SOCIAL UNDERGROUND,
   https://socialunderground.com/2015/01/pax-ploom-origins-future-james-monsees/.
 64
    Id.; see also, INREJUUL_00064696 (May 28, 2015) (Slides describing JUUL’s market overview
   and positioning as a “tech lifestyle product with a nicotine experience that satisfies, JUUL will appeal
   to regular ecig users and wealthy, tech savvy smokers – a significant portion of the market.”).

                                                     28
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 that he and Monsees spent a lot of time talking about “the kind of typical thoughts of evil Big Tobacco

 companies like coming down and squashing you.”65 The “Mission Statement” on JLI’s homepage

 proclaims:

        Our mission is to transition the world’s billion adult smokers away from combustible
        cigarettes, eliminate their use, and combat underage usage of our products.

        We envision a world where fewer adults use cigarettes, and where adults who smoke
        cigarettes have the tools to reduce or eliminate their consumption entirely, should they
        so desire.66

        84.     In fact, JLI’s Chief Administrative Officer has publicly stated that the goal behind JLI is

 “eliminating cigarettes.”67

        85.     This public message of eliminating cigarettes and challenging tobacco companies stands

 in direct contrast with JLI’s actual business and investment strategy, which involved replicating in

 JUUL’s new market the tobacco companies’ historical success in the youth market for cigarettes. From

 the beginning, Bowen and Monsees actively sought the investment and assistance of major cigarette

 companies. Bowen and Monsees’ initial foray into the e-cigarette business, Ploom, launched its e-

 cigarette as the ModelOne in 2010, using pods of loose-leaf tobacco heated by butane. It did not catch

 on. Ploom only sold a few thousand devices. By then a company with a dozen employees, Ploom was

 faltering, in need of money, technological expertise, and marketing savvy.68

        86.     Help came from Japan Tobacco International (“Japan Tobacco”), a division of Japan

 Tobacco Inc., the fourth-largest tobacco company in the world. In December 2011, Japan Tobacco and

 Ploom entered into a strategic agreement, which gave Japan Tobacco a minority stake in Ploom and

 made it a strategic partner. In a statement regarding the agreement, Monsees said, “We are very

 65
    Alison Keeley, Vice Made Nice? A high-tech alternative to cigarettes, STANFORD MAGAZINE (2012),
   https://stanfordmag.org/contents/vice-made-nice.
 66
    JUUL Labs, Our Mission (2019), https://www.juul.com/mission-values.
 67
    Ashley Gould, JUUL Labs is committed to eliminating cigarettes, CAL MATTERS (March 18, 2019),
   https://calmatters.org/commentary/e-cigarette/.
 68
    David H. Freedman, How do you Sell a Product When You Really Can’t Say What it Does?, Inc.,
   https://www.inc.com/magazine/201405/david-freedman/james-monsees-ploom-ecigarette-company-
   marketing-dilemma.html

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 pleased to partner with [Japan Tobacco] as their deep expertise, global distribution networks and

 capital resources will enable us to enter our next phase of growth and capitalize on global expansion

 opportunities.”69 As Bowen explained in an interview, “We were still doing a lot of our own internal

 product development, but now we had access to floors of scientists at [Japan Tobacco].”70

        87.     According to internal documents, JLI (then known as Pax) entered into a “strategic

 partnership” with Japan Tobacco after it “evaluated all major tobacco industry companies.”71 When

 JLI was getting ready to launch JUUL, its business plan called for a “massive distribution for JUUL,”

 to “be distributed by the four largest US tobacco distributors.”72 In addition, in 2015, JLI counted

 among its advisors Charles Blixt, the former general counsel of Reynold American, Chris Skillin,

 former director of corporate business development at Altria Group, Bryan Stockdale, the former

 SVP/President & CEO of R.J. Reynolds / American Snuff Company, and Chris Coggins, a toxicologist

 at Reynolds for 20 years.73

        88.     JLI and the Management Defendants even retained the Investment Bank Stifel to help

 JLI “establish strong international partnerships with leading tobacco companies (“LT”) to accelerate

 JUUL.”74 According to Stifel, “JUUL could be a multi-billion opportunity to LT [leading tobacco

 companies] over time,” and Stifel offered to manage a process that: “Identified the best Partner(s) for

 JUUL”; “Best positions JUUL to each Partner”; “Creates a catalyst for [leading tobacco company]

 decision making”; and “drives strong economic value and terms through competition.”75 The end result



 69
    Innovative P’ship for Ploom and Japan Tobacco Int’l JTI to Take Minority Share in Ploom, JAPAN
   TOBACCO        INT’L      (Dec.    8,      2011),      https://www.jti.com/sites/default/files/press-
   releases/documents/2011/innovative-partnership-for-ploom-and-japan-tobacco-international.pdf.
 70
    David H. Freedman, How do you Sell a Product When You Really Can’t Say What it Does?, INC.
   MAGAZINE (2014), https://www.inc.com/magazine/201405/david-freedman/james-monsees-ploom-
   ecigarette-company-marketing-dilemma.html.
 71
    INREJUUL_00371423 (Pax Labs company overview, Feb. 2015).
 72
    INREJUUL_00371447.
 73
    INREJUUL_00371458-INREJUUL_00371459.
 74
    INREJUUL_00016386 (Stifel Presentation, Aug. 2015).
 75
    Id.

                                                     30
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 of the process would be an exclusive agreement with the cigarette industry that would “maximize

 JUUL Growth Trajectory”:76

        89.     Stifel’s presentation to the JLI Board of Directors, which included each of the

 Management Defendants, also emphasized both the stagnant and declining cigarette market, and the

 sharply growing e-cigarette market:77




        90.     According to Stifel, “[s]ince 2013 [leading tobacco companies] have aggressively but

 unprofitably entered the vape category . . . with products that are not compelling.”78 Stifel’s conclusion

 was that in light of the leading cigarette companies’ failures to develop an appealing e-cigarette

 product: “JUUL Presents a Prime Opportunity for [leading tobacco companies] to Compete with




 76
    Id.
 77
    INREJUUL_0016399.
 78
    INREJUUL_0016400-INREJUUL_0016401.

                                                     31
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 [vaporizers, tanks and mods] in Form Factor and Dominate the E-cig Experience Through Retail

 Channels that Leverage its Distribution Strengths.”79

        91.     Consistent with Stifel’s presentation, and the profits it was forecasting, a draft

 December 7, 2015 presentation to the board of directors included as a “management committee

 recommendation” that JLI position itself for “strategic alternatives (including licensing or sale)”:80




        92.     The presentation also made clear that the “strategic alternative” for JLI envisioned by

 management was its acquisition by a large cigarette company:81




 79
    INREJUUL_0016404.
 80
    INREJUUL_00061757 (board meeting presentation, Dec. 7, 2015).
 81
    INREJUUL_00061833.

                                                     32
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         93.    This goal—acquisition by a major cigarette company—was a motive that the JLI and

 the Management Defendants would return to in making decisions about the manufacture and marketing

 of JUUL products. As an example, in a 2016 email exchange with JLI employees regarding potential

 partnerships with e-cigarette juice manufacturers, Defendant Bowen reminded the employees that “big

 tobacco is used to paying high multiples for brands and market share.”82 Bowen knew that to achieve

 the ultimate goal of acquisition, JLI and the Management Defendants would have to grow the market

 share of nicotine-addicted e-cigarette users, including youth in particular, regardless of the human cost.

         94.    JLI and the Management Defendants sought to grow the market share of nicotine-

 addicted e-cigarette users beginning by at least early 2015 through two related schemes: first, by

 designing an unsafe product with a high nicotine content that was intended to addict, or exacerbate the

 addiction, especially among young people; and, second, by marketing and misbranding that potent

 product to the broadest possible audience of potential customers, including young people, in particular,

 whose addiction would last the longest and be the most profitable for the Defendants.



 82
      INREJUUL_00294198.

                                                     33
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         95.     These schemes were an overwhelming success. By the close of 2017, according to

 Nielsen data, JLI had surpassed its competitors in capturing 32.9% of the e-cigarette market, with

 British American Tobacco at 27.4% and Altria at 15.2%.83 The total e-cigarette market expanded 40%

 to $1.16 billion.84

         96.     In 2018, JLI’s gross profit margins were 70%85 and it represented 76.1% of the national

 e-cigarette market.86 In a complaint it filed in November 2018 against 24 vape companies for alleged

 patent infringement, JLI asserted that it was “now responsible for over 95% of the growth in the ENDS

 pod refill market in the United States” and included the following chart:87




 83
    Ari Levy, E-cigarette maker Juul is raising $150 million after spinning out of vaping company,
   CNBC (Dec. 20, 2017), https://www.cnbc.com/2017/12/19/juul-labs-raising-150-million-in-debt-
   after-spinning-out-of-pax.html.
   84
      Id.
 85
      Dan Primack, Scoop: The Numbers Behind Juul’s Investor Appeal, AXIOS (July 2, 2018),
   https://www.axios.com/numbers-juul-investor-appeal-vaping-22c0a2f9-beb1-4a48-acee-
   5da64e3e2f82.html.
 86
    Robert K. Jackler et al., JUUL Advertising Over Its First Three Years on the Market at 2, STAN. RES.
   INTO           THE           IMPACT         OF           TOBACCO            ADVERT.           (2019),
   http://tobacco.stanford.edu/tobacco_main/publications/JUUL_Marketing_Stanford.pdf.
 87
    Verified Complaint Under Section 337 of the Tariff Act of 1930 at 6, In the Matter of Certain
   Cartridges for Elec. Nicotine Delivery Sys. & Components Thereof, Investigation No. 337-TA-1141
   (USITC Nov. 19, 2018).

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        97.     JLI shattered previous records for reaching decacorn status, reaching valuation of over

 $10 billion in a matter of months—four times faster than Facebook.88 This all came just three years

 after its product launch.

 C.     JLI and Bowen Designed a Nicotine Delivery Device Intended to Create and Sustain
        Addiction, Particularly Among Young People.

        98.     JLI was well-aware from the historical cigarette industry documents that the future of

 any nicotine-delivery business depends on snaring kids before they age beyond the window of

 opportunity. One memo from a Lorillard marketing manager to the company’s president put it most

 succinctly, “[t]he base of our business is the high school student.”89 It is no surprise, then, that the

 industry designed products specifically to attract and addict teen smokers. Claude Teague of R.J.

 Reynolds titled one internal memo “Research Planning Memorandum on Some Thoughts About New

 Brands of Cigarettes for the Youth Market.” In it he frankly observed, “Realistically, if our Company

 is to survive and prosper, over the long term, we must get our share of the youth market. In my opinion

 this will require new brands tailored to the youth market.”90 Dr. Teague noted that “learning smokers”

 have a low tolerance for throat irritation so the smoke should be “as bland as possible,” i.e., not harsh;

 and he specifically recommended an acidic smoke “by holding pH down, probably below 6.” As seen

 below, JLI heeded Dr. Teague’s advice.

        1.      JLI and Bowen Made Highly Addictive E-Cigarettes Easy for Young People and
                Non-Smokers to Inhale.

        99.     As combustible cigarettes were on the decline, e-cigarettes were introduced to the U.S.

 market beginning in 2007. Over time, e-cigarettes developed a small group of regular users, who were

 primarily current or former smokers. By 2014, the e-cigarette market in the U.S. was in decline.

 88
    Zack Guzman, Juul Surpasses Facebook As Fastest Startup to Reach Decacorn Status, YAHOO! FIN.
   (Oct. 9, 2018), https://finance.yahoo.com/news/juul-surpasses-facebook-fastest-startup-reach-
   decacorn-status-153728892.html.
 89
    Internal Memo from T.L. Achey, Lorillard Tobacco Company, to Curtis Judge, Product Information
   (August 1978).
 90
    Internal Memo from Claude Teague, R.J. Reynolds, Research Planning Memorandum on Some
   Thoughts About New Brands of Cigarettes for the Youth Market (Feb. 2, 1973).

                                                      35
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        100.    E-cigarettes struggled to compete with combustible cigarettes, because of the technical

 challenge of delivering enough aerosolized nicotine to satisfy a smoker’s addiction in a palatable

 form.91 Before JUUL, most e-cigarettes used an alkaline form of nicotine called free-base nicotine.92

 When aerosolized and inhaled, free-base nicotine is relatively bitter, irritates the throat, and is

 perceived as harsh by the user.93 This experience is often referred to as a “throat hit.” The higher the

 concentration of free-base nicotine, the more intense the “throat hit.”94 While some “harshness” would

 not have much impact on seasoned cigarette smokers, it would deter newcomers, or nicotine

 “learners,” as Claude Teague at R.J. Reynolds called young non-smokers decades ago.

        101.    Before 2015, most e-liquids on the market were between 1% and 2% concentration; 3%

 concentrations were marketed as appropriate for consumers who were accustomed to smoking

 approximately forty cigarettes a day.95 None of these e-liquids delivered as much nicotine as quickly as

 a combustible cigarette.

        102.    Around 2013, JLI scientists developed new e-liquids and new devices to increase the

 amount of nicotine that e-cigarettes could deliver to users and to reduce the throat hit. JLI scientists

 focused on nicotine salts rather than free-base nicotine, and they tested their formulations in a variety

 of ways.

        2.      JLI’s Initial Experiments Measured Non-Smokers’ “Buzz” Levels and Perceptions
                of Throat Harshness.

        103.    JLI intentionally designed its product to minimize “throat hit” and maximize “buzz.”

 JLI’s first known testing of JUUL-related products occurred in 2013, when it conducted “buzz”

 experiments that included non-smoker participants, and measured “buzz” and throat harshness. JLI

 officers and directors Adam Bowen, Ari Atkins, and Gal Cohen served as the initial subjects in the

 91
    Robert K. Jackler & Divya Ramamurthi, Nicotine Arms Race: JUUL and the High-nicotine Product
   Market, 28 TOBACCO CONTROL 623 (2019).
 92
    Id.
 93
    Id.
 94
    Id.
 95
    Id.

                                                      36
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 “buzz” experiments. These early tests were performed with the assistance of Thomas Perfetti, the same

 RJR chemist who had studied nicotine salt decades ago to help RJR palatably deliver more nicotine.

        104.    In these early tests, JLI’s goal was to develop a “buzz-effective e-cig formulation,”

 which would principally turn on “effectiveness (buzz, harshness),” followed by shelf life and

 patentability.96 The aim was to develop a nicotine salt formulation that maximized buzz, minimized

 harshness. “Employees tested new liquid-nicotine formulations on themselves or on strangers taking

 smoke breaks on the street. Sometimes, the mix packed too much punch – enough nicotine to make

 some testers’ hands shake or send them to the bathroom to vomit . . . .”97

        105.    The “buzz” experiments, which used heart rate as a qualitative measurement for buzz,

 showed that Bowen tested a 4% benzoate (nicotine salt) solution, which caused his resting heart rate to

 increase by about 70% in under 2 minutes, far exceeding all other formulations JLI was considering:98




        106.    Because they personally consumed these formulations, Bowen, Cohen, and Atkins

 knew that the 4% benzoate solution delivered a strong buzz that matched or exceeded a cigarette but

 had minimal throat hit.



 96
    INREJUUL_00002903.
 97
    Chris Kirkham, Juul Disregarded Early Evidence it was Hooking Teens, REUTERS (Nov. 5, 2019),
   https://www.reuters.com/investigates/special-report/juul-ecigarette/.
 98
    INREJUUL_00002903.

                                                    37
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        107.    A later study by Anna K. Duell et al., which examined 4% benzoate solutions—the

 basis for JUUL’s subsequent commercial formulations—explains why there was so little throat hit. The

 Duell study determined that the fraction of free-base nicotine in JUUL’s “Fruit Medley” flavor was

 0.05 and in “Crème Brulee” was 0.07.99 Given total nicotine content of 58 mg/ml and 56 mg/ml in

 each flavor, respectively, these flavors have roughly 3-4 mg/ml free-base nicotine. For comparison,

 “Zen” brand e-liquid contains 17 mg/ml of nicotine—less than one-third of the total nicotine content of

 JUUL’s flavors—but has a free-base fraction of 0.84,100 resulting in over 14 mg/ml of free-base

 nicotine. The Duell Study’s authors found that the low free-base fraction in JUUL aerosols suggested a

 “decrease in the perceived harshness of the aerosol to the user and thus a greater abuse liability.”101

        108.    Dramatically reducing the throat hit is not necessary for a product that is aimed at

 smokers, who are accustomed to the harshness of cigarette smoke, but it very effectively appeals to

 nonsmokers, especially youth. The cigarette industry has long recognized this; a published study of

 industry documents concluded that “product design changes which make cigarettes more palatable,

 easier to smoke, or more addictive are also likely to encourage greater uptake of smoking.”102 The

 Duell study concluded that JLI’s use of nicotine salts “may well contribute to the current use

 prevalence of JUUL products among youth.”103

        109.    Reducing the harshness of nicotine also allows more frequent use of e-cigarettes, for

 longer periods of time, and masks the amount of nicotine being delivered. By removing the

 physiological drawbacks of inhaling traditional free-base nicotine, JLI’s technology removes the

 principal barrier to nicotine consumption and addiction. The Duell study further concluded that JLI’s
 99
     U.S. Patent No. 9,215, 895; Anna K. Duell et al., Free-Base Nicotine Determination in Electronic
   Cigarette Liquids by H NMR Spectroscopy, 31 CHEM. RES. TOXICOL. 431, 432 (Fig. 3).
 100
     Anna K. Duell et al., Free-Base Nicotine Determination in Electronic Cigarette Liquids by H NMR
   Spectroscopy, 31 CHEM. RES. TOXICOL. 431 (hereinafter “Duell Study”).
 101
     Id. at 431–34.
 102
     David A. Kessler, Juul Says It Doesn’t Target Kids. But Its E-Cigarettes Pull Them In, N.Y. TIMES
   (July 31, 2019), https://www.nytimes.com/2019/07/31/opinion/juul-kids.html.
 103
     Duell Study at 433 (citing J. G. Willett, et al., Recognition, use and perceptions of JUUL among
   youth and young adults, TOBACCO CONTROL 054273 (2018)).

                                                     38
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 creation of a non-irritating vapor that delivers unprecedented amounts of nicotine is “particularly

 problematic for public health.”104

        3.      JUULs Rapidly Deliver Substantially Higher Doses of Nicotine than Cigarettes.

        110.    In 2014, after the “buzz” experiments, JLI engineers ran a pilot pharmacokinetic study

 in New Zealand, called the Phase 0 Clinical Study.105 The participants in the study—Adam Bowen,

 Gal Cohen, and Ari Atkins106—had their blood drawn while vaping prototype JUUL aerosols. From

 these measurements, the scientists calculated key pharmacokinetic parameters, including maximum

 concentration of nicotine in the blood (Cmax) and total nicotine exposure (Area Under the Curve or

 AUC). JLI reported the results in U.S. Patent No. 9,215,895 (the ’895 patent), for which JLI applied on

 October 10, 2014,107 and which was granted in December 2015. The named inventors on the patent

 were Adam Bowen and Chenyue Xing

        111.    Among the formulations was a 4% benzoate formulation, which was made with 3.8%

 benzoic acid and 5% nicotine, as well as propylene glycol and vegetable glycerin.108 As a comparator,

 JLI also measured nicotine blood levels after smoking Pall Mall cigarettes. The Phase 0 study also

 tested a 2% benzoate formulation, which had a similar Cmax as a Pall Mall cigarette, and a variety of

 other formulations.109 The following graph shows the pharmacokinetic results of the Phase 0 study:




 104
     Id. at 431.
 105
     INREJUUL_00350930.
 106
     Id.
 107
     This application was a continuation of U.S. Patent Application No. 14/271,071 (filed May 6, 2014),
   which claimed the benefit of U.S. Provisional Patent Application Serial No. 61/820,128, (filed May
   6, 2014), and U.S. Provisional Patent Application Serial No. 61/912,507 (filed December 5, 2013).
 108
     U.S. Patent No. 9,215,895, at 19:63-20:4 (filed Dec. 22, 2015).
 109
     INREJUUL_00024437.

                                                    39
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           112.   According to Table 1 in the patent, the Cmax (the maximum nicotine concentration in

 blood) for Pall Mall cigarettes was 11.65 ng/mL, and for 4% benzoate it was 15.06 ng/mL, which is

 nearly 30% higher. The total nicotine exposure (as measured by Area Under the Curve or AUC) was

 367.5 ng * min/mL for Pall Mall cigarettes and 400.2 ng * min/mL for 4% benzoate, which is almost

 9% higher. The 4% benzoate formulation had the highest Cmax and AUC of any of the formulations

 measured.

           113.   Describing these results, JLI’s ’895 patent all but brags that it surpassed a commercially

 available combustible cigarette (Pall Mall) in maximum delivery and nearly rivaled it in how soon it

 could deliver peak nicotine. According to the ‘895 patent, “certain nicotine salt formulations [i.e.,

 JLI’s] provide satisfaction in an individual superior to that of free base nicotine, and more comparable

 to the satisfaction in an individual smoking a traditional cigarette.”110 The patent further explains that

 the “rate of nicotine uptake in the blood” is higher for some claimed nicotine salt formulations “than

 for other nicotine salt formulations aerosolized by an electronic cigarette . . . and likewise higher than




 110
       U.S. Patent No. 9,215, 895, at 7:51-55 (filed Dec. 22, 2015) (emphasis added).

                                                      40
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 nicotine free-base formulations, while the peak nicotine concentration in the blood and total amount of

 nicotine delivered appears comparable to a traditional cigarette.”111

        114.    In other words, JLI distinguishes itself, and established the patentability of its e-liquids,

 by reference to their superlative ability to deliver nicotine, both in terms of peak blood concentration

 and total nicotine delivery. The rate of nicotine absorption is key to providing users with the nicotine

 “kick”112 that drives addiction and abuse, including among youth.113 Because “nicotine yield is

 strongly correlated with tobacco consumption,”114 a JUUL pod with more nicotine will strongly

 correlate with higher rates of consumption of JUUL pods, generating more revenue for JUUL. For

 example, a historic cigarette industry study that looked at smoker employees found that “the number of

 cigarettes the employees smoked per day was directly correlated to the nicotine levels.”115 In essence,

 JLI distinguished itself based on its e-liquids’ extraordinary potential to addict.

        115.    Another study corroborates the key result of the Phase 0 study that the 4% benzoate

 solution delivers more nicotine than a combustible cigarette.116 The Reilly study tested JUUL’s

 tobacco, crème brûlée, fruit medley, and mint flavors and found that a puff of JUUL delivered 164 ±

 41 micrograms of nicotine per 75 mL puff. By comparison, a 2014 study using larger 100 mL puffs




 111
     Id. at 7:63-8:4.
 112
     Internal Memo from Frank G. Colby, R.J. Reynolds, Cigarette Concept to Assure RJR a Larger
   Segment of the Youth Market (Dec. 4, 1973).
 113
     As the National Institutes of Health has noted, the “amount and speed of nicotine delivery . . . plays
   a critical role in the potential for abuse of tobacco products.” How Tobacco Smoke Causes Disease:
   The Biology and Behavioral Basis for Smoking-Attributable Disease, A Report of the Surgeon
   General                               at                          181                           (2010),
   https://www.ncbi.nlm.nih.gov/books/NBK53017/pdf/Bookshelf_NBK53017.pdf
 114
     Martin J. Jarvis et al., Nicotine Yield From Machine Smoked Cigarettes and Nicotine Intakes in
   Smokers: Evidence From a Representative Population Survey, 93 NT’L CANCER INST. 134 (Jan. 17,
   2001), https://academic.oup.com/jnci/article/93/2/134/2906355
 115
     Letter from Peggy Martin to Study Participants, Resume of Results from Eight-Week Smoking Study,
   UCSF Library, 1003285443-5443 (Sept. 10, 1971).
 116
      Samantha M. Reilly et al., Free Radical, Carbonyl, and Nicotine Levels Produced by JUUL
   Electronic Cigarettes, 21 NICOTINE TOBACCO RESEARCH 1274 (Aug. 19, 2019),
   https://www.ncbi.nlm.nih.gov/pubmed/30346584.

                                                      41
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 found that a Marlboro cigarette delivered 152-193 μg/puff.117 Correcting to account for the different

 puff sizes between these two studies, this suggests that, at 75 mL/puff, a Marlboro would deliver about

 114-145 μg/puff. In other words, the Reilly study suggests that JUUL delivers more nicotine per puff

 than a Marlboro cigarette.

        116.    Additionally, depending on how the product is used, an e-cigarette with the 4%

 benzoate solution is capable of delivering doses that are materially higher than those seen in the Phase

 0 study. As a paper published by the European Union notes: “[A]n e-cigarette with a concentration of

 20 mg/ml delivers approximately 1 milligram of nicotine in five minutes (the time needed to smoke a

 traditional cigarette, for which the maximum allowable delivery is 1 mg of nicotine).”118 With at least

 59 mg/ml of nicotine in a salt form that increases the rate and efficiency of uptake (and even with a

 lower mg/ml amount), a JUUL pod easily exceeds the nicotine dose of a combustible cigarette. Not

 surprisingly, the European Union has banned all e-cigarette products with a nicotine concentration of

 more than 20 mg/ml nicotine, and other countries have considered similar regulations.119

        117.    Around 2014, JLI engineers designed the JUUL vaping device, which also was

 designed for addictiveness. On average, the JUUL was engineered to deliver between four to five

 milligrams of aerosol per puff, which is an unusually massive puff:120




 117
      Megan J. Schroeder & Allison C. Hoffman, Electronic Cigarettes and Nicotine Clinical
   Pharmacology,           23         TOBACCO           CONTROL         ii30        (May 23,      2014),
   www.ncbi.nlm.nih.gov/pmc/articles/PMC3995273/.
 118
                            E-Cigarettes,                        European                       Comm’n,
   https://ec.europa.eu/health/sites/health/files/tobacco/docs/fs_ecigarettes_en.pdf    (citing   United
   Kingdom Medicines and Healthcare Products Regulatory Agency and industry reports).
 119
     Charis Girvalaki et al., Discrepancies in Reported Versus Measured Nicotine Content of E-cigarette
   Refill Liquids Across Nine European Countries Before and After the Implementation of the EU
   Tobacco        Products       Directive,      55      EUR.     RESPIR.      J.    1900941     (2020),
   https://doi.org/10.1183/13993003.00941-2019.
 120
     INREJUUL_00442040-INREJUUL_00442080; INREJUUL_00442064.

                                                    42
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          118.   Given the concentration of nicotine in a JUUL pod, four to five milligrams of JUUL e-

 liquid contains about 200-250 micrograms (μg) of nicotine. As noted by Dan Myers, a JLI scientist, in

 an internal 2018 email to Adam Bowen and Ziad Rouag, a regulatory employee at JLI at the time,

 “much more nicotine than 150 per puff could be problematic” because, according to Myers, cigarettes

 deliver between around 100-150 μg of nicotine per puff.121 In other words, JUUL’s precisely calibrated

 nicotine delivery system was specifically engineered to aerosolize up to 2.5 times as much nicotine per

 puff as a cigarette. Myers also noted that “Adam put in his recommendation of ~4mg/puff as the

 target” for a pharmacokinetic study.122

          119.   JLI scientists realized in 2014 that the amount of nicotine that JUUL e-cigarettes

 delivered could be problematic. Chenyue Xing stated that “[y]ou hope that they get what they want,

 and they stop,” but JLI scientists were concerned that “a Juul—unlike a cigarette—never burns out,” so

 the device gives no signal to the user to stop. According to Xing, JLI scientists “didn’t want to

 121
       INREJUUL_00347306.
 122
       Id.

                                                     43
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 introduce a new product with stronger addictive power.”123 For this reason, “the company’s engineers

 explored features to stop users from ingesting too much of the drug, too quickly. JLI’s founders

 applied for a patent in 2014 that described methods for alerting the user or disabling the device when

 the dose of a drug such as nicotine exceeds a certain threshold.”124 For example, “[o]ne idea was to

 shut down the device for a half-hour or more after a certain number of puffs[.]”125 But upper

 management rejected the concerns that the scientists raised, and “[t]he company never produced an e-

 cigarette that limited nicotine intake.”126

        120.    As another option, JLI could have limited the duration of each puff to prevent the JUUL

 from delivering doses of nicotine exceeding those of a cigarette on a per-puff basis. Instead, it

 programmed the device to emit puffs for up to six seconds.127 JUUL knew from the Phase 0

 pharmacokinetic study in 2014 and the CH-1702 pharmaokinetic study in 2017 that puffs of three

 seconds generate pharmacokinetic profiles matching that of a cigarette.128

        121.    Further warnings about the addictive power of the JUUL e-cigarette—and its appeal to

 youths—came from consumer research that Ploom commissioned in 2014. Ploom hired the consumer

 research firm Tragon to do research with prototypes of the JUUL e-cigarette. On September 30, 2014,

 Lauren Collinsworth, a consumer researcher at Tragon, emailed Chelsea Kania, a marketing employee

 at Ploom, with some of the preliminary results from the studies. She stated that the testing showed that

 “the younger group is open to trying something new and liked J1 [the JUUL prototype] for being

 smart, new, techy, etc.”129 Ms. Collinsworth added that “the qualitative information suggests J1 could

 fit into the e-cig or vapor category for the younger group. The qualitative findings suggested this


 123
     Chris Kirkham, Juul Disregarded Early Evidence it was Hooking Teens, REUTERS (Nov. 5, 2019),
   https://www.reuters.com/investigates/special-report/juul-ecigarette/.
 124
     Id.
 125
     Id.
 126
     Id.
 127
     INREJUUL_00431693.
 128
     INREJUUL_00351218; INREJUUL_00351239.
 129
     JLI00365905.

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 product isn’t going to fit as well with consumers who are looking to cut back on the cigarette

 intake.”130

        122.    On October 1, 2014, Ms. Collinsworth followed up with additional comments. She

 stated that “[t]he delivery was almost too much for some smokers, especially those used to regular e-

 cigarettes. When they approached the product like they would a Blu or other inexpensive e-cig, they

 were floored by the delivery and didn’t really know how to control it.”131

        123.    Survey responses showed that the least important product attribute for the adult smokers

 and non-smokers in that group was “buzz.”132 Comments from the study’s subjects included

 “overwhelming when I first inhaled,” “too much for me,” “it was too strong,” and “it caught me off-

 guard.”133 Comments on the device’s style said JUUL “might manage to make smoking cool again”;

 others “thought it was a data storage device.”134

        124.    The final results from this consumer research were distributed to upper management,

 including to then-CEO James Monsees135 and then-Chief Marketing Officer Richard Mumby.136

        125.    In late 2014, knowing the results of the buzz tests, the Phase 0 study and the consumer

 research, JLI executives, including Bowen, selected the 4% benzoate formulation to serve as the model

 for all formulations to be used in the JUUL product to be released in 2015. All JUUL formulations at

 launch used the same amount of nicotine and benzoic acid as did the formulation that resulted in the

 highest nicotine blood levels in the Phase 0 study. JUUL pods were foreseeably exceptionally

 addictive, particularly when used by persons without prior exposure to nicotine.




 130
     Id. (emphasis added).
 131
     JLI00365709.
 132
     JLI00365176.
 133
     INREJUUL_00058345.
 134
     Id.
 135
     JLI00364678.
 136
     JLI00364487.

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          4.     JLI and the Management Defendants Knew That JUUL was Unnecessarily
                 Addictive Because It Delivered More Nicotine Than Smokers Needed or Wanted.

          126.   The JUUL e-cigarette launched in 2015. After the launch, JLI and the Management

 Defendants continued to collect information about the addictiveness of JUUL. This information

 confirmed what they already knew: JUUL was exceptionally dangerous because of its addictiveness,

 especially among youth.

          127.   For example, on April 22, 2017, an e-cigarette retailer emailed Gal Cohen expressing

 concern about the addictiveness of JLI’s products. He wrote:

          I am very concerned about the JLI products. People's addiction behavior is SEVERE
          with this JLI device. I don't think I can justify carrying this anymore.
          The Brooklyn store is run by someone else and he still wants to carry it. I am not really
          happy about this. It was a simple product for users who do not want to fill tanks and
          change atomizers and it was easy to sell, but I really don't feel good about selling it. I
          know we talked about this back a few years ago before we were carrying the product,
          but I am curious to know what is in the liquid. I know the nicotine salts are added but I
          would like to know what else is in it. Do you guys have a GCMS or ingredient listing
          for the liquid? Are there other additives? I want to feel more comfortable so I can keep
          carrying these, but I have seen what it is doing to people and I am very
          uncomfortable with it. Last year when the news came to me and wanted me to help
          them with the story that teens were using JLI I shut that story down by telling them it
          wasn't true. It is true.. kids are getting hooked on this thing and they don't even
          understand half the time that it has nicotine in it! Little kids.. like 14 and 15 year
          olds. They try to come in my shop and we tell them it is 21 and over and get them out...
          but it is REALLY bad!
          I have kids calling and trying to order using delivery services as well. We will only
          allow pickup and delivery for regular customers whose ID we have already checked...
          but they TRY and that worries me.. because the smoke shops and bodegas are NOT
          checking that the person they are picking up for is old enough to buy the product.
          I agree that it is certainly less hazardous than smoking... but to intentionally increase
          the addictiveness of nicotine seems really irresponsible and makes me feel like Big
          Tobacco pushing people onto a really addictive product. I just don't think that it is
          necessary and I don't feel good about it.
          Anyway... if there is any info you have that might make me feel better about selling it
          let me know... or if you could send me ingredient listing (I know Pax applied for the
          patent on the liquid with the nicotine salts so it should be ok to share now?) I would
          appreciate it.137



 137
       INREJUUL_00264888-INREJUUL_00264890.

                                                     46
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        128.    Another example came just days later. On April 28, 2017, JLI held a science meeting

 discussing the scientific information in JLI’s possession with outside scientists. Notes from the

 meeting state that “concern was raised that because the nicotine update [sic] is slightly faster the data

 could be interpreted as feeding an addiction faster. Given the current climate with addictions to

 OxyContin how the data is presented needs to be considered carefully.”138

        129.    Additionally, Dan Myers wrote to Adam Bowen in October 2017 that “single puff data

 from Juul suggests that a small number of puffs, at the beginning of the pod’s lifetime, may contain 2-

 3X” the levels of nicotine in the puffs from the rest of the pod, “i.e., 200-300 [μ]g/puff.”139 This is

 consistent with a central goal of the product’s design: capturing “users with the first hit.”140

        130.    None of this information was a surprise, nor did it cause JLI or the Management

 Defendants to change JLI’s products or marketing. In fact, they embraced it. On November 3, 2017,

 Steven Hong, JLI’s Director of Consumer Insights, described JUUL’s “design and chemical

 formulation (fast acting nic salts)” as JLI’s “ace in the hole” over the competition.141

        131.    The following year, JLI and the Management Defendants obtained even more evidence

 that the amount of nicotine in JUULpods was needlessly high. By no later than May of 2018, JLI had

 completed Phase I of “Project Bears,” a JLI study of smoker and vaper nicotine strength preferences.

 The results showed that “[a]cross the smoker segments, product liking is very similar[,]” and the

 “heaviest smokers (21+ cigs) like 1.7% more than higher strengths” such as 3% and 5%.142 Similarly,

 “for those who evaluated the 5% pod, when given the choice of lower level pod strengths, at least half

 would choose a lower strength pods.”143



 138
     INREJUUL_00230416.
 139
     INREJUUL_00434580-INREJUUL_00434590.
 140
     Chris Kirkham, Juul Disregarded Early Evidence it was Hooking Teens, REUTERS (Nov. 5, 2019),
   https://www.reuters.com/investigates/special-report/juul-ecigarette.
 141
     INREJUUL_00228928-INREJUUL_00228930.
 142
     INREJUUL_00260068.
 143
     INREJUUL_00260065.

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        132.    The same tests also showed that, contrary to JLI’s expectations, smokers did not

 increase their use of the 1.7% formulation relative to the 5% formulation in order to achieve nicotine

 satisfaction. “Smoking volume does seem to be a driver of vaping volume, but this does not vary much

 by strength within a given smoker type.”144

        133.    Thus, Project Bears revealed that 5% JUULpods delivered more nicotine than necessary

 to satisfy cigarette smokers, even those characterized as “heavy” smokers.145

        134.    At some point during the coordination between JLI, the Management Defendants, and

 Altria, but no later than the due-diligence period for Altria’s investment in JLI, either JLI (through its

 employees) or one or more of Defendants Bowen, Monsees, Pritzker, Huh, and Valani provided Altria

 with a copy of the Project Bears findings.146

        135.    Nonetheless, JLI, the Management Defendants, and Altria have maintained and

 promoted the 5% JUULpods as JLI’s flagship offering of JUULpods although they knew that even

 current smokers prefer a lower nicotine content. They pushed the 5% JUULpod because it hooked

 users faster and kept them addicted to nicotine.147

        136.    In addition to Project Bears, JLI and the Management Defendants (and potentially

 Altria) were aware of other internal studies that established that its 5% JUUL pod product would not

 be a successful cessation tool, as it was not attractive to an audience looking to reduce cigarette

 consumption.148

        5.      JUUL’s Design Did Not Look Like a Cigarette, Making it Attractive to Non-
                Smokers and Easy for Young People to Use Without Detection.

        137.    Not only did JUUL contain high levels of nicotine that delivered a strong “buzz” from

 the first puff, JLI designed its product to look appealing to youth and non-smokers. In January 2015,


 144
     INREJUUL_00244200.
 145
     Id.
 146
     Id.
 147
     Id.
 148
     Id.

                                                       48
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 six months before JUUL’s launch, JLI’s Marketing Director, Sarah Richardson, identified “key needs”

 for JUUL’s PR strategy, including “Establish premium positioning to entice the “masses” to follow the

 trend setters; own the “early adopter” /”cool kid” equity as we build out volume”, and highlighted that

 “JUUL deliberately doesn’t resemble e-cigs or cigalikes” that are “awkward” and “douche-y”.149

 Instead, JUUL is “elegant” and “cool”.

         138.    JLI’s strategy to position a nicotine-delivery device as the cool thing to do is not new.

 Decades before, Dr. Teague from R.J. Reynolds observed: “pre-smokers” face “psychological

 pressure” to smoke if their peers are doing so, “a new brand aimed at a young smoker must somehow

 be the ‘in’ brand and its promotion should emphasize togetherness, belonging and group acceptance,

 while at the same time emphasizing ‘doing one’s own thing.’”150 Again, JUUL followed the cigarette

 playbook verbatim.

         139.    JLI knew that among its target audience, young people, cigarette smoking had become

 increasingly stigmatized. JLI wanted to create a product that would create “buzz” and excitement,

 totally different from the image of addicted cigarette smokers huddling outside their workplaces in the

 cold to get their nicotine fix.

         140.    Unlike the distinct smell and odor emitted from combustible cigarettes, JUUL emits a

 reduced aerosol with a nearly undetectable scent. And unlike other e-cigarettes, the JUUL device does

 not produce large plumes of smoke. Instead, the vapor cloud is very small and dissipates very quickly,

 allowing for concealed use. As a result, young users can, and do, use JUUL—in class or at home—

 without detection.

         141.    The JUUL device is also designed to be small and discrete. Fully assembled, the device

 is just over 9.5 cm in length and 1.5 cm wide. The JUUL device resembles a memory stick and can be

 charged in a computer’s USB drive. This design allows the device to be concealed in plain sight,
 149
   INREJUUL_00057291 et seq.
 150
   Internal RJR Memo, Claude Teague, Research Planning Memorandum on Some Thoughts About
  New Brands of Cigarettes for the Youth Market, (Feb. 2, 1973).

                                                      49
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 camouflaged as a thumb-drive, for use in public spaces, like schools and even charged in school

 computers. JLI has been so successful in emulating harmless technology that its small, rectangular

 devices are often mistaken for—or passed off as—flash drives. According to one high school senior,

 “that’s what people tell the teachers a lot, too, if you charge it in class, they’ll just say it’s my flash

 drive.”151




         142.    The ability to conceal a JUUL is part of the appeal for adolescents. The devices are

 small and slim, so they fit easily in a closed hand or a pocket. The ease and simplicity of use—there is

 nothing to light or unwrap, not even an on-off switch—also make it possible to covertly use a JUUL


 151
    Juuling at School, KOMO News (2019), https://komonews.com/news/healthworks/dangerous-teen-
  trend-juuling-at-school.

                                                       50
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 behind a turned back, which has become a trend in many schools. As a police officer told reporters,

 JUUL use is “incredibly prevalent in schools,” including both high schools and middle schools, and

 that it is hard to catch kids in the act of using JUUL because the device does not produce a large vapor

 cloud. As the officer explained, students will “just take a little hit or puff off them and then can hold

 the vapor in their mouth for a little while . . . There’s minimal vapor. They’ll also just blow into their

 sleeve or into their hoodie.”152 Finding new ways to hide the ever-concealable JUUL has spawned

 products designed just for that purpose, such as apparel that allows the wearer to use the device while

 it is concealed in the drawstring of a hoodie or the strap of a backpack.153

        143.    Referred to as “the iPhone of e-cigarettes,” JLI’s design was also slick and high-tech,

 which made it appealing to youth. JLI co-founder Bowen drew on his experience as a design engineer

 at Apple Inc. (“Apple”) to make JUUL resonate with Apple’s popular aesthetics. This high-tech style

 made JUULs look “more like a cool gadget and less like a drug delivery device. This wasn’t smoking

 or vaping, this was JUULing.”154 The evocation of technology makes JUUL familiar and desirable to

 the younger tech-savvy generation, particularly teenagers. According to a 19-year-old interviewed for

 the Vox series By Design, “our grandmas have iPhones now, normal kids have JUULs now. Because it

 looks so modern, we kind of trust modern stuff a little bit more so we’re like, we can use it, we’re not

 going to have any trouble with it because you can trust it.”155 A 16-year-old agreed, explaining that

 “the tech aspect definitely helps people get introduced to it and then once they’re introduced to it,

 they’re staying, because they are conditioned to like all these different products. And then this is

 another product. And it’s just another product. Until you’re addicted to nicotine.”156


 152
     Id.
 153
     Evie Blad, ‘Juuling’ and Teenagers: 3 Things Principals and Teachers Need to Know, EDUC. WK.
   (July 18, 2018), https://www.edweek.org/ew/articles/2018/07/18/juuling-and-teenagers-3-things-
   principals-and.html.
 154
         How      JUUL      Made     Nicotine     Go      Viral,   VOX      (Aug.    10,   2018),
   https://www.youtube.com/watch?v=AFOpoKBUyok.
 155
     Id.
 156
     Id.

                                                      51
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          144.   JUUL’s design also included an LED light, which allowed users to active “party mode,”

 whereby the LED light would flash a rainbow of colors. “Party mode” is activated by the user by

 waving the JUUL device back and forth until the white LED light starts flashing multiple colors, so

 that the rainbow colors are visible while the person inhales from the JUUL device. “Party mode” can

 also be permanently activated on the JUUL by the user quickly and firmly slapping the JUUL against

 the palm of the hand, until the LED light starts flashing multiple colors permanently. Party mode on

 the JUUL is described by users to be “like an Easter egg in a video game” and allows for “some cool

 tricks that are going to drive [] friends crazy.”157 This feature was another characteristic that set JUUL

 apart from other e-cigarettes on the market, and made it even more appealing and “cool” to young

 users.




          145.   According to Dr. David Kessler, a former Commissioner of the FDA and current

 Professor of Pediatrics at the University of California, San Francisco, JUUL’s “fundamental design

 appears to ease young people into using these e-cigarettes and ultimately, addiction.”158 Dr. Kessler

 emphasized the reduced harshness of JUUL’s nicotine salt formulation, the high nicotine content,

  157
        Jon Hos, Getting Your Juul Into Party Mode, VAPE DRIVE (Jul. 12, 2018),
   https://vapedrive.com/getting-your-juul-into-party-mode.
 158
     David A. Kessler, Juul Says It Doesn’t Target Kids. But Its E-Cigarettes Pull Them In, N.Y. TIMES
   (July 31, 2019), https://www.nytimes.com/2019/07/31/opinion/juul-kids.html.

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 discreet vapor cloud, and use of flavors as design features that appeal to youth.159 On April 24, 2018,

 the FDA sent JLI a letter, based on the FDA’s concern “about the popularity of JUUL products among

 youth” and stated that this popularity may be related to “the product design.”160 As a result, the FDA

 requested documents related to product design, including its “shape or form,” “nicotine salt

 formulation” and “nicotine concentration/content,” “flavors,” and “features such as: appearance, or

 lack thereof, or plume . . . [and] USB port rechargeability.”

        6.      JLI Enticed Newcomers to Nicotine with Kid-Friendly Flavors Without Ensuring
                the Flavoring Additives Were Safe for Inhalation.

                a.      JLI Develops Flavored JUUL Products That Would Appeal to Youth.

        146.    Cigarette companies have known for decades that flavored products are key to getting

 young people to acclimate to nicotine. A 1972 Brown & Williamson memorandum: Youth Cigarette –

 New Concepts, specifically noted the “well known fact that teenagers like sweet products.”161 A 1979

 Lorillard memorandum concluded that younger customers would be “attracted to products with ‘less

 tobacco taste,” and even proposed borrowing data from the “Life Savers” candy company to determine

 which flavors enjoyed the widest appeal among youth.162

        147.    Altria’s subsidiary U.S. Smokeless Tobacco Company (formerly called United States

 Tobacco Company) described the initiation of new customers through flavored products as “the

 graduation theory”:

        New users of smokeless tobacco—attracted to the product for a variety of reasons—are
        most likely to begin with products that are milder tasting, more flavored, and/or easier

 159
     Id.
 160
      Letter from Matthew R. Holman, Director of the Office of Science at the Center for Tobacco
   Products, to Ziad Rouag, Vice President of Regulatory & Clinical Affairs, JUUL Labs, Inc. (Apr. 24,
   2018), https://www.fda.gov/media/112339/download.
 161
      Marketing Innovations, Inc., Brown & Williamson Tobacco Corp. Project Report: Youth
   Cigarette—New Concepts, U.C.S.F. Truth Tobacco Indus. Documents (Sept. 1972),
   https://www.industrydocuments.ucsf.edu/tobacco/docs/#id=hzpd0040.
 162
           Flavored      Tobacco        FAQs,       Students     Working       Against       Tobacco,
   http://swatflorida.com/uploads/fightresource/Flavored%20Tobacco%20Industry%20Quotes%20and
   %20Facts.pdf (citing Sedgefield Idea Sessions 790606-790607 (June 8, 1979), Bates No.
   81513681/3691) (last visited Mar. 27. 2020).

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          to control in the mouth. After a period of time, there is a natural progression of product
          switching to brands that are more full-bodied, less flavored, have more concentrated
          “tobacco taste” than the entry brand.163

          148.   A sales manager who worked at U.S. Tobacco in the 1980s told the Wall Street Journal

 that “They talked about graduation all the time—in sales meetings, memos and manuals for the college

 program. It was a mantra.”164

          149.   A 2004 study found that seventeen-year-old smokers were more than three times as

 likely as those over the age of twenty-five to smoke flavored cigarettes, and they viewed flavored

 cigarettes as safer.165

          150.   In June 2015, JUUL came to market in four flavors including tabaac (later renamed

 tobacco), fruut (later renamed fruit medley), bruulé (later renamed crème brulee), and miint (later

 renamed mint).




          151.   JUUL later offered other kid-friendly flavors, including cool mint, cucumber, and

 mango.




 163
     G.N. Connolly, The marketing of nicotine addiction by one oral snuff manufacturer, 4 TOBACCO
   CONTROL                                         73-79                                    (1995),
   https://www.ncbi.nlm.nih.gov/pmc/articles/PMC1759392/pdf/v004p00073.pdf.
 164
     Alix Freedman, Juiced Up: How a Tobacco Giant Doctors Snuff Brands to Boost Their ‘Kick,’
   WALL ST. J. (Oct. 26, 1994), https://www.industrydocuments.ucsf.edu/tobacco/docs/#id=mlch0185.
 165
     Gardiner Harris, Flavors Banned From Cigarettes to Deter Youth, N.Y. TIMES (Sept. 22, 2009),
   https://www.nytimes.com/2009/09/23/health/policy/23fda.html.

                                                      54
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         152.    In 2009, the FDA banned flavored cigarettes (other than menthol) as its first major anti-

 tobacco action pursuant to its authority under the Family Smoking Prevention and Tobacco Control

 Act of 2009. “Flavored cigarettes attract and allure kids into addiction,” Health and Human Services

 Assistant Secretary Howard Koh, MD, MPH, said at a news conference held to announce the ban.166 In

 agreement, former FDA Commissioner Dr. Margaret Hamburg declared that “flavored cigarettes are a

 gateway for many children and young adults to become regular smokers.”167 A 2017 study of the

 cigarette flavor ban found that the ban was effective in lowering both the number of smokers and the

 amount smoked by smokers, though it was associated with an increased use of menthol cigarettes (the

 only flavor still available).168

         153.    In January 2020, the FDA banned flavored e-cigarette pods, other than “Tobacco” and

 “Menthol” flavors, in response to “epidemic levels of youth use of e-cigarettes” because these products

 are “so appealing” to children.”169


 166
     Daniel J. DeNoon, FDA Bans Flavored Cigarettes: Ban Includes Cigarettes With Clove, Candy,
   and Fruit Flavors, WebMD (Sept. 22, 2009), https://www.webmd.com/smoking-
   cessation/news/20090922/fda-bans-flavored-cigarettes#2.
 167
     Id.
 168
     Charles J. Courtemanche et al., Influence of the Flavored Cigarette Ban on Adolescent Tobacco
   Use,     AM.     J.    OF    PREVENTIVE      MED.      52(5):e139     -    e146     (May    2017),
   https://www.ncbi.nlm.nih.gov/pmc/articles/PMC5401634/pdf/nihms842675.pdf; M.B. Harrell et al.,
   Flavored e-cigarette use: Characterizing youth, young adult, and adult users, 5 PREV. MED REP. 33–
   40 (Nov. 11, 2016), https://www.ncbi.nlm.nih.gov/pmc/articles/PMC5121224/pdf/main.pdf.
 169
      U.S. Food & Drug Admin., FDA Finalizes Enforcement Policy on Unauthorized Flavored
   Cartridge-Based E-cigarettes that Appeal to Children, Including Mint (Jan. 22, 2020),
   https://www.fda.gov/news-events/press-announcements/fda-finalizes-enforcement-policy-
   unauthorized-flavored-cartridge-based-e-cigarettes-appeal-children.

                                                     55
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        154.    The availability of e-liquids in flavors that appeal to youth increases rates of e-cigarette

 adoption by minors. According to the Surgeon General, 85% of adolescents who use e-cigarettes use

 flavored varieties.170 Studies also show that flavors motivate e-cigarette initiation among youth,171 and

 that youth are much more likely to use flavored tobacco products than adults are.172 Flavored e-

 cigarettes play a large role in the youth vaping epidemic. As mentioned above, flavors motivate e-

 cigarette initiation among youth and youth are much more likely to use flavored tobacco products than

 adults.173 According to the FDA, 96% of twelve to seventeen-year-olds who recently begun using e-

 cigarettes reported using a flavored e-cigarette the first time they tried the product.174 Flavors work to

 attract youth. A survey of teenagers between the ages of thirteen to seventeen from 2014-2015 showed

 that this age group was six times more interested in trying e-cigarettes in fruity flavors than they were

 in trying e-cigarettes with only tobacco flavor.175

        155.    Research confirms that flavored products—no matter what the tobacco product—appeal

 to youth and young adults. According to the 2012 Surgeon General Report, “Much of the growing

 popularity of small cigars and smokeless tobacco is among younger adult consumers (aged <30 years)




 170
     E-Cigarette Use Among Youth and Young Adults, U.S. Dep’t of Health & Human Servs. (2016),
   https://www.ctclearinghouse.org/Customer-Content/www/topics/2444-E-Cigarette-Use-Among-
   Youth-And-Young-Adults.pdf (last visited Mar. 27, 2020).
 171
      Karl Paul, Flavored Vapes Lure Teens Into Smoking and Nicotine Addiction, Study Shows,
   MARKETWATCH (Feb. 26, 2019), https://www.marketwatch.com/story/flavored-vapes-lure-teens-
   into-smoking-and-nicotine-addiction-study-shows-2019-02-25.
 172
     A.C. Villanti et al., Flavored Tobacco Product Use in Youth and Adults: Findings From the First
   Wave of the PATH Study, 53 AM. J. OF PREVENTATIVE MED. 139 (2017),
   https://www.ncbi.nlm.nih.gov/pubmed/28318902.
 173
     See E-Cigarette Use Among Youth and Young Adults, supra note 169; Paul, supra note 170;
   Villanti, supra note 171.
 174
     Modifications to Compliance Policy for Certain Deemed Tobacco Products, FDA (Mar. 2019),
   https://www.fda.gov/media/121384/download.
 175
     J.K. Pepper et al., Adolescents’ interest in trying flavored e-cigarettes, 25 TOBACCO CONTROL ii62
   (Sept. 15, 2016), https://tobaccocontrol.bmj.com/content/25/Suppl_2/ii62.

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 and appears to be linked to the marketing of flavored tobacco products that, like cigarettes, might be

 expected to be attractive to youth.”176

        156.    A national survey found that that 81% of youth aged twelve to seventeen who had ever

 used e-cigarettes had used a flavored e-cigarette the first time they tried the product, and that 85.3% of

 current youth e-cigarette users had used a flavored e-cigarette in the past month. Moreover, 81.5% of

 current youth e-cigarette users said they used e-cigarettes “because they come in flavors I like.”177

        157.    Adding flavors to e-liquids foreseeably increases the risk of nicotine addiction,

 especially among minors, by making it easier and more pleasant to ingest nicotine.178 Research has

 shown that adolescents whose first tobacco product was flavored are more likely to continue using

 tobacco products than those whose first product was not flavored.

        158.    In a recent study, 74% of youth surveyed indicated that their first use of a JUUL was of

 a flavored JUUL pod.179

        159.    Research shows that when youth see advertisements for flavored e-cigarettes, they

 believe the advertisements and products are intended for them.180


 176
     Preventing Tobacco Use Among Youth and Adults, A Report of the Surgeon General (“2012
   Surgeon General Report”) at 539, U.S. Dep’t Health & Human Servs. (2012),
   https://www.ncbi.nlm.nih.gov/books/NBK99237/pdf/Bookshelf_NBK99237.pdf.
 177
     See Bridget K. Ambrose et al., Flavored Tobacco Product Use Among US Youth Aged 12-17 Years,
   2013-2014, 314 JAMA 1871 (2015). Another peer-reviewed study concluded that young adults who
   use electronic cigarettes are more than four times as likely to begin using regular cigarettes as their
   peers who have not used e-cigarettes. See Brian A. Primack, et al. Initiation of Traditional Cigarette
   Smoking after Electronic Cigarette Use Among Tobacco-Naïve US Young Adults, 131 AM. J. MED.
   443.e1 (2018).
 178
     See U.S. Dep’t of Health & Human Servs., How Tobacco Smoke Causes Disease: The Biology and
   Behavioral Basis for Smoking-Attributable Disease: A Report of the Surgeon General, Chapter 4
   (Centers for Disease Control and Prevention ed. 2010), https://www.ncbi.nlm.nih.
   gov/books/NBK53018/ #ch4.s92.
 179
     Karma McKelvey et al., Adolescents and Young Adults Use in Perceptions of Pod-based Electronic
   Cigarettes.       1       JAMA        NETWORK         OPEN        e183535         (2018),      https://
   doi:10.1001/jamanetworkopen.2018.3535.
 180
     D.C. Petrescu, et al., What is the Impact of E-Cigarette Adverts on Children’s Perceptions of
   Tobacco Smoking? An Experimental Study, 26 TOBACCO CONTROL 421 (2016); Julia C. Chen-Sankey
   et al., Perceived Ease of Flavored E-Cigarette Use and E-Cigarette Use Progression Among Youth
   Never Tobacco Users, 14 PLOS ONE 1 (2019).

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        160.    Flavors like mint and menthol are attractive to youth. According to Robin Koval, CEO

 and president of Truth Initiative, mint and menthol are among the most popular flavors for youth and

 that “[w]e also know, as does the tobacco industry, that menthol has been and continues to be the

 starter flavor of choice for young cigarette users.”181 According to the FDA, “younger populations

 have the highest rate of smoking menthol cigarettes” and “menthol in cigarettes is likely associated

 with increased initiation and progression to regular [] cigarette smoking.”182

        161.    A significant majority of under-age users chose flavored e-cigarette products.183 By at

 least early 2017, JLI knew that its flavors had attracted young people and non-smokers in droves.184

 Instead of taking corrective action or withdrawing the kid friendly flavors, JLI capitalized on their

 popularity with kids and continued to promote JUUL’s flavors. In a social media post from August

 2017, for example, JLI tweeted “Beat The August Heat with Cool Mint” and “Crisp peppermint flavor

 with a pleasant aftertaste.”185 In another August 2017 tweet, JLI compared JUUL to dessert: “Do you

 brulée? RT [re-tweet] if you enjoy dessert without the spoon with our Creme Brulee #JUULpods.” 186




 181
     Id.
 182
      Preliminary Scientific Evaluation of the Possible Public Health Effects of Menthol Versus
   Nonmenthol Cigarettes at 5, FDA, https://www.fda.gov/media/86497/download (last visited Mar. 28,
   2020).
 183
     Karen A. Cullen et al., E-cigarette Use Among Youth in the United States, 322 JAMA 2095 (2019),
   https://tinyurl.com/y3g75gmg (“Among current exclusive e-cigarette users, an estimated 72.2% . . .
   of high school students and 59.2% . . . of middle school students used flavored e-cigarettes. . . .").
 184
     See INREJLI_00265068 (Feb. 13, 2017 internal JLI email string: “. . . [f]lavors are important for
   retention – especially when you consider the switching effectiveness of JLI. Would we still have
   these people as customers if we didn’t offer fruit or dessert flavors? Hard to say on this alone, but if
   we removed our highest quality flavors (mint or mango), we would surely risk churn.”).
 185
           JUUL        Labs,      Inc.      (@JUULvapor),          Twitter      (Aug.       4,        2017),
   http://tobacco.stanford.edu/tobacco_web/images/pod/juul/twitter/large/twitter_39.jpg.
 186
     Kathleen Chaykowski, The Disturbing Focus of Juul’s Early Marketing Campaigns, Forbes (Nov.
   16, 2018), https://www.forbes.com/sites/kathleenchaykowski/2018/11/16/the-disturbing-focus-of-
   juuls-early-marketing-campaigns/#3da1e11b14f9.

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        162.    JLI asserts that it did not intend its flavors to appeal to underage consumers. After

 eleven Senators sent a letter to JLI questioning its marketing approach and kid-friendly e-cigarette

 flavors, JLI visited Capitol Hill and told Senators that it never intended its products to appeal to kids

 and did not realize they were using the products, according to a staffer for Senator Richard Durbin.187

 JLI’s statements to Congress—which parallel similar protests of innocence by cigarette company

 executives—were false.

        163.    A former JUUL manager, who spoke to The New York Times on the condition that his

 name not be used, said that within months of JUUL’s 2015 introduction, it became evident that

 teenagers were either buying JUULs online or finding others who made the purchases for them. Some

 people bought more JUUL kits on the company’s website than they could individually use—

 sometimes ten or more devices at a time. “First, they just knew it was being bought for resale,” said the




 187
   Lorraine Woellert & Sarah Owermohle, Juul Tries to Make Friends in Washington as Regulators
  Circle, POLITICO (Dec. 28, 2018), https://www.politico.com/story/2018/12/08/juul-lobbying-
  washington-1052219.

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 former senior manager, who was briefed on the company’s business strategy. “Then, when they saw

 the social media, in fall and winter of 2015, they suspected it was teens.”188

        164.    By positioning JUUL pods as a flavor-oriented product rather than a system for

 delivering a highly addictive drug, JLI deceptively led consumers to believe that JUUL pods were not

 only healthy (or at least essentially harmless), but also a pleasure to be enjoyed regularly, without guilt

 or adverse effect.

                b.      Defendants Developed and Promoted the Mint Flavor and Sought to
                        Preserve its Market.

        165.    While JLI and the Management Defendants were developing and marketing their

 flavored products to appeal to and recruit youth customers, Altria, recognizing the value of those

 young “replacement smokers” committed itself to the cause. With the shared goal to grow the number

 of nicotine-addicted users, including youth in particular, and as detailed further herein, JLI, the

 Management Defendants, and Altria set out to do whatever was necessary to create and preserve the

 lucrative market for flavors. In order to maximize the value of its mint line of JUULpods, JLI, with the

 support of the Management Defendants, chemically and socially engineered its mint pods to become

 the most popular “flavor” among youth, including through extensive surveillance of youth behavior

 and preferences, all while seeking to conceal mint’s appeal to youth.

        166.    In July 2013, Reynolds American Inc.189 released the Vuse, the first-known cartridge-

 based nicotine salt e-cigarette to reach the domestic market.190 Altria entered the nicotine salt market

 one month later, with the MarkTen cig-a-like.191 JLI would enter the market in June 2015.



 188
     Matt Richtel & Sheila Kaplan, Did Juul Lure Teenagers and Get ‘Customers for Life’?, N.Y. TIMES
   (Aug. 27, 2018), https://www.nytimes.com/2018/08/27/science/juul-vaping-teen-marketing.html.
 189
     Reynolds is now a wholly owned subsidiary of British American Tobacco.
 190
     See FAQs, RJR Vapor Co., LLC, http://www.vusevapor.com/faqs/product/ (“Since Vuse’s launch
   in 2013, all of our closed systems available for sale nationally (i.e., Vuse Solo, Vuse Ciro, Vuse Vibe,
   and Vuse Alto) include nicotine salts.”).
 191
     Additional Info, Nu Mark LLC, https://markten.com (“certain varieties” of MarkTen Original
   “contain … acetic acid, benzoic acid, and lactic acid.”).

                                                     60
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        167.    Though mint was one of the least popular e-cigarette flavor categories with youth in

 2015, trailing the fruit and dessert categories,192 Reynolds, Altria and JLI had all introduced mint-

 flavored products within a year of each company’s initial release. By mid-2014, Reynolds had added

 “Mint, Rich Mint, Spearmint, [and] Wintergreen” to its Vuse lineup.193 By February 2015, Altria’s Nu

 Mark LLC, under the leadership of Joe Murillo (JLI’s current regulatory head), released a Winter Mint

 flavor for MarkTen.

        168.    Unlike Reynolds and Altria, which released mint products after first releasing a menthol

 variant, JLI skipped menthol and went straight to mint, adding Menthol in late 2017 around the same

 time it released its mango JUULpods.

        169.    JLI’s flavored JUULpods were particularly popular with its underage users and, when

 mango was introduced, it was the underage user’s flavor of choice.

        170.    JLI, the Management Defendants, and Altria recognized both the potential of using

 flavors to hook kids and the inevitability that the government would seek to regulate said flavors. So,

 they sought to solidify the market presence of a “substitute” youth-friendly flavor—mint—which

 might escape regulation and preserve JLI’s astronomical sales figures.

                        (i)    JLI Manipulates Chemistry of Mint JUUL Pods.

        171.    One recent study found that JLI’s mango had the lowest free-base content, making it the

 least harsh formula; and that mint had the highest free-base content (30% more free-base than mango),

 making mint the formula with the strongest nicotine impact:194



 192
     See M.B. Harrell et al., Flavored e-cigarette use: Characterizing youth, young adult, and adult
   users,      5    PREVENTIVE      MEDICINE        REPS.    33-40,     §    3.3    (Mar.      2017),
   https://www.sciencedirect.com/science/article/pii/S2211335516301346.
 193
        See Sen. Richard Durbin, et al., Gateway to Addiction? (April 14, 2014),
   https://www.durbin.senate.gov/imo/media/doc/Report%20-%20E-Cigarettes%20with%20Cover.pdf.
 194
          See     Duell    AK,     et     al.     Nicotine    in    tobacco     product     aerosols:
   “It's déjà vu all over Again,” 5 TOBACCO CONTROL (Dec. 17, 2019),
   https://tobaccocontrol.bmj.com/content/tobaccocontrol/early/2019/12/16/tobaccocontrol-2019-
   055275.full.pdf.

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           Anna K. Duell et al., Nicotine in tobacco product aerosols: ‘It’s déjà vu all over again’




        172.    These findings evidence JLI, the Management Defendants, and the Altria Defendants’

 plan to make the flavor whose lifespan they were working hard to preserve the most potent when it got

 into the hands of nonsmokers, including youth.

                        (ii)    JLI’s Youth Surveillance Programs Confirmed that Mint JUUL
                                Pods are Preferred by Teens.

        173.    In January 2018, Kevin Burns, JLI’s new CEO, deployed his experience as the former

 CEO of a yogurt company to begin developing JUUL’s flavor portfolio.

        174.    One part of this initiative included studying reactions to flavor names. By February

 2018, McKinsey & Company had provided a roadmap to JLI’s Consumer Insights department, which

 included multiple flavor studies including a flavor “likability” tests, which was carried out under

 JUUL’s marketing and commercial department.195

        175.    In April 2018, JLI received a document request from the FDA on April 24, 2018,

 seeking information about the design and marketing of JLI’s products, among other things.196

        176.    In response, JLI announced a commitment of $30 million to youth prevention efforts

 and began sending JLI representatives to schools to present what were essentially advertising

 195
    INREJUUL_00053172.
 196
    Matthew Holman, U.S. Food & Drug Admin., to Ziad Rouag, Juul Labs, Inc., Letter from Director
  of     Office   of   Science,    Center    for   Tobacco     Products      (Apr. 24,    2018),
  https://www.fda.gov/media/112339/download.

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 campaigns for JUUL products. This conduct resulted in a Warning Letter from the FDA’s Center for

 Tobacco Products to JLI in September 2019.197

        177.    Under the guise of this youth prevention program, JLI directly studied 13- to 17-year-

 old teens’ e-cigarette flavor preferences.198 These studies, undertaken at a time when JLI and Altria

 were coordinating their activities, asked teens to rank a variety of e-cigarette flavors in terms of appeal,

 and included the names of current JUUL flavors, JUUL flavors under development, and flavors offered

 by JLI’s competitors. Though they were not made public, through document requests, two such studies

 have been identified from April 2018.

        178.    The first study, carried out by McKinsey & Company, generated over 1,000 responses

 from teens aged 13 to 17 years old.199 The second study, conducted by DB Research, appears to have

 gathered data from a focus group of 16 kids in Bethesda, Maryland, and Baltimore, Maryland.200

        179.    Both studies found that teens’ co-favorite JUUL flavors were mango and mint, and that

 teens found only one third-party flavor more desirable than mango and mint: “Cotton Candy”

 (McKinsey) 201 and “Fruit Loops” (DB Research).202

        180.    Though the McKinsey study did not survey teens’ preference for menthol, the DB

 Research study did and found that while 28% of teens found menthol appealing, 72% of teens liked

 mint.203

        181.    In other words, these surveys showed that teens respond to mint the way they respond to

 their favorite candy flavors and respond to Menthol the way they respond to traditional tobacco flavors

 typically disfavored by youth. This is unsurprising, as the “Mint” flavor was designed not to taste like
 197
     Letter from U.S. Food & Drug Admin. to Kevin Burns, CEO of Juul Labs, Inc. (Sept. 9, 2019),
   https://www.fda.gov/inspections-compliance-enforcement-and-criminal-investigations/warning-
   letters/juul-labs-inc-590950-09092019.
 198
     INREJUUL_00121627 (preliminary slides); INREJUUL_00124965 (data).
 199
     Id.
 200
     INREJUUL_00035325.
 201
     INREJUUL_00124965.
 202
     Id.
 203
     INREJUUL_00035325.

                                                      63
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 a Menthol cigarette. Users have described JLI’s Menthol flavor as “tast[ing] like a [N]ewport”

 cigarette that “doesn’t have that good peppermint taste like [C]ool [M]int.”204

        182.    Because of these and other studies, JLI, the Management Defendants, and the Altria

 Defendants knew that mint is an attractive flavor for kids. According to Siddharth Breja, who was

 senior vice president for global finance at JLI, after JLI pulled most flavored pods, including mango,

 from the market in a purported attempt to reduce youth usage of JUUL, then-CEO Kevin Burns said

 that “[y]ou need to have an IQ of 5 to know that when customers don’t find mango they buy mint.”205

        183.    And it was public knowledge that mint and menthol have a well-documented history of

 facilitating youth tobacco use, as Dr. Jonathan Winickoff testified before Congress:

        [it is] completely false to suggest that mint is not an attractive flavor to children. From
        candy canes to toothpaste, children are introduced to mint flavor from a young age. Not
        only do children enjoy mint, but it has special properties that make it an especially
        dangerous flavor for tobacco. Menthol’s anesthetic properties cool the throat, mask the
        harshness of nicotine, and make it easier for children to start using and continue using
        tobacco products. The impact of mint and menthol flavors on increasing youth tobacco
        addiction is well documented.206

        184.    If the purpose of these youth prevention studies was to “better understand how different

 flavor profiles appeal to different age groups to inform youth prevention,” as the McKinsey slides

 presenting that study’s findings indicate, the lesson for JLI, the Management Defendants, and the

 Altria Defendants was that teens like mint as much or more than any other JUUL flavor, including

 mango, fruit medley, crème brulee, cucumber, and more than a dozen other candy-like flavors

 produced by third-parties for use with the JUUL device.

 204
          Reddit,      How      does     Classic      Menthol       compare       to  Cool      Mint,
   https://www.reddit.com/r/juul/comments/7wo39m/how_does_classic_menthol_compare_to_cool_mi
   nt/.
 205
     Sheila Kaplan and Jan Hoffman, Juul Knowingly Sold Tainted Nicotine Pods, Former Executive
   Say, N.Y. TIMES (Nov. 20, 2019), https://www.nytimes.com/2019/10/30/health/juul-pods-
   contaminated.html.
 206
     Examining Juul’s Role in the Youth Nicotine Epidemic, Hearing Before the H. Comm. on Oversight
   and Reform, Subcomm. on Econ. and Consumer Policy, 116th Cong. 3 (2019) (statement of Jonathan
   P.            Winickoff,            American            Academy              of        Pediatrics),
   https://oversight.house.gov/sites/democrats.oversight.house.gov/files/2019.07.24%20Winickoff%20
   AAP%20Testimony.pdf.

                                                    64
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        185.    With that knowledge and with no genuine interest in youth prevention, and as detailed

 below, JLI, the Management Defendants, and Altria committed to work to preserve mint as a flavor for

 as long as possible. Indeed, to further this goal, Defendants Pritzker and Valani poured additional

 money into JLI a mere two months later as part of a $600 million funding round.207

        186.    By keeping mint on the market long after other flavors were pulled, these Defendants

 continued to expand the number of addicted e-cigarette users, including youth in particular.

 D.     Defendants Developed and Implemented a Marketing Scheme to Mislead the Public,
        Including Youth, into Believing that JUUL Products Contained Less Nicotine Than They
        Actually Do and Were Healthy and Safe.

        187.    Having created a product designed to hook users to its nicotine, JLI had to mislead

 consumers, including youth in particular, into believing JUUL was something other than what it

 actually was. So, the company engaged in a years’ long campaign to downplay JUUL’s nicotine

 content, nicotine delivery, and the unprecedented risks of abuse and addiction JUUL poses. Defendants

 devised and knowingly carried out a material scheme to defraud and addict consumers, including youth

 in particular, by (a) misrepresenting the nicotine content, nicotine delivery profile, and risks of JUUL

 products, (b) representing to the public that JUUL was a smoking cessation tool, and (c) using third-

 party-groups to spread false and misleading narratives about e-cigarettes, and JUUL in particular.

        1.      The Defendants Knowingly Made False and Misleading Statements and Omissions
                Concerning JUUL’s Nicotine Content.

        188.    As part of their strategy to market to youth and nonsmokers, JLI and the Management

 Defendants also did not effectively inform users that JUUL products contain nicotine. Despite making

 numerous revisions to JUUL products’ packaging since 2015, JLI did not include nicotine warnings

 until forced to do so in August 2018.208



 207
     Alex Wilheim & Jason D. Rowley, JUUL Raises $650M Of Its $1.25B Mega-Round, CRUNCHBASE
   (Jul. 10, 2018), https://news.crunchbase.com/news/juul-raises-650m-of-its-1-25b-mega-round/.
 208
     See INREJUUL_00444332 (2015 image of JLI packaging). The JLI packaging originally included
   such warnings about nicotine, but were removed during various rounds of revisions, see e.g.,

                                                     65
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        189.    Moreover, many of JUUL’s advertisements, particularly prior to November 2017, also

 did not mention that JUUL contained nicotine. In the first year after JUUL’s launch, not one of JLI’s

 171 promotional emails said anything about the nicotine content in JUUL products.209 For example, in

 a July 11, 2015 email, JLI advertised its promotional events with the text, “Music, Art, & JUUL. What

 could be better? Stop by and be gifted a free starter kit.”210 This email did not mention that JUULpods

 contain nicotine, nor did it say that JUUL or the free starter kits were intended for adults only.

        190.    Similarly, none of JLI’s 2,691 tweets between June 2015 and October 6, 2017

 mentioned that JUUL contained nicotine.211 For example:

                         i. On August 7, 2015, JLI tweeted, “Need tix for @cinespia 8/15? We
                            got you. Follow us and tweet #JUULallnight and our faves will get a
                            pair of tix!”212 This tweet did not mention that JUUL contained
                            nicotine.

                        ii. On July 28, 2017, JLI tweeted an image of a Mango JUULpod next
                            to mangos captioned “#ICYMI: Mango is now in Auto-ship! Get the
                            #JUULpod flavor you love delivered & save 15%. Sign up today.”213
                            This tweet did not mention that JUUL contained nicotine.

                       iii. On August 4, 2017, JLI tweeted “Beat The August Heat with Cool
                            Mint” and “Crisp peppermint flavor with a pleasant aftertaste,”
                            captioned “A new month means you can stock up on as many as 15




   INREJUUL_00021583-586 at 583 (2014 image of JLI packaging containing handwritten revisions of
   the original language).
 209
     Robert K. Jackler et al., JUUL Advertising Over Its First Three Years on the Market, Stanford
   Research       Into   the     Impact   of    Tobacco     Advertising       25     (Jan. 31, 2019),
   http://tobacco.stanford.edu/tobacco_main/publications/JUUL_Marketing_Stanford.pdf.
 210
      Check out our JUUL events this Summer, JUUL (hello@juulvapor.com) (July 11, 2015),
   http://tobacco.stanford.edu/tobacco_web/images/pod/juul/email/large/email_2.jpg.
 211
     Robert K. Jackler et al., JUUL Advertising Over Its First Three Years on the Market, Stanford
   Research       Into   the     Impact   of    Tobacco     Advertising       25     (Jan. 31, 2019),
   http://tobacco.stanford.edu/tobacco_main/publications/JUUL_Marketing_Stanford.pdf.
 212
           JUUL        Labs,      Inc.    (@JUULvapor),         Twitter       (Aug.       7,   2015),
   http://tobacco.stanford.edu/tobacco_web/images/pod/juul/twitter/large/twitter_18.jpg.
 213
           JUUL        Labs,      Inc.    (@JUULvapor),        Twitter        (July      28,   2017),
   http://tobacco.stanford.edu/tobacco_web/images/pod/juul/twitter/large/twitter_38.jpg.

                                                     66
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                            #JUULpod packs. Shop now.”214 This tweet did not mention that
                            JUUL contained nicotine.

                       iv. On August 28, 2017, JLI tweeted “Do you brulée? RT [re-tweet] if
                           you enjoy dessert without the spoon with our Creme Brulee
                           #JUULpods.” 215 This tweet did not mention that JUUL contained
                           nicotine.

        191.    Even after Defendants added a nicotine warning to JUUL products, they continued to

 mislead youth and the public about the amount of nictoine in a JUULpod. Every 5% strength JUUL

 pod package represents that one pod is equivalent to one pack of cigarettes. This statement is

 deceptive, false and misleading. As JLI’s regulatory head explained internally to former CEO Kevin

 Burns in 2018, each JUUL pod contains “roughly twice the nicotine content of a pack of cigarettes.”216

        192.    In addition, and as JLI and the Management Defendants know, it is not just the amount

 of nicotine, but the efficiency with which the product delivers nicotine into the bloodstream, that

 determines the product’s narcotic effect, risk of addiction, and therapeutic use. Most domestic

 cigarettes contain 10–15 mg of nicotine per cigarette217 and each cigarette yields between 1.0 to 1.4 mg

 of nicotine,218 meaning that around 10% of the nicotine in a cigarette is typically delivered to the user.

 JUUL e-cigarettes, on the other hand, have been found to deliver at least 82% of the nicotine contained




 214
           JUUL        Labs,      Inc.     (@JUULvapor),        Twitter       (Aug.       4,   2017),
   http://tobacco.stanford.edu/tobacco_web/images/pod/juul/twitter/large/twitter_39.jpg.
 215
     Kathleen Chaykowski, The Disturbing Focus of Juul’s Early Marketing Campaigns, Forbes (Nov.
   16, 2018), https://www.forbes.com/sites/kathleenchaykowski/2018/11/16/the-disturbing-focus-of-
   juuls-early-marketing-campaigns/#3da1e11b14f9.
 216
     INREJUUL_00279931.
 217
     Neal L Benowitz & Jack E Henningfield, Reducing the nicotine content to make cigarettes less
   addictive,         22        TOBACCO           CONTROL        Supp.          1, i14-17     (2013),
   https://www.ncbi.nlm.nih.gov/pmc/articles/PMC3632983/.
 218
     Lynn T. Kozlowski & Janine L. Pilliteri, Compensation for Nicotine by Smokers of Lower Yield
   Cigarettes,      7     SMOKING       AND      TOBACCO      CONTROL        MONOGRAPH       161, 164
   (1983), https://cancercontrol.cancer.gov/brp/tcrb/monographs/7/m7_12.pdf.

                                                     67
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 in a JUUL pod to the user.219 JLI’s own internal studies suggest a nicotine transfer efficiency rate of

 closer to 100%.220

        193.    Defendants also knew that the use of benzoic acid and nicotine salts in JUUL pods

 affects pH and facilitates “absorption of nicotine across biological membranes.”221 JUUL’s e-liquid

 formulation is highly addictive not only because it contains a high concentration of nicotine, but

 because it contains a particularly potent form of nicotine, i.e., nicotine salts. Defendants knew this, as

 Adam Bowen advised the Board of Directors at an October 2015 Board meeting on JLI’s “nicotine

 salts patent application.”222 And the Altria Defendants were aware of the research showing the potency

 of nicotine salts from their many years in the tobacco business.

        194.    JLI and Defendant Bowen, knowing that the Phase 0 results illustrated that the nicotine

 content was greater than they wanted to represent, sought to engineer test results that differed from

 those results and were more consistent with JLI’s deceptive messaging. In May 2014, within weeks of

 the Phase 0 study, JLI and Defendant Bowen carried out a second pharmacokinetics study in New

 Zealand. This study was called the CH-1401, or the “Phase 1” study. This study again examined the

 effects of inhaling aerosol from various 2% nicotine solutions: nicotine benzoate (blend A), nicotine

 malate (blend B), and free-base nicotine (blend C).223 In a further departure from the Phase 0 study,

 which used experienced e-cigarette users, the Phase 1 study used subjects that had not previously

 ingested aerosolized nicotine vapor, and who had certainly never ingested aerosolized nicotine vapor

 from nicotine salts. As Defendants JLI and Bowen knew, this difference is critical. Just as first-time

 smokers would not inhale as much cigarette smoke as regular smokers, inexperienced (or “learning”)
 219
      Samantha M. Reilly et al., Free Radical, Carbonyl, and Nicotine Levels Produced by JUUL
   Electronic      Cigarettes,   21     NICOTINE      TOBACCO       RESEARCH      1274      (2019),
   https://www.ncbi.nlm.nih.gov/pubmed/30346584 (about 82%, for averages of 164 μg per puff).
 220
      See, e.g., INREJUUL_00023597 (finding 94% nicotine transfer efficiency with 4% benzoate
   formula).
 221
     Neal L. Benowitz et al., Nicotine Chemistry, Metabolism, Kinetics and Biomarkers, 192 HANDB.
   EXP. PHARMACOL. 29 (2010), https://www.ncbi.nlm.nih.gov/pmc/articles/PMC2953858/
 222
     INREJUUL_00278408.
 223
     INREJUUL_00014159-INREJUUL_00014226.

                                                     68
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 e-cigarette users will not inhale vapor at a rate that maximizes nicotine delivery.224 JLI’s decision to

 omit participants with previous e-cigarette experience from the criteria for inclusion in CH-1401

 resulted in artificially deflated Cmax results.225

         195.    The Cmax recorded in the Phase 1 study was approximately a third of that achieved by

 smoking a cigarette. Specifically, e-cigarette users recorded a Cmax of approximately 12.87 ng/ml,

 compared with the 31.47 ng/ml Cmax resulting from smoking a Pall Mall.226

         196.    In possession of the results from both the Phase 0 and Phase 1 studies, JLI nevertheless

 decided to launch a 5% nicotine salt solution as its commercial product. An internal memo explained

 JLI’s reasoning as follows: “[s]ince the Cmax of the [2%] nicotine salt was about 1/3 that of cigarettes,

 we chose a concentration of 5% for our commercial product (JUUL), which should provide a Tmax

 and Cmax consistent with a cigarette.”227

         197.    Instead of testing a 5% solution, JLI estimated the Cmax result of a 5% nicotine

 solution using a model.228 But the Phase 0 data showed that a 4% benzoic acid / 5% nicotine solution

 would have a higher Cmax and AUC than those of a cigarette, not one that was equal.

         198.    JLI and the Management Defendants knew that JLI’s studies indicated that their 5%

 solution product was more potent and more addictive than a typical cigarette. But JLI and the

 Management Defendants then used their unsupported extrapolation of their flawed studies to market

 JUUL as providing a nicotine experience on par with a cigarette, even though they designed JUUL to

 ensure that was not true. In reality, there were never any measured test results in accord with JLI’s

 marketing to distributors, retailers, and the public at large.

         199.    In the United States, the unsupported extrapolations from what appears to be the Phase

 1 study were used to create charts, which JLI posted on its website, shared with journalists, sent to
 224
     INREJUUL_00002526-INREJUUL_00002625.
 225
     Id.
 226
     Id.
 227
     INREJUUL_00351717-INREJUUL_00351719.
 228
     Id.

                                                       69
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 retailers, and distributed to third party promoters, showing that JUUL’s 5% solution achieved a pk

 profile just below that of a cigarette. For example, the following chart appeared on the online

 publication TechCrunch:229




        200.    Simultaneously, while providing extrapolated data to the public, Phase 1 was used as

 the basis for representations to retailers that a 2% solution achieved a pk profile equaling that of a

 cigarette. In a pitch deck dated March 25, 2015, and labeled as being intended for the convenience

 store distributor Core-Mark, JLI presented interim230 Phase 1 data showing this equivalence:231




 229
      Ryan Lawler, Vaporization Startup Pax Labs Introduces Juul, Its Next-Gen-E-Cigarette, TECH
   CRUNCH (Apr. 21, 2015), https://techcrunch.com/2015/04/21/pax-juul/.
 230
     See JLI00363360.
 231
     INREJUUL_00448896.

                                                     70
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          201.   These misrepresentations to the public were not accidental, nor were they the work of a

 rogue employee. In a June 2014 Ploom Board meeting in London, the Ploom executives’ presentation

 to the Board, which at that time included Defendants Bowen, Monsees, Pritzker, and Valani, explained

 the differences between the Phase 0 and Phase 1 results as “due to averaging across more subjects with

 variability in puffing behavior.”232 Their explanation did not note that “variability in puffing

 behaviour” was partly a result of the fact that participants in the Phase 0 study were experienced e-

 cigarette users whereas the participants in the Phase 1 study were not. Thus, Defendants Bowen,

 Monsees, Pritzker, and Valani were privy to both the Phase 0 and Phase 1 results. And they knew that

 the data JLI (then Ploom) was pushing on the public was false and misleading, but none made any

 efforts to correct or withdraw those false and misleading statements. Aside from submitting the testing

 protocol and results of the Phase 0 study with the ‘895 patent, JLI, Bowen, Monsees, Prtizker, and

 Valani otherwise ignored the Phase 0 study and omitted it from public discussion of JUUL’s nicotine

 delivery.




 232
       INREJUUL_00016443-INREJUUL_00016507.

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         2.     JLI, the Management Defendants, and Altria Transmitted, Promoted and Utilized
                Statements Concerning JUUL’s Nicotine Content that They Knew Were False and
                Misleading.

         202.   As set forth above, the statements in JLI advertisements and on JUUL pod packaging

 that each JUUL pod contains about as much nicotine as a pack of cigarettes are deceptive, false and

 misleading. Defendants knew this.

         203.   JLI and the Management Defendants caused deceptive, false and misleading statements

 that a JUUL pod had an equivalent amount of nicotine as one pack of cigarettes to be distributed via

 the wires and mails. These Defendants have thus materially misrepresented the nicotine content of

 JUUL products to the consuming public including Plaintiffs, through acts of mail and wire fraud.

         204.   By no later than October 30, 2016 (and likely earlier), the JLI Website—which, as

 discussed above, the Management Defendants on JLI’s Board of Directors reviewed and approved—

 advertised that “[e]ach JUULpod contains 0.7mL with 5% nicotine by weight, approximately

 equivalent to 1 pack of cigarettes or 200 puffs.”233 The language on the website would later change,

 but still maintained the same fraudulent misrepresentation—i.e., that “[e]ach 5% JUULpod is roughly

 equivalent to one pack of cigarettes in nicotine delivery.”234

         205.   As noted above, JLI and the Management Defendants directed and approved the content

 of the JUUL website, and they also directed and approved the distribution channels for JUUL pods and

 deceptive, misleading and fraudulent statements regarding JUUL’s nicotine content. And although they

 knew that these statements, which they caused to be transmitted over the wires and mails, were untrue,

 JLI and the Management Defendants have made no effort to retract such statements or correct their

 lies.




 233
             JUULpod,          JUUL        Labs,        Inc.        (Oct.       30,   2016),
   https://web.archive.org/web/20161030085646/https://www.juulvapor.com/shop-pods/.
 234
     What is Vaping?, JUUL Labs, Inc. (July 2, 2019), https://www.JUUL.com/resources/What-is-
   Vaping-How-to-Vape.

                                                     72
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        206.    In addition to approving the JLI website, knowing that it contained deceptive,

 misleading and false statements, JLI (through its employees) and the Management Defendants also

 were directly responsible for the interstate transport, via U.S. mail, of JUULpod packaging contained

 misrepresentations and omissions. At the same Board Meeting where Defendants Pritzker, Huh, and

 Valani were installed as the Executive Committee, the Board directed JLI’s management on, among

 other things, “the need to rely on distributors and the challenges in reaching customers otherwise.”235

        207.    JUUL pod packages that were sent via U.S. mail stated that a single JUUL pod is

 “approximately equivalent to about 1 pack of cigarettes.”236 These statements, as well as the statements

 on the JLI website, are false and misleading.

        208.    The statement on the JLI website, and in its advertisements and packaging, that each

 JUUL pod contains 5% nicotine and is approximately equivalent to a pack of cigarettes is false and

 likely to deceive and mislead, because the actual amount of nicotine contained in a JUUL pod is as

 much as twice as high as that in a pack of cigarettes.

        209.    The Altria Defendants greatly expanded the reach of this fraud by providing their retail

 and distribution might for JLI products, causing millions of JUUL pods to be sent via U.S. mail with

 packaging stating that JUUL pods contain only 5% nicotine by weight and are “approximately

 equivalent to about 1 pack of cigarettes.”237 JLI, the Management Defendants, and the Altria

 Defendants knew that these statements were false and misleading, but nevertheless utilized JUUL

 product packing, marketing and advertising to maintain their fraud.

        210.    The Altria Defendants knew in 2017 that a JUUL pod delivered more nicotine than one

 pack of cigarettes. In 2017, the Altria Defendants launched its MarkTen Bold e-cigarette, a relatively

 high-strength 4% formulation compared to the 2.5% and 3.5% strength MarkTen products initially


 235
     INREJUUL_00278408.
 236
              Juul        Labs,         Inc.,      Twitter,             (Feb.          14,         2018),
   https://twitter.com/JUULvapor/status/963844069519773698.
 237
     Id.

                                                     73
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 offered. Even though JUUL was already on store shelves and was rapidly gaining market share with its

 5% nicotine formulation, the Altria Defendants chose to bring a less potent 4% formulation to market.

        211.    According to the Altria Defendants own pharmacokinetic testing as reflected in the

 chart below, this 4% less potent formulation was nevertheless sufficient to raise plasma nicotine to

 levels approaching those generated by combustible cigarettes. In other words, the Altria Defendants’

 own pharmacokinetic testing suggested the highly addictive nature of a 5% formulation, as such a

 formulation would readily equal or exceed the nicotine delivery profile of a combustible cigarette.




     Figure 2: Presented at Altria Group Inc.’s November 1, 2017 Investor Day Presentation.
                                       MarkTen Bold 4%

        212.    Based on its own internal knowledge, the Altria Defendants knew that a 5% nicotine

 formulation would carry more nicotine than one pack of cigarettes. In addition to data they received

 from JLI, the Altria Defendants’ due diligence undoubtedly included a careful examination of JLI’s

 intellectual property, including the ’895 patent, which provides a detailed overview of nicotine

 benzoate’s pharmacokinetic profile.

        213.    Thus, JLI, the Management Defendants, and the Altria Defendants knew that the

 statement on JUUL pod packaging that each JUUL pod contains 5% nicotine and about as much

 nicotine as a pack of cigarettes is literally false and they intended such statements to mislead users,

 including youth. Neither the Altria Defendants nor JLI or the Management Defendants have made any


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 effort to correct or retract the false and misleading statements as to the true nicotine content in JUUL

 pods. Instead, they have continued to misrepresent the product’s nicotine content and design, with the

 goal of misleading and deceiving consumers.

            214.   From JUUL’s pre-release announcements to this day, JLI has continuously represented

 that each pod is approximately equivalent to a pack of cigarettes. These claims, which JLI repeats

 widely in advertisements, press releases, and its web site, have been distributed via the wires and mails

 and disseminated by reputable and widely reliable sources that accepted those representations as

 true.238

            215.   Moreover, the form of nicotine JUUL pods contain is particularly potent. JUUL’s use of

 “strength” to indicate concentration by weight is also at odds with the industry standard of reporting

 concentration by volume,239 leading users to believe it contains less nicotine than other formulations

 advertised as 6% nicotine, when JUUL pods in fact contain approximately the same nicotine as a

 solution that is 6% nicotine by volume.

            216.   The “5% strength” statement in Defendants’ advertisements misrepresents the most

 material feature of the JUUL product—the nicotine content—and has misled young people to their

 detriment. Resellers, apparently assuming that “5% strength” means “50mg/ml” nicotine by volume,
  238
        See Truth Initiative, 6 Important Facts about Juul, https://truthinitiative.org/research-
   resources/emerging-tobacco-products/6-important-facts-about-juul; Erin Brodwin, An e-cigarette
   with twice the nicotine of comparable devices is taking over High Schools – and scientists are
   sounding the alarm, BUSINESS INSIDER (Apr. 30, 2018), https://www.businessinsider.com/juul-e-cig-
   vaping-health-effects-2018-3; Caroline Kee, Everything you need to know about the JUUL, including
   the        health         effects,       BUZZFEED           NEWS         (Feb.     5,        2018),
   https://www.buzzfeednews.com/article/carolinekee/juul-ecigarette-vape-health-effects; Jan Hoffman,
   The Price of Cool: A teenager, a juul and nicotine addiction, NEW YORK TIMES, (November 16,
   2018), https://www.nytimes.com/2018/11/16/health/vaping-juul-teens-addiction-nicotine.html; Sarah
   Milov, Like the tobacco industry, e-cigarette manufacturers are targeting children, THE
   WASHINGTON POST, (Sept. 23, 2018) https://www.washingtonpost.com/outlook/2018/09/23/like-
   tobacco-industry-e-cigarette-manufacturers-are-targeting-children/; Washington State Dep’t of
   Health,                  What                   are                  vapor               products?,
   https://www.doh.wa.gov/YouandYourFamily/Tobacco/VaporProducts.
 239
     See, e.g., American E-Liquids Manufacturing Standards Association, E-Liquids Manufacturing
   Standards, § 1.05 (2017), https://www.aemsa.org/wp-content/uploads/2017/03/AEMSA-Standards-
   v2.3.3.pdf, (quantifying e-liquid nicotine content in terms of volume).

                                                     75
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 compound confusion among young people by stating that JUUL pods contain “50 mg/ml,” which they

 do not.240

        217.    If JLI and the Management Defendants did not know when JLI released JUUL pods that

 the “5% strength” representation in Defendants’ advertisements was misleading, they learned that there

 was widespread confusion about the JUUL pods’ nicotine content. By 2017, studies revealed that users

 did not understand “5% strength,” and some understood that phrase to mean 5% of a cigarette. Though

 this was identified as a “pain point” for new users,241 JLI and the Management Defendants (and later

 the Altria Defendants) did nothing to stop or correct this confusion about the nicotine content.

        218.    The “5% strength” statement in Defendants’ advertisements is also misleading. At least

 two independent studies testing multiple varieties of JUUL pods have likewise found significantly

 higher concentrations of nicotine than the 59 mg/mL JUUL’s website represents, suggesting that the

 difference in the total nicotine content of a JUUL pod vs. a pack of combustible cigarettes could be

 even greater.242

        3.      Defendants Used Food and Coffee Themes to Give False Impression that JUUL
                Products Were Safe and Healthy.

        219.    In late 2015, JLI and the Management Defendants employed a deceptive marketing

 scheme to downplay the harms of e-cigarettes with a food-based advertising campaign called “Save

 240
                See,            e.g.          Tracy             Vapors,           Starter          Kit,
   http://web.archive.org/web/20190422143424/https://www.tracyvapors.com/collections/starter-kit;
   Lindsey Fox, JUUL Vapor Review, E-cigarette Reviewed, (Mar. 20, 2017),
   https://ecigarettereviewed.com/juul-review (“The nicotine content of the JUUL pods is always the
   same: 5% or 50 mg/ml”); Jason Artman, JUUL E-Cigarette Review, eCig One (Oct. 26, 2016)
   https://ecigone.com/e¬cigarette-reviews/juul-e-cigarette-review/ (“the e-liquid contains 50 mg of
   nicotine per ml of e-liquid”); West Coast Vape Supply, Juul Starter Kit (July 18, 2019),
   http://web.archive.org/web/20190718190102/https://westcoastvapesupply.com/products/juul-starter-
   kit (“5% . . . 50 mg”); Vapor4Life, How Much Nicotine is In a JUUL? (Aug. 24, 2018),
   https://www.vapor4life.com/blog/how-much-nicotine-is-in-a-JUUL/ (“Each official JUUL pod
   contains a whopping 50mg of nicotine per milliliter of liquid (most other devices range from 3 to
   30mg per milliliter.”).
 241
     INREJUUL_00123540.
 242
     See J.F. Pankow et al., Benzene formation in electronic cigarettes, 12 PLoS ONE 1 (2017); see also
   Anna K. Duell, et al., Free-Base Nicotine Determination in Electronic Cigarette Liquids by 1H NMR
   Spectroscopy, 31 CHEM. RES. TOXICOL. 431, 431-34 (2018).

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 Room for JUUL.” The campaign framed JUUL’s addictive pods as “flavors” to be paired with

 foods.243 JLI described its Crème Brûlée nicotine pods as “the perfect evening treat” that would allow

 users to “indulge in dessert without the spoon.”244 In one 2016 email, JLI bluntly suggested that users

 satisfy their sugar cravings with JUUL’s highly-addictive nicotine vapor: “Have a sweet tooth? Try

 Brulee.”245 JLI similarly promoted the fruit medley pods using images of ripe berries.246 JLI described

 its “Cool” Mint pods as having a “crisp peppermint taste with a pleasant aftertaste” and encouraged

 consumers to “Beat The August Heat With Cool Mint.”247




 243
     Erin Brodwin, $15 billion startup JUUL used ‘relaxation, freedom, and sex appeal’ to market its
   crème-brulee-flavored e-cigs on Twitter and Instagram─but its success has come at a big cost,
   BUSINESS INSIDER (Oct. 26, 2018), https://www.businessinsider.com/juul-e-cig-marketing-youtube-
   twitter-instagram-social-media-advertising-study-2018-10.
 244
         Stanford    University,    Research    into   the    Impact     of    Tobacco  Advertising,
   http://tobacco.stanford.edu/tobacco_web/images/pod/juul/flavors/large/flavor_3.jpg.
 245
         Stanford    University,    Research    into   the    Impact     of    Tobacco  Advertising,
   http://tobacco.stanford.edu/tobacco_web/images/pod/juul/flavors/large/flavor_34.jpg.
 246
         Stanford    University,    Research    into   the    Impact     of    Tobacco  Advertising,
   http://tobacco.stanford.edu/tobacco_web/images/pod/juul/flavors/large/flavor_6.jpg.
 247
         Stanford    University,    Research    into   the    Impact     of    Tobacco  Advertising,
   http://tobacco.stanford.edu/tobacco_web/images/pod/juul/flavors/large/flavor_15.jpg.

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        220.    Again, none of these advertisements disclosed that JUUL was addictive and unsafe.

        221.    In several caffeine-pairing advertisements, JUUL devices or pods sit next to coffee and

 other caffeinated drinks, sometimes with what appear to be textbooks in the picture.248 JLI’s coffee-

 based advertisements suggest that JUUL should be part of a comfortable routine, like a cup of coffee.

        222.    JLI’s reference to coffee is no mere marketing gimmick, it reflects the larger effort to

 mislead customers, including young people in particular, into believing that JUUL is no more harmful

 than coffee, reinforcing the false and dangerous concept that if a substance is “not harmful,” then

 addiction to that substance cannot be harmful.




 248
        Stanford    University,    Research   into  the    Impact   of   Tobacco    Advertising,
  http://tobacco.stanford.edu/tobacco_main/images_pods.php?token2=fm_pods_st659.php&token1=fm
  _pods_img36083.php&theme_file=fm_pods_mt068.php&theme_name=JUUL&subtheme_name=Ins
  tagram.

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                                       79
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        223.   Defendants knew that tying JUUL to caffeine and food would mislead their target

 audience—youth and non-smokers—into believing that JUUL was a healthy, safe treat.

        4.     JLI’s “Make the Switch” Campaign Intentionally Misled and Deceived Users to
               Believe that JUUL Is a Cessation Device.

        224.   JLI, the Altria Defendants, and the Management Defendants recognized that one of the

 keys to growing and preserving the number of nicotine-addicted e-cigarette users (and thus JLI’s

 staggering market share), was to mislead potential customers about the true nature of JUUL products.

 Defendants knew that if it became public that JUUL was designed as a way to introduce nicotine to

 youth and otherwise hook new users with its potent nicotine content and delivery, it would not survive

 the public and regulatory backlash. Therefore, JLI (with the knowledge and support of the

 Management Defendants) and the Altria Defendants repeatedly made false and misleading statements

 to the public that JUUL was created and designed as a smoking cessation device, and falsely and

 misleadingly used the mails and wires to spread the subterfuge. JLI, the Management Defendants, and

 the Altria Defendants committed these deceptive, misleading and fraudulent acts intentionally and

 knowingly. In making these representations, JLI, the Management Defendants, and the Altria

 Defendants intended that consumers, the public, and regulators rely on misrepresentations that JUUL

 products were designed to assist smoking cessation.

        225.   The most blatant evidence of the cover-up scheme was the January 2019, $10 million

 “Make the Switch” television advertising campaign. This campaign, which was a continuation of JLI’s


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 web-based Switch campaign, was announced less than a month after the Altria Defendants announced

 Altria’s investment in JLI.

           226.   The “Make the Switch” television ads featured former smokers aged 37 to 54 discussing

 “how JUUL helped them quit smoking.”249 According to JLI’s Vice President of Marketing, the “Make

 the Switch” campaign was “an honest, straight down the middle of the fairway, very clear

 communication about what we’re trying to do as a company.”250

           227.   These statements were false as JUUL was not intended to be a smoking cessation

 device.

           228.   JLI and the Management Defendants committed acts of wire fraud when they caused

 the “Make the Switch” campaign to air on television with the fraudulent intent of deceiving and

 misleading the public, the United States Congress, and government regulators into believing that JLI is

 and had been focused solely on targeting adult smokers. The Altria Defendants also committed acts of

 mail fraud when they caused tens of thousands, if not millions, of written versions of the Make the

 Switch campaign to be distributed with packages of Altria’s combustible cigarettes.

           229.   The “Make the Switch” campaign was fraudulent and was made to protect, maintain,

 and expand the tremendous market share gained by hooking kids on nicotine by convincing regulators

 and the public that JUUL was only ever intended as an alternative to smoking for existing adult

 smokers and JLI’s marketing was never aimed at youth.

           230.   Defendants continually sought to frame JUUL products as smoking cessation devices in

 their public statements and on their website. Defendant Monsees explained during his testimony before

 Congress:




 249
     Angelica LaVito, JLI combats criticism with new TV ad campaign featuring adult smokers who quit
   after switching to e-cigarettes, CNBC (Jan. 8, 2019), https://www.cnbc.com/2019/01/07/juul-
   highlights-smokers-switching-to-e-cigarettes-in-ad-campaign.html.
 250
     Id.

                                                    81
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        The history of cessations products have extremely low efficacy. That is the problem
        we are trying to solve here. So, if we can give consumers an alternative and market it
        right next to other cigarettes, then we can actually make something work.

        [T]raditional nicotine replacement therapies, which are generally regarded as the gold
        standard for tools, right, for quitting, those are nicotine in a patch or a gum form,
        typically, and the efficacy rates on those hover just below about a 10 percent or so.
        JUUL-we ran a very large study of JUUL consumers, ex-smokers who had picked up
        JUUL, and looked at them, looked at their usage on a longitudinal basis, which is
        usually the way that we want to look at this, in a sophisticated fashion ... what we found
        was that after 90 days, 54 percent of those smokers had stopped smoking completely,
        for a minimum of 30 days already. And the most interesting part of this study is that if
        you follow it out further, to 180 days, that number continues to go up dramatically, and
        that is quite the opposite of what happens with traditional nicotine replacement
        therapies.251

        231.    In response to a direct question about whether people buy JUUL to stop smoking,

 Defendant Monsees responded: “Yes. I would say nearly everyone uses our product as an alternative to

 traditional tobacco products.”252

        232.    Other illustrative and non-exhaustive examples include the following:

 Statements by Defendant JLI:253
                •   “JUUL Labs was founded by former smokers, James and Adam, with
                    the goal of improving the lives of the world’s one billion adult
                    smokers by eliminating cigarettes. We envision a world where
                    fewer adults use cigarettes, and where adults who smoke cigarettes
                    have the tools to reduce or eliminate their consumption entirely,
                    should they so desire.” (JLI Website, April 2018 (or earlier));254
                •   “JUUL Labs, which exists to help adult smokers switch off of
                    combustible cigarettes.” (JLI Website, September 19, 2019);255 and,



  251
       Examining Juul’s Role in the Youth Nicotine Epidemic, Hearing Before the H. Comm. on
   Oversight and Reform, Subcomm. on Econ. and Consumer Policy, 116th Cong. (2019) (statement of
   James             Monsees,              Co-Founder,             JUUL             Labs,         Inc.).,
   https://oversight.house.gov/legislation/hearings/examining-juul-s-role-in-the-youth-nicotine-
   epidemic-part-ii.
 252
     Id.
 253
     Although these statements are attributed to Defendant JLI, JLI’s Board of Directors had “final say”
   over marketing messaging and, accordingly, Defendants Bowen, Monsees, Pritzker, Huh, and Valani
   are each directly responsible for the transmission of these fraudulent statements.
 254
     Our Mission, JUUL Labs, Inc. (2019), https://www.juul.com/mission-values.
 255
         CONSUMER          UPDATE:          9/19,    JUUL       Labs,     Inc.    (Sept.   19,   2019),
   https://newsroom.juul.com/consumer-update-9-19/.

                                                    82
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               •   “To paraphrase Commissioner Gottlieb, we want to be the offramp
                   for adult smokers to switch from cigarettes, not an on-ramp for
                   America’s youth to initiate on nicotine.” (JLI Website, November 13,
                   2018).256

 Statements by the Altria Defendants:
               •   “We are taking significant action to prepare for a future where adult smokers
                   overwhelmingly choose non-combustible products over cigarettes by
                   investing $12.8 billion in JUUL, a world leader in switching adult
                   smokers . . . . We have long said that providing adult smokers with superior,
                   satisfying products with the potential to reduce harm is the best way to
                   achieve tobacco harm reduction.” (Altria Website, December 20, 2018);257
               •   “We believe e-vapor products present an important opportunity to adult
                   smokers to switch from combustible cigarettes.” (Letter to FDA
                   Commissioner Gottlieb, 10/25/18);258
               •   “We have long said that providing adult smokers with superior, satisfying
                   products with the potential to reduce harm is the best way to achieve
                   tobacco harm reduction. Through Juul, we are making the biggest
                   investment in our history toward that goal.” (Altria Press Release, Dec. 20,
                   2018);259
               •   “Through JUUL, we have found a unique opportunity to not only participate
                   meaningfully in the e-vapor category but to also support and even
                   accelerate transition to noncombustible alternative products by adult
                   smokers.” (Altria Earning Call, January 31, 2019);260 and,
               •   We expect the JUUL product features that have driven JUUL’s success
                   in switching adult smokers in the U.S. to strongly appeal to international
                   adult cigarette smokers. (Altria Earning Call, January 31, 2019).261




 256
      JLI Labs Action Plan, JUUL Labs, Inc. (Nov. 13, 2018), https://newsroom.juul.com/juul-labs-
   action-plan/ (statement of then-CEO Kevin Burns).
 257
     Altria Makes $12.8 Billion Minority Investment in JUUL to Accelerate Harm Reduction and Drive
   Growth,                       BUSINESSWIRE                         (Dec. 20,                   2018),
   https://www.businesswire.com/news/home/20181220005318/en/Altria-12.8-Billion-Minority-
   Investment-JUUL-Accelerate
 258
     Letter from Howard A. Willard III, Altria, to Dr. Scott Gottlieb, FDA, at 2 (Oct. 25, 2018).
 259
     Altria Makes $12.8 Billion Minority Investment in JUUL to Accelerate Harm Reduction and Drive
   Growth,              (Dec.            20.              2018),              BUSINESS            WIRE,
   https://www.businesswire.com/news/home/20181220005318/en/Altria-12.8-Billion-Minority-
   Investment-JUUL-Accelerate.
 260
     Altria Group (MO) Q4 2018 Earnings Conference Call Transcript: MO earnings call for the period
   ending December 31, 2018, (Jan. 31, 2019), https://www.fool.com/earnings/call-
   transcripts/2019/02/01/altria-group-mo-q4-2018-earnings-conference-call-t.aspx.
 261
     Id.

                                                   83
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        233.   Defendants knew at the time of making these statements that they were false, deceptive

 and misleading. JUUL does not have FDA approval as a cessation product.

        234.   The Switch advertisements reinforced the impression left by the testimony of JLI’s co-

 founder, clearly linking JUUL to cessation and quitting. For example:




        235.   Representative Rashida Tlaib, upon presenting this ad to Monsees, had the following

 exchange:


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         Rep. Tlaib: After 30 lines, starting with “quit,” the ad says “switch,” followed by no
         further mentions of start smoking again. You were a smoker. Does this ad give a
         smoker hope that there might be a way to quit cigarettes for good?


         Mr. Monsees: I think the intention of this ad is to make it very clear to consumers that
         there is an alternative, finally, to combustible cigarettes. I am one of those people.262

         236.   Defendants’ tacit message in their Switch advertisements is: switch because, unlike

 cigarettes, JUUL is harmless to your health.

         237.   Defendants’ false, deceptive and misleading Switch campaign suggests that JUUL is

 designed to “switch” adult smokers off cigarettes rather than to addict youth to nicotine.

         238.   Defendants know that a large number of smokers who use JUUL products do not end up

 switching but end up consuming cigarettes and JUUL.

         239.   Moreover, Defendants know that, by design, a large number of their customers are

 youth and that JUUL was never designed to be a cessation device.

         240.   JLI has advertised cost-savings calculators as part of its Switch campaign. Those

 calculators assume that a smoker who switches will continue consuming the same amount of nicotine

 that he or she did as a smoker (i.e., a pack a day smoker is presumed to consume one JUUL pod a day).

 Defendants know that the calculator is misleading because smokers who switch to JUUL frequently

 increase their nicotine intake.

         241.   JUUL labels and advertisements also marketed the product as an “alternative” to

 cigarettes:




 262
   Examining Juul’s Role in the Youth Nicotine Epidemic, Hearing Before the H. Comm. on Oversight
  and Reform, Subcomm. on Econ. and Consumer Policy, 116th Cong. (2019) (statement of James
  Monsees, Co-Founder, JUUL Labs, Inc.)., at 12:33-13:04.

                                                     85
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        242.    Other advertisements similarly marketed the product as smoking “evolved”:




        243.    One goal of these advertisements was to convey the deceptive, misleading and false

 impression that JUUL products could help people quit smoking and break nicotine addiction in a way

 that was healthy and safe. But, as noted above, that was simply not the case. Defendants never

 disclosed to the public that JUUL e-cigarettes and JUUL pods are at least as, if not more, addictive

 than combustible cigarettes. And each of JLI, the Management Defendants, and the Altria Defendants

 received data to this effect, as discussed above, and were aware of this fact.

        244.    In addition, the notions that JUUL products are designed only for existing cigarette

 smokers, and safer than combustible cigarettes are belied by JLI’s own knowledge, marketing plan and

 intentions on several fronts. First, Defendants sought to grow a new group of users of nicotine


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 products (e.g., “vapers”), including young people in particular, not just to market to the shrinking

 number of existing cigarette smokers. Second, JLI and Bowen designed the JUUL device to be easy to

 use for youth and others who have never smoked and to create and exacerbate nicotine addiction

 among those groups by encouraging ingestion of excessive amounts of nicotine. Third, as noted above,

 JLI’s own internal testing revealed that JUUL products were often more potent than combustible

 cigarette smokers prefer. Each of the Management Defendants knew this from his position on JLI’s

 Board of Directors, and the Altria Defendants knew the same when they began to actively coordinate

 with JLI and the Management Defendants. Despite this knowledge, these Defendants made numerous

 deceptive, false and misleading public statements that JUUL was intended to be a cessation device.

        245.    JUUL is not a product adults typically use to quit smoking. Researchers have found that

 as of 2018, only 7.9% of American adults had ever used USB shaped e-cigarettes, like JUUL, and only

 2% of adults currently used them.263 By contrast, a recent study found that 15 to 17-year-olds are

 sixteen times more likely to use JUUL products than 25 to 34-year-olds.264

        246.    JLI’s own marketing research indicated that JUUL was not appropriate as a cessation

 device for adults. In 2014, JLI when it was called Ploom hired the consumer research firm Tragon to

 do research with prototypes of the JUUL e-cigarette. On September 30, 2014, Lauren Collinsworth, a

 consumer researcher at Tragon, e-mailed Chelsea Kania, a marketing employee at Ploom, with some of

 the preliminary results from the studies. She stated that the testing showed that “the younger group is

 open to trying something new and liked J1 [the JUUL prototype] for being smart, new, techy, etc.” 265

 Ms. Collinsworth added that “The qualitative findings suggested this product isn’t going to fit as well



 263
     Kristy L. Marynak et al., Use and reasons for use of electronic vapour products shaped like USB
   flash drivers among a national sample of adults, 28 TOBACCO CONTROL 685 (Nov. 2019),
   https://tobaccocontrol.bmj.com/content/28/6/685.
 264
     D.M. Vallone et al., Prevalence and correlates of JLI use among a national sample of youth and
   young adults, TOBACCO CONTROL (Oct. 29, 2018), http://dx.doi.org/10.1136/tobaccocontrol-2018-
   054693.
 265
     JLI00365905.

                                                     87
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 with consumers who are looking to cut back on the cigarette intake.”266 On October 1, 2014, Ms.

 Collinsworth followed up with additional comments. She stated that “[t]he delivery was almost too

 much for some smokers, especially those used to regular e-cigarettes.”267 The final results from this

 consumer research were distributed to upper management, including to then-CEO James Monsees268

 and then-Chief Marketing Officer Richard Mumby.269

        247.    The deceptive, misleading and fraudulent nature of the “Make the Switch” campaign is

 evident when comparing the campaign’s advertisements to JUUL’s initial advertising, as demonstrated

 below. The fact that these advertisements are for the same product confirms that, notwithstanding the

 advice JLI and the Altria Defendants received from their media consultants, the Defendants never

 intended to target only adult smokers.




 266
     Id. (emphasis added).
 267
     JLI00365709.
 268
     JLI00364678.
 269
     JLI00364487.

                                                    88
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   And




         248.   Defendants ensured that JUUL was the opposite of a “tool[] to reduce or eliminate”

 nicotine consumption. According to the National Institutes of Health, the “amount and speed of

 nicotine delivery . . . plays a critical role in the potential for abuse of tobacco products.”270 As

 described above, JLI and Bowen designed the JUUL product to deliver nicotine in larger amounts and

 at a faster rate than even cigarettes, and then knowingly misled the public about those facts.

         249.   The Switch campaign also does not disclose or warn about the risks of using multiple

 tobacco products, “dual use” or that the JUUL is not a smoking cessation product. In addition to the


 270
   U.S. Dep’t of Health & Human Servs., Nicotine Addiction: Past and Present, How Tobacco Smoke
  Causes Disease (2010), https://www.ncbi.nlm.nih.gov/books/NBK53018/#ch4.s92.

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 heightened risks of addiction that multiple tobacco product use poses, one recent study found that

 persons who use e-cigarettes and smoke have blood toxin levels far higher than one would expect

 given the blood toxin levels that e-cigarettes and cigarettes generate individually.271

         250.    The FDA and other government regulators, enforcing existing laws addressing e-

 cigarettes,272 publicly criticized the “Make the Switch” campaign and other efforts by Defendants to

 depict JUUL as a smoking cessation device. Section 911(b)(2)(A)(i) of the Federal Food, Drug, and

 Cosmetics Act (FDCA) (21 U.S.C. § 387k(b)(2)(A)(i)) states that when advertising or labeling of a

 cigarette product directly or indirectly suggests that the product has a lower risk of cigarette-related

 disease, is less harmful than traditional cigarettes, or is otherwise ‘safer’ than traditional cigarettes,

 then the product becomes a “modified risk tobacco product.”273

         251.    In late 2019, and in response to the House of Representatives hearings in which JLI

 executives testified, the FDA issued two warning letters to JLI detailing its concern that JLI was

 unlawfully marketing its e-cigarette products as cessation tools or as “modified risk tobacco products”

 within the meaning of the FDCA.274

         252.    Then, in its September 9, 2019 letter to JLI, the FDA notified JLI that its advertising

 slogans such as “99% safer,” “much safer,” and “a safer alternative” than cigarettes was “particularly

 concerning because [those] statements were made directly to children in school.”275 The FDA

 concluded that in using advertising language that e-cigarettes were safer than cigarettes, JLI had



 271
     Julie B. Wang et al., Cigarette and E-Cigarette Dual use and Risk of Cardiopulmonary Symptoms
   in the Health eHeart Study, 13 PLoS ONE 1 (2018).
 272
     Section 911(b)(2)(A)(i) of the FDCA (21 U.S.C. § 387k(b)(2)(A)(i)) states that when advertising or
   labeling of a cigarette product directly or indirectly suggests that the product has a lower risk of
   cigarette-related disease, is less harmful than traditional cigarettes, or is otherwise ‘safer’ than
   traditional cigarettes, then the product becomes a “modified risk tobacco product.”
 273
     Id.
 274
     Letter from U.S. Food and Drug Admin. to Kevin Burns, CEO of JUUL Labs, Inc., (Sept. 9, 2019),
   https://www.fda.gov/inspections-compliance-enforcement-and-criminal-investigations/warning-
   letters/juul-labs-inc-590950-09092019.
 275
     Id.

                                                       90
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 violated Sections 902(8) and 911 by marketing JUUL products as “modified risk tobacco products”

 without prior approval.276

         253.      The September 9, 2019 letter also detailed the FDA’s concerns with JLI’s “Switch”

 marketing campaign. “[T]roubled by recent testimony” that JLI had given to the House Subcommittee

 on Economic and Consumer Policy of the Committee on Oversight and Reform, the FDA noted that

 JLI’s Switch advertising campaign “may also convey that switching to JUUL is a safer alternative to

 cigarettes.”277

         254.      The FDA specifically highlighted the Switch campaign slogans which referenced

 smoking cigarettes, or attempts to quit smoking, followed by “Make the Switch.” The FDA stated that

 JLI’s campaign was in violation of multiple FDA regulations and the FDCA subsections, and that JLI’s

 Switch campaign purported to tell the public that using e-cigarettes was an alternative to smoking, or a

 possible cessation tool.278

         255.      On the same day, the FDA requested that JLI provide all documents related to its

 decision to market the Switch campaign to the Cheyenne River Sioux Tribe, in light of the testimony

 by JLI that it had taken a “public health” approach to Native American tribes, and had sought

 healthcare professionals to refer Native American smokers to JLI’s Switching Program.279

         256.      Perhaps unsurprisingly, the Make the Switch campaign was spearheaded by a marketing

 firm with long-standing ties to the cigarette industry. In particular, it was led by a subsidiary of

 Omnicom Group, Inc., one of the “Big Four” advertising holding companies dominating marketing and

 communications worldwide since the 1990s, second only to WPP. Omnicom is the parent company of

 Mercury Public Affairs which, by at least April 2018, counted both Altria and JLI as its clients.



 276
     Id.
 277
     Letter from U.S. Food and Drug Admin. Ctr. for Tobacco Prods. to JUUL Labs, Inc. (Sept. 9,
   2019).
 278
     Id.
 279
     Id.

                                                      91
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 Mercury lobbied for Altria on tobacco regulations,280 and helped JLI push back against negative press

 coverage of youth usage of its products.281

        257.     For example, on April 2, 2018, a managing director from Mercury, Erick Mullen,

 emailed Defendant Valani and Daniel Cruise, Chief Public Affairs Officer at JLI, with a numbered list

 of actions in response to The New York Times article published that day, “‘I Can’t Stop’: Schools

 Struggle With Vaping Explosion.”282 Mercury’s list includes the recommendation to push the idea that

 JLI’s nicotine formulation is no more harmful than water, sugar, and caffeine: “Engage the press on all

 the definitions in every fucking story: it’s not a ‘cigarette’ of any kind; there’s no smoke and nothing

 medical science has on the books says water and nicotine is more harmful than water, sugar and

 caffeine.”283

        258.     Defendant Valani and Cruise each separately forwarded the email to JLI CEO Kevin

 Burns, with Cruise commenting, “Kevin, recent email from friend Erick—a possible ‘campaign

 manager’” for us. His argument is in line with yours. We need to be systematic, aggressive and

 relentless. Btw we are not tobacco—have [you] corrected today’s NYT story?”284

        259.     In August 2018, Omnicom agency DDB Chicago285 sent JLI a proposal for an estimated

 $11 million campaign “to more firmly establish the true intent of the company,” noting that JLI was

 “moving very fast.”286 This campaign was “Make the Switch.”


 280
     Kevin McCauley, Altria Taps Mercury For Tobacco Regulation Work, O’DWYER’S (Jun. 4, 2018),
   https://www.odwyerpr.com/story/public/10754/2018-06-04/altria-taps-mercury-for-tobacco-
   regulation-work.html.
 281
     See, e.g., INREJUUL_00262168; INREJUUL_00262226-INREJUUL_00262227.
 282
     See INREJUUL_00262168; see also Kate Zernike, ‘I Can’t Stop’: Schools Struggle With Vaping
   Explosion, N.Y. Times (Apr. 2, 2018), https://www.nytimes.com/2018/04/02/health/vaping-
   ecigarettes-addiction-teen.html.
 283
     INREJUUL_00262168.
 284
     INREJUUL_00262226-227.
 285
      See INREJUUL_00066530-539 (Other Omnicom entities were involved in this campaign. For
   example, OMD, “sister company to DDB and part of the Omnicom Group,” sent JLI detailed
   Statements of Work for a U.S. Brand Campaign covering September 16, 2018 through February 28,
   2019).
 286
     See INREJUUL_00074841; see also INREJUUL_00074842-844 at 842.

                                                     92
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        5.      JLI, Altria, and Others in the E-Cigarette Industry Coordinated with Third-Party
                Groups to Mislead the Public, Including Minors, About the Harms and Benefits of
                E-Cigarettes.

        260.    Through a collective and parallel effort of funding, leadership, and board membership,

 JLI, the Altria Defendants and others in the e-cigarette industry leveraged third-parties, ranging from

 industry-funded non-governmental organizations to online blogs more accessible to youth, to mislead

 the public about the impacts of consuming e-cigarettes.

        261.    An assortment of lobbyists, trade associations, and online publications have coordinated

 with the e-cigarette industry, including JLI and the Altria Defendants, to promote a consistent message

 that consuming e-cigarettes is not harmful, that nicotine is not harmful, and that the impacts of e-

 cigarettes are greatly exaggerated. These organizations receive funding from the e-cigarette industry,

 feature executives on those companies’ boards of directors, and in return, promote industry products,

 industry views, or fund “independent” studies of their own that reach the same conclusions as e-

 cigarette industry-funded research.

                a.      The American Vaping Association

        262.    The American Vaping Association (“AVA”) is a pro-e-cigarette lobby group founded

 by Greg Conley, who notably publishes articles criticizing the CDC for its stance on restricting e-

 cigarette use.287 Other executive members of the AVA possess business interests in e-cigarettes; for

 example, Treasurer David J. Danzak Jr. is associated with an e-cigarette business called Vapornine

 LLC.288 Vice-President Antoinette Lanza is an owner of an exclusively e-cigarette shop in Hoboken,




 287
     Jeff Stier & George Conley, The War on E-Cigarettes, NATIONAL REVIEW (Sept. 19, 2011),
   https://www.nationalreview.com/2011/09/war-e-cigarettes-jeff-stier-gregory-conley/.
 288
      Vapornine LLC, BUZZFILE, http://www.buzzfile.com/business/Vapornine-LLC-904-372-3244
   (business information page).

                                                     93
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  New Jersey called Smokeless Image.289 Half of the AVA’s functional expenses are for lobbying

  efforts.290 It lists several sponsors, all of which are e-cigarette, e-liquid, or cigarette companies.291

          263.    Conley has a prolific social media presence and frequently appears on television and

  radio to tout the benefits of consuming e-cigarettes and dispute negative news. The AVA website lists

  “studies” which are uniformly authored by noted industry-funded or industry-friendly authors, such as

  Polosa and Shahab.292 AVA lists CASAA, Not Blowing Smoke, and the VTA, all established fronts for

  the e-cigarette industry, as “Resources.”

          264.    The AVA receives its funding from sponsors, who are organized into tiers such as

  Platinum, Gold, Silver, Bronze, and Green.293 Current advertised sponsors include e-cigarette

  distributors and retailers such as E-Cigarette Empire, and VaporBeast.294 Prior sponsors are a who’s

  who of e-cigarette retailers. In 2016, Platinum sponsors included AltSmoke and Vapor Kings, while

  Gold sponsors included the now defunct Smokeless Image.295

          265.    On social media, the AVA regularly downplays the risks of consuming e-cigarettes,

  criticizes negative coverage as myths or exaggerations, and lauds efforts to curb any regulation of the

  e-cigarette industry.296

          266.    JLI actively sought out the AVA to promote JUUL. In January 2016, e-mails between

  employees at JLI (then known as PAX) discussed a “list of thought leaders [JLI] can tap for stories for

  JUUL” which included Conley at the AVA and Satel.297


  289
       Stacy Jones, Tobacco regulators mull more oversight as e-cigarettes see increased popularity,
    NJ.com                            (Mar.                         30,                         2019),
    https://www.nj.com/business/2013/07/tobacco_regulators_mull_more_o.html.
  290
      Form 990, American Vaping Association Inc.’s Return of Organization Exempt from Income Tax (
    2018), https://apps.irs.gov/pub/epostcard/cor/464203951_201812_990O_2019122716980021.pdf.
  291
      AVA Sponsors, American Vaping Association, https://vaping.org/about-us/ava-sponsors/.
  292
      Research Reports, American Vaping Association, https://vaping.org/research-report/.
  293
      AVA Sponsors, American Vaping Association, https://vaping.org/about-us/ava-sponsors/.
  294
      Id.
  295
      AVA Sponsors, American Vaping Association, Wayback Machine – Internet Archive (Aug. 14,
    2017), https://web.archive.org/web/20170814221226/http://vaping.org/about-us/ava-sponsors/.
  296
      American Vaping Association (@AVABoard), Twitter, https://twitter.com/AVABoard.

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         267.     In 2018, JLI took advantage of its coordinated efforts with the AVA to downplay the

  risks associated with JUUL. In an e-mail exchange between Christine Castro of JLI and a

  “Stratcomms” internal mailing list, Castro lamented a “testy conversation” with a USA Today reporter

  who pointed out that JLI’s marketing and advertising appeared to feature and target minors and

  teenagers.298 Castro noted that “I hit back at [the reporter] very aggressively but we can expect the

  usual B.S. Greg Conley is being allowed to write a 300-word rebuttal. I will email him and copy you

  Ashley [JLI employee] just so we can stay coordinated.”299

         268.     The AVA also coordinated with JLI on pro-e-cigarette research. In March 2018, Conley

  facilitated a conversation between Dr. Konstantinos Farsalinos, a researcher at the University of Patras,

  Greece, who regularly publishes e-cigarette industry-friendly articles, and Gal Cohen, then Director of

  Scientific Affairs at JLI.300 In the e-mail, Conley asks Farsalinos to send Cohen “some info on your

  flavor study” to which Farsalinos responds by sending Conley and Cohen an attachment: “USA

  FLAVORS SURVEY.pptx” and the note: “[A]ttached is a powerpoint presentation about the study we

  proposed.”301

         269.     The proposed study was a survey aimed at determining what flavors different

  demographic groups preferred as e-cigarette flavors, which flavors they use frequently, and which

  flavors they used when they first started consuming e-cigarettes. While the study was purportedly to

  determine the impact of e-cigarette flavors on e-cigarette and smoking behavior, the data obtained from




  297
      INREJUUL_00278889.
  298
      See INREJUUL_00173252 (Apr. 4, 2018 email).
  299
      Id.
  300
      Juul Labs, Inc., JUUL Labs Presents Findings at the Global Forum on Nicotine 2018, Cision PR
    Newswire (June 15, 2018) , https://www.prnewswire.com/news-releases/juul-labs-presents-findings-
    at-the-global-forum-on-nicotine-2018-300666743.html.
  301
      INREJUUL_0034128.

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  such a study would have allowed JLI to understand which flavors were not only the most popular, but

  which flavors were most popular by demographic.302

                 b.     Vaping360

         270.    Vaping360 is a website dedicated to news regarding the e-cigarette industry. The

  website boasts “40 million smokers and vaping enthusiasts reached since 2015.” This entity has a big

  social media presence and huge publication strategy.

         271.    Vaping360’s main message misleads the public about the health impacts of consuming

  e-cigarettes. Vaping360 has published various articles, including “10 Lies and Myths About Juuling

  Exposed.”303 This article, published in May 9, 2018, claimed, among other things, that JUUL was not

  as dangerous as smoking; JUUL did not cause cancer or “popcorn lung”; JUUL was not popular

  among teenagers, nor did JLI sell kid-friendly flavors or flavors aimed to entice young people; and the

  nicotine in JUUL is “a relatively mild drug, [and] may cause dependence.”304

         272.    Vaping360 regularly published articles praising, promoting, or downplaying the risks of

  JUUL, including, among others: “These Scientists Want to Kill Smokers’ Hope (For Vaping)”; “UK

  Scientists to WHO: Your Vape Report Is Junk”; “One Free Pack JUUL Coupon Codes 2019”; and an

  article disparaging anti-smoking advocacy group Truth Initiative by claiming that “Truth Initiative

  Promo Encourages Risky Teen Behavior.”305

         273.    One of the main writers at Vaping360 is Jim McDonald who aggressively attacks any

  negative science as fake news. For example, McDonald frequently posts on social media platforms,




  302
      Id.
  303
       Jim McDonald, 10 Lies and Myths About Juuling Exposed, Vaping 360 (May 9, 2018),
    https://vaping360.com/lifestyle/juuling/.
  304
      Id.
  305
       Jim McDonald, Truth Initiative Promo Encourages Risky Teen Behavior, Vaping 360 (Jan. 9,
    2020),         https://vaping360.com/vape-news/87705/truth-initiative-promo-encourages-risky-teen-
    behavior/.

                                                     96
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  including on Facebook and Twitter, but also comments on others posts extensively disputing negative

  news about consuming e-cigarettes.306

         274.    Vaping360 has taken funding from e-cigarette manufacturers, and in return coordinates

  with e-cigarette manufacturers to promote their products, while publishing favorable content.

  Vaping360 was paid by JLI for advertising, and was given kickbacks (referred to as commission) for

  every coupon used for JUUL that originated from Vaping 360’s website.

         275.    In March 2017, JLI (then PAX) communicated with Chris Kendell and others at

  Vaping360 to discuss promoting JLI’s products with a 15% discount coupon on Vaping360’s

  website.307 JLI representative Andy Martin also noted that JLI “figured out the commission issue,” and

  expressed excitement at JLI’s new mango flavor JUUL pod.308 They also discussed a Facebook

  advertising link whereby Vaping360 could offer similar discounts for JLI products on social media.309

         276.    In November 2017, Martin of JLI and Rawad Nassif of Vaping360 discussed a meeting

  agenda, with topics such as “new affiliate commission terms,” “JLI funnelling [sic] project,” and

  “exploring further opportunities.”310

         277.    In 2018, McDonald continued to write articles specifically praising JLI, such as

  “Coming Soon: A JUUL to Help You Quit JUULing” and “10 Lies and Myths About JUULing

  Exposed.”311 As of 2020, Vaping360 continues to offer discounts for JUUL products.312




  306
      Jim McDonald, Mass. Senate Passes Worst Vaping Law in the Countr, Vaping 360 (Nov. 21, 2019),
    https://vaping360.com/vape-news/86852/mass-senate-passes-worst-vaping-law-in-the-country/; Jim
    McDonald, Meet the Rich Moms Who Want to Ban Vaping, Vaping 360 (Oct. 8, 2018),
    https://vaping360.com/vape-news/71696/meet-the-rich-moms-who-want-to-ban-vaping/.
  307
      INREJUUL_00143870.
  308
      Id.
  309
      Id.
  310
      INREJUUL_00139196.
  311
      Jim McDonald, Coming Soon: A JUUL to Help You Quit Juuling, Vaping 360 (Sept. 7, 2018),
    https://vaping360.com/vape-news/70262/coming-soon-a-juul-to-help-you-quit-juuling/.
  312
        [One FREE Pack] JUUL Coupon Codes 2019, Vaping 360 (Aug. 24, 2018)
    https://vaping360.com/vape-coupons/juul-coupon-promo-code/.

                                                    97
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                 c.      Foundation for a Smoke-Free World

         278.    The Foundation was founded in 2017, and presents itself as a public health

  organization, purportedly “advancing global progress in smoking cessation and harm reduction.”313 It

  is funded entirely by Philip Morris International, which in 2017 announced a $1 billion commitment to

  fund the Foundation.314 The Foundation’s 2018 Form 990 lists only one donor: PMI Global Services,

  Inc., or Philip Morris International, with a contribution of $80 million.315

         279.    The Foundation is headed by Derek Yach, a noted advocate and promoter of e-

  cigarettes and consuming e-cigarettes.316

         280.    In 2018, the Foundation announced that it would support Centers of Excellence to

  conduct tobacco control research.317 This tactic is a well-known tool of the cigarette industry, which

  has a history of funding “research” centers to promote industry-friendly views, such as the Center for

  Indoor Air Research, which promulgated industry-funded studies that sowed doubt about the

  addictiveness of nicotine, claimed that indoor air quality was unaffected by cigarette smoke and

  downplayed the harms of cigarettes broadly. Institutes such as the Center for Indoor Air Research were

  forced to dissolve as part of the Master Settlement Agreement in 1998.




  313
      Foundation for a Smoke-Free World (2020), https://www.smokefreeworld.org/.
  314
      David Meyer, Philip Morris Pledges Almost $1 Billion to Anti-Smoking Fight, FORTUNE (Sept. 13,
    2017), https://www.webcitation.org/6tjyBv4dA.
  315
        Return of Private Foundation, Foundation for a Smoke-Free World (2018),
    https://web.archive.org/web/20190828104138/https://www.smokefreeworld.org/sites/default/files/upl
    oads/documents/fsfw_2018_form_990-pf_public_inspection.pdf.
  316
      Derek Yach: Anti-smoking advocates should embrace e-cigarettes, NATIONAL POST (Aug. 26,
    2015),        https://nationalpost.com/opinion/derek-yach-anti-smoking-advocates-should-embrace-e-
    cigarettes.
  317
        Support Global Research, Foundation for a Smoke-Free World (May 31, 2018),
    https://web.archive.org/web/20180531105105/https://www.smokefreeworld.org/our-areas-
    focus/support-global-research.

                                                      98
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         281.    A 2017 report in The Verge detailed the e-cigarette industry’s apparently coordinated

  efforts to use biased research to downplay the risks of consuming e-cigarettes.318 For example, e-

  cigarette manufacturers routinely conduct studies focusing on the “good news” about e-cigarettes, i.e.

  they release less harmful aerosolized chemicals than combustible cigarettes, or that their aerosol

  lingers for less time indoors than combustible cigarettes.319 Industry-funded authors then regularly cite

  to each other’s studies in their own research.320 On information and belief, JLI and Altria, among

  others in the e-cigarette industry, funnel their industry-funded studies to friendly pro-industry groups

  knowing that those entities will misrepresent the results as evidence that e-cigarettes are safe, or not

  harmful.

                 d.      Vapor Technology Association

         282.    The Vapor Technology Association (VTA) bills itself as a trade association and

  advocates for the e-cigarette industry. It was founded in January 2016, with the banner tagline on its

  website reading “VAPE IS HOPE.”321

         283.    In 2018, JLI, SMOK, VMR, Turning Point Brands, and Joyetech were all featured as

  “Platinum Members,” a level of membership that required a $100,000 annual contribution. Thus, JLI

  318
      Liza Gross, Vaping companies are using the same old tricks as Big Tobacco, THE VERGE (Nov. 16,
    2017),      https://www.theverge.com/2017/11/16/16658358/vape-lobby-vaping-health-risks-nicotine-
    big-tobacco-marketing.
  319
      See, e.g., J. Margham, et al., Chemical Composition of Aerosol from an E-Cigarette: A Quantitative
    Comparison with Cigarette Smoke, 29 CHEM. RES. TOXICOL. 1662 (2016); Tanvir Walele et al.,
    Evaluation of the safety profile of an electronic vapour product used for two years by smokers in a
    real-life setting, 92 REG. TOXICOL. PHARMACOL. 226 (2018); D. Martuzevicius, et al.,
    Characterization of the Spatial and Temporal Dispersion Differences Between Exhaled E-Cigarette
    Mist and Cigarette Smoke, 21 NICOTINE & TOBACCO RES. 1371 (2019).
  320
      See, e.g., Gene Gillman et al., Determining the impact of flavored e-liquids on aldehyde production
    during Vaping, 112 REG. TOXICOL. PHARMACOL. 1 (2020); Colin Mendelsohn & Alex Wodak,
    Legalising       Vaping     in      Australia,     The    McKell       Institute     (March    2019),
    https://pdfs.semanticscholar.org/3e13/8e46419913a29f8fc9ddad52ec771f73fa76.pdf;               Violeta
    Kaunelienė et al., Impact of Using a Tobacco Heating System (THS) on Indoor Air Quality in a
    Nightclub, 19 AEROSOL AND AIR QUAL. RES. 1961 (2019); Maya Mitova et al., Human chemical
    signature: Investigation on the influence of human presence and selected activities on concentrations
    of airborne constituents, 257 ENV’TL POLLUTION 1 (2020).
  321
          Vape       is    Hope,       Vapor       Technology     Association      (Feb.    25,    2016),
    https://web.archive.org/web/20160225154600/http://www.vaportechnology.org:80/.

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  paid VTA $100,000 in 2018 to become a Platinum Member, and in return, VTA offered JLI a board

  seat; invitations to lobbying strategy meetings; access to the FDA, other federal agencies, and members

  of Congress; and conference participation.322

          284.    The VTA, like other lobbying and trade association groups in the industry, advocates

  for less regulation of e-cigarettes, and testifies in opposition to flavor bans.323

                  e.      Retailer Lobbying

          285.    Retailers have also taken to creating subsidiaries or wholly owned companies whose

  purpose is to produce quasi-journalistic content to promote consuming e-cigarettes, discredit health

  initiatives, and suggest that consuming e-cigarettes has no harmful health impacts. The best example of

  this is the website SoupWire, which publishes articles and editorials that promote consuming e-

  cigarettes and criticizes studies that look at the negative impacts of consuming e-cigarettes.324 For

  example, when JLI donated $7.5 million towards a study on the impacts of consuming e-cigarettes on

  teens, a SoupWire report concluded that the study will likely find “nothing Earth-shattering.”325

          6.      Altria Falsely Stated That It Intended to Lend Its Expertise in “Underage
                  Prevention” Issues to JLI.

          286.    Altria’s announcement that it intended to invest in JLI came less than two months after

  it told the FDA that Altria “believe[s] that pod-based products significantly contribute to the rise in

  youth use of e-vapor products” and that it accordingly would be removing its own pod-based products

  from the market.326 Altria made the same representations to its investors.327

          287.    Although Altria claimed its investment in JLI had an altruistic motive—“When you add

  to JUUL’s already substantial capabilities, our underage tobacco prevention expertise and ability to

  322
         Some of Our Members, Vapor Technology Association (Nov. 28, 2018),
    https://web.archive.org/web/20181128162940/https://vaportechnology.org/membership/.
  323
      Vapor Technology Association, https://vaportechnology.org/.
  324
      Soupwire – The Truth About Vaping, https://soupwire.com/.
  325
      Jeff Hawkins, JUUL Donates $7.5 Million to Teen Vaping Study, Soupwire – The Truth About
    Vaping (July 2, 2019), https://soupwire.com/juul-donates-7-5-million-to-teen-vaping-study/.
  326
      Letter from Howard A. Willard III, Altria, to Dr. Scott Gottlieb, FDA, 2 (October 25, 2018).
  327
      Altria Group Inc (MO) Q3 2018 Earnings Conference Call Transcript, (October 25, 2018).

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  directly connect with adult smokers, we see a compelling future with long-term benefits for both adult

  tobacco consumers and our shareholders,” Altria recently confirmed that JLI has not even availed itself

  of that experience.328 In Altria’s October 2019 letter to Senator Dick Durbin, Altria CEO Howard

  Willard acknowledged that while Altria “offered to JUUL services relating to underage prevention

  efforts,” to date “JUUL has not accepted Altria’s offers of assistance in addressing underage vaping

  relating issues.”329 Willard has stated that the deal would allow Altria to “work[] with JUUL to

  accelerate its mission.”330 but as Altria knew, as reflected in its letter to the FDA just two months prior,

  that mission involved had resulted in usage throughout the youth market. Altria’s admission that pod-

  based products contributed to underage use show that Altria knew its investment in JLI would

  “strengthen[] its financial profile and enhance[] future growth prospects” specifically because JLI

  dominated the youth market for e-cigarettes.331

         288.    Altria recognized JLI’s market share dominance in the e-cigarette market as the path to

  Altria’s continued viability and profitability. In a January 31, 2019 earnings call, Altria explained that

  “[w]hen you add to JUUL’s already substantial capabilities, our underage tobacco prevention expertise

  and ability to directly connect with adult smokers, we see a compelling future with long-term benefits

  for both adult tobacco consumers and our shareholders. We are excited about JUUL’s domestic growth

  and international prospects and their potential impact on our investment.”332 JUUL’s growth was, as

  Altria well knew, due to the product’s viral popularity among teens. Willard briefly acknowledged the


  328
      Altria Group (MO) Q4 2018 Earnings Conference Call Transcript: MO earnings call for the period
    ending December 31, 2018, (Jan. 31, 2019).
  329
      Letter from Howard A. Willard III to Senator Richard J. Durbin (October 14, 2019) (emphasis
    added).
  330
      Altria Makes $12.8 Billion Minority Investment in JUUL to Accelerate Harm Reduction and Drive
    Growth,        BUSINESS          WIRE      (Dec. 20,      2018,        7:00     AM        EST),
    https://www.businesswire.com/news/home/20181220005318/en/Altria-12.8-Billion-Minority-
    Investment-JUUL-Accelerate.
  331
      Id.
  332
      Altria Group (MO) Q4 2018 Earnings Conference Call Transcript: MO earnings call for the period
    ending December 31, 2018 (Jan. 31, 2019), https://www.fool.com/earnings/call-
    transcripts/2019/02/01/altria-group-mo-q4-2018-earnings-conference-call-t.aspx.

                                                      101
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  youth e-cigarette use crisis, stating, “Briefly touching on the regulatory environment, the FDA and

  many others are concerned about an epidemic of youth e-vapor usage. We share those concerns. This is

  an issue that we and others in the industry must continue to address aggressively and promptly.333

          289.    Altria’s representations that it intended to help JUUL curb the prevalence of underage

  use was false and misleading. As discussed below, Altria coordinated with JUUL to capture and

  maintain the youth market.

  E.      Defendants Targeted the Youth Market.

          290.    Having created a product, like combustible cigarettes, that sought to get users addicted

  to nicotine, and while taking steps to ensure that users and regulators did not appreciate the true

  nicotine content or potential harm from using JUULs, to successfully sink their high-tech nicotine

  hook into American consumers, JLI, Bowen, and Monsees needed investors willing to adopt the tactics

  of the cigarette industry as their own. They found those investors in Pritzker, Huh, and Valani.

          291.    Under the leadership of the Management Defendants, JLI marketed nicotine to kids. JLI

  and the Management Defendants deployed a sophisticated viral marketing campaign that strategically

  laced social media with false and misleading messages to ensure their uptake and distribution among

  young consumers. JLI and the Management Defendants’ campaign was wildly successful—burying

  their hook into kids and initiating a public health crisis.

          1.      JLI Emulated the Marketing of Cigarette Companies.

          292.    As Defendants know, nearly 9 out of 10 smokers start smoking by age 18, and more

  than 80% of underage smokers choose brands from among the top three most heavily advertised.334




  333
     Id.
  334
     U.S. Dep’t Health & Human Servs., Preventing Tobacco Use Among Youths, Surgeon General Fact
   Sheet,       https://www.hhs.gov/surgeongeneral/reports-and-publications/tobacco/preventing-youth-
   tobacco-use-factsheet/index.html.

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  The overwhelming consensus from public health authorities, independent studies, and credible expert

  witnesses is that “marketing is a substantial contributing factor to youth smoking initiation.”335

          293.    Struggling to define their own identities, teenagers are particularly vulnerable to image-

  heavy advertisements that psychologically cue them on the “right” way to look and behave amongst

  peers.336 Advertisements that map onto adolescent aspirations and vulnerabilities drive adolescent

  tobacco product initiation.337

          294.    For decades, cigarette companies spun smoking as a signifier of adulthood. This turned

  smoking into a way for teenagers to project independence and enhance their image among their

  peers.338

          295.    Youth marketing was critical to the success of cigarette companies. In the 1950s, Philip

  Morris—now JUUL’s corporate affiliate—intentionally marketed cigarettes to young people as a pool

  from which to “replace smokers” to ensure the economic future of the cigarette industry.339

          296.    Philip Morris’s documents set out their youth strategy, explaining: “Today’s teenager is

  tomorrow’s potential regular customer, and the overwhelming majority of smokers first begin to smoke

  while still in their teens”.340

          297.    It wasn’t just Philip Morris. The strategy of hooking kids was an open secret in the

  cigarette industry.341


  335
      United States v. Philip Morris, 449 F. Supp. 2d 1, 570 (D.D.C. 2006) (J. Kessler).
  336
      Id. at 578.
  337
      Id. at 570, 590.
  338
      Id. at 1072.
  339
       United States. v. Philip Morris, No. 99-2496 (D.D.C. Aug. 17, 2006), ECF No. 5750 at 972
    (Amended Final Opinion).
  340
      Tobacco Company Quotes on Marketing to Kids, Campaign for Tobacco-Free Kids (May 14, 2001),
    https://www.tobaccofreekids.org/assets/factsheets/0114.pdf.
  341
      C.A. Tucker, Marketing Plans Presentation to RJRI B of D at 2, U.C.S.F. Truth Tobacco Industry
    Documents                            (Sept.                           30,                         1974),
    https://www.industrydocumentslibrary.ucsf.edu/tobacco/docs/#id=ypmw0091               (RJ      Reynolds
    executive explaining that the “young adult . . . market . . . represent[s] tomorrow’s cigarette business.
    As this 14-24 age group matures, they will account for a key share of the total cigarette volume—for
    at least the next 25 years.”).

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          298.   As detailed below, JLI and the Management Defendants sought to emulate this

  approach. Indeed, Monsees admitted to using historical cigarette ads to inform JLI’s own advertising

  campaign.342

          299.   The emulation is obvious. A side-by-side comparison of JUUL advertisements with

  historical cigarette advertisements reveals the appropriated pattern of focusing on imagery related to

  attractiveness, stylishness, sex appeal, fun, “belonging,” relaxation, and sensory pleasure, including

  taste.343




  342
      Matthew Perone & Richard Lardner, Juul exec: Never intended electronic cigarette for teens, AP
    News (July 26, 2019), https://apnews.com/4b615e5fc9a042498c619d674ed0dc33; Gabriel Montoya,
    Pax        Labs:      Origins      with     James       Monsees,      Social       Underground,
    https://socialunderground.com/2015/01/pax-ploom-origins-future-james-monsees (last visited Apr. 3,
    2020).
  343
      See Appendix A, Ads 9-50.

                                                     104
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         300.    JLI and the Management Defendants deployed this same strategy, but adapted it to

  modern advertising tactics.

         2.      The Management Defendants Intentionally Marketed JUUL to Young People.

         301.    The risk that children would use a new e-cigarette product was well known and well

  publicized in the months leading up to the launch of the JUUL e-cigarette. For example, in April 2015,

  the CDC published the results from its 2014 National Youth Tobacco Survey.344 The CDC found that

  “[i]n 2014, e-cigarettes were the most commonly used tobacco product among middle (3.9%) and high

  (13.4%) school students.”345 Moreover, “[b]etween 2011 and 2014, statistically significant increases

  were observed among these students for current use of both e-cigarettes and hookahs (p<0.05), while

  decreases were observed for current use of more traditional products, such as cigarettes and cigars,

  resulting in no change in overall tobacco use.”346 The CDC blamed e-cigarette marketing, the use of “a




  344
      Centers for Disease Control and Prevention, Tobacco Use Among Middle and High School Students
    — United States, 2011–2014, Morbidity and Mortality Weekly Report (MMWR) 64(14);381-385
    (Apr. 17, 2015), https://www.cdc.gov/mmwr/preview/mmwrhtml/mm6414a3.htm.
  345
      Id.
  346
      Id.

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  mixture of ‘sex, free samples, [and] flavors’—the same things that were originally found to be

  problematic with cigarette ads.”347

          302.      Seeking to enter this nascent youth market for e-cigarettes, JLI intentionally targeted

  youth from its inception. In March 2015, Management Defendants supervised the advertising

  campaigns that would accompany the launch of JUUL.

          303.      Consistent with Monsees’ position that he has no “qualms” with marketing to people

  that were not yet addicted to nicotine,348 JLI’s marketing strategy targeted people that were “flavor-

  seeking, social ‘vapers,’” and those who “have very limited experience with traditional tobacco

  cigarettes.”349

          304.      JLI’s first major marketing hire, Cult Collective Ltd. (“Cult Collective”), presented a

  pitch deck to JLI in late 2014, which defined the “target consumer” as a person “within a life stage or

  mindset where they are defining their own identity.”350 The study described the “modern vaper” as

  “trendy, sophisticated image managers seeking to balance their desire for originality against

  acceptance.”351 Put differently, their target consumer was an adolescent.

          305.      JLI professedly wanted kids to think JUUL was cool. In an email dated January 29,

  2015, Sarah Richardson—then Director of Communications—sent a document dated December 31,

  2014, to Dima Martirosyan, Director of Digital Marketing, who forwarded it to Rafael Burde, Director

  of Ecommerce.352 The document stated that “[m]ost e-cigarettes to date are unsatisfying and seem

  ‘douche-y’. The JUUL product delivers nicotine far more effectively, and the product design is elegant

  and cool. We need to tell this story in a credible fashion through press, influencers and social
  347
       Jacob Kastrenakes, More teens are vaping instead of smoking, THE VERGE (Apr. 16, 2015),
    https://www.theverge.com/2015/4/16/8429639/teen-ecigarette-use-triples-vaping-beats-smoking.
  348
      David H. Freedman, How do you Sell a Product When You Really Can’t Say What it Does?, Inc.,
    https://www.inc.com/magazine/201405/david-freedman/james-monsees-ploom-ecigarette-company-
    marketing-dilemma.html (last visited Apr. 4, 2020).
  349
      INREJUUL_00441209.
  350
      INREJUUL_00057298-INREJUUL_00057487.
  351
      INREJUUL_00057298-INREJUUL_00057487.
  352
      INREJUUL_00057289.

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  media.”353 The document repeatedly referred to Pax Labs’s plan to target the “cool kids[.]”354 For

  example, it described as one of the “Key needs” to “Establish premium positioning to entice the

  ‘masses’ to follow the trend setters; own the ‘early adopter’ / ‘cool kid’ equity as we build out

  volume[.]”355 The document noted that “the voices of influencers can build strong demand.”356

  Messaging to media similarly focused on “coolness” and the message that “JUUL singlehandedly

  made e-cigarettes cool.”357

         306.    This focus on “cool kids” continued up to and after launch. On May 18, 2015, Kate

  Morgan, field marketing manager, emailed Richard Mumby, Chief Marketing Officer, and a variety of

  other marketing employees about “Some Music Options for JUUL Party” and noted that one of the

  options was a pair who were both “cool kids.”358 On June 7, 2015, Rafael Burde emailed Scott Dunlap,

  then Chief Operating Officer, stating that the JUUL launch party “was a resounding success (at least in

  my mind) in terms of winning over the cool kids . . . .”359 Pax Labs employees used similar wording

  regarding interest in targeting “cool kids” in an email from Sarah Richardson on August 12, 2015,360

  and emails from Ashley Marand on September 15, 2015,361 and October 21, 2015.362 The consistency

  of the language around this target demographic confirms that marketing to “cool kids” was a company

  policy set by the executives and the Board, particularly because, before selling the Ploom assets to JTI,

  James Monsees said similar things about Ploom.363




  353
      INREJUUL_00057293.
  354
      Id.
  355
      Id.
  356
      Id.
  357
      INREJUUL 00441325-INREJUUL_00441326.
  358
      JLI00218598.
  359
      JLI00206206.
  360
      JLI00222528.
  361
      JLI00461564.
  362
      JLI00235965.
  363
      JLI00514343 (describing Ploom as “providing optionality for distribution growth and consumer
    outreach to a younger, opinion leading audience”).

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         307.    JLI identified its competitor in this space as cigarette companies, complaining that

  “cigarettes continue to own the ‘cool’ equity,” and identifying a “key pillar to go-to-market” as

  “win[ning] with the ‘cool crowd’” away from cigarettes.364

         308.    With this goal in mind, JLI hired the Grit Creative Group (“Grit”), which billed itself as

  an agency whose marketing appealed to “cool kids.”365 Grit helped JLI to “use external audiences to

  communicate nuanced messages around early adoption ‘coolness’ and product performance.”366

         309.    In short order, the phrase “it’s cool to JUUL” became an anthem among kids while

  youth e-cigarette use skyrocketed.

         3.      JLI Advertising Exploited Young People’s Psychological Vulnerabilities.

         310.    Informed by decades of tobacco marketing, JLI ran a consistent, simple message: JUUL

  is used by young, popular, attractive, and stylish people.

         311.    This was not the only marketing scheme JLI could have adopted. JLI had other options.

  In 2014, JLI engaged a Calgary-based advertising agency, Cult Collective, to complete a “diagnostic”

  evaluation of the JUUL brand and to make recommendations regarding the best advertising strategy to

  market the JUUL e-cigarette.

         312.    In keeping with typical e-cigarette marketing, which messaged to existing smokers

  looking to quit, Cult Collective recommended that JUUL position its e-cigarette technology as the

  focus of its advertisements. Cult Collective presented JUUL with exemplar advertisements that used

  images of a boom box and a joy stick, juxtaposed against the JUUL e-cigarette, with the tag line:

  “Everything changes. JUUL the evoluution of smoking.”




  364
      INREJUUL_00161703-INREJUUL_00161715.
  365
      Id.
  366
      INREJUUL_00277080-INREJUUL_00277104.

                                                     108
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         313.   This campaign expressly invokes combustible cigarettes and positions the JUUL as a

  technological upgrade for the modern smoker.

         314.   JLI rejected this approach.

         315.   Instead, in June of 2015, JLI launched the “Vaporized” advertising campaign.367 The

  express mission of the Vaporized campaign was to “own the ‘early adopter’/’cool kid’ equity.”368

         316.   Applying the template for preying on teens established by the cigarette industry, the

  Vaporized campaign used stylish models, bold colors, and highlighted themes of sexual attractiveness,

  thinness, independence, rebelliousness and being “cool.”369

         317.   The targeting of young consumers was evident in the design and implementation of the

  Vaporized campaign, which featured models in their 20s whose “poses were often evocative of

  behaviors more characteristic of underage teen than mature adults.”370



  367
      Declan Harty, JUUL Hopes to Reinvent E-Cigarette Ads with ‘Vaporized Campaign’, AdAge (June
    23,          2015),            http://adage.com/article/cmo-strategy/juul-hopes-reinvent-e-cigarette-
    ads¬campaign/299142/.
  368
      INREJUUL_00057291-INREJUUL_00057295.
  369
      See Appendix A, Advertisement 1 (example of targeting of young people).
  370
      Examining Juul’s Role in the Youth Nicotine Epidemic, Hearing Before the H. Comm. on Oversight
    and Reform, Subcomm. on Econ. and Consumer Policy, 116th Cong. (2019) (statement of Robert K
    Jackler,                    Professor,                    Stanford                      University),

                                                    109
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   https://docs.house.gov/meetings/GO/GO05/20190724/109844/HHRG-116-GO05-Wstate-JacklerR-
   20190724.pdf.

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         318.    In the months leading up to the launch of JUUL e-cigarettes, Pax Labs executives and

  directors discussed how to market the new product. On March 23, 2015,371 there was a meeting of the

  Board of Directors where the upcoming advertising campaign was discussed.372 According to Chelsea

  Kania, then Brand Manager at Pax Labs, at this meeting, “there was some commentary at the

  youthfulness of the models[,]” but “nobody disliked them” and “everybody agreed they are pretty

  ‘effective[.]’”373 The Management Defendants knew that the ads targeted youth, but “Juul’s board of

  directors signed off on the company’s launch plans[.]”374 In addition, “Monsees, who was CEO at the

  time, personally reviewed images from the billboard photo shoot while it was in session.”375 A senior

  manager later told the New York Times that “he and others in the company were well aware” that the

  marketing campaign “could appeal to” teenagers.376

         319.    As part of the Vaporized campaign, JLI advertised on a 12-panel display over Times

  Square.377 Billboard advertising of cigarettes has for years been unlawful under the Master Settlement

  Agreement.




  371
      INREJUUL_00371285.
  372
      INREJUUL_00371314.
  373
      INREJUUL_00174387.
  374
      Ainsley Harris, How Juul, founded on a life-saving mission, became the most embattled startup of
    2018: E-cigarette startup Juul Labs is valued at more than $16 billion. It’s also hooking teens on
    nicotine and drawing scrutiny from the FDA. Can the company innovate its way out of a crisis it
    helped create?, Fast Company (Nov. 19, 2018), https://www.fastcompany.com/90262821/how-juul-
    founded-on-a-life-saving-mission-became-the-most-embattled-startup-of-2018.
  375
      Id.
  376
      Matt Richtel & Sheila Kaplan, Did Juul Lure Teenagers and Get ‘Customers for Life’?, N.Y. Times
    (Aug. 27, 2018), https://www.nytimes.com/2018/08/27/science/juul-vaping-teen-marketing.html.
  377
       See Appendix A, image 14; see also https://inrejuul.myportfolio.com (also available at
    http://tobacco.stanford.edu/tobacco_main/subtheme_pods.php?token=fm_pods_ mt068.php) (last
    visited April 3, 2020) (additional images and videos).

                                                    111
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         320.    These ads, which ran for nearly a month, generated an estimated 1.5 million

  impressions per day.378

         321.    In fact, JLI’s Vaporized campaign was so effective that it gained national attention on

  an October 15, 2015 episode of Late Night with Stephen Colbert, who ridiculed the notion that the

  young, dancing models were consistent with a target market of adult smokers. As Colbert joked after

  viewing the close-up video of young models dancing in place, “[y]eah! There is something about

  vaping that just makes me want to dance in a way that doesn’t require much lung strength. . . . And it’s

  not just ads featuring hip young triangles that appeal to the youths. . . . There is no reason to worry

  about the long-term effects of vaping, because e-cigarettes are so new that their long-term effects are

  still unknown.”379




  378
     INREJUUL_00093933-INREJUUL_00093934.
  379
      The Late Show With Stephen Colbert: Vaping is So Hot Right Now, YouTube (Oct. 7, 2015),
   https://www.youtube.com/watch?v=PMtGca_7leM.

                                                      112
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         322.    The Vaporized campaign was not limited to the Times Square billboards however. The

  ads were also placed in nationally-distributed magazines, and the videos were displayed on screens at

  the top of point-of-sale JUUL kiosks provided by JUUL to retailers across the country.

         323.    To the extent that the Vaporized advertisements disclosed that JUUL contained

  nicotine, the warnings were in small print against low-contrast backgrounds, making them easy to

  overlook. By way of comparison, cigarette advertisements, are required to display a health warning in

  high contrast black and white, covering 20% of the image.

         324.    Likewise, JLI’s social media ads did not disclose any health risks of using JUUL until

  May of 2018, when they were required to warn of addiction. But even then, JUUL placed these

  warnings in areas that were only viewable if the social media user clicked on the “full version” of the

  JLI post, which is not how teens typically engage with social media advertising.380 Notably, on

  Twitter, a social media platform that is geared towards reading text, and on Facebook, where some

  users do read text, JLI typically did not include the disclaimer in its advertisements at all.381

         4.      JLI Pushed the Vaporized Campaign Into Youth Targeted Channels.

                 a.      JLI Placed Its Vaporized Ads on Youth Oriented Websites and Media.

         325.    JLI engaged programmatic media buyers to place advertisements on websites attractive

  to children, adolescents in middle school and high school, and underage college students. These

  advertisements, which included the images of models from the Vaporized campaign, began appearing

  on websites as early as June 2015. The chosen websites included: nickjr.com (the website for a

  children’s television network run by Nickelodeon Group); the Cartoon Network’s website at

  cartoonnetwork.com; allfreekidscrafts.com; hellokids.com; and kidsgameheroes.com.

         326.    A picture of the homepage of nickjr.com is below



  380
     See Appendix A, Advertisement 3.
  381
     See Appendix A, Advertisement 65; see also Juul Image Galleries (2015-2018) SRITA Collection,
   https://inrejuul.myportfolio.com/twitter-1 (last visited Apr. 3, 2020).

                                                       113
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         327.    JLI also purchased banner advertisements on websites providing games targeted to

  younger girls,382 educational websites for middle school and high school students,383 and other teen-

  targeted websites.384

         328.    JLI knew what it was doing. In May 2015, Chelsea Kania contacted Cult Collective to

  raise concerns about advertising on younghollywood.com. Kania explained that the website’s

  demographics are “age 12-34 . . . and weighing the % who could actually afford JUUL against the risk

  we’d run being flagged for advertising on that site – I don’t think we should do it.”385 Nevertheless,

  JLI continued to push its campaign on websites with young demographics.

         329.    JLI promoted the Vaporized campaign on Facebook, Instagram, and Twitter.

         330.    JLI could have employed age-gating on its social media accounts to prevent underage

  consumers from viewing its Vaporized advertisements, but chose not to do so.



  382
       The sites included dailydressupgames.com, didigames.com, forhergames.com, games2girls.com,
    girlgames.com, and girlsgogames.com.
  383
       E.g., coolmath-games.com. JUUL also purchased advertisements on basic-mathematics.com,
    coolmath.com, math-aids.com, mathplayground.com, mathway.com, onlinemathlearning.com, and
    purplemath.com.
  384
      E.g., teen.com, seventeen.com, justjaredjr.com, and hireteen.com. JUUL purchased advertisements
    on websites for high school students hoping to attend college such as collegeconfidential.com and
    collegeview.com.
  385
      INREJUUL_00082179-INREJUUL_00082185.

                                                     114
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         331.    The Vaporized campaign included the largest e-cigarette smartphone campaign of 2015,

  which accounted for 74% of all such smartphone advertising that year.

         332.    JLI promoted Vaporized through Vice Magazine, which bills itself as the “#1 youth

  media brand” in the world.386




         333.    By 2016, an estimated 20.5 million U.S. middle and high school students were exposed

  to advertisements for e-cigarettes, including JUUL.387

                 b.     JLI Used Influencers and Affiliates to Amplify Its Message to a Teenage
                        Audience.

         334.    JLI used “influencers” to push their product to young people. Influencers are “high-

  social net worth” individuals who have developed large social media followings—i.e., the “cool kids”

  of the social media world.388 Influencers are prized sources of brand promotion on social media

  networks.



  386
      Kathleen Chaykowski, The Disturbing Focus of Juul’s Early Marketing Campaigns, Forbes (Nov.
    16, 2018), https://www.forbes.com/sites/kathleenchaykowski/2018/11/16/the-disturbing-focus-of-
    juuls-early-marketing-campaigns/#3da1e11b14f9.
  387
      Kristy Marynak et al., Exposure to Electronic Cigarette Advertising Among Middle and High
    School Students – United States, 2014-2016, CDC: Morbidity and Mortality Weekly Report (Mar. 16,
    2018), https://www.cdc.gov/mmwr/volumes/67/wr/mm6710a3.htm.
  388
      See INREJUUL_00091138 (Aug. 26, 2015 “JLI Influencer Program” defining an influencer as
    “individuals who have strong influence over their audience. We are aiming for influencers in popular
    culture with large audiences in various sectors such as music, movies, social, pop media, etc.”).

                                                    115
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         335.    Like its Vaporized campaign, JLI’s influencer strategy was youth-focused, with the

  stated aim of “show[ing] that the tastemakers, cool kids and early adopters who consume tobacco use

  JUUL.”389 In keeping with this strategy, JLI targeted influencers that were young and popular with

  adolescents. One influencer JLI targeted was Tavi Gevinson, who was nineteen years old in the

  summer of 2015. The year before, Rolling Stone magazine described Gevinson as “possibly the most

  influential 18-year-old in America.”390

         336.    JLI contracted with Grit to enlist influencers by sending them free JUUL e-cigarettes.

  Documents obtained pursuant to a Congressional investigation show that in July 2015, JLI’s contract

  with Grit was for services that included “Influencer Relations,” in which Grit agreed to provide two

  “Social Buzzmakers” for six events within a four-week period, with each Social Buzzmaker having a

  minimum of 30,000 followers and be active on at least two social media channels, such as Instagram,

  Twitter, or Facebook. The contract provided that JLI would determine or approve the timing of the

  Buzzmakers’ posts. In addition, JLI engaged Grit to “develop influencer engagement efforts to

  establish a network of creatives to leverage as loyalists for Juul/Pax brand activations.”391

         337.    Grit provided free JUULs to Luka Sabbat, known as the “the Internet’s Coolest

  Teenager,”392 who was 17 years old during the summer of 2015.

         338.    Grit targeted celebrities with large numbers of underage fans, including Miley Cyrus,

  former star of “Hannah Montana,” a series that aired for four seasons on the Disney Channel and won

  eight Teen Choice Awards.393


  389
      INREJUUL_00057293.
  390
       Alex Morris, Tavi Gevinson: A Power Teen’s New Direction, Rolling Stone (Aug. 14, 2014),
    https://www.rollingstone.com/culture/culture-features/tavi-gevinson-a-power-teens-new-direction-
    232286/.
  391
       Kenrick Cai, Juul Funded High Schools, Recruited Social Media Influencers To Reach Youth,
    House           Panel          Charges,           Forbes           (July        25,          2019),
    https://www.forbes.com/sites/kenrickcai/2019/07/25/juul-high-schools-influencers-reach-youth-
    house-investigation/#57735a4a33e2. See JLI-HOR-00042050-052 at 050.
  392
      Alexis Barnett, Who Is Luka Sabbat? Meet the Internet’s Coolest Teenager, Complex (Aug. 17,
    2015), https://www.complex.com/style/luka-sabbat-interview-on-youth-kanye-west-and-fashion.

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         339.    JLI paid these social media influencers to post photos of themselves with JUUL devices

  and to use the hashtags that it was cultivating.394 One such influencer was Christina Zayas, whom JLI

  paid $1,000 for just one blog post and one Instagram post in the fall of 2017.




         340.    JLI encouraged its distributors, wholesalers, and other resellers—either explicitly or

  implicitly—to hire affiliates and influencers to promote JLI’s brand and products. Even if not paid

  directly by JLI, these influencers profited from the promotion of JUUL products either because they

  were paid by JUUL resellers, JUUL accessory sellers, or sellers of JUUL-compatible products.

         341.    For example, one YouTube user Donnysmokes (Donny Karle, age twenty-one) created

  a JUUL promotional video in 2017 that garnered roughly 52,000 views, many of which were from

  users under the age of eighteen.395 Since that time, Karle has made a series of videos, including videos

  titled “How to hide your JUUL from your parents” and “How to HIDE & HIT Your JUUL at



  393
      See, INREJUUL_00091141 (Aug. 26, 2015 “JLI Influencer Seeding Chart” provided by Grit listing
    various celebrities and influencers, including Miley Cyrus).
  394
      Michael Nedelman et al., #JUUL: How social media hyped nicotine for a new generation, CNN
    (Dec. 19, 2018), https://www.cnn.com/2018/12/17/health/juul-social-media-influencers/index.html.
  395
      Examining Juul’s Role in the Youth Nicotine Epidemic, Hearing Before the H. Comm. on Oversight
    and Reform, Subcomm. on Econ. and Consumer Policy, 116th Cong. (2019) (statement of Robert K
    Jackler,                      Professor,                     Stanford                  University).
    https://docs.house.gov/meetings/GO/GO05/20190724/109844/HHRG-116-GO05-Wstate-JacklerR-
    20190724.pdf.

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  SCHOOL WITHOUT Getting CAUGHT.”396 Karle has admitted to earning approximately $1200 a

  month from unspecified sources simply from posting videos of himself consuming e-cigarettes,

  especially of JUUL products online.397




         342.   Karle also created a YouTube sensation called the “JUUL Challenge,” which is a play

  on the viral “Ice Bucket Challenge.” In the JUUL Challenge, the goal is to suck down as much nicotine

  as possible within a predetermined amount of time. The JUUL Challenge, which promotes nicotine

  abuse and adolescent use of JUUL products, went viral like the Ice Bucket Challenge it mimicked.

  Soon, youth across the country were posting their own JUUL Challenge videos, a practice that

  continues to this day on YouTube, Instagram, Snapchat and other social media platforms. In one recent

  JUUL Challenge on YouTube, which has received nearly 500,000 views, the two teenagers filming

  themselves discussing the hundreds of thousands of views their prior JUUL Challenge received and

  comment upon the “virality” of their JUUL Challenge content.398

         343.   JLI knowingly sought and accepted the benefits of viral marketing and user-generated

  content. For example, JLI was aware of Karle’s videos and his young followers. A sales representative


  396
      Id.
  397
      Allie Conti, This 21-year-old is Making Thousands a Month Vaping on YouTube, Vice (Feb. 5,
    2018),          https://www.vice.com/en_us/article/8xvjmk/this-21-year-old-is-making-thousands-a-
    month¬vaping-on-youtube.
  398
      Nate420, JUUL Challenge (Apr. 22, 2018), https://youtu.be/gnM8hqW_2oo (last visited Mar. 30,
    2020).

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  at JLI sent Karle a direct message on Twitter stating, “Thanks for the Juul plugs. There ya go. An

  actual JUUL employee thanking you.”399

         344.     JLI also recruited “affiliates” to help its viral marketing campaign. In or around 2017,

  JLI began using a company called Impact Radius for the management of JLI’s affiliate program.

  Impact Radius’s affiliate application stated that JLI “auto-approve[d]” applications and did not ask for

  or confirm the affiliate’s age.400 JLI’s affiliates promoted JUUL on social media platforms including

  YouTube, Instagram, Facebook, Snapchat, and Twitter and routinely failed to disclose that they were

  being paid to promote JUUL products.

         345.     JLI’s “affiliate program” recruited those who authored favorable reviews of its products

  by providing such reviewers with a 20% discount of purchases of JUUL products.401 It even recruited

  JUUL users to act as part of their marketing team by asking users to “refer a friend and get a

  discount.”402

         346.     As with much of the marketing strategy for JUUL, the practices described above are

  prohibited by the Master Settlement Agreement.

                  c.     JLI Used Viral Marketing Techniques Known to Reach Young People.

         347.     JLI deployed “viral marketing” techniques to great success. Viral marketing is defined

  as “marketing techniques that seek to exploit pre-existing social networks to produce exponential

  increases in brand awareness, through processes similar to the spread of an epidemic.”403 Viral

  marketing effectively converts customers into salespeople, who, by sharing their use of a product (on

  399
      Karle000009-011 at 009 (undated Twitter direct messages exchange).
  400
      INREJUUL_00113437-INREJUUL_00113441.
  401
      Examining Juul’s Role in the Youth Nicotine Epidemic, Hearing Before the H. Comm. on Oversight
    and Reform, Subcomm. on Econ. and Consumer Policy, 116th Cong. (2019) (statement of Robert K
    Jackler,                      Professor,                       Stanford                 University),
    https://docs.house.gov/meetings/GO/GO05/20190724/109844/HHRG-116-GO05-Wstate-JacklerR-
    20190724.pdf.
  402
      Id. at 9.
  403
      N. Deepa et al., Viral Marketing as an On-Line Marketing Medium, IOSR J. of Bus. & Mgmt. 18,
    (last visited Apr. 3, 2020); P. R. Datta et al., Viral Marketing: New Form of Word-of-Mouth Through
    Internet, 3 The Bus. Rev. 69 (2005).

                                                      119
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  social media or otherwise), repeat a company’s representations and endorse the product within their

  network. The success of viral marketing depends on peer-to-peer transmission. Hence, a successful

  viral marketing campaign looks like a series of unrelated, grassroots communications, when in fact

  they are the result of carefully orchestrated corporate advertising campaigns.

         348.    As JLI boasted in a pitch deck to potential investors dated December 2016, “Viral

  Marketing Wins.”404




         349.    Social media platforms are the most effective way to launch viral marketing campaigns

  among young people. As of May 2018, among teenagers, 95% reported use of a smart phone, 85% use

  YouTube, 72% use Instagram, and 45% reported being online “constantly.”405

         350.    A key feature of JLI’s viral marketing campaign was inviting user-generated content.

  This strategy revolves around prompting social media followers to provide their own JUUL-related

  content—e.g., post a selfie in your favorite place to use JUUL. The response provided by a user is then

  typically distributed—by the social media platform employed—into the user’s personal network. In

  this way, brands can infiltrate online communities with personalized content that promotes their

  product (e.g. a picture of a friend using a JUUL e-cigarette).406



  404
      INREJUUL_00349529-560 at 541.
  405
      Monica Anderson & Jingjing Jiang, Teens, Social Media & Technology 2018: Appendix A: Detailed
    Tables,         Pew           Research          Center          (May           31,          2018),
    https://www.pewresearch.org/internet/2018/05/31/teens-technology-appendix-a-detailed-tables/.
  406
       The Rise in the Use of Juul Among Young People: The Power of Design and Social Media
    Marketing,           Campaign              for           Tobacco             Free             Kids,
    https://www.tobaccofreekids.org/assets/images/content/JUUL_Presentation.pdf.

                                                      120
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         351.    Within a few months of the JLI’s commercial release in June 2015, a former JLI

  executive reportedly told the New York Times that JLI “quickly realized that teenagers were, in fact,

  using [JUULs] because they posted images of themselves vaping JUULs on social media.”407

         352.    To drive consumer participation in its ad campaign, JLI peppered its advertising and

  social media posts with hashtags, including those referencing JLI and consuming e-cigarettes (e.g.,

  #juul, #juulvapor, #switchtojuul, #vaporized, #juulnation, #juullife, #juulmoment); and trending topics

  unrelated to JUUL, as well as topics #mothersday, #goldenglobes, #nyc, etc. JLI’s hashtag marketing

  went beyond passive posts to being “very proactive to find and reach out to people who are (or might

  be) interested in JUUL. This means searching hashtags to engage, using widely used hashtags, paying

  close attention to our followers, being responsive to posts, etc.”408



  407
      Matt Richtel & Sheila Kaplan, Did Juul Lure Teenagers and Get ‘Customers for Life’?, N.Y. Times
    (Aug. 27, 2018), https://www.nytimes.com/2018/08/27/science/juul-vaping-teen-marketing.html.
  408
      INREJUUL_00093294.

                                                      121
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         353.    JLI’s hashtags attracted an enormous community of youthful posts on a wide array of

  subjects. According to Dr. Jackler, #Juul contains literally thousands of juvenile postings, and

  numerous Instagram hashtags contain the JUUL brand name.409

         354.    Just as JLI intended, JUUL users began taking photos of themselves using JUUL

  devices and putting them on social media with the hashtag #juul. They were creating JUUL content

  that looked and felt like real JUUL ads: featuring young people having fun and using JUUL. The

  flavor-based hashtag campaigns #MangoMonday and #coolmint generated hundreds of thousands of

  user-generated posts. JLI could have stepped in and attempted to stop the use of its trademark in posts

  directed to underage audiences, including the use of all the hashtags that contain the word “JUUL.” It

  could have sought to shut down infringing accounts such as @doit4juul and @JUULgirls. It did not do

  so.

         5.      JLI Targeted Youth Retail Locations.

         355.    Studies show that tobacco use is associated with exposure to retail advertising and

  relative ease of in-store access to tobacco products. Some studies have shown that youth who were

  frequently exposed to point of sale tobacco marketing were twice as likely to try or initiate smoking

  than those who were not as frequently exposed.

         356.    For years, JLI made it difficult for smoke shops and other age-restricted stores to carry

  its products, instead directing its product to gas stations and convenience stores, which historically

  make the most underage sales. JLI knows that nicotine-naïve young people frequent gas stations and

  convenience stores rather than smoke shops. By distributing in those kinds of stores, JUUL increased

  the likelihood that these people would purchase its product.

         357.    JLI marketed its products extensively in convenience stores, employing video and

  product displays with bright colors and young adults using and displaying the JUUL device. The retail

  409
     Robert K. Jackler et al., JUUL Advertising Over Its First Three Years on the Market at 24, Stan.
   Res.         into        the        Impact        of        Tobacco         Advert.       (2019),
   http://tobacco.stanford.edu/tobacco_main/publications/JUUL_Marketing_Stanford.pdf.

                                                     122
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  marketing worked and, by late 2017, JUUL became the most popular e-cigarette sold in convenience

  stores according to Nielsen data.410

          358.   Like all in-store cigarette advertising, JLI’s point–of–sale materials played a major role

  in driving youth addiction. JLI actively encouraged youth to seek out these laxly regulated retail

  locations, sending marketing e-mails to hundreds of thousands of customers, referring them to the

  JUUL store locator and offering discounts. And JLI actively encouraged its retailers to leniently

  regulate sales to youth by providing profit margins that far exceeded any other tobacco product being

  sold.

          359.   Before JUUL’s launch in 2015, JLI and Cult Collective developed packaging and in-

  store displays that looked similar to iPhone packaging, which JLI knew would resonate with young

  people and further JLI’s campaign to be the “the iPhone of e-cigarettes.”

          360.   As a 2015 marketing plan shows, JLI’s in-store promotional content “stands out” from

  competing tobacco products by conveying that the “JUUL brand is colorful, approachable, and fun—

  core elements of trade support assets.”411




  410
      Laura Bach, JUUL and Youth: Rising E-Cigarette Popularity, Campaign for Tobacco-Free Kids
    (July 6, 2018), https://www.tobaccofreekids.org/assets/factsheets/0394.pdf.
  411
      INREJUUL_00370796-INREJUUL_00370806, 805.

                                                     123
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           6.     JLI Hosted Parties to Create a Youthful Brand and Gave Away Free Products to
                  Get New Consumers Hooked.

           361.   JLI also sponsored at least twenty-five live social events for its products in California,

  Florida, New York, and Nevada. The invitations to JUUL’s events did not indicate that the JUUL was

  intended for cigarette smokers, contained nicotine, or was addictive.412 Instead, the invitations traded

  on PAX Lab, Inc.’s (PAX) reputation as a manufacturer of marijuana vaporizers and promised

  attendees “free #JUUL starter kit[s],” live music, or slumber parties.413 Photographs from these events

  indicate that they drew a youthful crowd. Product promotion through sponsored events was a long-

  standing practice for cigarette companies, but is now prohibited.




  412
        See Appendix A, Advertisements 78-81.
  413
        Id.

                                                      124
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         362.   At these live social events, JLI gave attendees free JUUL “Starter Kits,” which contain

  a JUUL device and 4 JUUL pods of various flavors. JLI gave away samples at music events without

  age restrictions, including Outside Lands in San Francisco’s Golden Gate Park, and other events aimed

  at a youthful audience, such as the annual Cinespia “Movies All Night Slumber Party” in Los Angeles.

  These events, in addition to providing youthful crowds for handing out samples, were opportunities for

  JLI to cultivate its brand image as youthful, hip, and trendy—but had nothing to do with smoking




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  cessation. For example, on August 7, 2015, JLI tweeted, “Need tix for @cinespia 8/15? We got you.

  Follow us and tweet #JUULallnight and our faves will get a pair of tix!”414

         363.    Giving away free samples is prohibited conduct for a cigarette company under the

  Master Settlement Agreement.

         364.    As part of the Vaporized campaign, JLI also emulated trendy pop-up restaurants and

  stores by using a shipping container “pop-up JUUL bar” at festivals and events in the Los Angeles and

  New York City metro areas. The firm BeCore designed and created the container for JLI, and managed

  it as a mobile JUUL product sampling lounge.415




                                                                                 416



         365.    JLI also held sampling events in stores. By September 2015, JLI was on schedule to

  host sampling events in more than 5,000 stores in twenty cities in twelve states.417 Documents obtained

  by the New York Attorney General show that JLI recruited young “brand ambassadors” to staff these



  414
            JUUL        Labs,      Inc.       (@JUULvapor),        Twitter       (Aug.       7,     2015),
    http://tobacco.stanford.edu/tobacco_web/images/pod/juul/twitter/large/twitter_18.jpg.
  415
      Robert K. Jackler et al., JUUL Advertising Over Its First Three Years on the Market, Stanford
    Research      Into     the    Impact       of   Tobacco      Advertising      9    (Jan. 31,    2019),
    http://tobacco.stanford.edu/tobacco_main/publications/JUUL_Marketing_Stanford.pdf.
  416
      Declan Harty, JUUL Hopes to Reinvent E-Cigarette Ads with ‘Vaporized Campaign’, AdAge (June
    23,            2015),            http://adage.com/article/cmo-strategy/juul-hopes-reinvent-e-cigarette-
    ads¬campaign/299142/.
  417
      INREJUUL_00160394.

                                                    126
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  events and required a dress code that included skinny jeans, high-top sneakers or booties, and an

  iPhone in a JUUL-branded case.418




         366.    JLI also engaged PUSH Agency, LLC (“PUSH”), a promotional model and event

  staffing agency, to provide models and brand ambassadors to hand out coupons in trendy areas of New

  York City popular with young people. In a September 2017 email between PUSH and JLI, for

  example, PUSH offered suggestions “for the nightlife shifts” of “places that are popular for nightlife”

  that “would be great to hit,” including the Marquee nightclub in Chelsea, Provocateur, and Le Bain, a

  penthouse discotheque.419

         367.    Though JLI publicly acknowledged in October 2017 that it is unlawful to distribute free

  samples of its products at live events,420 it continued to reach out to new users by offering samples,


  418
      Jake Offenhartz, Juul Hooked Teens Through Sick Parties and Hip Ambassadors, NY AG Says,
    Gothamist (Nov. 19, 2019 2:02 PM), https://gothamist.com/news/juul-hooked-teens-through-sick-
    parties-and-hip-ambassadors-ny-ag-says; Kathleen Chaykowski, The Disturbing Focus of Juul’s
    Early       Marketing      Campaigns,      Forbes      (Nov.     16,     2018      2:38      PM),
    https://www.forbes.com/sites/kathleenchaykowski/2018/11/16/the-disturbing-focus-of-juuls-early-
    marketing-campaigns/#3da1e11b14f9.
  419
      INREJUUL_00158794-803 at 794.
  420
          See     Nik    Davis     (@bigbabynik),   Twitter    (Nov.     17,   2017     1:11     PM),
    https://twitter.com/JLIvapor/status/931630885887266816; Robert K. Jackler, The Role of the
    Company in the Juul Teen Epidemic, Testimony for the House Subcommittee on Economic and
    Consumer                    Policy                (Jul.                24,                 2019),

                                                     127
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  sometimes at $1 “demo events.” Like so many of JLI’s initiatives, promotions of this kind are

  prohibited for cigarette companies by the Master Settlement Agreement.

         368.    The effect—and purpose—of JLI’s Vaporized giveaways was to flood major cities with

  products that would hook thousands of new users, and to generate buzz for the brand among urban

  trendsetters who would then spread JLI’s message to their friends via word of mouth and social media.

         369.    According to BeCore, one of the firms responsible for designing and implementing

  JLI’s live events, JLI distributed the nicotine-equivalent of approximately 500,000 packs of cigarettes

  at all twenty-five events.421 And this was just to get people started.

         7.      The Management Defendants’ Direction and Participation in the Youth Marketing
                 Schemes

                 a.      The Management Defendants, and in particular Bowen, Monsees, Pritzker,
                         Huh, and Valani, oversaw the youth marketing scheme.

         370.    The Management Defendants were well aware that JUUL branding was oriented toward

  teens and duplicated earlier efforts by the cigarette industry to hook children on nicotine. The

  Management Defendants directed and approved JUUL branding to be oriented toward teenagers. The

  Management Defendants directed and participated in each marketing campaign pushing the JUUL e-

  cigarette, as they had “final say” over all marketing campaigns (including the Vaporized campaign and

  the other formal and informal marketing efforts described above),422 and Monsees provided specific

  direction on the content of the website to JLI employees.

         371.    After launch, executives and directors discussed whether to rein in the advertising to

  teenagers. According to Scott Dunlap, then Chief Operating Officer, in June 2015, Nicholas Pritzker


    https://docs.house.gov/meetings/GO/GO05/20190724/109844/HHRG-116-GO05-Wstate-JacklerR-
    20190724.pdf.
  421
      Robert K. Jackler et al., JUUL Advertising Over Its First Three Years on the Market, Stanford
    Research      Into     the    Impact    of    Tobacco     Advertising   9    (Jan. 31,   2019),
    http://tobacco.stanford.edu/tobacco_main/publications/JUUL_Marketing_Stanford.pdf.
  422
      Examining JLI’s Role in the Youth Nicotine Epidemic: Part II: Hearing Before the Subcomm. on
    Econ. & Consumer Policy of the Comm. on Oversight & Reform, H.R., 116th Cong. 70 (2019)
    (statement of James Monsees, Co-Founder, JUUL Labs, Inc.).

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  commented that the branding “feels too young[.]”423 In early July 2015, Nicholas Pritzker, Riaz Valani,

  and Alexander Asseily “spoke[] at length on the JUUL approach[,]” and Asseily also “spoke to James

  [Monsees] at length” on the same topic.424 Asseily followed up with a lengthy email to Valani and

  Pritzker, which he also sent to Richard Mumby. He began by noting that “our fears around tobacco /

  nicotine are not going away. We will continue to have plenty of agitation if we don’t come to terms

  with the fact that these substances are almost irretrievably connected to the shittiest companies and

  practices in the history of business.”425 He stated that “an approach needs to be taken that actively, if

  implicitly, distances us from [Big Tobacco]: what we say, the way we sell, the way we run the

  company, what we emphasi[z]e, who we hire, etc.”426 Referring to JLI’s strategy to use the same

  marketing techniques as major tobacco companies used to market to youths, Asseily added that “[t]he

  trouble with just doing ‘what the others do’ is that we’ll end up as Nick [Pritzker] rightly points out in

  the same ethical barrel as them, something none of us want no matter the payoff (I think).”427 He

  continued that “the world is transparent and increasingly intolerant of bullshit. It’s not about faking it -

  it’s about doing it correctly....which could mean not doing a lot of things we thought we would do

  like putting young people in our poster ads or drafting in the wake of big players in the

  market.”428

         372.    But some company leaders, including Huh, opposed any actions to curb youth sales.

  Youth sales were a large potential source of revenue.429 As one manager explained, perhaps “people

  internally had an issue” with sales of JUULs to teenagers, “[b]ut a lot of people had no problem with




  423
      JLI00206239.
  424
      JLI00214617.
  425
      Id.
  426
      Id.
  427
      Id.
  428
      Id.
  429
      Chris Kirkham, Juul Disregarded Early Evidence it was Hooking Teens, Reuters (Nov. 5, 2019),
    https://www.reuters.com/investigates/special-report/juul-ecigarette/.

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  500 percent year-over-year growth.”430 And company leaders understood that teenagers who were

  hooked on nicotine were the most likely segment to become lifelong addicts and thus were the most

  profitable customers to target.431

         373.    In October 2015, JLI leadership resolved the debate in favor of selling to teens. Even

  though the directors and executives of JLI knew—and explicitly stated—that what they were doing

  was wrong, JLI pressed ahead with its youth-oriented Vaporized ad campaign through early 2016.432

         374.    The company also implemented the Board’s decision in October 2015 to target and sell

  to minors in many other ways. For example, in early October 2015, sales and marketing employees of

  Pax Labs noted that only 74% of users were able to pass the age gate on the website, “which is a steep

  decline in sales for us.”433 In mid-January 2016, a similar group of employees estimated that about

  11% of those reaching the JUUL Purchase Confirmation Page on Pax Labs’s own website were under

  18 years old.434 But, rather than strengthen JUUL’s age verification system, Pax Labs worked to

  weaken it. In February 2016,435 Pax Labs modified the age verification system so that 92% of users

  were able to pass the age gate.436 By changing the age verification process so that users were more

  likely to pass—while knowing that some minors had already been able to pass before the change—Pax

  Labs deliberately chose to continue selling to underage purchasers.

         375.    In July 2015, Asseily suggested “a cheeky campaign that asks existing smokers to

  return their unused cigarette packets (or other vaping products) to us in return for a discount on JUUL”


  430
      Id.
  431
      Id.
  432
      The Vaporized advertising campaign continued at least into early 2016. Robert K. Jackler et al.,
    JUUL Advertising Over Its First Three Years on the Market, Stanford Research Into the Impact of
    Tobacco                   Advertising               7                 (Jan. 31,             2019),
    http://tobacco.stanford.edu/tobacco_main/publications/JUUL_Marketing_Stanford.pdf.
  433
      INREJUUL_00276445.
  434
      Native attachment to INREJUUL_00078494.
  435
      JLI00068428.
  436
      Kate Horowitz’s LinkedIn profile, https://www.linkedin.com/in/k8horowitz (last visited Apr. 22,
    2020) (stating that while serving as an Ecommerce Product Manager at PAX Labs, Inc. from July
    2015 to May 2016, she “increased success rate of age verification by 25%, up from 74% to 92%”).

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  because that would “send the only message that’s needed: JUUL is a superior alternative to

  conventional smoking and mediocre vaping products.”437 But JLI did not run this campaign then and in

  fact did not begin focusing its advertising on switching from combustible cigarettes until 2018.438

         376.    By March 2016, however, JLI employees internally recognized that JLI’s efforts to

  market to children were too obvious. On March 2, 2016, Richard Mumby, the Chief Marketing Officer,

  sent a document related to JLI’s branding to Hoyoung Huh and a number of other marketing

  employees of JLI.439 According to Mumby, he was sending the document because Hoyoung Huh

  “indicated that [he] would review [JLI’s] brand and collateral positioning on behalf of the board.”440

  The attached document noted that “[t]he models that we used for the #Vaporized campaign appeared to

  be too youthful for many consumers (and the media)[.]”441 Under a header that listed as one of JLI’s

  “Objectives” to “Be Different & Have Integrity[,]” the document stated that “[w]e need to be sensitive

  to the subjectivity of youthfulness by positioning the brand to be mature and relatable.”442 On March

  11, 2016, Mumby sent another version of this document to Hoyoung Huh and Zach Frankel, who was

  an observer on the Board and would later become a director, and Mumby thanked them “for the

  support on this.”443 Around this time, Pax Labs reoriented its JUUL advertising from the explicitly

  youth-oriented Vaporized campaign to a more subtle approach to appeal to the young. The

  advertising’s key themes continued to include pleasure/relaxation, socialization/romance, and




  437
      JLI00214617.
  438
      Robert K. Jackler et al., JUUL Advertising Over Its First Three Years on the Market, Stanford
    Research       Into     the     Impact    of      Tobacco    Advertising     (Jan. 31,   2019),
    http://tobacco.stanford.edu/tobacco_main/publications/JUUL_Marketing_Stanford.pdf at 16.
  439
      INREJUUL_00178377.
  440
      INREJUUL_00061469.
  441
      INREJUUL_00178379.
  442
      INREJUUL_00178384.
  443
      INREJUUL_00061274.

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  flavors444—all of which still appealed to teenagers, as was made clear in the previous litigation against

  the cigarette industry.

         377.    The Management Defendants continued to direct and approve misleading marketing

  campaigns long after launch. For example, JLI deceptively marketed mint to youth, through flavor-

  driven advertising, hashtag campaigns, and ads cross-promoting mango and mint. Through their

  positions on the JLI Board of Directors, the Management Defendants were directly responsible for this

  marketing, as they had “final say” over all of JLI’s marketing activities.445 In other words, JLI and the

  Management Defendants controlled the messaging around JUUL products.

         378.    Notably, none of JLI’s early advertisements, including those of the “Vaporized”

  campaign and others targeted to youths, disclosed that JUUL contains high amounts of nicotine;

  indeed, many of those advertisements did not advertise JUUL’s nicotine content whatsoever.

         379.    Likewise, none of JLI’s advertisements, including those of the “Vaporized” campaign

  and others targeted to youths, disclosed the health risks from consuming JUUL products.

         380.    JLI and the Management Defendants knew of course that JUUL contained an ultra-high

  concentration of nicotine, and that ultra-high concentration of nicotine was designed to addict. They

  also knew that e-cigarette products, including JUUL, would expose users to increased health risks,

  including risks to their lungs and cardiovascular system. Despite that knowledge, JLI and the

  Management Defendants took affirmative actions, the natural consequence of which was the approval

  and transmission of these false and misleading advertisements that did not include a disclosure of

  JUUL’s high nicotine content and concentration, nor any health risks at all.



  444
      Robert K. Jackler et al., JUUL Advertising Over Its First Three Years on the Market, Stanford
    Research       Into     the     Impact    of      Tobacco    Advertising     (Jan. 31,   2019),
    http://tobacco.stanford.edu/tobacco_main/publications/JUUL_Marketing_Stanford.pdf at 9.
  445
      Examining JLI’s Role in the Youth Nicotine Epidemic: Part II: Hearing Before the Subcomm. on
    Econ. & Consumer Policy of the Comm. on Oversight & Reform, H.R, 116th Cong. 70 (2019)
    (statement of James Monsees, CPO, JLI Labs).

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                  b.     Pritzker, Huh, and Valani Were Able to Direct and Participate in the Youth
                         Marketing Because They Seized Control of the JLI Board of Directors.

           381.   Although Defendants Bowen and Monsees were the visionaries behind JLI and the most

  hands-on in its early stages, by the time JLI was pushing its marketing campaigns in early-to mid-

  2015, JLI (through the individuals running the company), Bowen, Monsees, Pritzker, Huh, and Valani

  were each intimately involved in the planning and execution of activities.

           382.   For example, JLI stopped interacting with the press in the summer of 2015 while its

  Board of Directors, led by Bowen, Monsees, Pritzker, Huh, and Valani, was finalizing a “messaging

  framework.”446 A legitimate business enterprise would typically ramp up, rather than shut down, press

  outreach at the very time the company is supposed to be building awareness for its recently launched

  product.

           383.   But the Management Defendants at this point were taking actions that went beyond the

  regular and legitimate business operations of JLI. At the same time JLI stopped traditional press

  engagement, the Board of Directors was directing and monitoring the launch plans that they had set in

  motion – including the launch of sponsored content on social media in July 2015 (which content did

  not include any warnings about JUUL’s nicotine content or health risks).447

           384.   And at the same time the Management Defendants had approved the early JLI

  marketing campaigns that were intentionally targeting youth, the Management Defendants were

  planning a fundamental shift in roles to allow Defendants Pritzker, Huh, and Valani to take charge of

  the instrumentalities of JLI, including its employees and resources.

           385.   Specifically, in October 2015, Monsees stepped down from his role as Chief Executive

  Officer of JLI (to become Chief Product Officer) and, in his stead, Pritzker, Huh, and Valani formed an

  Executive Committee of the JLI Board of Directors that would take charge of fraudulently marketing

  JUUL products, including to youth. The Management Defendants, and in particular Huh, wanted to

  446
        INREJUUL_00056077 [Confidential].
  447
        Id.

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  continue their fraudulent marketing, knowing that these ads were also targeted to youth, “argu[ing] that

  the company couldn’t be blamed for youth nicotine addiction[.]”448

         386.    JLI’s organizational charts later reflected the executive committee in the place of a

  CEO. Before late 2015, the company’s organizational charts showed the CEO at the head of the

  company, reporting to the Board.449

         387.    After Monsees was removed as CEO, the executive committee appeared in the place of

  the CEO.450




         388.    Board minutes also illustrate the direct control of the company and all the critical

  decisions about how to market JLI by the Executive Committee. Until late October 2015, Monsees ran

  Board meetings.451 In late October 2015 and thereafter, however, Huh began running Board




  448
      Chris Kirkham, Juul Disregarded Early Evidence it was Hooking Teens, Reuters (Nov. 5, 2019),
    https://www.reuters.com/investigates/special-report/juul-ecigarette/.
  449
      See INREJUUL_00016456 (July 9, 2014).
  450
      INREJUUL_00278332 (Dec. 7, 2015); INREJUUL_00061420 (Apr.21, 2016).
  451
      See INREJUUL_00278406 et seq. (Oct. 5, 2015); INREJUUL_00278410 et seq. (Sept. 24, 2015).

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  meetings.452 Also, the late October minutes report that the “Board discussed . . . the additional

  responsibilities that would be assigned to Bryan White” (who was a Vice President of Engineering and

  Product Design at the time), and furthermore that “[a] discussion followed regarding who Bryan

  should report to, and it was agreed that the executive committee that had been formed since the last

  Board meeting, consisting of Messrs. Huh, Pritzker and Valani, would address this issue.”453

  Additionally, the Board “discussed how these new roles and responsibilities would be communicated

  internally.”454 As these minutes illustrate, the Executive Committee was acting as the CEO of the

  company at this time.

         389.    Similarly, in December 2015, at Board of Directors/Executive Committee meeting, it

  was decided that “Hoyoung [Huh] will make decisions on behalf of the BOD [Board of Directors]

  Exec[utive] Comm[ittee]” and “3-4 days/week Nick [Pritzker] and/or Hoyoung [Huh] will be in the

  office” to “help us manage our people[.]”455

         390.    Over the next year, until the installation of a new CEO in August 2016, Defendants

  Pritzker, Huh, and Valani used their newly formed Executive Committee to expand the number of

  addicted e-cigarette users through fraudulent advertising and representations to the public. They

  cleaned house at JLI by “dismiss[ing] other senior leaders and effectively tak[ing] over the

  company.”456 Defendants Huh, Pritzker, and Valani wanted even “more aggressive rollout and

  [marketing].”457 Despite any potential internal misgivings about their fraudulent conduct, notably, none

  of Management Defendants terminated their relationship with JLI during this time period.




  452
      See INREJUUL_00278404 et seq. (October 26, 2015); INREJUUL_00278402 et seq. (Nov. 10,
    2015).
  453
      INREJUUL_00278405 (Oct. 26, 2015).
  454
      Id.
  455
      INREJUUL_00061856.
  456
      Julie Creswell & Sheila Kaplan, How Juul Hooked a Generation on Nicotine, N.Y. Times (Nov. 24,
    2019), https://www.nytimes.com/2019/11/23/health/juul-vaping-crisis.html.
  457
      INREJUUL_00278359.

                                                     135
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         8.      JLI and the Management Defendants Knew Their Efforts Were Wildly Successful
                 in Building a Youth Market and Took Coordinated Action to Ensure That Youth
                 Could Purchase JUUL Products.

                 a.      JLI’s Strategy Worked.

         391.    The Management Defendants knew that the JUUL marketing campaigns they directed

  and approved were successful in targeting youth. As Reuters has reported, “the first signs that JUUL

  had a strong appeal to young people came almost immediately after the sleek device went on sale in

  2015 . . . . Employees started fielding calls from teenagers asking where they could buy more JUULs,

  along with the cartridge-like disposable ‘pods’ that contain the liquid nicotine.”458 A former senior

  manager told the New York Times that “[s]ome people bought more JLI kits on the company’s website

  than they could individually use—sometimes 10 or more devices.” He added that “[f]irst, they just

  knew it was being bought for resale,” but later “when they saw the social media, in fall and winter of

  2015, they suspected it was teens.”459 Adam Bowen admitted that “he was aware early on of the risks

  e-cigarettes posed to teenagers[.]”460 On January 5, 2016, Gal Cohen forwarded a presentation dated

  December 16, 2015, which asked the question: “If large numbers of youth are initiating tobacco use

  with flavored e-cigarettes, but adults [sic] smokers may benefit from completely switching to an e-

  cigarette, what should the market look like?”461 It was common knowledge within JLI that JUULs

  were being sold to children.

         392.    After the Vaporized campaign, retail stores began selling out of JUUL products, and JLI

  had a difficult time trying to meet demand coming from its online ordering platform.




  458
      Chris Kirkham, Juul Disregarded Early Evidence it was Hooking Teens, Reuters (Nov. 5, 2019),
    https://www.reuters.com/investigates/special-report/juul-ecigarette/.
  459
      Matt Richtel & Sheila Kaplan, Did Juul Lure Teenagers and Get ‘Customers for Life’?: The e-
    cigarette company says it never sought teenage users, but the F.D.A. is investigating whether Juul
    intentionally marketed its devices to youth, NY Times (Aug. 27, 2018),
    https://www.nytimes.com/2018/08/27/science/juul-vaping-teen-marketing.html.
  460
      Id.
  461
      INREJUUL_00339938 (emphasis added).

                                                     136
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         393.    Furthermore, it was obvious to those outside the company that JLI was selling JUUL

  products to children. In June 2015, reporting on the “Vaporized” campaign that accompanied the

  JUUL launch, AdAge reported that John Schachter, director of state communications for Campaign for

  Tobacco-Free Kids, “expressed concern about the JUUL campaign because of the youth of the men

  and women depicted in the campaign, especially when adjoined with the design” and added that there

  had been “obvious trends that appeal to adolescents in e-cigarette campaigns[.]”462 Robert Jackler, a

  Stanford physician who investigated JLI’s launch campaign, concluded that “JLI’s launch campaign

  was patently youth-oriented.”463 JLI’s commercials’ attempts to appeal to teenagers were so obvious

  that, by October 2015, Stephen Colbert ran a satirical segment on it that noted, among other things:

  “And it’s not just ads featuring hip young triangles that appeal to the youths; so do vape flavors like

  cotton candy, gummi bear, and skittles.”464

         394.    Moreover, the Management Defendants knew that kids were marketing JLI products on

  social media, and some even sought to take advantage of that to build the JLI brand. For example, on

  July 16, 2016, Adam Bowen emailed Tyler Goldman about social media posts by children about JUUL

  e-cigarettes, stating, “I’m astounded by this ‘ad campaign’ that apparently some rich east coast

  boarding school kids are putting on.”465 Bowen added that “Riaz [Valani] was thinking maybe we can

  leverage user generated content.”466




  462
      Declan Harty, JUUL Hopes to Reinvent E-Cigarette Ads with ‘Vaporized Campaign’, AdAge (June
    23,            2015),             http://adage.com/article/cmo-strategy/juul-hopes-reinvent-e-cigarette-
    ads¬campaign/299142/.
    463
        Erin Brodwin, See how Juul turned teens into influencers and threw buzzy parties to fuel its rise
    as Silicon Valley's favorite e-cig company, Bus. Insider (Nov 26, 2018),
  https://www.businessinsider.com/stanford-juul-ads-photos-teens-e-cig-vaping-2018-11.
  464
       The Late Show with Stephen Colbert: Vaping is So Hot Right Now, YOUTUBE (Oct. 7, 2015),
    https://www.youtube.com/watch?v=PMtGca_7leM. The “triangles” ad was a JUUL ad; the listed
    flavors were not, but JUUL also had flavors that appealed to children.
  465
      JLI00382271.
  466
      Id.

                                                     137
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                 b.      JLI Closely Tracked Its Progress in Reaching Young Customers through
                         Social Media and Online Marketing.

         395.    Tracking the behaviors and preferences of youth that are under twenty-one, and

  especially those under eighteen, has long been essential to the successful marketing of tobacco

  products. Whether the activity is called “tracking” or “targeting,” the purpose has always been the

  same: getting young people to start smoking and keeping them as customers.

         396.    As early as 1953, Philip Morris was gathering survey data on the smoking habits of “a

  cross section of men and women 15 years of age and over.”467 Commenting on these data, George

  Weissman, then-Vice President of Philip Morris, observed that “we have our greatest strength in the

  15-24 age group.”468

         397.    Traditional approaches to youth tracking (e.g., interviews conducted face-to-face or

  over the telephone) were limited, however, in that they often failed to capture data from certain subsets

  of the target market. As a Philip Morris employee noted in a June 12, 1970 memorandum, Marlboro

  smokers were “among the types of young people our survey misses of necessity (on campus college

  students, those in the military and those under 18 years of age).”469

         398.    However, modern technology has removed many of the hurdles that made youth

  tracking difficult in decades past. With e-mail, social media and online forums, JLI can track, and has

  consistently tracked and monitored its target youth market, including those below the minimum legal

  age to purchase or use JUUL products.

         399.    Using the tools available to it, JLI would have known that its viral marketing program

  was a resounding success, and in particular with young people.




  467
      Philip Morris Vice President for Research and Development, Why One Smokes, First Draft, 1969,
    Autumn (Minnesota Trial).
  468
      United States v. Philip Morris, 449 F. Supp. 2d 1, 581 (D.D.C. 2006).
  469
      Id.

                                                     138
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         400.     Between 2015 and 2017, JUUL-related posts on Twitter increased quadratically, which

  is the exact result to be expected from an effective viral marketing campaign.470 Its growth on

  Instagram was likely even more rapid.

         401.     A 2018 study of JLI’s sales and presence on social media platforms found that JLI grew

  nearly 700%, yet spent “no recorded money” in the first half of 2017 on major advertising channels,

  and spent only $20,000 on business-to-business advertising.471 Despite JLI’s apparently minimal

  advertising spend in 2017, the study found a significant increase in JUUL-related tweets in 2017.472

         402.     On Instagram, the study found seven JUUL-related accounts, including DoIt4JUUL and

  JUUL.girls, which accounted for 4,230 total JUUL-related posts and had more than 270,000

  followers.473

         403.     In addition to JUUL’s explosive growth on individual social media platforms, the study

  found JUUL products being marketed across platforms in an apparently coordinated fashion, including

  smaller targeted campaigns and affiliate marketing, all of which caused the authors to question whether

  JLI was paying for positive reviews and JUUL-related social media content.

         404.     The lead author of the study concluded that JLI was “taking advantage” of the reach and

  accessibility of multiple social media platforms to “target the youth and young adults . . . because there

  are no restrictions,” on social media advertising.474

         405.     Similarly, an account named @JUULnation was established on Instagram and posted

  tips on how to conceal JUUL devices in school supplies. The account also ridiculed efforts to combat


  470
      See Brittany Emelle, et al., Mobile Marketing of Electronic Cigarettes in the U.S., (May 2017),
    https://www.slideshare.net/YTHorg/mobile-marketing-of-electronic-cigarettes.
  471
       Jidong Huang et al., Vaping versus JUULing: how the extraordinary growth and marketing of
    JUUL transformed the US retail e-cigarette market, TOBACCO CONTROL (May 31, 2018),
    https://tobaccocontrol.bmj.com/content/28/2/146.full.
  472
      Id.
  473
      Id.
  474
      Laura Kelly, JUUL Sales Among Young People Fueled by Social Media, Says Study, The Wash.
    Times (June 4, 2018), https://www.washingtontimes.com/news/2018/jun/4/juul-sales-among-young-
    people-fueled-by-social-med/.

                                                      139
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  JUUL use in schools, promoted videos of JUUL influencers, and promoted videos like the “JUUL

  Challenge,” in which users inhale as much JUUL nicotine vapor as possible in a fixed period of time.

  JLI repeatedly used the hashtag “#JUULnation” on posts on its own Instagram account, for example

  when advertising its “Cool Mint” JUULpods, JUUL’s portability, or party mode.475

         406.    A separate study of e-cigarette advertising on mobile devices, where young people

  spend most of their day consuming media, found that 74% of total advertising impressions were for

  JUUL products.476

         407.    A 2019 study found that as much as half of JUUL’s Twitter followers were aged

  thirteen to seventeen.477

         408.    A 2019 study characterizing JUUL-related Instagram posts between March and May

  2018 found that among nearly 15,000 relevant posts from over 5,000 unique Instagram accounts, more

  than half were related to youth or youth lifestyle.478

         409.    Some Twitter users have reported what appear to be JUUL bots.479 Other Twitter users

  appear to either be bot accounts or native advertisers, in that they have a small number of followers,

  follow few other users, and post exclusively about JUUL content.480

         410.    By April 2018, searching “JUUL” on YouTube yielded 137,000 videos with forty-three

  videos having over 100,000 views.481 Of these, a huge number were plainly related to underage use,
  475
      JLI00682401-484 at 428, 444, 451; see also Stanford University, Research into the Impact of
    Tobacco                                                                                  Advertising,
    http://tobacco.stanford.edu/tobacco_web/images/pod/juul/instagram/large/ig_11.jpg;          Stanford
    University,        Research      into      the       Impact       of      Tobacco        Advertising,
    http://tobacco.stanford.edu/tobacco_web/images/pod/juul/instagram/large/ig_12.jpg.
  476
      See Brittany Emelle et al., Mobile Marketing of Electronic Cigarettes in the U.S., Truth Iniative
    (May 2017), https://www.slideshare.net/YTHorg/mobile-marketing-of-electronic-cigarettes.
  477
      Steven Reinberg, Study: Half of Juul's Twitter followers are teens, young adults, HealthDay News,
    (May 20, 2019) https://www.upi.com/Health_News/2019/05/20/Study-Half-of-Juuls-Twitter-
    followers-are-teens-young-adults/1981558384957/.
  478
      Lauren Czaplicki et al., Characterising JUUL-related posts on Instagram, Truth Initiative (Aug. 1,
    2019), https://tobaccocontrol.bmj.com/content/early/2019/07/30/tobaccocontrol-2018-054824.
  479
       One example of what appear to be JUUL bots in action on Twitter is available at:
    https://twitter.com/search?q=juul%20bot&src=typd (last visited Apr. 4, 2020).
  480
      Hennrythejuul (@hennrythejuul), Twitter (Mar. 4, 2020, 9:35 am) https://twitter.com/hennrythejuul.

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  including: 1,730 videos on “hiding JUUL in school,” 789 on “JUUL in school bathroom,” 992 on

  “hiding JUUL at home,” and 241 on “hiding JUUL in Sharpie.”482

         411.    In 2018, JLI was internally collecting hundreds of social media posts—directed at JLI—

  informing it of JUUL’s wild popularity with young people and in many cases requesting that JLI do

  something to stop it.483

         9.      JLI Coordinated with Veratad Technologies To Expand Youth Access to JUUL
                 Products.

         412.    At the same time JLI and the Management Defendants were taking coordinated actions

  to maintain and expand the number of nicotine-addicted e-cigarette users in order to ensure a steady

  and growing customer base through unlawful marketing and distribution activities, they were

  coordinating with an outside entity—Veratad Technologies LLC—to get JUULs into the hands of the

  largest number of consumers possible.

         413.    JLI’s website, including its online store, was pivotal to these efforts. Early marketing

  documents show that JLI planned a “consumer journey” that started with a consumer being exposed to

  misleading JUUL marketing in stores, where JLI’s “fun” and “approachable” in-store marketing would

  lead consumers to JLI’s website for additional misrepresentations and omissions about JUUL products,

  an email subscription sign-up, and purchases through JLI’s ecommerce platform:484




  481
      Divya Ramamurthi et al., JUUL and Other Stealth Vaporizers: Hiding the Habit from Parents and
    Teachers,       Tobacco      Control     2019,      Stanford    Univ.  (Sept.     15,     2018),
    https://www.ncbi.nlm.nih.gov/pubmed/30219794.
  482
      Id.
  483
      Complaint at 60, People v. JUUL Labs, Inc., No. RG19043543 (Super. Ct. of Cal. Nov. 18, 2019),
    https://oag.ca.gov/system/files/attachments/press-docs/91186258.pdf.
  484
      INREJUUL_00329660.

                                                     141
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         414.    JLI coordinated with Veratad to provide age verification services for its website from

  2015 to 2018. Veratad has also provided age verification services to other e-cigarette sellers, including

  Lorillard485 and Altria.486 Consistent with the claim on Veratad’s website that “You can create your

  own verification rules,” the company encouraged sellers like JLI to set the desired compliance level for

  age verification. As a member of a major e-cigarette trade organization, Veratad also offered insight

  into what competitors were doing, and offered to “guide your setup to follow industry best

  practices for age verification.”

         415.    Though it is illegal to sell and ship e-cigarettes to minors under both state and federal

  law, JLI and Veratad designed and implemented an age verification system designed to maximize the

  number of prospective purchasers who “pass” the process rather than to minimize the number of

  underage sales.487 As a result of these intentionally permissive age verification practices, JLI and


  485
       Staff of Sen. Richard Durbin et al., 113th Cong., Gateway to Addiction? (Apr. 14, 2014),
    https://www.durbin.senate.gov/imo/media/doc/Report%20-%20E-Cigarettes%20with%20Cover.pdf.
  486
      INREJUUL_00174362.
  487
      Complaint at 165, People v. JUUL Labs, Inc., No. RG19043543 (Super. Ct. of Cal. Nov. 18, 2019),
    https://oag.ca.gov/system/files/attachments/press-docs/91186258.pdf.

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  Veratad used online payment systems and the US mails to ship tens of millions of dollars of JUULpods

  to unverified customers, many of whom were minors.

         416.    From June 2015 through the end of 2018, the age verification process on JLI’s website

  typically prompted prospective purchasers to submit their name, address, and date of birth, which JLI

  forwarded to Veratad. Veratad then attempted to match all or some limited part of the consumer’s

  information to a person of the minimum legal sales age in its database. If Veratad was able to locate a

  sufficient match of the prospective purchaser to a person of the minimum legal sales age in its

  database, then it would return a “pass” result to JLI. If Veratad was unable to make such a match,

  Veratad returned a “fail” result to JLI.

         417.    If Veratad returned a “fail” result to JLI, rather than decline the prospective purchaser,

  JLI would prompt the person to enter an “alternate” address. If Veratad still could not find a match

  based on this alternate address, JLI would prompt the consumer to enter the last four digits of his or her

  social security number.

         418.    If Veratad, supplied with the last four digits of a consumer’s social security number,

  still could not match the consumer to a person of the minimum legal sales age in its database, JLI

  would prompt the consumer to upload an image or photograph of his or her driver’s license or another

  governmental identification document. A JLI employee would then conduct a personal review of the

  image and decide whether the consumer was of the minimum legal sales age.

         419.    Crucially, Veratad’s age verification system was purposefully flexible, so JLI and

  Veratad could work together to decide just how closely a prospective purchaser’s personal information

  had to match records in Veratad’s database in order to “pass” the age verification process. JLI and

  Veratad could also set, or modify, the applicable minimum legal sales age to be used for verification.




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          420.    By the fall of 2015, JLI and Veratad knew that bulk purchases were being made for

  resale on JLI’s website by minors and for resale to minors.488 For example, on May 25, 2016, JLI

  employees discussed an online purchase of JUUL products made by a fifteen-year-old boy.489 A JLI

  employee wrote that “[t]his order had failed age verification a few times with the person’s information

  as below. The person even uploaded an ID, which was obviously fake and rejected by us. Then, the

  user entered a different email address and passed from Veratad, and the order was sent.”490 The

  employee discussed a communication with Veratad that confirmed that Veratad did not review the date

  of birth entered by the user when determining whether a person passed age verification for JUUL.491

  JLI recognized that “[t]his situation can potentially happen again.”492

          421.    Veratad also knew or should have known that JUUL products were being widely used

  by minors. Veratad also knew that some underage users were able to purchase JUUL through JLI’s

  website using the age verification parameters that were in place. Internal JLI documents confirm that

  JLI discussed underage purchases with Veratad. For example, on May 27, 2016, JLI’s Head of

  Compliance & Brand Protection wrote that an “underage purchaser changed his email address; which,

  allowed the order to be passed by Veratad. . . . I believe that Nick and his team are still looking into the

  matter with Veratad to see if they can get a better understanding of what happened.”493 A JLI employee

  replied “hmmm. Probably impossible to put up an age gate that thwarts a committed teenager from

  penetrating it :)”494




  488
      Matt Richtel & Sheila Kaplan, Did Juul Lure Teenagers and Get ‘Customers for Life’?: The e-
    cigarette company says it never sought teenage users, but the F.D.A. is investigating whether Juul
    intentionally marketed its devices to youth, NY Times (Aug. 27, 2018),
    https://www.nytimes.com/2018/08/27/science/juul-vaping-teen-marketing.html.
  489
      INREJUUL_00300253-258 at 257.
  490
      Id. at 256.
  491
      Id.
  492
      Id. at 253.
  493
      INREJUUL_00209176-180 at 176.
  494
      Id.

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         422.    Nevertheless, the two companies worked together to find ways to “bump up [JLI’s] rate

  of people who get through age verification.”495 JLI repeatedly sought, and Veratad repeatedly

  recommended and directed, changes to the age verification process so that more prospective JUUL

  purchasers would “pass.” Both did so in an effort to increase direct sales of JLI’s e-cigarettes without

  regard to whether it’s less stringent age verification process would permit more underage consumers to

  purchase them.

         423.    Between June 2015 and August 2017 (and perhaps even through early 2018), JLI and

  Veratad tailored the age verification system to “pass” prospective purchasers even if certain portions of

  the purchaser’s personal information—e.g., the purchaser’s street address or date of birth—did not

  match the information corresponding to a person of the minimum legal sales age in Veratad’s

  database.496

         424.    Similarly, between June 2015 and August 2017, JLI and Veratad tailored the system to

  “pass” a prospective purchaser under certain circumstances even when the prospective purchaser’s

  year of birth did not match the information corresponding to a person of the minimum legal sales age

  in Veratad’s database.

         425.    JLI and Veratad sought to increase “pass” rates by modifying the age verification

  system to allow users multiple opportunities to change their personal information if a match was not

  initially found in an appropriate government database. A Veratad Performance Report from August 5,

  2017 shows that, for 1,963 consumers Veratad recorded 3,794 transactions—an average of 1.93


  495
     INREJUUL_00276489-INREJUUL_00276490.
  496
     Complaint at 43, People v. JUUL Labs, Inc., No. RG19043543 (Super. Ct. of Cal. Nov. 18, 2019),
   https://oag.ca.gov/system/files/attachments/press-docs/91186258.pdf. A January 29, 2018 email
   exchange between Tom Canfarotta, Director of Strategic Accounts & Client Quality Services at
   Veratad, and Annie Kennedy, JUUL’s Compliance Manager, reveals this to have been the case.
   Kennedy asked Canfarotta why a particular customer had “passed via the address step (public record
   check)…but we’ve since learned that is not a correct address—so we’re curious as to how it passed.”
   In response, Canfarotta wrote, “Your current rule set does not require a full address match.” He went
   on to explain that approval of the customer was not an anomaly or a mistake; instead, Veratad’s age
   verification system was working exactly the way it was designed.

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  attempts per consumer.497 Only 966 consumers—less than half—passed age verification on the first

  attempt.498 By allowing consumers to alter their personal information and attempt age verification up

  to three times, JLI was able to increase its database match pass rate from 49.2% to 61.2%.499

         426.    By design, these lax requirements ensured underage consumers could “pass” JLI’s age

  verification process and purchase JUUL e-cigarettes directly from JLI’s website by using their parent’s

  name, home address, and an approximate date of birth. JLI was aware of this fact, as evidenced by the

  multiple complaints it received from parents who alleged their children did just that.500

         427.    JLI directed and approved the system it had implemented with Veratad that caused

  accounts with “bad info” to be “AV approved” but, as a Senior Business Systems Manager at JLI

  commented, “if [v]eratad passed it [then] it’s not on us.”

         428.    JLI customer service representatives even encouraged those who failed age verification

  to “make multiple accounts in order to pass AV [age verification].”501 Customer service representatives

  would go so far as to alter identifying information for them; a Slack chat among customer service

  representatives confirmed that representatives were authorized to “adjust the street address, apartment

  number, or zip code” associated with shipment.502

         429.    The age verification procedures designed by JLI and Veratad have allowed hundreds of

  thousands of e-cigarette products to be sold and/or delivered to fictitious individuals at fictitious

  addresses.503 Many of these improper sales may have been made to underage purchasers or to resellers

  who sold the products to underage consumers on the grey market.504



  497
      Id.
  498
      Id.
  499
      Id.
  500
      INREJUUL_00184119.
  501
      INREJUUL_00215324-INREJUUL_00215325.
  502
      Complaint at 168, People v. JUUL Labs, Inc., No. RG19043543 (Super. Ct. of Cal. Nov. 18, 2019),
    https://oag.ca.gov/system/files/attachments/press-docs/91186258.pdf.
  503
      Id. at 138.
  504
      Id.

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         430.    By divorcing the address from the other customer data in the age verification process,

  JLI and Veratad allowed consumers to request that tobacco products be sent to locations other than

  their permanent legal residences.505 For example, JLI sent thousands of orders to commercial high rises

  and office parks.506 It is unlikely these orders would have been approved had JLI and Veratad required

  that addresses provided by users match information in an appropriate government database and

  followed the requirement that the shipping address and billing address be the same.507

         431.    The failure of the JLI/Veratad age verification procedure was intentional.508 And despite

  JLI and Veratad’s concerted effort to enable the sale of federally regulated tobacco products to minors,

  JLI nevertheless publicly touted Veratad as the “gold standard” of age verification services. For

  example, JLI told a reporter with CBS, Pam Tighe, that “[t]here is an extensive age verification

  process in place to purchase JUUL online” and that JLI “work[s] with Veratad Technologies, the state-

  of-the-art, gold-standard for age verification. . . . Veratad uses billions of records from multiple trusted

  data sources to verify the information customers provide and to ensure customers qualify to access and

  purchase products from JUULvapor.com.”509 JLI later planned on sending this same, canned false

  language to a student journalist at Georgetown University.510 Similarly, a JLI spokesperson told a

  reporter at a New York newspaper, ANMY, that JLI uses “industry-leading ID match and age

  verification technology to ensure that customers” are over twenty-one years of age and that the

  “information is verified against multiple databases.”511




  505
      Id. at 146
  506
      Id. at 147.
  507
      Id.
  508
      Id. at 173.
  509
      INREJUUL00178123-24. INREJUUL00178123-24 (JLI also told Ms. Tighe that “Our Marketing
    Efforts are Adult-targeted. . . Any media is focused on 21+ adult smokers and we always adhere to or
    exceed all tobacco guidelines for advertising in home, radio and digital.”).
  510
      INREJUUL_00264882-84.
  511
      Alison Fox, ‘Juul’ e-cigarettes require stronger FDA regulation, Schmuer Says, AMNY, (Oct. 15,
    2017), https://www.amny.com/news/juul-e-cigarettes-fda-regulation-1-14485385/.

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         432.     In August 2017, JLI responded to public scrutiny by publicly stating that it would

  increase the purchase age on its website to 21+ by August 23, 2017. In the weeks leading up to that

  date, it emailed the approximately 500,000 or more potential customers to report that customers who

  signed up for JLI’s “auto-ship” subscription service before August 23, 2017 would not have to prove

  that they were 21+ for as long as they maintained the subscription to receive JUULpods. As discussed

  herein, JLI knew that these marketing emails were being sent to underage individuals, including those

  who failed age verification. And at the same time, JLI advertised that the most popular flavor among

  youth, Mango, was now available on its “auto-ship” subscription service.” As a result of this scheme,

  JLI’s subscription gains more than offset any losses from the site’s heightened age verification

  requirements.




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         433.    Further underscoring their common purpose of growing the e-cigarette market, even if

  that meant selling to youth, JLI and Veratad did not require that the year of birth and last four digits of

  the social security number match exactly the information corresponding to a person of the minimum

  legal sales age in Veratad’s database until August 2018.

         434.    Tellingly, after JLI and Veratad implemented industry-standard age verification

  practices, JLI boasted to the FDA that the approval rate for sales on its website had dropped to 27%.

         435.    Despite JLI’s knowledge that it had been coordinating with Veratad to ensure minors

  could purchase JUUL products online, JLI continued to make false and fraudulent statements about the

  strength of its age verification system. For example, on June 5, 2018, JLI tweeted about its relationship

  with Veratad, claiming that “We’ve partnered with Veratad Technologies to complete a public records

  search, only reporting back whether or not you are 21 years of age or older.”512 In addition, on

  November 13, 2018, JLI and the Managements Defendants caused a post to appear on JLI’s website

  stating that JLI was “Restricting Flavors to Adults 21+ On Our Secure Website” and that JLI’s age-

  verification system was “an already industry-leading online sales system that is restricted to 21+ and

  utilizes third party verification.”513 A video accompanying this message stated “At JUUL labs we’re

  committed to leading the industry in online age verification security to ensure that our products don’t

  end up in the hands of underage users” and included an image of a computer with a chain wrapped

  around it and locked in place.514 These statements were fraudulent because JLI and the Management

  Defendants were and had been coordinating with Veratad to ensure that their age verification system

  did not actually prevent youth from purchasing JUUL products.




  512
            JUUL        Labs,      Inc.      (@JUULvapor),          Twitter      (June 5, 2018),
    https://twitter.com/juulvapor/status/1004055352692752386.
  513
       JUUL Labs Action Plan (“November 2018 Action Plan”), JUUL Labs, Inc. (Nov. 12, 2018),
    https://newsroom.juul.com/juul-labs-action-plan/ (last visited Apr. 30, 2020).
  514
      Id.

                                                      150
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            436.   Not only did JLI and Veratad’s efforts result in more sales to minors, it also allowed JLI

  to build a marketing email list that included minors—a data set that would prove highly valuable to

  Altria.

            437.   In the summer of 2017, JLI engaged a company called Tower Data to determine the

  ages of the persons associated with email addresses on its email marketing list. According to this

  analysis, approximately 269,000 email addresses on JLI’s email marketing list were not associated

  with a record of an individual who had “passed” JLI’s age verification process.515 Additionally,

  approximately 40,000 email addresses on JLI’s email marketing list were associated with records of

  individuals who had “failed” JLI’s own age verification process.516 Tower Data informed JLI that 83%

  of the approximately 420,000 email addresses on JLI’s marketing list could not be matched with the

  record of an individual at least eighteen years of age.517

            438.   Despite knowing that their marketing list included minors, JLI continued to use that

  marketing list to sell JUUL products, and then shared that list with Altria to use for its marketing

  purposes.

            439.   JLI and the Management Defendants knew, however, that it was not enough to

  disseminate advertisements and marketing materials that promote JLI to youth or to open online sales

  to youth, while omitting mention of JUUL’s nicotine content and manipulated potency. To truly

  expand the nicotine market, they needed to deceive those purchasing a JUUL device and JUULpods as

  to how much nicotine they were actually consuming. And, through Defendants Pritzker, Huh, and

  Valani’s control of JLI’s Board of Directors, they did just that.



  515
       Complaint at 121, Commonwealth of Massachusetts v. Juul, et al., No. 20-00402 (Super. Ct. of
    Mass. Feb. 12, 2020) https://www.mass.gov/doc/juul-complaint/download; Janice Tan, E-cigarette
    firm JUUL sued for using programmatic buying to target adolescents, Marketing (Feb. 14, 2020),
    https://www.marketing-interactive.com/e-cigarette-firm-juul-sued-for-using-programmatic-buying-
    to-target-adolescents.
  516
      Id.
  517
      Id.

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         10.      JLI Engaged in a Sham “Youth Prevention” Campaign.

         440.     By April 2017, JLI had determined that the publicity around its marketing to children

  was a problem. Ashley Gould, the company’s General Counsel and Chief Regulatory and

  Communications Officer, thus sought to “hire a crisis communication firm to help manage the youth

  interest JUUL has received[.]”518 By June 2017, JLI began developing a “youth prevention

  program[.]”519 While ostensibly aimed at reducing youth sales, JLI’s youth prevention program

  actually served to increase, not reduce, sales to children.

         441.     By December 2017, JLI’s youth prevention program included extensive work with

  schools.520 JLI paid schools for access to their students during school time, in summer school, and

  during a Saturday School Program that was billed as “an alternative to ‘traditional discipline’ for

  children caught using e-cigarettes in school.”521 JLI created the curriculum for these programs, and,

  like the “Think Don’t Smoke” campaign by Philip Morris, which “insidiously encourage[d] kids to use

  tobacco and become addicted Philip Morris customers[,]”522 JLI’s programs were shams intended to

  encourage youth e-cigarette use, not curb it. According to testimony before Congress, during at least

  one presentation, “[n]o parents or teachers were in the room, and JUUL’s messaging was that the

  product was ‘totally safe.’ The presenter even demonstrated to the kids how to use a JUUL.”523

  Furthermore, JLI “provided the children snacks” and “collect[ed] student information from the

  sessions.”524




  518
       INREJUUL_00264878; see also INREJUUL_00265042 (retaining Sard Verbinnen, a strategic
    communications firm).
  519
      See, e.g., INREJUUL_00211242.
  520
      INREJUUL_00173409.
  521
      Subcommittee on Economic and Consumer Policy Memo (July 25, 2019).
  522
      William V. Corr, American Legacy Foundation Study Shows Philip Morris 'Think Don't Smoke'
    Youth Anti-Smoking Campaign is a Sham, Campaign for Tobacco Free Kids (May 29, 2002),
    https://www.tobaccofreekids.org/press-releases/id_0499.
  523
      Subcommittee on Economic and Consumer Policy Memo (July 25, 2019).
  524
      Id.

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         442.    The problems with JLI’s youth prevention programs were widespread. According to

  outside analyses, “the JUUL Curriculum is not portraying the harmful details of their product, similar

  to how past tobacco industry curricula left out details of the health risks of cigarette use.”525 Although

  it is well-known that teaching children to deconstruct ads is one of the most effective prevention

  techniques, JLI programs entirely omitted this skill, and JLI’s curriculum barely mentioned JUUL

  products as among the potentially harmful products to avoid.526 As one expert pointed out, “we know,

  more from anecdotal research, that [teens] may consider [JUULs] to be a vaping device, but they don’t

  call it that. So when you say to a young person, ‘Vapes or e-cigarettes are harmful,’ they say, ‘Oh I

  know, but I’m using a JUUL.’”527

         443.    Internal emails confirm both that JLI employees knew about the similarities of JLI’s

  “youth prevention program” to the earlier pretextual antismoking campaigns by the cigarette industry

  and that JLI management at the highest levels was personally involved in these efforts. In April 2018,

  Julie Henderson, the Youth Prevention Director, emailed school officials about “the optics of us

  attending a student health fair” because of “how much our efforts seem to duplicate those of big

  tobacco (Philip Morris attended fairs and carnivals where they distributed various branded items under

  the guise of ‘youth prevention’).”528 She later wrote that she would “confirm our participation w[ith]

  Ashley & Kevin”529—an apparent reference to Kevin Burns, at the time the CEO of JLI, who would

  later personally approve JLI’s involvement in school programs. In May 2018, Julie Henderson spoke

  with former members of Philip Morris’s “youth education” team,530 and Ashley Gould received and

  forwarded what was described as “the paper that ended the Think Don’t Smoke campaign undertaken
  525
      Victoria Albert, Juul Prevention Program Didn't School Kids on Dangers, Expert Says: SMOKE
    AND MIRRORS. JUUL—which made up 68 percent of the e-cigarette market as of mid-June—seems
    to have taken a page from the playbook of Big Tobacco, The Daily Beast (Oct. 19, 2018),
    https://www.thedailybeast.com/juul-prevention-program-didnt-school-kids-on-dangers-expert-says.
  526
      Id.
  527
      Id.
  528
      INREJUUL_00197608.
  529
      INREJUUL_00197607.
  530
      INREJUUL_00196624.

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  by Philip Morris.”531 The paper concluded that “the Philip Morris campaign had a counterproductive

  influence.”532

         444.      JLI also bought access to teenagers at programs outside of school. For example, JLI

  paid $89,000 to the Police Activities League of Richmond, California, so that all youth in the

  Richmond Diversion Program—which targeted “youth, aged 12-17, who face suspension from school

  for using e-cigarettes and/or marijuana” and “juveniles who have committed misdemeanor (lesser

  category) offenses”—would “participate in the JUUL labs developed program, Moving Beyond” for as

  long as ten weeks.533 Similarly, JLI paid $134,000 to set up a summer program for 80 students from a

  charter school in Baltimore, Maryland.534 Participants were “recruited from grades 3 through 12”535

  and worked closely with teachers to develop personal health plans. JLI paid nearly 70% of the cost of

  hiring eight teachers, eight instructional aides, and three other support personnel for the program.536

         445.      JLI was aware that these out-of-school programs were, in the words of Julie Henderson,

  “eerily similar” to the tactics of the tobacco industry.537 In June 2018, Ms. Henderson described

  “current executive concerns & discussion re: discontinuing our work w[ith] schools[.]”538 Eventually,

  JLI ended this version of the youth prevention program, but the damage had been done: following the

  playbook of the tobacco industry, JLI had hooked more kids on nicotine.




  531
      INREJUUL_00265202.
  532
      Matthew C. Farrelly et al., Getting to the Truth: Evaluating National Tobacco Countermarketing
    Campaigns, 92 Am. J. Public Health 901 (2002).
  533
      JLI-HOR-00002181–00002182.
  534
      INREJUUL_00194247; Invoice to JUUL Labs from The Freedom & Democracy Schools, Inc. for
    $134,000, (June 21, 2018), https://oversight.house.gov/sites/democrats.oversight.house.gov/files/JLI-
    HOR-00003711.pdf.
  535
      INREJUUL_0019428.
  536
      The Freedom & Democracy Schools, Inc., Proposal to JUUL Labs for Funding the Healthy Life
    Adventures               Summer              Pilot            (June            9,             2018),
    https://oversight.house.gov/sites/democrats.oversight.house.gov/files/JLI-HOR-
    00002789_Redacted.pdf.
  537
      INREJUUL_00194646.
  538
      INREJUUL_00194646.

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          446.       The Board was intimately involved in these “youth prevention” activities. For example,

  in April 2018, Defendants Valani and Pritzker edited a youth prevention press release, noting that they

  “don’t want to get these small items wrong” and “think it’s critical to get this right.”539

          11.        The FDA Warned JLI and Others That Their Conduct is Unlawful.

          447.       Throughout 2018, the FDA put JLI and others in the e-cigarette industry on notice that

  their practices of marketing to minors needed to stop. It issued a series of warnings letters and

  enforcement actions:

          448.       On February 24, 2018, the FDA sent a letter to JLI expressing concern about the

  popularity of its products among youth and demanding that JLI produce documents regarding its

  marketing practices.540

          449.       In April 2018, the FDA conducted an undercover enforcement effort, which resulted in

  fifty-six warning letters issued to online retailers, and six civil money complaints to retail

  establishments, all of which were related to the illegal sale of e-cigarettes to minors. 541 Manufacturers

  such as JLI were also sent letters requesting documents regarding their marketing and sales methods.542

          450.       In May 2018, the FDA again issued more warning letters to manufacturers, distributors,

  and retailers of e-liquids for labeling and advertising violations; these labels and advertisements

  targeted children and resembled children’s food items such as candy or cookies.543

          451.       In September 2018, the FDA engaged in several other regulatory enforcement actions,

  issuing over 1300 warning letters and civil money complaints to e-cigarette and e-liquid retailers and

  distributors.544

  539
      JLI00151300.
  540
      Matthew Holman, Letter from Director of Office of Science, Center for Tobacco Products, to Zaid
    Rouag,       at     JUUL         Labs,      Inc.,      U.S.      FDA        (Apr. 24,      2018),
    https://www.fda.gov/media/112339/download.
  541
       Enforcement Priorities for Electronic Nicotine Delivery Systems (ENDS) and Other Deemed
    Products on the Market Without Premarket Authorization, U.S. FDA (Jan. 2020),
    https://www.fda.gov/media/133880/download.
  542
      Id.
  543
      Id.

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              452.   On September 12, 2018, the FDA sent letters to JLI and other e-cigarette manufacturers

  putting them on notice that their products were being used by youth at disturbing rates.545 The FDA

  additionally requested manufacturers to enhance their compliance monitoring mechanisms, implement

  stricter age verification methods, and limit quantities and volume of e-cigarette products that could be

  purchased at a time.546

              453.   Finally, in October 2018, the FDA raided JLI’s headquarters and seized more than a

  thousand documents relating to JLI’s sales and marketing practices.547 Since then, the FDA, the

  Federal Trade Commission, multiple state attorneys general and the U.S. House of Representatives

  Committee on Oversight and Reform have all commenced investigations into JLI’s role in the youth e-

  cigarette epidemic and whether JLI’s marketing practices purposefully targeted youth.

              454.   Siddharth Breja, who was senior vice president for global finance at JLI, “claims that

  after the F.D.A. raided Juul headquarters in October 2018, seeking internal documents, Mr. Burns

  instructed Mr. Breja and other executives not to put anything relating to regulatory or safety issues in

  writing, so that the F.D.A. could not get them in the future.”548




  544
        Id.
  545
         Letter    from   US      FDA     to   Kevin     Burns,  U.S. FDA         (Sept. 12,   2018),
    https://www.fda.gov/media/119669/download.
  546
      Press Release, FDA takes new steps to address epidemic of youth e-cigarette use, including a
    historic action against more than 1,300 retailers and 5 major manufacturers for their roles
    perpetuating youth access, US FDA (Sept. 11, 2018), https://www.fda.gov/news-events/press-
    announcements/fda-takes-new-steps-address-epidemic-youth-e-cigarette-use-including-historic-
    action-against-more.
  547
      Laurie McGinley, FDA Seizes Juul E-Cigarette Documents in Surprise Inspection of Headquarters,
    Wash. Post (Oct. 2, 2018), https://www.washingtonpost.com/health/2018/10/02/fda-seizes-juul-e-
    cigarette-documents-surprise-inspection-headquarters/.
  548
      Sheila Kaplan & Jan Hoffman, Juul Knowingly Sold Tainted Nicotine Pods, Former Executive Say,
    N.Y.     Times     (Nov.    20,    2019),   https://www.nytimes.com/2019/10/30/health/juul-pods-
    contaminated.html.

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         12.     In Response to Regulatory Scrutiny, Defendants Misled the Public, Regulators,
                 and Congress that JLI Did Not Target Youth.

         455.    To shield their youth-driven success from scrutiny, Altria, JLI, and the Management

  Defendants’ had a long-running strategy to feign ignorance over JLI and the Management Defendants’

  youth marketing efforts and youth access to JLI’s products. They were well aware that JLI’s conduct in

  targeting underage users was reprehensible and unlawful, and that if it became widely known that this

  was how JLI obtained its massive market share, there would be a public outcry and calls for stricter

  regulation or a ban on JLI’s products. Given the increasing public and regulatory scrutiny of JLI’s

  market share and marketing tactics, a dis-information campaign was urgently needed to protect

  Defendants’ bottom line. For this reason, JLI, the Management Defendants, and Altria all hid JLI’s

  conduct by vociferously denying that JLI had marketed to and targeted youth and instead falsely

  claimed that JLI engaged in youth prevention. Defendants continued to make these statements while

  and after actively and successfully trying to market to and recruit youth non-smokers. These false

  statements were designed to protect JLI’s market share, and Altria’s investment, by concealing JLI’s

  misconduct.

         456.    For example, after eleven senators sent a letter to JLI questioning its marketing

  approach and kid-friendly e-cigarette flavors like Fruit Medley, Creme Brulee and Mango, JLI visited

  Capitol Hill and told Senators that it never intended its products to appeal to kids and did not realize

  youth were using its products, according to a staffer for Senator Richard Durbin (D-Ill.). JLI’s

  statements to Congress—which parallel similar protests of innocence by tobacco company

  executives—were false.

         457.    JLI also engaged in wire fraud when it made public statements seeking to disavow the

  notion that it had targeted and sought to addict teens:




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            •    “It’s a really, really important issue. We don’t want kids using our products.” (CNBC
                 Interview of JLI’s Chief Administrative Officer, December 14, 2017);549
            •    “We market our products responsibly, following strict guidelines to have material
                 directly exclusively toward adult smokers and never to youth audiences.” (JLI
                 Social Media Post, March 14, 2018);550
             •   “Our company’s mission is to eliminate cigarettes and help the more than one billion
                 smokers worldwide switch to a better alternative,” said JUUL Labs Chief Executive
                 Officer Kevin Burns. “We are already seeing success in our efforts to enable adult
                 smokers to transition away from cigarettes and believe our products have the potential
                 over the long-term to contribute meaningfully to public health in the U.S. and around
                 the world. At the same time, we are committed to deterring young people, as well as
                 adults who do not currently smoke, from using our products. We cannot be more
                 emphatic on this point: No young person or non-nicotine user should ever try
                 JUUL.” (JLI Press Release, April 25, 2018);551
             •   “Our objective is to provide the 38 million American adult smokers with meaningful
                 alternatives to cigarettes while also ensuring that individuals who are not already
                 smokers, particularly young people, are not attracted to nicotine products such as
                 JUUL,” said JUUL Labs Chief Administrative Officer Ashley Gould, who heads the
                 company's regulatory, scientific and youth education and prevention programs. “We
                 want to be a leader in seeking solutions, and are actively engaged with, and listening
                 to, community leaders, educators and lawmakers on how best to effectively keep
                 young people away from JUUL.” (JLI Press Release, April 25, 2018);552
            •    “Of course, we understand that parents and lawmakers are concerned about
                 underage use of JUUL. As are we. We can’t restate this enough. As an independent
                 company that is not big tobacco, we are driven by our mission and commitment to adult
                 smokers.” (JLI CEO Kevin Burns Letter to JUUL Community on Reddit, July 18,
                 2018);553
            •    “We welcome the opportunity to work with the Massachusetts Attorney General
                 because, we too, are committed to preventing underage use of JUUL. We utilize
                 stringent online tools to block attempts by those under the age of 21 from purchasing
                 our products, including unique ID match and age verification technology. Furthermore,

  549
        Angelica LaVito, Nearly one-quarter of teens are using pot, CNBC (Dec. 14, 2017),
    https://www.cnbc.com/2017/12/13/marijuana-and-nicotine-vaping-popular-among-teens-according-
    to-study.html (Interview with Ashely Gould, JUUL Chief Administrative Officer) (emphasis added).
  550
      Robert K. Jackler et al., JUUL Advertising Over Its First Three Years on the Market, Stanford
    Research      Into    the     Impact   of    Tobacco     Advertising   15      (Jan. 31,     2019),
    http://tobacco.stanford.edu/tobacco_main/publications/JUUL_Marketing_Stanford.pdf      (citing   a
    JUUL social media post from March 14, 2018) (emphasis added).
  551
       JUUL Labs, Inc., JUUL Labs Announces Comprehensive Strategy to Combat Underage Use,
    MarketWatch (Apr. 25, 2018), https://www.marketwatch.com/press-release/juul-labs-announces-
    comprehensive-strategy-to-combat-underage-use-2018-04-25 (emphasis added).
  552
      Id (emphasis added).
  553
        A Letter to the JUUL Community from CEO Kevin Burns, Reddit (July 18, 2018),
    https://www.reddit.com/r/juul/comments/8zvlbh/a_letter_to_the_juul_community_from_ceo_kevin/
    (emphasis added).

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                we have never marketed to anyone underage. Like many Silicon Valley technology
                startups, our growth is not the result of marketing but rather a superior product
                disrupting an archaic industry. When adult smokers find an effective alternative to
                cigarettes, they tell other adult smokers. That’s how we’ve gained 70% of the market
                share. . . Our ecommerce platform utilizes unique ID match and age verification
                technology to make sure minors are not able to access and purchase our products
                online.” (Statement from Matt David, JLI Chief Communications Officer, July 24,
                2018);554
            •   “We did not create JUUL to undermine years of effective tobacco control, and we
                do not want to see a new generation of smokers. . . . We want to be part of the
                solution to end combustible smoking, not part of a problem to attract youth, never
                smokers, or former smokers to nicotine products. . . .We adhere to strict guidelines to
                ensure that our marketing is directed towards existing adult smokers.”.” (JLI’s website
                as of July 26, 2018);555
            •   “We don’t want anyone who doesn’t smoke, or already use nicotine, to use JUUL
                products. We certainly don’t want youth using the product. It is bad for public health,
                and it is bad for our mission. JUUL Labs and FDA share a common goal – preventing
                youth from initiating on nicotine. . . . Our intent was never to have youth use JUUL
                products.” (JLI Website, November 12, 2018);556
            •   “To paraphrase Commissioner Gottlieb, we want to be the offramp for adult smokers
                to switch from cigarettes, not an on-ramp for America’s youth to initiate on nicotine.”
                (JLI Website, November 13, 2018);557
            •   “Any underage consumers using this product are absolutely a negative for our business.
                We don’t want them. We will never market to them. We never have.” (James
                Monsees, quoted in Forbes, November 16, 2018);558
            •   “First of all, I’d tell them that I’m sorry that their child’s using the product. It’s not
                intended for them. I hope there was nothing that we did that made it appealing to them.
                As a parent of a 16-year-old, I’m sorry for them, and I have empathy for them, in terms




  554
      Statement Regarding The Press Conference Held By The Massachusetts Attorney General, JUUL
    Labs, Inc. (July 24, 2018), https://newsroom.juul.com/statement-regarding-the-press-conference-
    held-by-the-massachusetts-attorney-general/ (emphasis added).
  555
            Our        Responsibility,     JUUL       Labs,       Inc.    (July      26,     2018),
    https://web.archive.org/web/20180726021743/https://www.juul.com/our-responsibility (last visited
    Mar. 29, 2020) (emphasis added).
  556
      JUUL Labs Action Plan, JUUL Labs, Inc. (Nov. 13, 2018), https://newsroom.juul.com/juul-labs-
    action-plan/ (statement of Ken Burns, former CEO of JUUL) (emphasis added).
  557
      Id. (emphasis added).
  558
      Kathleen Chaykowski, The Disturbing Focus of Juul’s Early Marketing Campaigns, Forbes (Nov.
    16, 2018 2:38 PM), https://www.forbes.com/sites/kathleenchaykowski/2018/11/16/the-disturbing-
    focus-of-juuls-early-marketing-campaigns/#3da1e11b14f9 (emphasis added) (statement of James
    Monsees).

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                 of what the challenges they’re going through.” (CNBC Interview of JLI CEO, July 13,
                 2019);559
             •   “We have no higher priority than to prevent youth usage of our products which is
                 why we have taken aggressive, industry leading actions to combat youth usage.” (JLI
                 Website, August 29, 2019);560
             •   James Monsees, one of the company’s co-founders, said selling JUUL products to
                 youth was “antithetical to the company’s mission.”(James Monsees’ Statement to
                 New York Times, August 27, 2019);561
             •   Adam Bowen, one of the company’s co-founders, said he was aware early on of the
                 risks e-cigarettes posed to teenagers, and the company had tried to make JUUL “as
                 adult-oriented as possible.”(Adam Bowen’s Statement to the New York Times,
                 August 27, 2019);562
             •   “We have never marketed to youth and we never will.”(JLI Statement to Los
                 Angeles Times, September 24, 2019);563
             •   “I have long believed in a future where adult smokers overwhelmingly choose
                 alternative products like JUUL. That has been this company’s mission since it was
                 founded, and it has taken great strides in that direction.” (JLI’s CEO K.C. Crosthwaite,
                 September 25, 2019);564
             •   “As scientists, product designers and engineers, we believe that vaping can have a
                 positive impact when used by adult smokers, and can have a negative impact when used
                 by nonsmokers. Our goal is to maximize the positive and reduce the negative.” (JLI
                 Website, March 6, 2020);565 and
             •   “JUUL was designed with adult smokers in mind.” (JLI Website, last visited March
                 29, 2020).566


  559
      Angelica LaVito, As JLI grapples with teen vaping ‘epidemic,’ CEO tells parent ‘I’m sorry’, CNBC
    (July 13, 2019), https://www.cnbc.com/2019/07/13/as-juul-deals-with-teen-vaping-epidemic-ceo-
    tells-parents-im-sorry.html (emphasis added).
  560
         Our Actions to Combat Underage Use, JUUL Labs, Inc. (Aug. 29, 2019),
    https://newsroom.juul.com/our-actions-to-combat-underage-use/ (JUUL statement in response to
    lawsuits) (emphasis added).
  561
      Matt Richtel & Sheila Kaplan, Did Juul Lure Teenagers and Get ‘Customers for Life’?, N.Y. Times
    (Aug. 27, 2018), https://www.nytimes.com/2018/08/27/science/juul-vaping-teen-marketing.html
    (emphasis added).
  562
      Id (emphasis added).
  563
      Michael Hiltzik, Column: Studies show how JLI exploited social media to get teens to start vaping,
    L.A. Times (Sept. 24, 2019), https://www.latimes.com/business/story/2019-09-24/hiltzik-juul-target-
    teens (statement made on behalf of JUUL) (emphasis added).
  564
      Juul Labs Names New Leadership, Outlines Changes to Policy and Marketing Efforts, JUUL Labs,
    Inc. (Sept. 25, 2019), https://newsroom.juul.com/juul-labs-names-new-leadership-outlines-changes-
    to-policy-and-marketing-efforts/ (emphasis added) (statement by K.C. Crosthwaite).
  565
      Our Mission, JUUL LABS, INC. (2019), https://www.juul.com/mission-values (last visited Apr. 4,
    2020) (emphasis added).
  566
      JUUL Labs, Inc., https://www.juul.com/ (last visited Mar. 29, 2020) (emphasis added).

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         458.    As the JLI Board of Directors had “final say” over all of JLI’s marketing efforts, these

  statements regarding JLI’s marketing efforts can be imputed to the Management Defendants, who were

  therefore directly responsible for the messaging over the marketing of JUUL products.

         459.    Altria also engaged in wire fraud when it made public statements seeking to disavow

  the notion that JLI had targeted and sought to addict teens:

             •   “Altria and JUUL are committed to preventing kids from using any tobacco products.
                 As recent studies have made clear, youth vaping is a serious problem, which both Altria
                 and JUUL are committed to solve. As JUUL previously said, ‘Our intent was never
                 to have youth use JUUL products.’” (Altria News Release, December 20, 2018).567

         460.    However, JLI, the Management Defendants, and Altria realized that attempting to shift

  public opinion through fraudulent statements was not enough to achieve their goal of staving off

  regulation. To accomplish this goal, they would also need to deceive the FDA and Congress. And so

  they set out to do just that through statements and testimony by JLI representatives. These include, but

  are not limited to, the following:

  Statements by JLI to the FDA:
             •   “JUUL was not designed for youth, nor has any marketing or research effort since
                 the product’s inception been targeted to youth.” (Letter to FDA, June 15, 2018).568
             •   “With this response, the Company hopes FDA comes to appreciate why the product was
                 developed and how JUUL has been marketed — to provide a viable alternative to
                 cigarettes for adult smokers.” (Letter to FDA, June 15, 2018).569
  Statements by Altria to the FDA:
             •   “[W]e do not believe we have a current issue with youth access to or use of our pod-
                 based products, we do not want to risk contributing to the issue.” (Letter from Altria
                 CEO to FDA Commissioner Scott Gottlieb, October 25, 2018).570



  567
      Altria Group, Inc., Altria Makes $12.8 Billion Minority Investment to Accelerate Harm Reduction
    and Drive Growth (“Altria Minority Investment”) (Form 8-K), Ex. 99.1 (Dec. 20, 2018),
    https://www.sec.gov/Archives/edgar/data/764180/000119312518353970/d660871dex991.htm
    (emphasis added).
  568
      Letter from JUUL’s Counsel at Sidley Austin to Dr. Matthew Holman, FDA at 2 (June 15, 2018)
    (emphasis added).
  569
      Id. at 3 (emphasis added).
  570
      Letter from Altria CEO Howard Willard to Dr. Scott Gottlieb, FDA at 2 (Oct. 25, 2018) (emphasis
    added).

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             •   “We believe e-vapor products present an important opportunity to adult smokers to
                 switch from combustible cigarettes.” (Letter to FDA Commissioner Gottlieb,
                 10/25/18)571
  Statements by JLI to Congress:
             •   “We never wanted any non-nicotine user, and certainly nobody under the legal age
                 of purchase, to ever use JLI products. . . .That is a serious problem. Our company has
                 no higher priority than combatting underage use.” (Testimony of James Monsees, July
                 25, 2019).572
             •   “Our product is intended to help smokers stop smoking combustible cigarettes.”
                 (Ashley Gould, JLI Chief Administrative Officer, Testimony before House Committee
                 on Oversight and Reform, July 25, 2019).573
  Statements by Altria to Congress:
             •   “In late 2017 and into early 2018, we saw that the previously flat e-vapor category had
                 begun to grow rapidly. JUUL was responsible for much of the category growth and had
                 quickly become a very compelling product among adult vapers. We decided to
                 pursue an economic interest in JUUL, believing that an investment would significantly
                 improve our ability to bring adult smokers a leading portfolio of non-combustible
                 products and strengthen our competitive position with regards to potentially reduced
                 risk products.” (Letter from Altria CEO to Senator Durbin, October 14, 2019).574

         461.    Each of the foregoing statements constitutes an act of wire fraud. JLI, Monsees, and

  Altria made these statements, knowing they would be transmitted via wire, with the intent to deceive

  the public, the FDA, and Congress as to Defendants’ true intentions of hooking underage users.

         462.    Their disinformation scheme was successful. While certain groups such as the

  American Medical Association were calling for a “sweeping ban on vaping products,”575 no such ban




  571
      Id. At 1 (emphasis added).
  572
       Examining JUUL’s Role in the Youth Nicotine Epidemic, Hearing Before the H. Comm. on
    Oversight and Reform, Subcomm. on Econ. and Consumer Policy, 116th Cong. 1 (2019),
    https://docs.house.gov/meetings/GO/GO05/20190725/109846/HHRG-116-GO05-Wstate-MonseesJ-
    20190725.pdf (emphasis added) (statement of James Monsees, Co-Founder, JUUL Labs, Inc.).
  573
      Examining Juul’s Role in the Youth Nicotine Epidemic, Hearing Before the H. Comm. on Oversight
    and Reform, Subcomm. on Econ. and Consumer Policy, 116th Cong. (2019) (statement of Ashley
    Gould, Chief Administrative Officer, JUUL Labs, Inc. ), https://www.c-span.org/video/?462992-
    1/hearing-cigarettes-teen-usage-day-2&start=6431 at 01:53:25 (emphasis added).
  574
       Letter from Howard A. Willard III, Altria to Senator Richard J. Durbin, 6 (October 14, 2019)
    (emphasis added).
  575
      Karen Zraick, A.M.A. Urges Ban on Vaping Products as JLI is Sued by More States, N.Y. TIMES
    (Nov. 19, 2019), https://www.nytimes.com/2019/11/19/health/juul-lawsuit-ny-california.html.

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  has been implemented to date. Accordingly, JLI’s highly addictive products remain on the market and

  available to underage users.

  F.     Altria Provided Services to JLI to Expand JUUL Sales and Maintain JUUL’s Position as
         the Dominant E-Cigarette.

         1.      Before Altria’s Investment in JLI, Altria and JLI Exchanged Market Information
                 Pertaining to Key Decisions.

         463.    In October 2017, JLI and Avail Vapor (“Avail”), a chain of more than 100 high-end

  vape stores,576 negotiated the first purchase order for Avail stores to sell JUUL products.577

         464.    On November 2, 2017, Altria announced that it had acquired a minority interest in

  Avail.578 Altria’s comments to investors highlighted that the investment allowed Altria access to

  Avail’s “extensive data around adult vaper purchasing patterns,” and “full-service analytical science

  laboratory,” located in Altria’s hometown of Richmond, Virginia.579

         465.    On November 21, 2017—three weeks after Altria announced its investment in Avail—

  JLI and Avail entered into a distribution agreement, which has been renewed twice—once in

  November 19, 2018 and again on January 8, 2019.580

         466.    Through its investment in Avail, Altria had access to sales data for JUUL products long

  before the companies exchanged diligence in connection with Altria’s investment in JLI. Although JLI



  576
      About Us, Avail Vapor, https://www.availvapor.com/about-us (last visited Apr. 4, 2020).
  577
      INREJUUL_00066273.
    578
        Rich Duprey, Is Altria Trying to Corner the E-Cig Market?, THE MOTLEY FOOL (Jan. 7, 2018),
    https://www.fool.com/investing/2018/01/07/is-altria-trying-to-corner-the-e-cig-market.aspx; Lauren
    Thomas, Altria shares plunge after FDA releases road map to curb tobacco-related deaths, CNBC
    (July 28, 2017), https://www.cnbc.com/2017/07/28/altria-shares-fall-after-fda-releases-roadmap-to-
    curb-tobacco-related-deaths-.html.
  579
      Remarks by Marty Barrington, Altria Group, Inc.’s (Altria) Chairman, CEO and President, and
    other members of ALTRIA’s senior management team, 2017 Consumer Analyst Group of New York
    (CAGNY) Conference (2017), http://investor.altria.com/Cache/IRCache/1ac8e46a-7eb4-5df2-843d-
    06673f29b6b0.PDF?O=PDF&T=&Y=&D=&FID=1ac8e46a-7eb4-5df2-843d-
    06673f29b6b0&iid=4087349.
  580
      Examining Juul’s Role in the Youth Nicotine Epidemic, Hearing Before the H. Comm. on Oversight
    and Reform, Subcomm. on Econ. and Consumer Policy, 116th Cong. 28 (2019) (Responses of JUUL
    Labs, Inc. to Questions for the Record).

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  represented to Congress that “[JLI’s] data [from Avail] was not available to Altria,”581 statements in

  Altria’s October 2019 letter to Congress suggest otherwise.

         467.    In that letter, Altria admitted that it possessed JUUL sales data that corresponds to the

  very same time period in which JLI began selling its products at Avail stores, starting in late 2017.582

  That sales data showed that JLI was dominating the e-cigarette market during this time period.583 By

  November 2017, JLI had sold one million units of its blockbuster product, boasting 621% growth in

  year-to-year sales and capturing 32% of e-cigarette sales tracked by Nielsen.584 Sales of Altria’s own e-

  cigarettes, on the other hand, trailed behind both the JUUL and British American Tobacco’s Vuse.

  Altria sought to grow JLI’s market dominance and young customer base. JLI, in the regulatory

  crosshairs, needed Altria’s experience and its influence in Washington.

         468.    Altria recognized that JLI had, against the backdrop of steadily declining cigarette sales,

  created the right product to addict a new generation to nicotine. JLI faced existential threats, however,

  from regulatory and congressional scrutiny, and public outrage over the growing youth e-cigarette

  epidemic.

         469.    JLI, Altria, and the Management Defendants thus began to coordinate their activities in

  2017 through Avail Vapor. This back-channel, and the information it provided Altria, allowed Altria to

  take actions to benefit itself, JLI, and the Management Defendants without drawing the scrutiny of the

  public and regulators that they knew would inevitably follow a formal announcement of a partnership

  between JLI and Altria.




  581
      Id.
  582
       Letter from Howard A. Willard III, Altria to Senator Richard J. Durbin, 6 (October 14, 2019)
    (emphasis added).
  583
      Id.
  584
      Melia Robinson, How a startup behind the 'iPhone of vaporizers' reinvented the e-cigarette and
    generated $224 million in sales in a year, Bus. Insider (Nov. 21, 2017),
    https://www.businessinsider.com/juul-e-cigarette-one-million-units-sold-2017-11.

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         2.        JLI, the Management Defendants and Altria Coordinated to Market JUUL in
                   Highly-Visible Retail Locations.

         470.      JLI, the Management Defendants, and Altria’s coordination continued in other ways

  throughout 2018 as they prepared for Altria’s equity investment in JLI.

         471.      A key aspect of this early coordination was Altria’s acquisition of shelf-space that it

  would later provide to JLI to sustain the exponential growth of underage users of JUUL products. By

  acquiring shelf space, Altria took steps to ensure that JUUL products would be placed in premium

  shelf space next to Marlboro brand cigarettes, the best-selling cigarette overall and by far the most

  popular brand among youth.585

         472.      Altria’s investment was not for its own e-cigarette products. Altria spent approximately

  $100 million in 2018 to secure shelf-space at retailers for e-cigarette products—purportedly for the

  MarkTen e-cigarette that Altria stopped manufacturing in 2018, and its pod-based MarkTen Elite,

  which it launched on a small scale in only 25,000 stores.586 By comparison, the 2014 launch of the

  original MarkTen resulted in product placement in 60,000 stores in the first month in the western

  United States alone.587 Yet Altria’s payments for shelf space were a mixture of “cash and display

  fixtures in exchange for a commitment that its e-cigarettes would occupy prime shelf space for at least

  two years.”588

         473.      In reality, Altria spent approximately $100 million on shelf-space in furtherance of

  expanding the e-cigarette market, including JLI’s massive, ill-gotten market share. It has since been




  585
      Preventing Tobacco Use Among Youth and Adults, A Report of the Surgeon General, Centers for
    Disease Control & Prevention 161, 164 (2012), https://www.ncbi.nlm.nih.gov/books/NBK99237/.
  586
      Sheila Kaplan, Altria to Stop Selling Some E-Cigarette Brands That Appeal to Youths, N.Y. TIMES
    (Oct. 25, 2018), https://www.nytimes.com/2018/10/25/health/altria-vaping-ecigarettes.html.
  587
      Melissa Kress, MarkTen National Rollout Hits 60,000 Stores, CONVENIENCE STORE NEWS (July 22,
    2014), https://csnews.com/markten-national-rollout-hits-60000-stores.
  588
      Jennifer Maloney & John McKinnon, Altria-JLI Deal Is Stuck in Antitrust Review, WALL ST. J.
    (Jan.     17,     2020),     https://www.wsj.com/articles/altria-juul-deal-is-stuck-in-antitrust-review-
    11579257002.

                                                       165
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  reported that Altria “pulled its e-cigarettes off the market” not out of concern for the epidemic of youth

  nicotine addiction JUUL created, but because a non-compete was a “part of its deal with J[LI].”589

         474.     When Altria later announced its $12.8 billion investment in JLI, part of the agreement

  between the two companies was that Altria would provide JLI with this premium shelf space.590

         475.     Altria’s purchase of shelf space in 2018 and its subsequent provision of that space to

  JLI shows how Altria, JLI, and the Management Defendants were coordinating even before Altria

  announced its investment in JLI. Altria’s actions ensured that, even after public and regulatory scrutiny

  forced JLI to stop its youth-oriented advertising, JUUL products would still be placed where kids are

  most likely to see them—next to Marlboros, the most iconic, popular brand of cigarettes among

  underage users—in a location they are most likely to buy them—retail establishments.591

         3.       Altria Contributes to the Success of JLI’s and the Management Defendants’
                  Scheme Through a Range of Coordinated Activities.

         476.     While JLI and Altria remain separate corporate entities in name, following its equity

  investment in JLI, Altria and JLI forged even greater significant, systemic links, i.e., shared leadership,

  contractual relationships, financial ties, and continuing coordination of activities.

         477.     In 2019, two key Altria executives became JLI’s CEO and head of regulatory affairs,

  respectively.

         478.     K.C. Crosthwaite, who was president of Altria Client Services when the company

  carried out a study that would later be used by Altria to shield JUUL’s Mint pods from federal

  regulation, is now JLI’s CEO. Before joining JLI, Crosthwaite was Altria’s chief growth officer.




  589
      Id.
  590
      Id.
  591
      Laura Bach, Where Do Youth Get Their E-Cigarettes?, Campaign for Tobacco Free Kids (Dec. 3,
    2019), https://www.tobaccofreekids.org/assets/factsheets/0403.pdf.

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         479.    Joe Murillo, who launched the MarkTen line at Altria and more recently headed

  regulatory affairs for Altria, is now JLI’s chief regulatory officer.592 A 24-year career Altria executive,

  Murillo previously ran Altria’s e-cigarette business, Nu Mark, “before Altria pulled its e-cigarettes off

  the market as part of its deal with J[UUL].”593

         480.    In addition to its effective takeover of JUUL, Altria provides services to JLI in

  furtherance of their common goal of expanding the number of nicotine-addicted e-cigarette users, in

  the areas of “direct marketing; sales, distribution and fixture services; and regulatory affairs.”594 These

  services include, among other things:

         “Piloting a distribution program to provide long haul freight, warehouse storage and last
         mile freight services;”

         “Making available [Altria’s] previously contracted shelf space with certain retailers,”
         thus allowing JUUL products to receive prominent placement alongside a top-rated
         brand of combustible cigarettes, Marlboro, favored by youth;

         “Executing direct mail and email campaigns and related activities. . . .;”

         “Leveraging Altria’s field sales force to . . . provide services such as limited initiative
         selling, hanging signs, light product merchandising, and surveys of a subset of the retail
         stores that Altria calls upon;” and

         “Providing regulatory affairs consulting and related services to [JUUL] as it prepares its
         PMTA application.”595

         481.    Altria also worked with JLI to cross-market JUUL and Marlboro cigarettes. For

  example, Altria offered coupons for JUUL starter kits inside packs of Marlboro cigarettes:596




  592
       Jennifer Maloney, JLI Hires Another Top Altria Executive, Wall St. J. (Oct. 1, 2019),
    https://www.wsj.com/articles/juul-hires-another-top-altria-executive-11569971306.
  593
      Id.
  594
      Letter from Howard Willard III, Altria Senator Durbin, et. al., at 11 (Oct. 14, 2019).
  595
      Id. at 13.
  596
      Points for us!, Reddit (Sept. 16, 2019), (depicting an image of a Marlboro carton with a JUUL
    starter kit coupon inside).

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         482.     Altria’s investment in JLI was not only a financial contribution; rather, it was an

  important aspect of JLI, Altria, and the Management Defendants’ plan to continue growing the user

  base, stave off regulation, and keep JLI’s most potent and popular products on the market and available

  to kids and the public at large. Altria is and was working to actively help expand sales of JLI’s

  products. Altria’s investment brings legal and regulatory benefits to JLI, by helping with patent

  infringement battles and consumer health claims and helping to navigate the regulatory waters and

  FDA pressure.

         483.     Altria also brings lobbying muscle to the table, which has played an important role in

  JLI, Altria, and the Management Defendants’ scheme of staving off regulation by preventing new

  federal or state legislation targeting JUUL or the e-cigarette category more broadly. Altria “has a

  potent lobbying network in Washington [D.C.] and around the country.”597 Vince Willmore, a

  spokesman for the Campaign for Tobacco-Free Kids, which has been involved in many state lobbying

  battles, said, “It’s hard to say where Altria ends and JLI begins.”598 While an Altria spokesman has

  denied that there was any contractual services agreement for lobbying between JLI and Altria, he


  597
       Shelia Kaplan, In Washington, JLI Vows to Curb Youth Vaping. Its Lobbying in States Runs
    Counter       to      That      Pledge.,      N.Y.       Times        (Apr.      28,  2019),
    https://www.nytimes.com/2019/04/28/health/juul-lobbying-states-ecigarettes.html.
  598
      Id.

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  admitted that he did not know what informal advice and conversations Altria has had with JLI about

  lobbying efforts. Since JLI, the Management Defendants, and Altria joined forces, JLI’s spending on

  lobbying has risen significantly. JLI spent $4.28 million on lobbying in 2019, compared to $1.64

  million in 2018.599

         484.    In addition, Altria’s arrangement with JLI greatly expands JLI’s retail footprint. While

  JUUL products have typically been sold in 90,000 U.S. retail outlets, Altria reaches 230,000 U.S.

  outlets. Altria also brings its logistics and distribution experience (although, after increasing public

  scrutiny, Altria announced on January 30, 2020 that it would limit its support to regulatory efforts

  beginning in March 2020600). And importantly, as noted above, Altria gives JLI access to shelf space

  that it had obtained under fraudulent pretenses. This is not just any shelf space; it is space near Altria’s

  blockbuster Marlboro cigarettes, and other premium products and retail displays. The arrangement

  allows JLI’s tobacco and menthol-based products to receive prominent placement alongside a top-rated

  brand of combustible cigarettes.

         485.    Altria decided to make a significant investment in JLI to further its efforts to maintain

  and expand the number of nicotine-addicted e-cigarette users in order to ensure a steady and growing

  customer base, which ultimately benefits Altria by ensuring a new generation of customers for its

  products. In fact, when announcing its investment, Altria explained that its investment in JLI

  “enhances future growth prospects” and committed to applying “its logistics and distribution

  experience to help JLI expand its reach and efficiency.”601 Altria has helped JLI maintain and expand

  its market share—a market share that, based on Altria’s own October 25, 2018 letter to the FDA, it
  599
      Client Profile: JUUL Labs, Center for Responsive Politics, https://www.opensecrets.org/federal-
    lobbying/clients/summary?cycle=2019&id=D000070920 (last visited Apr. 4, 2020).
  600
      Nathan Bomey, Marlboro maker Altria distances itself from vaping giant JLI amid legal scrutiny,
    USA Today (Jan. 31, 2020), https://www.usatoday.com/story/money/2020/01/31/juul-altria-
    distances-itself-e-cigarette-maker-amid-scrutiny/4618993002/.
  601
      Altria Makes $12.8 Billion Minority Investment in JUUL to Accelerate Harm Reduction and Drive
    Growth,                       BusinessWire                    (Dec. 20,                   2018),
    https://www.businesswire.com/news/home/20181220005318/en/Altria-12.8-Billion-Minority-
    Investment-JUUL-Accelerate.

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  believes was gained by employing marketing and advertising practices that contributed to youth e-

  cigarette use.

  G.      JLI, Altria, and Others Have Successfully Caused More Young People to Start Using
          E-Cigarettes, Creating a Youth E-Cigarette Epidemic and Public Health Crisis.

          486.     Defendants’ tactics have misled the public regarding the addictiveness and safety of e-

  cigarettes generally, and JUUL products specifically, resulting in an epidemic of e-cigarette use among

  youth in particular.

          487.     Defendants’ advertising and third-party strategy, as discussed above, ensured that

  everyone from adults to young children, would believe JUULing was a cool, fun, and safe activity.

          488.     To this day, JLI has not fully disclosed the health risks associated with its products, has

  not recalled or modified its products despite the known risks, and continues to foster a public health

  crisis, placing millions of people in harm’s way.

          1.       Defendants’ Scheme Caused Youth to be Misled into Believing that JUUL was Safe
                   and Healthy.

          489.     In 2016, the National Institute on Drug Abuse issued findings regarding “Teens and

  Cigarettes,” reporting that 66% of teens believed that e-cigarettes contained only flavoring, rather than

  nicotine.602

          490.     Two years later, despite the ongoing efforts of public health advocates, a 2018 study of

  JUUL users between the ages of fifteen and twenty-four revealed that 63% remained unaware that

  JUUL products contain nicotine.603 Further, the study found that respondents using e-cigarettes were

  less likely to report that e-cigarettes were harmful to their health, that people can get addicted to e-

  cigarettes, or that smoke from others’ e-cigarettes was harmful.604



   602
          Teens and E-cigarettes, Nat’l Inst. on Drug Abuse, https://www.drugabuse.gov/related-
    topics/trends-statistics/infographics/teens-e-cigarettes (last visited May 5, 2020).
  603
      Jeffrey G. Willett et al. Recognition, Use and Perceptions of Juul Among Youth and Young Adults,
    28 TOBACCO CONTROL 054273 (2019).
  604
      Id.

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          491.     Similarly, in 2018, a literature review of seventy-two articles published in the

  International Journal of Environmental Research and Public Health found that e-cigarettes were

  perceived by adults and youth as being healthier, safer, less addictive, safer for one’s social

  environment, and safer to use during pregnancy than combustible cigarettes.605 Further, researchers

  found that specific flavors (including dessert and fruit flavors) were perceived to be less harmful than

  tobacco flavors among adult and youth e-cigarette users.606 In addition, researchers found that youth e-

  cigarette users perceived e-cigarettes as safe to use and fashionable.607

          492.     In 2019, a study published in Pediatrics found that 40% of participants reported using

  nicotine-free e-cigarette products, when in fact the products they were using contained significant

  levels of nicotine.608

          493.     In 2019, a study published in the British Medical Journal Open systematically reviewed

  all peer-reviewed scientific literature published on e-cigarette perceptions through March 2018 which

  included fifty-one articles.609 Researchers found consistent evidence showing that flavors attract both

  youth and young adults to use e-cigarettes.610 In addition, among this same group, fruit and dessert

  flavors decrease the perception that e-cigarettes are harmful, while increasing the willingness to try e-

  cigarettes.611




  605
      Id.
  606
      Kim A. G. J. Romijnders et al., Perceptions and Reasons Regarding E-Cigarette Use Among Users
    and Non-Users: A Narrative Literature Review, 15 INT’L J. OF ENVTL. RESEARCH & PUBLIC HEALTH
    1190 (2018), https://doi: 10.3390/ijerph15061190.
  607
      Id.
  608
      Rachel Boykan et al., Self-Reported Use of Tobacco, E-Cigarettes, and Marijuana versus Urinary
    Biomarkers, 143 PEDIATRICS (2019), https://doi.org/10.1542/peds.2018-3531.
  609
      Clare Meernik, et al, Impact of Non-Menthol Flavours in E-Cigarettes on Perceptions and Use: An
    Updated         Systematic         Review,       BMJ        Open,         9:e031598        (2019),
    https://bmjopen.bmj.com/content/9/10/e031598.
  610
      Id.
  611
      Id.

                                                       171
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         2.      Use of JUUL by Minors Has Skyrocketed.

         494.    On December 28, 2018, the University of Michigan’s National Adolescent Drug Trends

  for 2018 reported that increases in adolescent e-cigarette use from 2017 to 2018 were the “largest ever

  recorded in the past 43 years for any adolescent substance use outcome in the U.S.”612

         495.    The percentage of 12th grade students who reported consuming nicotine almost doubled

  between 2017 and 2018, rising from 11% to 20.9%.613 This increase was “twice as large as the

  previous record for largest-ever increase among past 30-day outcomes in 12th grade.”

         496.    By 2018 approximately 3.6 million middle and high school students were consuming e-

  cigarettes regularly,614 and one in five 12th graders reported used an e-cigarette containing nicotine in

  the last 30 days.615 As of late 2019, 5 million students reported active use of e-cigarettes, with 27.5%

  of high school students and 10.5% of middle school students using them within the last thirty days and

  with most youth reporting JUUL as their usual brand.616




  612
      National Adolescent Drug Trends in 2018, Univ. of Mich. Inst. for Social Research (Dec. 17, 2018),
    http://monitoringthefuture.org/pressreleases/18drugpr.pdf.
  613
      News Release, Teens Using Vaping Devices in Record Numbers, Nat’l Insts. of Health (Dec. 17,
    2018) https://www.nih.gov/news-events/news-releases/teens-using-vaping-devices-record-numbers.
  614
      See Jan Hoffman, Addicted to Vaped Nicotine, Teenagers Have no Clear Path to Quitting, N.Y.
    Times (Dec. 18, 2018), https://www.nytimes.com/2018/12/18/health/vaping-nicotine-teenagers.html.
  615
      Id.
  616
      National Youth Tobacco Survey, U.S. FDA (2019); Karen Cullen et al., e-Cigarette Use Among
    Youth       in     the     United       States,    2019,    322       JAMA        2095       (2019),
    https://jamanetwork.com/journals/jama/fullarticle/2755265.

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         497.    The Secretary of the U.S. Department of Health and Human Services declared that

  “[w]e have never seen use of any substance by America’s young people rise as rapidly as e-cigarette

  use [is rising].”617 Then FDA Commissioner Dr. Gottlieb described the increase in e-cigarette

  consumption as an “almost ubiquitous—and dangerous—trend” that is responsible for an “epidemic”

  of nicotine use among teenagers.618 The rapid—indeed infectious—adoption of e-cigarettes “reverse[s]

  years of favorable trends in our nation’s fight to prevent youth addiction to tobacco products.”619 CDC

  Director Robert Redfield agreed, “The skyrocketing growth of young people’s e-cigarette use over the

  past year threatens to erase progress made in reducing tobacco use. It’s putting a new generation at risk

  for nicotine addiction.”620 Then-Commissioner Gottlieb identified the two primary forces driving the

  epidemic as “youth appeal and youth access to flavored tobacco products.”621

         498.    Within days of the FDA’s declaration of an epidemic, Surgeon General Dr. Jerome

  Adams also warned that the “epidemic of youth e-cigarette use” could condemn a generation to “a

  lifetime of nicotine addiction and associated health risks.”622 The Surgeon General’s 2018 Advisory

  states that JUUL, with its combination of non-irritating vapor and potent nicotine hit, “is of particular

  concern for young people, because it could make it easier for them to initiate the use of




  617
       Jan Hoffman, Study Shows Big Rise in Teen Vaping This Year, N.Y. Times (Dec. 17, 2018),
    https://www.nytimes.com/2018/12/17/health/ecigarettes-teens-nicotine-.html; Rajiv Bahl, Teen Use
    of Flavored Tobacco was Down, But E-Cigarettes Are Bringing It Back Up, Healthline (Jan. 9,
    2019), https://www.healthline.com/health-news/flavored-tobacco-use-rising-again-among-teens#An-
    unhealthy-habit.
  618
      News Release, FDA Launches New, Comprehensive Campaign to Warn Kids About the Dangers of
    E-Cigarette Use as Part of Agency’s Youth Tobacco Prevention Plan, Amid Evidence of Sharply
    Rising Use Among Kids, U.S. FDA (Sept. 18, 2018), https://www.fda.gov/NewsEvents/Newsroom/
    PressAnnouncements/ucm620788.htm.
  619
      Id.
  620
      Amir Vera, Texas Governor Signs Law Increasing the Age to Buy Tobacco Products to 21, CNN
    (June 8, 2019), https://www-m.cnn.com/2019/06/08/health/texas-new-tobacco-law/index.html.
  621
      Id.
  622
      Jerome Adams. Surgeon General’s Advisory on E-cigarette Use Among Youth at 1. CDC (Dec.
    2018), https://e-cigarettes.surgeongeneral.gov/documents/surgeon-generals-advisory-on-e-cigarette-
    use-among-youth-2018.pdf.

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  nicotine . . . and also could make it easier to progress to regular e-cigarette use and nicotine

  dependence.”623

          499.    Kids are consuming so much nicotine that they are experiencing symptoms of nicotine

  toxicity, including headaches, nausea, sweating, and dizziness, and they have even coined a term for it:

  “nic sick.” As one high school student explained to CBS News, it “kinda seems like a really bad flu,

  like, just out of nowhere. Your face goes pale, you start throwing up and stuff, and you just feel

  horrible.”624

          500.    The JUUL youth addiction epidemic spread rapidly across high schools in the United

  States. JUUL surged in popularity, largely through social media networks, and created patterns of

  youth usage, illegal youth transactions, and addiction, that are consistent with this account from Reddit

  in 2017:

          Between classes the big bathroom in my school averages 20-25 kids, and 5-10 JUULs.
          Kids usually will give you a dollar for a JUUL rip if you don’t know them, if you want
          to buy a pod for 5$ you just head into the bathroom after lunch. We call the kids in there
          between every class begging for rips ‘JUUL fiends.’ Pod boys are the freshman that say
          ‘can I put my pod in ur juul?’ and are in there every block. I myself spent about 180$ on
          mango pods and bought out a store, and sold these pods for 10$ a pod, making myself
          an absolutely massive profit in literally 9 days. Given because I’m 18 with a car and
          that’s the tobacco age around here, I always get offers to get pod runs or juuls for kids.
          people even understand the best system to get a head rush in your 2 minutes between
          classes, is all the juuls at once. So someone yells “GIVE ME ALL THE JUULS” and 3-
          7 are passed around, two hits each. This saves us all juice, and gives you a massive head
          rush. Kids also scratch logos and words onto their juuls to make i[t] their own, every
          day you can find the pod covers in my student parking lot. I know this sounds
          exaggerated, but with a school with 1400 kids near the city and JUULs being perceived
          as popular, it’s truly fascinating what can happen.625

          In response to the post above, several others reported similar experiences:




  623
      Id. a 2.
  624
      High school students say about 20% of their peers are vaping, some as young as 8th grade, CBS
    News (Aug. 30, 2019), https://www.cbsnews.com/news/high-school-students-say-about-20-of-their-
    peers-are-vaping-some-as-young-as-8th-grade/.
  625
      What’s Juul in School, https://www.reddit.com/r/juul/comments/61is7i/whats_juul_in_school/ (last
    visited Apr. 4, 2020).

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               a.    “[T]his is the exact same thing that happens at my school, we call [JUUL
                     fiends] the same thing, kind of scary how similar it is.”626

             ii.     “Same thing at my school. JUUL fiend is a term too.”627

            iii.     “Yeah nicotine addiction has become a huge problem in my high school
                     because of juuls even the teachers know what they are.”628

            iv.      “[S]ame [expletive] at my school except more secretive because it’s a
                     private school. It’s crazy. Kids hit in class, we hit 3-5 at once, and
                     everyone calls each other a juul fiend or just a fiend. Funny how similar
                     it all is.”629

             v.      “[T]he same [expletive] is happening in my school. kids that vaped were
                     called [expletive] for the longest time, that all changed now.”630

            vi.      “Made an account to say that it’s exactly the same way in my school!
                     LOL. I’m from California and I think I know over 40 kids that have it
                     here just in my school. We do it in the bathrooms, at lunch etc. LMAO.
                     ‘Do you have a pod man?’”631

           vii.      “It’s the same at my school and just about every other school in
                     Colorado.”632

           viii.     “2 months into this school year, my high school made a newspaper
                     article about the ‘JUUL epidemic.’”633

            ix.      “Wow do you go to high school in Kansas because this sounds
                     EXACTLY like my school. I’ll go into a different bathroom 4 times a
                     day and there will be kids in there ripping JUUL’s in every single
                     one.”634.

             x.      “At my high school towards the end of lunch everyone goes to the
                     bathroom for what we call a ‘juul party.’ People bring juuls, phixes, etc.
                     It’s actually a great bonding experience because freshman can actually
                     relate to some upperclassmen and talk about vaping.”635



  626
      Id.
  627
      Id.
  628
      Id.
  629
      Id.
  630
      Id.
  631
      Id.
  632
      Id.
  633
       Id. (citing Juuls Now Rule the School as Students Frenzy Over E-cig (Oct. 5, 2016),
    https://imgur.com/a/BKepw).
  634
      Id.
  635
      Id.

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                xi.          “To everyone thinking that this is just in certain states, it’s not. This is a
                             nationwide trend right now. I’ve seen it myself. If you have one you’re
                             instantly insanely popular. Everyone from the high-achievers to the kids
                             who use to say ‘e-cigs are for [expletives]’ are using the juul. It’s a craze.
                             I love it, I’ve made an insane amount of money. It’s something that has
                             swept through our age group and has truly taken over. And it happened
                             almost overnight.”636

         501.         The following graph illustrates JLI’s responsibility for the nationwide youth e-cigarette

  epidemic. While the rest of the e-cigarette industry stagnated from 2017 through 2018, JLI experienced

  meteoric growth. Through that same timeframe, youth e-cigarette rates nearly doubled from more than

  11% in 2017 to more than 20% in 2018. Through October 5, 2019 (the last date for which data was

  available), rates of youth e-cigarette use continued to increase, tracking the growth of JUUL.




                                                                                                   637



         502.         The unique features of the JUUL e-cigarette—high nicotine delivery, low harshness,

  and easy-to-conceal design—have caused patterns of addiction with no historical precedent. It is not



  636
     Id. (emphasis added).
  637
      The area graph depicts e-cigarette unit sale volumes in retail outlets tracked by Nielsen by
   manufacturer and month from 2013 through October 5, 2019; the line graph depicts national high
   school and middle school e-cigarette past-30-day usage rates as percentages from 2013 through 2019,
   with each data point representing a year. See Nielsen: Tobacco All Channel Data; National Youth
   Tobacco Survey (2019); see also Complaint at 2 (Figure 1), Commonwealth of Penn. v. Juul Labs,
   Inc., (Ct. Common Pleas, Feb. 10, 2020).

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  uncommon for fifteen-year-old students, even those who live at home with their parents, to consume

  two or more JUUL pods a day.

         503.    The downwards trend in youth smoking that public health departments and school anti-

  tobacco programs worked so hard to create has completely reversed. In 2018, more than one in four

  high school students in the United States reported using a tobacco product in the past thirty days, a

  dramatic increase from just one year before.638 But there was no increase in the use of cigarettes,

  cigars, or hookahs during that same time period.639 There was only increased use in a single tobacco

  product: e-cigarettes. While use of all other tobacco products continued to decrease as it had been for

  decades, e-cigarette use increased 78% in just one year.640 This drastic reversal caused the CDC to

  describe youth e-cigarette use as an “epidemic.”641




  638
      Progress Erased: Youth Tobacco Use Increased During 2017-2018, CDC (Feb. 11, 2019),
    https://www.cdc.gov/media/releases/2019/p0211-youth-tobacco-use-increased.html.
  639
        Tobacco Use By Youth Is Rising: E-Cigarettes are the Main Reason, CDC (Feb. 2019),
    https://www.cdc.gov/vitalsigns/youth-tobacco-use/index.html.
  640
      Scott Gottlieb, Statement from FDA Commissioner Scott Gottlieb, M.D., on proposed new steps to
    protect youth by preventing access to flavored tobacco products and banning menthol in cigarettes,
    FDA (Nov. 15, 2018), https://www.fda.gov/news-events/press-announcements/statement-fda-
    commissioner-scott-gottlieb-md-proposed-new-steps-protect-youth-preventing-access.
  641
       Jerome Adams, Surgeon General’s Advisory on E-cigarette Use Among Youth, CDC (Dec. 2018),
    https://e-cigarettes.surgeongeneral.gov/documents/surgeon-generals-advisory-on-e-cigarette-use-
    among-youth-2018.pdf.

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  H.     JLI Thrived Due to Extensive Efforts to Delay Meaningful Regulation of its Products.

         1.      E-Cigarette Manufacturers Successfully Blocked the Types of Regulations that
                 Reduced Cigarette Sales, Creating the Perfect Opportunity for JLI.

         504.    One of the main reasons e-cigarettes like JUUL were so appealing from an investment

  and business development perspective is that, unlike combustible cigarettes, e-cigarettes were

  relatively unregulated. This regulatory void was not an accident; the cigarette industry, and then the e-

  cigarette industry, spent significant resources blocking, frustrating, and delaying government action. A

  1996 article in the Yale Law & Policy Review detailed how cigarette companies vehemently opposed

  the FDA mid-1990s rules on tobacco products, using lawsuits, notice-and-comment, and arguments

  related to the FDA’s jurisdiction to delay or undo any regulatory efforts.642

         505.    In 2009, Congress enacted the Family Smoking Prevention and Tobacco Control Act

  (“TCA”). The TCA amended the Federal Food, Drug, and Cosmetic Act to allow the FDA to regulate

  tobacco products.



  642
    Melvin Davis, Developments in Policy: The FDA's Tobacco Regulations 15 Yale L. & Policy Rev.
   399 (1996).

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          506.    Although the TCA granted the FDA immediate authority to regulate combustible

  cigarettes, it did not give the FDA explicit authority over all types of tobacco products—including

  those that had not yet been invented or were not yet popular. To “deem” a product for regulation, the

  FDA must issue a “deeming rule” that specifically designates a tobacco product, such as e-cigarettes,

  as falling within the purview of the FDA’s authority under the TCA.

          507.    The TCA also mandated that all “new” tobacco products (i.e., any product not on the

  market as of February 15, 2007) undergo a premarket authorization process before they could be sold

  in the United States.

          508.    Four years later, on April 25, 2014, the FDA finally issued a proposed rule deeming e-

  cigarettes for regulation under the Tobacco Act (“2014 Proposed Rule”).

          509.    Once issued, the e-cigarette industry, together with its newfound allies, parent

  companies, and investors—the cigarette industry and pro-e-cigarette lobbyists—set to work to dilute

  the rule’s effectiveness. For example, in comments to the 2014 Proposed Rule, companies such as

  Johnson Creek Enterprises (one of the first e-liquid manufacturers) stated that the “FDA [] blatantly

  ignored evidence that our products improve people’s lives.”643

          510.    The New York Times reported that Altria was leading the effort to dilute, diminish, or

  remove e-cigarette regulations. Notwithstanding Altria’s professed concern about flavors attracting

  youth customers, Altria submitted comments in August 2014 in response to the proposed rule opposing

  the regulation of flavors. Altria asserted that restrictions could result in more illicit sales, and that

  adults also liked fruity and sweet e-cigarette flavors.644



  643
      Eric Lipton, A Lobbyist Wrote the Bill. Will the Tobacco Industry Win Its E-Cigarette Fight?, N.Y.
    Times (Sept. 2, 2016), https://www.nytimes.com/2016/09/03/us/politics/e-cigarettes-vaping-cigars-
    fda-altria.html.
  644
       Altria Client Services Inc., Comment Letter on Proposed Rule Deeming Tobacco Products to be
    Subject to the Federal Food, Drug, and Cosmetic Act 47-48 (Aug. 8, 2014), https://www.altria.com/-
    /media/Project/Altria/Altria/about-altria/federal-regulation-of-tobacco/regulatory-
    filings/documents/ALCS-NuMark-Comments-FDA-2014-N-0189.pdf.

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          511.      In 2015, Altria lobbied Capitol Hill with its own draft legislation to eliminate the new

  requirement that most e-cigarettes already on sale in the United States be evaluated retroactively to

  determine if they are “appropriate for the protection of public health.” In effect, Altria lobbied to

  “grandfather” all existing e-cigarette brands, including JUUL, into a lax regulatory regime. That

  proposed legislation was endorsed by R.J. Reynolds. Altria delivered its proposal, entitled F.D.A.

  Deeming Clarification Act of 2015, to Representative Tom Cole of Oklahoma, who introduced the bill

  two weeks later using Altria’s draft verbatim.645 Seventy other representatives signed on to Altria’s

  legislation.646

          512.      The e-cigarette industry, along with the intertwined cigarette industry, was able to

  leverage support among Members of Congress such as Representative Cole and Representative

  Sanford Bishop of Georgia, who advocated for cigarette industry interests and opposed retroactive

  evaluation of e-cigarette products. Both Cole and Bishop echoed a common cigarette and e-cigarette

  industry refrain, that any regulations proposed by the FDA would bankrupt small businesses, even

  though the overwhelming majority of e-cigarettes were manufactured and distributed by large cigarette

  companies.

          513.      Representatives Cole and Bishop received some of the largest cigarette industry

  contributions of any member of the U.S. House of Representatives, with Representative Bishop

  receiving $13,000 from Altria, and Representative Cole $10,000 from Altria in the 2015-2016 cycle.647

          514.      By thwarting and delaying regulation, or by ensuring what regulation did pass was laced

  with industry-friendly components, the e-cigarette industry, including Defendants, hobbled the FDA—

  and by extension—Congress’s efforts to regulate e-cigarettes. Simultaneously, the e-cigarette industry


  645
      Eric Lipton, A Lobbyist Wrote the Bill. Will the Tobacco Industry Win Its E-Cigarette Fight?, N.Y.
    Times (Sept. 2, 2016), https://www.nytimes.com/2016/09/03/us/politics/e-cigarettes-vaping-cigars-
    fda-altria.html.
  646
      Id.
  647
       Id.; Rep. Tom Cole - Oklahoma District 04, Contributors 2015-16, OpenSecrets (2017),
    https://www.opensecrets.org/members-of-congress/contributors?cid=N00025726&cycle=2016.

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  continued to market their products to youth, and it coordinated to sow doubt and confusion about the

  addictiveness and health impacts of e-cigarettes.

         515.    Even after the FDA issued its final deeming rule in 2016, e-cigarette industry lobbying

  continued to pay dividends to companies like JLI. In 2017, when Dr. Scott Gottlieb took over as the

  FDA Commissioner, one of his first major acts was to grant e-cigarette companies a four-year

  extension to comply with the deeming rule, even as data indicated sharp increases in teen e-cigarette

  use.648 Gottlieb had previously served on the board of Kure, a chain of e-cigarette lounges in the

  United States, though he fully divested before taking the helm at the FDA.649

         516.    The four-year extension was celebrated by e-cigarette lobbyists. Greg Conley, president

  of the American Vaping Association (“AVA”), stated that but for the extension, “over 99 percent of

  vaper products available on the market today would be banned next year.”650 Despite the minimal

  research publicly available on the health effect of e-cigarettes, Ray Story, who had since become

  commissioner of the Tobacco Vapor Electronic Cigarette Association, lauded the decision:

  “Absolutely, it’s a good thing . . . [w]hen you look at harm reduction, it’s a no brainer.”651

         2.      JLI, the Management Defendants, and Altria Defendants Successfully Shielded the
                 Popular Mint Flavor from Regulation.

         517.    JLI, the Management Defendants, and Altria Defendants had a two-fold plan for staving

  off regulation: (1) ensure the FDA allowed certain flavors, namely mint, to remain on the market; and

  (2) stave off a total prohibition on JUUL that was being contemplated in light of JLI’s role in the youth



  648
      Katie Thomas & Sheila Kaplan, E-Cigarettes Went Unchecked in 10 Years of Federal Inaction,
    N.Y. Times (Oct. 14, 2019), https://www.nytimes.com/2019/10/14/health/vaping-e-cigarettes-
    fda.html.
  649
      Zeke Faux et al., Vaping Venture Poses Potential Conflict for Trump’s FDA Nominee, Bloomberg,
    (Apr. 19, 2017), https://www.bloomberg.com/news/articles/2017-04-19/vaping-venture-poses-
    potential-conflict-for-trump-s-fda-nominee.
  650
      Sheila Kaplan, F.D.A. Delays Rules That Would Have Limited E-Cigarettes on Market, N.Y. Times
    (July 28, 2017), https://www.nytimes.com/2017/07/28/health/electronic-cigarette-tobacco-nicotine-
    fda.html.
  651
      Id.

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  e-cigarette epidemic. These schemes involved acts of mail and wire fraud, with the intent to deceive

  the FDA, Congress, and the public at large.

         518.    First, JLI, the Management Defendants, and Altria publicly defended mint flavoring as

  a substitute for menthol cigarette smokers, when in fact JLI’s studies indicated that mint users are not

  former menthol smokers. Second, by fighting to keep mint as the last flavor on the market, the

  cigarette industry could continue to appeal to non-smokers, including youth. JLI and the Management

  Defendants coordinated with Altria to pursue a fraudulent scheme to convince the FDA into leaving

  the mint flavor on the market, sacrificing other flavors in the process.

         519.    On August 2, 2018, JLI met with the FDA to discuss a proposed youth-behavioral study

  regarding the prevalence of use, perceptions of use, and intentions to use JUUL and other tobacco

  products among adolescents aged 13-17 years (the “Youth Prevalence Study”).652

         520.    On November 5, 2018, JLI transmitted the results of the Youth Prevalence Study to the

  FDA and reported that a study of over 1,000 youth had found that only 1.5% of youth had ever used a

  JUUL, and that only 0.8% of youth had used a JUUL in the last 30 days. And in stark contrast to the

  McKinsey and DB Research studies discussed above, the Youth Prevalence Study suggested that

  mango was four times as popular as mint.653 Specifically, the study found that 47% of youth who

  reported use of a JUUL device in the last 30-days professed to using mango most often, with only

  about 12% reporting the same for mint.

         521.    JLI’s study was a sham. JLI, the Management Defendants, and Altria knew their

  reported data was inconsistent with the McKinsey and DB Research studies conducted just a few

  months earlier. JLI’s report featured responses to a carefully selected survey question—which single

  flavor youth used most often?—that obscured the widespread use of mint JUUL pods among youth.



  652
      Letter from Joanna Engelke, JUUL Labs, Inc., to David Portnoy, Ph.D., M.P.H., FDA Center for
    Tobacco Products (Nov. 5, 2018).
  653
      Id. at 3.

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         522.     Ironically, just a few days after JLI submitted the misleading Youth Prevalence Study to

  the FDA, the National Youth Tobacco Survey was released. Revealing the depths of the deception of

  JLI’s Youth Prevalence Study, which found that only 1.5% of youth were current users of e-cigarettes,

  the National Youth Tobacco Survey found that 20.8% of high school student were current users (i.e.,

  consumed e-cigarettes within the last 30 days).

         523.     The Youth Prevalence Study that JLI submitted to the FDA, either via U.S. mail or by

  electronic transmission, was false and misleading. JLI, the Management Defendants, and Altria knew

  as much. Indeed, they counted on it.

         524.     As the e-cigarette crisis grew, on September 25, 2018, then-FDA Commissioner Scott

  Gottlieb sent letters to Altria, JLI and other e-cigarette manufacturers, requesting a “detailed plan,

  including specific timeframes, to address and mitigate widespread use by minors.”654

         525.     As evidenced by Altria’s recent admission that negotiations with JLI were ongoing in

  late 2017,655 Altria and JLI’s responses to the FDA reflect a coordinated effort to mislead the FDA

  with the intention that regulators, in reliance on their statements, allow JLI to continue marketing mint

  JUUL pods.656

         526.     Defendants’ plan centered on efforts to deceive the FDA that (1) mint was more akin to

  Tobacco and Menthol than other flavors; and (2) kids did not prefer mint.

         527.     JLI took the first step in this coordinated effort to deceive the FDA. In response to then-

  Commissioner Gottlieb’s September 12, 2018 letter, JLI prepared an “Action Plan,” which it presented

  to the FDA at an October 16, 2018 meeting, and presented to the public on November 12, 2018. The




  654
      Letter from Scott Gottlieb, M.D. to JUUL Labs, Inc. (Sept. 12, 2018); Letter from Scott Gottlieb,
    M.D. to Altria Group Inc. (Sept. 12, 2018).
  655
      Letter from Howard Willard III, Altria to Senator Durbin, et. al. (Oct. 14, 2019).
  656
      See United States v. Jones, 712 F.2d 1316, 1320-21 (9th Cir. 1983) (“It is enough that the mails be
    used as part of a ‘lulling’ scheme by reassuring the victim that all is well and discouraging him from
    investigating and uncovering the fraud.”).

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  substance of JLI’s presentation to the FDA and its public-facing Action Plan were largely identical.657

  JLI purported to “share a common goal- preventing youth from initiating on nicotine.”658 As part of

  this plan, JLI stated that it would be “stopping flavored JUUL pod sales to all 90,000+ retail stores.”659

          528.   But this statement was not true. JLI was continuing retail sales of its mint JUUL pods,

  which JLI categorized as a non-flavored “tobacco and menthol product.”660 In JLI’s Action Plan, then-

  CEO Burns stated that only products that “mirror what is currently available for combustible

  cigarettes—tobacco and menthol-based products (menthol and mint pods)—will be sold to retail

  stores.”661

          529.   In both JLI’s October 2018 presentation to the FDA and JLI’s Action Plan that was

  shared with the public, JLI and its CEO fraudulently characterized mint as a non-flavored cigarette

  product, akin to tobacco and menthol cigarettes, suggesting that it was a product for adult smokers.

  The image below was included in both the public-facing Action Plan and JLI’s presentation to the

  FDA.




  657
      JUUL did not include in its Action Plan a proposal for Bluetooth or Wi-Fi equipped devices that
    was included in JLI’s October presentation.
  658
      JUUL Labs, Inc. FDA Presentation, 2 (Oct. 16, 2018); INREJUUL_00182989.
  659
      JUUL Labs Action Plan, JUUL Labs, Inc. (Nov. 13, 2018), https://newsroom.juul.com/juul-labs-
    action-plan/.
  660
      Id.
  661
      JUUL Labs Action Plan, JUUL Labs, Inc. (Nov. 13, 2018), https://newsroom.juul.com/juul-labs-
    action-plan/.

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         530.    JLI knew that non-smoking youth liked mint as much as any flavor.

         531.    Numerous internal studies had informed JLI that mint’s success was “not because it’s a

  menthol/a familiar tobacco flavor but because it is the best JUUL flavor profile on multiple levels.”662

  Indeed, despite JLI’s attempts to explicitly link mint to menthol, JLI knew there was “No Implied

  Relationship Between Mint & Menthol,”663 and “menthol smokers are not the only driver behind the

  popularity of mint flavored JUULpods.”664

         532.    Most importantly, JLI knew that mint was the most popular JUUL pod. Though other

  flavors might draw new customers, JLI’s most addictive “flavor” predictably became its most popular.

         533.    The characterization of mint as an adult tobacco product was also fraudulent because

  JLI knew first hand from the McKinsey and DB Research studies that teens viewed mint as favorably

  as mango, which implies that mango and mint were fungible goods for JLI’s underage users. The

  McKinsey and DB Research studies also showed that youth preferred mint over the more

  stereotypically youth-oriented flavors like fruit medley, crème brule, and cucumber. As alleged in a




  662
     INREJUUL_00265069.
  663
     INREJUUL_00079307-INREJUUL_00079409, at 395.
   664
       Id.

                                                     185
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  Whistleblower Complaint, JLI’s then-CEO told his employees: “You need to have an IQ of 5 to know

  that when customers don’t find mango they buy mint.”665

         534.    On October 25, 2018, less than ten days after JLI presented its fraudulent, misleading

  Action Plan to the FDA, Altria’s CEO Howard Willard submitted a letter in response to the FDA’s call

  to combat the youth epidemic. Willard’s letter was a clear indication of Altria’s willingness to continue

  the fraudulent scheme and deception of the FDA. While Willard’s letter confirmed that Altria

  understood that JLI’s conduct and product was addicting many children to nicotine, this letter repeated

  the misleading statement that mint was a “traditional tobacco flavor” despite Altria and JLI knowing it

  was no such thing. Willard then claimed that the youth epidemic was caused, in part, by “flavors that

  go beyond traditional tobacco flavors”—which, according to JLI and Altria, did not include mint—and

  announced that Altria would discontinue all MarkTen flavors except for “traditional tobacco, menthol

  and mint flavors.” Willard asserted that these three flavors were essential for transitioning smokers.

  But Willard, and Altria, knew this was not true.666

         535.    That same day—October 25, 2018—Altria continued its deception on an earnings call

  with investors. Altria fraudulently described its decision to remove its pod-based products from the

  market as one intended to address the dramatic increase in youth e-cigarette use, while it was only

  weeks away from publicly announcing its 35% stake in JLI:

         We recently met with Commissioner Gottlieb to discuss steps that could be taken to
         address underage access and use. Consistent with our discussion with the FDA and
         because we believe in the long-term promise of e-vapor products and harm reduction,
         we’re taking immediate action to address this complex situation.

         First, Nu Mark will remove from the market MarkTen Elite and Apex by MarkTen pod-
         based products until these products receive a market order from the FDA or the youth
         issue is otherwise addressed. Second, for our remaining MarkTen and Green Smoke
         cig-a-like products, Nu Mark will sell only tobacco, menthol and mint varieties. Nu
         Mark will discontinue the sale of all other flavor variants of our cig-a-like products until

  665
      Angelica LaVito, Former JLI executive sues over retaliation, claims company knowingly sold
    tainted nicotine pods, CNBC (Oct. 30, 2019), https://www.cnbc.com/2019/10/30/former-juul-
    executive-sues-over-retaliation-claims-company-knowingly-sold-tainted-pods.html.
  666
      Letter from Howard Willard III, Altria to Senator Durbin, et. al. (Oct. 14, 2019).

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         these products receive a market order from the FDA or the youth issue is otherwise
         addressed. Although we don't believe we have a current issue with youth access or use
         of our e-vapor products, we are taking this action, because we don't want to risk
         contributing to the issue.

         After removing Nu Mark’s pod-based products and cig-a-like flavor variants,
         approximately 80% of Nu Mark's e-vapor volume in the third quarter of 2018 will
         remain on the market. 667

         536.    Willard reiterated that “pod-based products and flavored products” were behind the

  increase in youth use of e-cigarettes:

         I mean, I think the way we thought about this was that we believe e-vapor has a lot of
         opportunity to convert adult cigarette smokers in the short, medium and long-term, but
         clearly, this significant increase in youth usage of the products puts that at risk and we
         think rapid and significant action is necessary. And I think as we looked at the data that
         is available in some of the remarks from the FDA, I think we concluded that the driver
         of the recent increase we think is pod-based products and flavored products and so we
         thought that the two actions that we took addressed the drivers of the increased youth
         usage here in the short run.668

         537.    Willard emphasized that Altria’s withdrawal of its own pod-based products was

  intended to address youth use: “[W]e really feel like in light of this dramatic increase in youth usage,

  withdrawing those products until the PMTA is filed is one path forward.” He later said: “And frankly,

  the actions we took were the actions that we thought we could take that would have the biggest impact

  on addressing the increased use of e-vapor products by youth . . . we wanted to make a significant

  contribution to addressing the issue.”669 As noted above, however, it has since been reported that Altria

  “pulled its e-cigarettes off the market” not out of concern for the epidemic of youth nicotine addiction

  that JLI created, but because a non-compete clause was a “part of its deal with J[LI].”670

         538.    Thus, while Altria publicly announced that it would pull its pod-based products to

  combat youth usage, and publicly seemed to support removal of youth-friendly flavors, its defense of

  mint as a tobacco-analog was actually part of the scheme to protect the profits associated with JLI’s

  667
      Altria Group Inc (MO) Q3 2018 Earnings Conference Call Transcript MO earnings call for the
    period ending September 30, 2018 (Oct. 25, 2018).
  668
      Id.
  669
      Id.
  670
      Id.

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  mint JUUL pods, one of JLI’s strongest products with the highest nicotine content and highest

  popularity among non-smokers and youth.

         539.    In support of his arguments to the FDA that mint was a flavor for adult smokers,

  Willard cited to a study that Altria had conducted and presented at a conference that JLI attended.671

  But Willard did not disclose that Altria’s “study” was merely a “quasi-experimental online survey” and

  not a true scientific study.672 Notably, JLI’s current CEO, K.C. Crosthwaite, was the President and

  Chief Growth Officer of Altria Client Services, which conducted Altria’s mint “study” in Spring 2017,

  the same time that the Management Defendants and Altria began their “confidential negotiations.”673

  Willard did not disclose that this study was contradicted by the “youth prevention” data provided by

  JLI during its acquisition due-diligence showing that mint was popular among teens.

         540.    Through these letters, Altria sought to prevent the FDA—which was actively

  considering regulating flavors674—from banning JLI’s mint JUULpods.

         541.    Acting in concert, JLI and Altria committed acts of mail or wire fraud when (1) JLI

  transmitted its Action Plan to the FDA and the public; and (2) Altria transmitted Willard’s letter to the

  FDA.

         542.    At the heart of these acts of fraud was Defendants’ characterization of mint as a tobacco

  product that was targeted to adult smokers. This characterization was fraudulent because Defendants

  knew kids prefer mint flavor and that JLI designed mint to be one of JLI’s most potent products. Altria

  supported this plan and helped execute it. Together, these actions by JLI and Altria ensured that mint


  671
      Jessica Parker Zdinak, Ph.D., E-vapor Product Appeal Among Tobacco Users and Non-users and
    the Role of Flavor in Tobacco Harm Reduction, 72nd Tobacco Science Research Conference (Sept.
    18,                             2018),                               https://sciences.altria.com/library/-
    /media/Project/Altria/Sciences/library/conferences/2018%20TSRC%20J%20Zdniak%20Presentation.
    pdf.
  672
      Id.
  673
      Letter from Howard Willard III, Altria to Senator Durbin, et. al. (Oct. 14, 2019).
  674
      Alex Lardieri, FDA Considers Ban on E-Cigarette Flavors Amid ‘Epidemic’ Use By Teens, U.S.
    News & World Report (Sept. 12, 2018), https://www.usnews.com/news/health-care-
    news/articles/2018-09-12/fda-considers-ban-on-e-cigarette-flavors-amid-epidemic-use-by-teens.

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  would remain available to youths for many months, furthering their efforts to maintain and expand the

  number of nicotine-addicted e-cigarette users in order to ensure a steady and growing customer base.

         543.    The deceptive scheme worked—the FDA did not protest JLI and Altria’s plan. And on

  December 20, 2018, one month after JLI announced its Action Plan to keep selling mint, Altria made a

  $12.8 billion equity investment in JLI.

         544.    By February of 2019, the FDA became aware that it had been deceived by JLI and

  Altria. On February 6, 2019, then-FDA commissioner Gottlieb wrote JLI and Altria demanding in-

  person meetings, excoriating Altria for its “newly announced plans with JUUL [that] contradict the

  commitments you made to the FDA” in a prior meeting and Willard’s October 25, 2018 letter to the

  FDA.675 Gottlieb’s letter to JLI alleged that JLI’s conduct was “inconsistent with its previous

  representations to the FDA.”676

         545.    The FDA demanded Altria be prepared to explain itself regarding its “plans to stop

  marketing e-cigarettes and to address the crisis of youth use of e-cigarettes.” Then-Commissioner

  Gottlieb told Altria that “deeply concerning data” shows that “youth use of JUUL represents a

  significant proportion of overall use of e-cigarette products by children” and despite any alleged steps

  the companies had taken to address the issue he “ha[d] no reason to believe these youth patterns of use

  are abating in the near term, and they certainly do not appear to be reversing.”

         546.    JLI and Altria met with Gottlieb in March 2019 in a meeting the then-Commissioner

  described as “difficult.”677 Gottlieb “did not come away with any evidence that public health concerns

  drove Altria’s decision to invest in JLI, and instead said it looked like a business decision. According

  to reporting by the New York Times, Gottlieb angrily criticized JLI’s lobbying of Congress and the

  White House, stating:
  675
      Letter from Scott Gottlieb, FDA to Howard Willard, Altria (Feb. 9, 2019).
  676
      Letter from Scott Gottlieb, FDA to Kevin Burns, JUUL Labs, Inc. (Feb. 9, 2019).
  677
      Kate Rooney & Angelica LaVito, Altria Shares Fall After FDA’s Gottlieb Describes ‘Difficult’
    Meeting on Juul, CNBC (Mar. 19, 2019), https://www.cnbc.com/2019/03/19/altria-shares-fall-after-
    fdas-gottlieb-describes-difficult-meeting-on-juul.html.

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         We have taken your meetings, returned your calls and I had personally met with you
         more times than I met with any other regulated company, and yet you still tried to go
         around us to the Hill and White House and undermine our public health efforts. I was
         trying to curb the illegal use by kids of your product and you are fighting me on it.678

         547.    But just a week after the “difficult” meeting with JLI and Altria, Gottlieb posted a

  statement about the FDA’s new e-cigarette policy, proposing to ban all flavors except “tobacco-, mint-

  and menthol-flavored products.”679 He cited the strong support of President Trump (whose

  administration JLI had aggressively lobbied680), and also cited “recent evidence indicat[ing] that mint-

  and menthol-flavored ENDS products are preferred more by adults than minors.”681 Just a few weeks

  later, Gottlieb resigned from his position as commissioner of the FDA.

         548.    The scheme had succeeded in saving mint JUUL pods, as well as each Defendant’s

  bottom line. JLI’s sale of mint JUUL pods rose from one third of its sales in September 2018 to

  approximately two thirds in February 2019. JLI’s 2019 revenues were estimated to be between $2.36

  billion and $3.4 billion, and mint JUUL pods accounted for approximately 75% of JLI’s total 2019

  sales. And because mint remained on the market until JLI withdrew it in November 2019 in the face of

  growing scrutiny,682 thousands, if not millions, of underage JUUL users suffered the consequences.




  678
      Julie Creswell & Sheila Kaplan, How Juul Hooked a Generation on Nicotine, N.Y. TIMES (Nov. 24,
    2019), https://www.nytimes.com/2019/11/23/health/juul-vaping-crisis.html.
  679
      News Release, Statement from FDA Commissioner Scott Gottlieb, M.D., on advancing new policies
    aimed at preventing youth access to, and appeal of, flavored tobacco products, including e-cigarettes
    and     cigars,    U.S.   FDA     (Mar.     13,   2019),     https://www.fda.gov/news-events/press-
    announcements/statement-fda-commissioner-scott-gottlieb-md-advancing-new-policies-aimed-
    preventing-youth-access.
  680
       Evan Sully & Ben Brody, JLI Spent Record $1.2 Million Lobbying as Regulators Stepped Up,
    BLOOMBERG (Oct. 22, 2019) https://www.bloomberg.com/news/articles/2019-10-22/juul-spent-
    record-1-2-million-lobbying-as-regulators-stepped-up.
  681
      Id.
  682
      Ellen Huet, JLI Pulls Mint-Flavor Vaping Products, but Menthol Remains, Bloomberg (Nov. 7,
    2019),        https://www.bloomberg.com/news/articles/2019-11-07/juul-stops-selling-mint-flavored-
    vaping-products.

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         549.     As former New York City Mayor Mike Bloomberg stated: “JUUL’s decision to keep

  mint- and menthol-flavored e-cigarettes on the shelves is a page right out of the tobacco industry’s

  playbook.”683

         550.     JLI continues to sell menthol-flavored products.684

         3.       In Response to the Public Health Crisis Created by JUUL, the FDA Belatedly
                  Tried to Slow the Epidemic.

         551.     In 2017, the FDA announced that it would be taking steps to regulate e-cigarette devices

  such as JUUL. In late 2017, the FDA initiated its investigation of e-cigarette companies’ advertising

  and sales practices. But, as noted above, the FDA’s 2017 Compliance Policy issued a four-year

  extension for compliance with the 2016 deeming rule, apparently to “balance between regulation and

  encouraging development of innovative tobacco products that may be less harmful than cigarettes.”685

  In March 2018, the 2017 Compliance Policy was challenged by the American Academy of Pediatrics,

  along with other public health organizations concerned that a compliance extension for the e-cigarette

  industry would allow more e-cigarette products into the market and continue to addict thousands of

  youth.686

         552.     In March 2019, the FDA drafted guidance that modified the 2017 Compliance Policy,

  but it did not go into full effect. However, on May 15, 2019, the lawsuit filed by the American

  Academy of Pediatrics was successful—the U.S. District Court for the District of Maryland vacated

  the 2017 Compliance Policy, and directed the FDA to “require that premarket authorization




  683
      Id.
  684
      Sheila Kaplan, Juul Halts Sales of Mint, Its Top-Selling e-Cigarette Flavor, N.Y. Times (Nov. 7,
    2019), https://www.nytimes.com/2019/11/07/health/vaping-juul-mint-flavors.html.
  685
       Enforcement Priorities for Electronic Nicotine Delivery Systems (ENDS) and Other Deemed
    Products on the Market Without Premarket Authorization, U.S. FDA (Jan. 2020),
    https://www.fda.gov/media/133880/download.
  686
      Id.

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  applications for all new deemed products” (“new” referred to any product launched after February 15,

  2007 and thus would include JUUL) be submitted within ten months, by May 2020.687

         553.    In January 2020, the FDA issued: Enforcement Priorities for Electronic Nicotine

  Delivery Systems (ENDS) and Other Deemed Products on the Market Without Premarket

  Authorization: Guidance for Industry (“2020 FDA Guidance”), directed at the e-cigarette industry,

  which detailed the FDA’s plan to prioritize enforcement of regulations prohibiting the sale of flavored

  e-cigarette products and prohibiting the targeting of youth and minors.688 The 2020 FDA Guidance

  focused on flavored e-cigarettes that appeal to children, including fruit and mint: “[C]ompanies that do

  not cease manufacture, distribution and sale of unauthorized flavored cartridge-based e-

  cigarettes . . . within 30 days risk FDA enforcement actions.”689

         4.      The Government’s Efforts to Address the JUUL Crisis Were Too Late and the
                 Damage Has Already Been Done.

         554.    By the time the FDA acted, youth consumption of e-cigarettes had already reached an

  all-time high, and the e-cigarette industry’s presence on social media became an unstoppable force.

  The 2020 FDA Guidance acknowledges that two of the largest 2019 surveys of youth cigarette use

  found that e-cigarette use had reached the highest levels ever recorded.690 By December 2019, there

  were over 2,500 reported cases of e-cigarette related hospitalization for lung injury, including over

  fifty confirmed deaths.691 Despite the FDA’s efforts between 2017 and 2019, youth consumption of e-




  687
      Id.; Am. Academy of Pediatrics v. FDA, 379 F. Supp. 3d 461, 496 (D. Md. 2019).
  688
      Id.
  689
      News Release, FDA Finalizes Enforcement Policy on Unauthorized Flavored Cartridge-Based E-
    Cigarettes That Appeal to Children, Including Fruit and Mint, U.S. FDA (Jan. 2, 2020),
    https://www.fda.gov/news-events/press-announcements/fda-finalizes-enforcement-policy-
    unauthorized-flavored-cartridge-based-e-cigarettes-appeal-children.
  690
       Enforcement Priorities for Electronic Nicotine Delivery Systems (ENDS) and Other Deemed
    Products on the Market Without Premarket Authorization, U.S. FDA (Jan. 2020),
    https://www.fda.gov/media/133880/download.
  691
      Karen A. Cullen et al., E-cigarette Use Among Youth in the United States, 2019, 322 JAMA 2095
    (2019) , https://jamanetwork.com/journals/jama/fullarticle/2755265.

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  cigarettes doubled among middle and high school students over the same period.692 In 2019, the total

  number of middle and high school students reporting current use of e-cigarettes surpassed five million

  for the first time in history.693

          555.    JLI’s presence on social media has also persisted, even without further initiation by

  JLI—the hallmark of a successful viral marketing campaign. When the “#juul” hashtag was first used

  on social media, it was a series of thirteen tweets on Twitter. By the time JLI announced it would shut

  down its Instagram account, “#juul” had been featured in over 250,000 posts on Instagram. A study by

  Stanford University found that in the eight months after JLI ceased all promotional postings,

  community posting accelerated, to nearly half a million posts. Whereas before JLI exited Instagram,

  “#juul” appeared on average in 315 posts per day, that number tripled to 1084 posts per day after JLI

  shut down its Instagram account.694

          556.    The FDA’s anti-e-cigarette campaign on social media was aimed at youth and middle

  and high school students. The campaign used the slogan “The Real Cost” to educate youth on social

  media platforms about the health impacts of e-cigarette consumption—the real cost of using e-

  cigarettes. A recent study from the University of California Berkeley found that since September 2018,

  when the FDA’s social media campaign began, the hashtag “#TheRealCost” was used about fifty times

  per month on Instagram. By comparison, e-cigarette related hashtags were used as many as 10,000

  times more often. Despite the FDA’s social media intervention, the number of e-cigarette related posts,

  and the median number of likes (a strong metric of viewer engagement) the posts received, increased

  three-fold and six-fold, respectively.695


  692
      Id.
  693
      Id.
  694
      Robert K. Jackler et al., Rapid Growth of JUUL Hashtags After the Company Ceased Social Media
    Promotion, Stanford Research Into the Impact of Tobacco Advertising (July 22, 2019),
    http://tobacco.stanford.edu/tobacco_main/publications/Hashtag JUUL Project_7-22-19F.pdf.
  695
      Julia Vassey, #Vape: Measuring E-cigarette Influence on Instagram With Deep Learning and Text
    Analysis,           4          Frontiers         in         Commc’n           75         (2020),
    https://www.frontiersin.org/articles/10.3389/fcomm.2019.00075/full.

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         557.    In short, by the time the FDA reacted to the epidemic created by Defendants, millions

  of youth were addicted to e-cigarettes and nicotine, and were sharing e-cigarette related posts on social

  media on their own.

                    V.     GOVERNMENT ENTITY FACTUAL ALLEGATIONS

  A.     E-cigarette Use in Schools

         558.    In addition to severe health consequences, widespread e-cigarette use, and particularly

  JUUL use, has placed severe burdens on society and schools in particular. It is not an overstatement to

  say that JUUL has changed the high school and even middle school experience of students across the

  nation. As one e-cigarette shop manager told KOMO News, “It’s the new high school thing.

  Everyone’s got the JUUL.”696

         559.    The JUUL youth addiction epidemic spread rapidly across high schools in the United

  States. JUUL surged in popularity, largely through social media networks, and created patterns of

  youth usage, illegal youth transactions, and addiction, that are consistent with the account from Reddit

  that described widespread JUUL use discussed above.

         560.    E-cigarette use has completely changed school bathrooms—now known as “the Juul

  room.”697 As one high school student explained, “it’s just a cloud.”698

         561.    As another high school student explained, “You can pull it out, you can have it

  anywhere. To smoke a cigarette you have to hit the bus stop. You want a Juul you hit the bathroom,




  696
      Juuling at School, KOMO News (2019), https://komonews.com/news/healthworks/dangerous-teen-
    trend-juuling-at-school.
  697
       Moriah Balingit, In the ‘Juul room’: E-cigarettes spawn a form of teen addiction that worries
    doctors,      parents       and      schools,      Wash.       Post     (July     26,       2019),
    https://www.washingtonpost.com/local/education/helpless-to-the-draw-of-nicotine-doctors-parents-
    and-schools-grapple-with-teens-addicted-to-e-cigarettes/2019/07/25/e1e8ac9c-830a-11e9-933d-
    7501070ee669_story.html.
  698
      Greta Jochem, Juuling in School: e-Cigarette Use Prevalent Among Local Youth, Daily Hampshire
    Gazette (Nov. 13, 2018), https://www.gazettenet.com/Juuling-in-Schools-21439655.

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  it’s easy.”699 He added that JLI “market[s] it as an alternative to cigarettes but really it’s a bunch of

  kids who have never picked up a pack and they’re starting their nicotine addiction there.”700 Students

  at another high school stated that classmates had “set off the fire alarm four times last year from vaping

  in the bathrooms [at school],” adding that it is commonplace to see students using e-cigarettes in

  school bathrooms or in the parking lot.701

           562.   An April 20, 2018 article in The Wall Street Journal described the problems parents and

  schools are facing with the meteoric rise of nicotine use by America’s youth:

           At Northern High School in Dillsburg, Pa., Principal Steve Lehman’s locked safe,
           which once contained the occasional pack of confiscated cigarettes, is now filled with
           around 40 devices that look like flash drives.

           The device is called a Juul and it is a type of e-cigarette that delivers a powerful dose of
           nicotine, derived from tobacco, in a patented salt solution that smokers say closely
           mimics the feeling of inhaling cigarettes. It has become a coveted teen status symbol
           and a growing problem in high schools and middle schools, spreading with a speed that
           has taken teachers, parents and school administrators by surprise.

                                            *       *         *
           After two decades of declining teen cigarette use, “JUULing” is exploding. The JUUL
           liquid’s 5% nicotine concentration is significantly higher than that of most other
           commercially available e-cigarettes. JUUL Labs Inc., maker of the device, says one
           liquid pod delivers nicotine comparable to that delivered by a pack of cigarettes, or 200
           puffs—important for adult smokers trying to switch to an e-cigarette. It is also part of
           what attracts teens to the product, which some experts say is potentially as addictive as
           cigarettes and has schools and parents scrambling to get a grip on the problem.702

           563.   This impact was only made worse by JLI intentionally targeting schools, as described

  above.




  699
      Alison Grande, ‘Juuling': Vaping device that looks like USB drive popular with teens, KIRO 7
    (Dec. 8, 2017), https://www.kiro7.com/news/local/juuling-vaping-device-that-looks-like-usb-drive-
    popular-with-teens/660965605/.
  700
      Id.
  701
      Manisha Jha, ‘You need to stop vaping right now’: Students and faculty react to Washington vape
    ban, The Daily, U. of Wash. (Sept. 30, 2019), http://www.dailyuw.com/news/article_960d8692-e324-
    11e9-870c-9f9d571115d6.html.
  702
      Anne Marie Chaker, Schools and Parents Fight a Juul E-Cigarette Epidemic, Wall St. J. (Apr. 4,
    2018), https://www.wsj.com/articles/schools-parents-fight-a-juul-e-cigarette-epidemic-1522677246.

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         564.    Such rampant e-cigarette use has effectively added another category to teachers’ and

  school administrators’ job descriptions; many now receive special training to respond to the various

  problems that youth e-cigarette use presents, both in and out of the classroom. A national survey of

  middle schools and high schools found that 44.4% of schools have had to implement policies to

  address JUUL use.703 Participants in the survey reported multiple barriers to enforcing these policies,

  including the discreet appearance of the product, difficulty pinpointing the vapor or scent, and the

  addictive nature of the product.

         565.    Across the United States, schools have had to divert resources and administrators have

  had to go to extreme lengths to respond to the ever-growing number of students using e-cigarettes on

  school grounds, including in restrooms. According to the Truth Initiative, more than 40% of all

  teachers and administrators reported responding to the JUUL crisis through camera surveillance near

  the school’s restroom; almost half (46%) reported camera surveillance elsewhere in the school; and

  23% reported using assigned teachers for restroom surveillance.704 Some schools have responded by

  removing bathroom doors or even shutting bathrooms down, and schools have banned flash drives to

  avoid any confusion between flash drives and JUULs. Schools have also paid thousands of dollars to

  install special monitors to detect e-cigarette use, which they say is a small price to pay compared to the

  plumbing repairs otherwise spent as a result of students flushing e-cigarette paraphernalia down toilets.

  Other school districts have sought state grant money to create new positions for tobacco prevention

  supervisors, who get phone alerts when e-cigarette smoke is detected in bathrooms.




  703
      Barbara A. Schillo, PhD et al., JUUL in School: Teacher and Administrator Awareness and
    Policies of E-Cigarettes and JUUL in U.S. Middle and High Schools, Truth Initiative Vol. 21(1)
    Health           Promotion             Practice         20-24         (Sept.        18,         2019),
    https://journals.sagepub.com/doi/full/10.1177/1524839919868222?url_ver=Z39.88-
    2003&rfr_id=ori:rid:crossref.org&rfr_dat=cr_pub%3dpubmed.
  704
      How are schools responding to JUUL and the youth e-cigarette epidemic?, Truth Initiative (Jan. 18,
    2019),       https://truthinitiative.org/research-resources/emerging-tobacco-products/how-are-schools-
    responding-juul-and-youth-e-cigarette.

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         566.    Many schools have also shifted their disciplinary policies in order to effectively address

  the youth e-cigarette epidemic. Rather than immediately suspending students for a first offense, school

  districts have created anti-e-cigarette curricula which students are required to follow in sessions held

  outside of normal school hours, including on Saturdays. Teachers prepare lessons and study materials

  for these sessions with information on the marketing and health dangers of e-cigarettes—extra work

  which requires teachers to work atypical hours early in the mornings and on weekends. Some schools

  will increase their drug testing budget to include random nicotine tests for students before they join

  extracurricular activities. Under this drug-testing protocol, first offenders will undergo drug and

  alcohol educational programming; second and third offenders with be forced to sit out from extra-

  curricular activities and attend substance abuse counseling.

         567.    A July 26, 2019 article in The Washington Post noted the measures some schools were

  taking to combat “JUULing” by students:

         Many schools are at a loss for how to deal with Juuls and other e-cigarettes. Some
         educators report increases in the number of students being suspended after they’re
         caught with e-cigarettes.

         Desperate school administrators have banned USB drives because they’re
         indistinguishable from Juuls. Others removed bathroom doors because teens were
         regularly gathering there to vape, and some have even started searching students.

         Jonathon Bryant, chief administrator of Lincoln Charter School in North Carolina,
         estimated that three-quarters of suspensions in the just-completed academic year were
         related to vaping, and some students were suspended more than once.705

         568.    JUUL’s prevalence in schools is not a coincidence; JLI actively sought to enter school

  campuses. By June 2017, JLI began developing what they claimed to be a “youth prevention

  program[.]”706 By December 2017, JLI’s venture included extensive work with schools.707


  705
      Moriah Balingit, In the ‘Juul room’: E-cigarettes spawn a form of teen addiction that worries
    doctors,       parents     and      schools,       Wash.       Post     (July     26,       2019),
    https://www.washingtonpost.com/local/education/helpless-to-the-draw-of-nicotine-doctors-parents-
    and-schools-grapple-with-teens-addicted-to-e-cigarettes/2019/07/25/e1e8ac9c-830a-11e9-933d-
    7501070ee669_story.html.
  706
      See, e.g., INREJUUL_00211242-243 at 242.

                                                     197
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          569.    As discussed above, the U.S. House Subcommittee on Economic and Consumer Policy

  (“Subcommittee”) conducted a months-long investigation of JLI, including reviewing tens of

  thousands of internal documents, and concluded that JLI “deliberately targeted children in order to

  become the nation’s largest seller of e-cigarettes.”708 The Subcommittee found that “(1) JUUL

  deployed a sophisticated program to enter schools and convey its messaging directly to teenage

  children; (2) JUUL also targeted teenagers and children, as young as eight years-old, in summer camps

  and public out-of-school programs; and (3) JUUL recruited thousands of online ‘influencers’ to market

  to teens.”709

          570.    According to the Subcommittee, JLI was willing to pay schools and organizations

  hundreds of thousands of dollars to have more direct access to kids. For example, JLI paid a Baltimore

  charter school organization $134,000 to start a summer camp to teach kids healthy lifestyles, for which

  JLI itself would provide the curriculum.710 Participants were “recruited from grades 3 through 12.”711

  JLI also offered schools $10,000 to talk to students on campus and gave the Police Activities League in

  Richmond, California, almost $90,000 to provide JLI’s own e-cigarette education program, “Moving

  On,” to teenage students suspended for using cigarettes. The Richmond Diversion Program targeted

  “youth, aged 12-17, who face suspension from school for using e-cigarettes and/or marijuana” and

  “juveniles who have committed misdemeanor (lesser category) offenses” and required students to

  “participate in the JUUL labs developed program, Moving Beyond,” for as long as ten weeks.712

          571.    Community members testified before the Subcommittee as to the content of one of

  JLI’s presentations in school. During JLI’s presentation to students, “[n]o parents or teachers were in


  707
      INREJUUL_00173409.
  708
       Memorandum, U.S. House Subcommittee on Econ. & Consumer Policy (July 25, 2019),
    https://oversight.house.gov/sites/democrats.oversight.house.gov/files/Supplemental%20Memo.pdf.
  709
      Id.
  710
       See INREJUUL_00194247-251; see also JLI-HOR-00003711-712 (invoice to JLI from The
    Freedom & Democracy Schools, Inc. for $134,000 dated June 21, 2018).
  711
      INREJUUL_0019427-251 at 428.
  712
      JLI-HOR-00002180-184 at 181-182.

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  the room, and JUUL’s messaging was that the product was ‘totally safe.’ The presenter even

  demonstrated to the kids how to use a JUUL.”713

         572.    In 2018, a representative from JLI spoke at a high school during a presentation for ninth

  graders, stating that JUUL “was much safer than cigarettes,” that the “FDA would approve it any day,”

  that JUUL was “totally safe,” that JUUL was a “safer alternative than smoking cigarettes, and it would

  be better for the kid to use,” and that the “FDA was about to come out and say it [JUUL] was 99%

  safer than cigarettes . . . and that . . . would happen very soon[.]”714 “The presenter even demonstrated

  to the kids how to use a JUUL.”715

         573.    In the FDA’s September 9, 2019 Warning Letter, which discussed this presentation to

  ninth graders, the agency noted its “concern is amplified by the epidemic rate of increase in youth use

  of ENDS products, including JUUL’s products, and evidence that ENDS products contribute to youth

  use of, and addiction to, nicotine, to which youth are especially vulnerable.”716

         574.    The FDA’s Center for Tobacco Products issued a separate letter to JUUL CEO Kevin

  Burns, requesting “documents and information from JUUL Labs, Inc. (JUUL) regarding JUUL’s

  marketing, advertising, promotional, and educational campaigns, as well as certain product

  development activity.”717 The FDA also issued a news release on September 9, 2019, in which it

  chided JUUL for its role in the youth e-cigarette epidemic, noting “[s]ome of this youth use appears to




  713
      Committee Staff, Memorandum re: Supplemental Memo for Hearing on “Examining JUUL’s Role
    in the Youth Nicotine Epidemic: Parts 1 & II (“Supplemental Memo for Hearing”) at 1,
    Subcommittee         on       Econ.       &      Consumer      Policy      (July     25,    2019),
    https://oversight.house.gov/sites/democrats.oversight.house.gov/files/Supplemental%20Memo.pdf.
  714
      Juul Labs, Inc. Warning Letter, FDA (Sept. 9, 2019), https://www.fda.gov/inspections-compliance-
    enforcement-and-criminal-investigations/warning-letters/juul-labs-inc-590950-09092019.
  715
      Subcommittee on Economic and Consumer Policy Memo (July 25, 2019).
  716
      Id.
  717
      Letter from Mitchell Zeller, Director, Center for Tobacco Products, to Kevin Burns, CEO of JUUL
    Labs, Inc. at 1 (Sept. 9, 2019), https://www.fda.gov/media/130859/download.

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  have been a direct result of JUUL’s product design and promotional activities and outreach efforts,”

  in particular, its outreach efforts to students.718

          575.    The Center for Tobacco Products letter requested documents and explanations on

  multiple topics, including, but not limited to:

          Ms. Meredith Berkman, Co-founder, Parents Against Vaping e-cigarettes (PAVe),
          testified that, “In California, a retired school superintendent was offering schools in his
          state and in Massachusetts money if they would implement the anti-JUUL curriculum
          that…a man named Bruce Harder was offering on JUUL’s behalf.”

                                                  *      *      *
          On July 25, 2019, in response to questions from Chairman Krishnamoorthi about
          JUUL’s program to pay schools $10,000 or more to use a JUUL “youth prevention”
          curriculum, Ms. Ashley Gould, Chief Administrative Officer, JUUL Labs, Inc.,
          testified: “That is not currently the case. We ended that program in the fall of 2018,”
          and that, “…there were six schools that received funding from JUUL to implement
          programming to prevent teen vaping….”

          In addition, in response to questions from Chairman Krishnamoorthi about internal
          JUUL correspondence in 2018 about setting up a booth at a school health fair, Ms.
          Gould testified that JUUL ended its youth prevention program.719

          576.    JLI also sponsored a “Saturday School Program” in which students caught using e-

  cigarettes in school were presented with JLI-sponsored curriculum and snacks, and JLI “established the

  right to collect student information from the sessions.”720 A JLI spokesman said the company is no

  longer funding such programs.

          577.    As mentioned above, the problems with JLI’s youth prevention programs were

  widespread. According to outside analyses, “the JUUL Curriculum is not portraying the harmful

  718
      FDA warns JUUL Labs for marketing unauthorized modified risk tobacco products, including in
    outreach to youth, FDA (Sept. 9, 2019), https://www.fda.gov/news-events/press-announcements/fda-
    warns-juul-labs-marketing-unauthorized-modified-risk-tobacco-products-including-outreach-youth
    (emphasis added)Letter from Center for Tobacco Products, to Kevin Burns, CEO of JUUL Labs, Inc.
    (Sept. 9, 2019), https://www.fda.gov/media/130859/download.
  719
      Letter from Mitchell Zeller, Director, Center for Tobacco Products, to Kevin Burns, CEO of JUUL
    Labs, Inc. at 2 (Sept. 9, 2019), https://www.fda.gov/media/130859/download.
  720
      Committee Staff, Memorandum re: Supplemental Memo for Hearing on “Examining JUUL’s Role
    in the Youth Nicotine Epidemic: Parts 1 & II (“Supplemental Memo for Hearing”) at 2,
    Subcommittee         on       Econ.       &      Consumer      Policy      (July     25,    2019),
    https://oversight.house.gov/sites/democrats.oversight.house.gov/files/Supplemental%20Memo.pdf.

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  details of their product, similar to how past tobacco industry curricula left out details of the health risks

  of cigarette use.”721 Although it is well-known that teaching children to deconstruct ads is one of the

  most effective prevention techniques, JLI programs entirely omitted this skill, and JLI’s curriculum

  barely mentioned JUUL products as among the potentially harmful products to avoid.722 As one expert

  pointed out, “we know, more from anecdotal research, that [teens] may consider [JUULs] to be a

  vaping device, but they don’t call it that. So when you say to a young person, ‘Vapes or e-cigarettes are

  harmful,’ they say, ‘Oh I know, but I’m using a JUUL.’”723

         578.    Internal emails confirm both that JLI employees knew about the similarities of JLI’s

  “youth prevention program” to the earlier pretextual antismoking campaigns by the cigarette industry

  and that JLI management at the highest levels was personally involved in these efforts. In April 2018,

  Julie Henderson, the Youth Prevention Director, emailed school officials about “the optics of us

  attending a student health fair” because of “how much our efforts seem to duplicate those of big

  tobacco (Philip Morris attended fairs and carnivals where they distributed various branded items under

  the guise of ‘youth prevention’).”724 She later wrote that she would “confirm our participation w[ith]

  Ashley & Kevin”725—an apparent reference to Kevin Burns, at the time the CEO of JLI, who would

  later personally approve JLI’s involvement in school programs. In May 2018, Henderson spoke with

  former members of Philip Morris’s “youth education” team,726 and Ashley Gould received and

  forwarded what was described as “the paper that ended the Think Don’t Smoke campaign undertaken




  721
      Victoria Albert, Juul Prevention Program Didn't School Kids on Dangers, Expert Says: SMOKE
    AND MIRRORS. JUUL—which made up 68 percent of the e-cigarette market as of mid-June—seems
    to have taken a page from the playbook of Big Tobacco, The Daily Beast (Oct. 19, 2018),
    https://www.thedailybeast.com/juul-prevention-program-didnt-school-kids-on-dangers-expert-says.
  722
      Id.
  723
      Id.
  724
      INREJUUL_00197607-608 at 608.
  725
      Id. at 607.
  726
      INREJUUL_00196624-625.

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  by Philip Morris.”727 The paper concluded that “the Philip Morris’s [‘youth prevention’] campaign had

  a counterproductive influence.”728

          579.     The Management Defendants were intimately involved in these “youth prevention”

  activities. For example, in April 2018, Defendants Valani and Pritzker edited a “youth prevention”

  press release, noting that they “don’t want to get these small items wrong” and that they “think it’s

  critical to get this right.”729

          580.     JLI was aware that these out-of-school programs were, in the words of Henderson,

  “eerily similar” to the tactics of the tobacco industry.730 Eventually, JLI ended this version of its youth

  prevention program, but the damage had been done: following the cigarette industry playbook, JLI had

  hooked more youth on nicotine.

          581.     As the sales of JUUL continued to mushroom, it was readily apparent, and widely

  reported, that the rapid growth in sales was due to the surging popularity of e-cigarette use among

  teenagers. By March 2018, multiple national news outlets including National Public Radio, USA

  Today, and Business Insider reported youth were using JUUL with alarming frequency, posting about

  using JUUL in school restrooms on social media, and bragging about being able to use the device in

  the classroom due to JUUL’s discreet design.

          582.     One of the priorities for JLI, Altria, and the Management Defendants was therefore to

  control the messaging and narrative around youth e-cigarette use. Faced with an urgent, growing public

  health crisis, national media attention, and the ire of the public, the FDA and members of Congress, the

  Defendants realized that dis-information campaign was urgently needed to protect its bottom line. This

  campaign was the “Make the Switch” campaign discussed above.


  727
      INREJUUL_00265202.
  728
      Matthew C. Farrelly et al., Getting to the Truth: Evaluating National Tobacco Countermarketing
    Campaigns,         92         Am.          J.       Public        Health       901       (2002),
    https://www.industrydocuments.ucsf.edu/tobacco/docs/#id=nxhb0024.
  729
      JLI00151300.
  730
      INREJUUL_00194646.

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         583.    The “Make the Switch” campaign was a cover-up, and its goal was to convince the

  public, including schools and public health departments, that JUUL had never marketed to youth and

  was instead intended to be a smoking cessation device. This campaign was false. As mentioned above,

  one of JLI’s engineers admitted, “we’re not trying to design a cessation product at all . . . anything

  about health is not on our mind.”731 And as described elsewhere herein, JLI and the Management

  Defendants directly targeted underage nonsmokers. Indeed, JLI did not mention the term “adult” or

  “adult smoker” on its Twitter feed until July 5, 2017. JLI, the Management Defendants, and Altria

  were all well aware that such users made up a significant percentage of JLI’s customer base in 2018—

  in fact, they counted on this customer base to grow and preserve JUUL’s market share—and that the

  statements they disseminated regarding “Make the Switch” from smoking being JLI’s mission from the

  start were fraudulent, to the detriment of schools and public health departments.

         584.    As JUUL sales skyrocketed in 2017 and 2018 and schools quickly became

  overwhelmed by this public health crisis, everyone from tobacco industry giants to e-cigarette start-ups

  launched their own products to take advantage of the illicit youth e-cigarette market Defendants

  created, using the key elements of JUUL’s design: flavor pods, nicotine salts, and a tech-like

  appearance.

         585.    The cigarette industry, which already marketed e-cigarettes, launched “JUULalike”

  versions of their products in 2018, in flavors such as Mango Apricot and Green Apple, and with

  nicotine salt formulations and higher nicotine content than their earlier e-cigarettes.732



  731
        Kevin Roose, Juul’s Convenient Smoke Screen, N.Y. Times (Jan. 11, 2019),
    https://www.nytimes.com/2019/01/11/technology/juul-cigarettes-marketing.html.
  732
      Rachel Becker, Juul’s Nicotine Salts Are Dominating the Market – And Other Companies Want In,
    The Verge (Nov. 21, 2018), https://www.theverge.com/2018/11/21/18105969/juul-vaping-nicotine-
    salts-electronic-cigarettes-myblu-vuse-markten; blu Launches myblu E-Vapor Device, CStore
    Decisions (Feb. 21, 2018), https://cstoredecisions.com/2018/02/21/blu-launches-myblu-e-vapor-
    device/; Angelica LaVito, Juul’s momentum slips as NJOY woos customers with dollar e-cigarettes,
    CNBC (Aug. 20, 2019), https://www.cnbc.com/2019/08/20/juuls-momentum-slips-as-njoy-woos-
    customers-with-dollar-e-cigarettes.html.

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         586.    The launch of “JUULalike” products concerned Vince Willmore, Vice President of

  Communications for the Campaign for Tobacco-Free Kids. According to Willmore, “Juul is our

  biggest concern right as it is being widely used by kids across the country . . . [b]ut we are also

  concerned that the introduction of a growing number of Juul-like products could make the problem

  even worse.”733 Willmore was not the only one worried. Then FDA Commissioner Gottlieb expressed

  concern about products copying JUUL’s features, stating that such products “closely resemble a USB

  flash drive, have high levels of nicotine and emissions that are hard to see. These characteristics may

  facilitate youth use, by making the products more attractive to children and teens.”734

         587.    Researchers from SRITA called it “a nicotine arms race,” writing that “JUUL’s success

  in the e-cigarette marketplace has spurred a variety of new pod-based products with exceptionally high

  nicotine.”735 “As of September 2018,” the researchers wrote, “there were at least 39 JUUL knock off

  devices on the market”—none of which were sold prior to the introduction of JUUL.736

         588.    The rapid proliferation of e-cigarette products in JUUL’s wake and the speed with

  which the e-cigarette market evolves make it difficult to enact effective legislative and regulatory

  measures.

         589.    The Secretary of HHS recognized, “The United States has never seen an epidemic of

  substance use arise as quickly as our current epidemic of youth use of e-cigarettes.”737 FDA


  733
      Ben Tobin, FDA targets e-cigarettes like Juul as teachers fear ‘epidemic’ use by students, USA
    Today (Aug. 16, 2018), https://www.usatoday.com/story/money/2018/08/16/juul-labs-back-school-
    teachers-e-cigarettes/917531002/.
  734
       Scott Gottlieb, Statement from FDA Commissioner Scott Gottlieb, M.D., on new enforcement
    actions and a Youth Tobacco Prevention Plan to stop youth use of, and access to, JUUL and other e-
    cigarettes, FDA (Apr. 23, 2018), https://www.fda.gov/news-events/press-announcements/statement-
    fda-commissioner-scott-gottlieb-md-new-enforcement-actions-and-youth-tobacco-
    prevention?utm_campaign=04242018_Statement_Youth%20Tobacco%20Prevention&utm_medium
    =email&utm_source=Eloqua.
  735
      Robert K. Jackler & Divya Ramamurthi, Nicotine arms race: JUUL and the high-nicotine product
    market. 28 Tobacco Control 623-28 (2019), https://tobaccocontrol.bmj.com/content/28/6/623.
  736
      Id.
  737
       U.S. Food & Drug Administration, FDA finalizes enforcement policy on unauthorized flavored
    cartridge-based e-cigarettes that appeal to children, including fruit and mint (“FDA News Release”),

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  Commissioner Stephen Hahn, M.D. added, “As we work to combat the troubling epidemic of youth e-

  cigarette use, the enforcement policy we’re issuing today confirms our commitment to dramatically

  limit children’s access to certain flavored e-cigarette products we know are so appealing to them—so-

  called cartridge-based products that are both easy to use and easily concealable.”738

          590.    Enterprising companies recognized loopholes in a policy aimed only at cartridge-based

  products and the opportunity to fill the demand for fruit-flavored nicotine created by JLI. Disposable e-

  cigarettes have become increasingly popular with youth due to the youth e-cigarette market Defendant

  JLI created. The use of disposable e-cigarettes is now “rampant” in schools, further intensifying this

  public health crisis.739

          591.    For every company inspired by JLI to sell candy-flavored e-cigarette products that exits

  the market, more materialize to take its place, driven by the knowledge that there is a large market of

  nicotine-addicted youth eager for their products, a market created by JLI.

          592.    The rise in disposable products demonstrates why additional measures are necessary to

  halt the spread of youth e-cigarette use.740

          593.    Recent news reports have noted that the vaping epidemic has compounded the COVID-

  19 pandemic. Since the start of the COVID-19 pandemic, experts have warned that the coronavirus —

  a respiratory pathogen — most likely capitalizes on the scarred lungs of smokers and vapers.741

          594.    The New York Times recently quoted a pulmonologist, who stated, “I have no doubt in

  saying that smoking and vaping could put people at increased risk of poor outcomes from Covid-19,”


    FDA (Jan. 2, 2020), https://www.fda.gov/news-events/press-announcements/fda-finalizes-
    enforcement-policy-unauthorized-flavored-cartridge-based-e-cigarettes-appeal-children.
  738
      Id.
  739
      Sheila Kaplan, Teens Find a Big Loophole in the New Flavored Vaping Ban, N.Y. Times (Jan. 31,
    2020), https://www.nytimes.com/2020/01/31/health/vaping-flavors-disposable.html.
  740
      Press Release: Raising the Tobacco Age to 21 Won’t Stop the Youth E-Cigarette Epidemic and Is
    Not a Substitute for Eliminating the Flavored Products that Lure Kids, Tobacco Free Kids (Dec. 16,
    2019), https://www.tobaccofreekids.org/press-releases/2019_12_16_tobacco21_flavor.
  741
      https://www.nytimes.com/2020/09/04/health/covid-vaping-
    smoking.html?action=click&module=Top%20Stories&pgtype=Homepage

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  said Dr. Stephanie Lovinsky-Desir, a pediatric pulmonologist at Columbia University. “It is quite clear

  that smoking and vaping are bad for the lungs, and the predominant symptoms of Covid are

  respiratory. Those two things are going to be bad in combination.”742

         595.      A team of researchers recently reported that young adults who vape are five times more

  likely to receive a coronavirus diagnosis.743

         596.      The recent reports noted that “accumulating evidence suggests that the coronavirus can

  wreak havoc on blood vessels, seeding clots that suffocate and warp tissues, including the lungs —

  most likely making any smoking or vaping after Covid even more dangerous than before.”744

  B.     Impact of the Youth E-Cigarette Crisis on Plaintiff Boulder Valley School District

         597.      Plaintiff Boulder Valley School District is the eighth largest school district in Colorado,

  and includes 56 schools serving over 31,000 students.

         598.      Plaintiff has been hit hard by the youth e-cigarette epidemic. According to the 2017

  Colorado Health Survey, nearly 40% of high school students in the district have used a vape or e-

  cigarette device.745 More than 65 % (sixty-five percent) of students feel it would be easy or very easy

  to get vaping products if they wanted.746 More than 40 percent of BVSD high school students said

  that they would definitely or probably use a device in the year following the 2017 Survey.747

         599.      BVSD has also seen growth of the epidemic in middle schools and even elementary

  schools, leaving BVSD to have to implement new awareness programs and disciplinary programs in

  those schools.




  742
      Id.
  743
      Id.
  744
      Id.
  745
      2017 Healthy Kids Colorado Survey Results, Region 16, Table 74.
  746
      Id. at Table 77.
  747
      Id. at Table 79.

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          600.    According to Rob Anderson, Superintendent of BVSD, “the intervention and

  prevention of vaping has become a full-time job for our administrators.” In an opinion article for the

  Boulder Daily Camera, Superintendent Anderson stated, in part:

          Our school nurses and counselors are working with more and more of our youth who
          are struggling with addiction to nicotine, a biological response to using Juuls and other
          electronic cigarette devices. They say these kids can’t sit still in class, because they are
          jonesing for their next hit. Their dependency drives them to make poor decisions at
          school and at home.748

          601.   Some schools in BVSD have considered combatting the problem in part with

  technology, like e-cigarette detectors, but the district cannot afford the steep price tag.

          602.   Because of the extreme nature of the problem, BVSD has had to implement a storage

  and hazardous waste disposal program to deal with the numerous vaping devices and paraphernalia.

          603.   Students in BVSD schools have openly used e-cigarette devices in classrooms, causing

  disruption and diverting staff resources away from classroom instruction. Other students, addicted to

  nicotine, have demonstrated anxious, distracted and acting out behaviors, causing disruption and

  diverting staff resources away from classroom instruction and requiring additional time and attention

  for addicted students. These problems are consistent with the rise in youth e-cigarette use throughout

  the State of Colorado and across the country.

          604.   BVSD has had to implement complex new disciplinary programs and online courses for

  students using the devices.”

          605.   BVSD has been forced to expend additional monies and seek grants for nursing staff top

  address the growing epidemic and the aftermath that the vaping crises has brought to the school

  district.




  748
     Daily Camera Guest Opinion, July 22, 2019. “Rob Anderson: We can address the vaping epidemic
   if we work together.”

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         606.    Defendants’ conduct has created a public health crisis in Plaintiff’s schools and Plaintiff

  spent significant and unexpected levels of time and resources on addressing the pervasiveness of youth

  e-cigarette use.

         607.    Smoking combustible cigarettes in public places has become increasingly socially

  unacceptable as a result of years of sustained anti-smoking efforts by public health advocates, but due

  to Defendants’ actions and efforts to market e-cigarette use as a “safe” and “healthier” alternative to

  smoking and as a way to defy existing smoke-free regulations, e-cigarette use has become normalized

  and regarded as “cool” particularly among youth peer groups. This contributes to the false impression

  among Plaintiff’s youth that using e-cigarettes is safe. To combat these norms and perceptions,

  Plaintiff has devoted time and resources to raise awareness and educate its stakeholders and

  community members about the dangers of youth e-cigarette use.

         608.    The work that Plaintiff does to educate students and parents is particularly important,

  and necessary, as a result of the widespread misinformation about e-cigarette products. Many students

  in Plaintiff’s schools have been deceived by Defendants’ marketing and misinformation and are

  unaware of the true nature, health risks, and addictiveness of e-cigarette products. As a result of

  Defendants’ advertising campaigns, some students in Plaintiff’s schools believe that Defendants’

  products contain only flavoring, not nicotine. Additionally, both teens and their parents have been

  deceived into thinking e-cigarette use is harmless, and as a result of the low perception of harm, youth

  use e-cigarettes more frequently.

         609.    Plaintiff has had to devote and divert staff resources to conduct staff training on e-

  cigarette use. Plaintiff’s teachers and administrators have had to become educated about Defendants’

  products and their dangers. One component of the necessary education has been simply recognizing

  the devices for what they are: due to the USB-mimicking design of JUUL and its copycats, many

  teachers do not recognize the e-cigarette devices when they see them.



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         610.    Plaintiff also has dedicated time at school to address the issue of e-cigarette use, time

  that could have otherwise been devoted to other important issues facing Plaintiff’s students.

         611.    In addition to working with students, Plaintiff’s counselors, nursing staff and

  administrators also train the district’s teachers and work to educate and engage with parents in

  Plaintiff’s community. Plaintiff has had to devote and divert staff resources to deploying student,

  family and parent-teacher engagement regarding the dangers of e-cigarette products.

         612.    Plaintiff has had to devote, divert and increase staff time associated with routing

  students to social workers to develop and convene support groups and prevention programming for

  suspended students.

         613.    Plaintiff has had to expend, divert and increase resources for modifications to its health

  curriculum to address the risks and dangers posed by e-cigarette products.

         614.    Discipline and suspensions related to incidents of e-cigarette use in Plaintiff’s schools

  have increased at alarming rates and staff are required to spend increased time addressing discipline

  problems related to student e-cigarette use. Consequently, Plaintiff’s school administrators and

  teachers are having to address these issues during school hours, which interferes with curriculum and

  regular teaching time. Plaintiff has had to devote and divert staff time and resources to intervening in

  student e-cigarette activities and coordinating necessary follow-up, devoting class time to discuss

  youth e-cigarette use with students. Additionally, Plaintiff has had to devote and divert staff time and

  resources in confiscating product, taking teachers out of class to prepare witness statements, assist in

  investigations, and otherwise participate in the discipline and suspension of students.

         615.    Relatedly, because e-cigarette use in bathrooms is pervasive at Plaintiff’s schools,

  Plaintiff’s staff has had to devote staff time and resources to monitoring the bathrooms, including

  regularly walking through them both during class and between classes.

         616.    Not only have Defendants’ e-cigarette products addicted a new generation to nicotine,

  Defendants are also creating a growing hazardous waste problem in Plaintiff’s schools. Defendants’ e-

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  cigarette products contain chemicals that can be toxic or fatal if ingested in their concentrated forms,749

  as well as lithium-ion batteries,750 which cannot be safely disposed of in the normal stream of trash.

  The e-cigarette epidemic has led to significant levels of hazardous waste from these e-cigarette

  products throughout Plaintiff’s schools, either from youth improperly disposing of them by littering or

  throwing them in the trash or toilets, or because teachers and school staff must confiscate and store

  them. JLI contributed to the improper disposal of JUULpods by telling customers to throw JUULpods

  away in the “regular trash” until at least April 27, 2019.751 Due to the widespread nature of this

  problem, Plaintiff has struggled to determine how best to respond.

         617.    Plaintiff has been taking important steps to combat the youth e-cigarette crisis, but it

  cannot fully address the existing widespread use of e-cigarette products and resulting nicotine

  addiction among youth. Because of the smoothness of nicotine salts contained in Defendants’ e-

  cigarette products as well as Defendants’ discreet device designs, many youth use their e-cigarette

  devices with high frequency throughout the day—with some kids taking a puff as often as every few

  minutes. Unlike a combustible cigarette with its telltale emissions of smoke and distinct smell, the

  JUUL device and “JUULalikes” allow kids to use e-cigarettes undetected behind closed doors and
  749
       See, e.g., How do I dispose of a JUULpod?, JUUL Labs, Inc., https://support.juul.com/hc/en-
    us/articles/360023529793-How-do-I-dispose-of-a-JUULpod- (last visited Mar. 3, 2020) (“JUULpods
    should be recycled along with other e-waste.”); American Acad. of Pediatrics, Liquid Nicotine Used
    in           E-Cigarettes           Can           Kill         Children,           healthychildren.org,
    https://www.healthychildren.org/english/safety-prevention/at-home/pages/liquid-nicotine-used-in-e-
    cigarettes-can-kill-children.aspx (last visited Mar. 3, 2020).
  750
      See, e.g., JUUL Labs, Inc. (2020), https://support.juul.com/hc/en-us/articles/360023319614-What-
    kind-of-battery-is-in-the-device- (last visited Feb. 3, 2020) (“JUUL uses a lithium-ion polymer
    battery. All portable electronics containing lithium-ion batteries present rare, but potentially serious
    safety hazards.”); JUUL Labs, Inc. (2020), https://support.juul.com/hc/en-us/articles/ 360023366194-
    How-do-I-dispose-of-a-JUUL-device- (last visited Mar. 13, 2020) (“Unlike other e-cigarettes, JUUL
    isn’t disposable and should be treated as a consumer electronic device. Follow your city's local
    recommendations for disposing of a lithium-polymer rechargeable battery.”).
  751
            JUUL        Labs,      Inc.        (@JUULvapor),        Twitter      (Jul.      16,       2018),
    https://twitter.com/juulvapor/status/1018976775676792834?lang=en (“JUULpods can be thrown
    away in a regular trash receptacle”); see also JUULpod Basics, JUUL Labs, Inc (Apr. 27, 2019),
    https://web.archive.org/web/20190427023811/https://support.juul.com/home/learn/faqs/juulpod-
    basics (“How do I dispose of a JUULpod?” “JUULpods are closed systems and are not intended to be
    refilled. They can be thrown away in a regular trash can.”).

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  even behind their teachers’ backs in the classroom. Such frequent use makes it much more likely that

  nicotine addiction will develop, particularly when coupled with the high nicotine content in JUULpods

  and copycat products. Youth e-cigarette use has therefore resulted in a higher incidence of addiction

  than that caused by youth smoking of combustible cigarettes.

            618.   As the researchers conducting the national Monitoring the Future survey wrote in a

  letter to the New England Journal of Medicine in October 2019, current efforts are insufficient to

  address youth nicotine addiction from e-cigarette use:

            Current efforts by the vaping industry, government agencies, and schools have thus far
            proved insufficient to stop the rapid spread of nicotine vaping among adolescents. Of
            particular concern are the accompanying increases in the proportions of youth who are
            physically addicted to nicotine, an addiction that is very difficult to overcome once
            established. The substantial levels of daily vaping suggest the development of nicotine
            addiction. New efforts are needed to protect youth from using nicotine during
            adolescence, when the developing brain is particularly susceptible to permanent
            changes from nicotine use and when almost all nicotine addiction is established.752

            619.   The lack of available nicotine-addiction treatment options for youth presents a

  challenge to communities across the country. The lack of treatment options for students within the

  Plaintiff’s school district who are addicted to nicotine is a significant concern for Plaintiff, but such

  treatment options will be difficult to develop. The available FDA-approved tobacco cessation products

  are not intended for, and are not approved for, pediatric use. With additional resources, Plaintiff would

  support the development of additional, youth-appropriate cessation options that can meet the needs of

  its students. Plaintiff would also support the development of e-cigarette-specific cessation resources to

  address the ways in which e-cigarette cessation may differ from traditional smoking cessation.

  Development of such resources is a crucial step to combat the youth e-cigarette epidemic.

            620.   With additional resources, Plaintiff would develop and implement a district-wide

  education and outreach campaign about e-cigarette use and its dangers in order to combat Defendants’

  marketing and the social pressures the youth e-cigarette epidemic has created. Carrying out such a


  752
        Miech, supra note 4.

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  campaign effectively and countering Defendants’ extensive marketing will require significant funding

  as well as staff time. This education and outreach campaign must include developing prevention and

  education materials appropriate for middle school and even elementary school students, as the e-

  cigarette crisis continues to spread to even younger children. And critically, Plaintiff wants to establish

  more comprehensive parent education programs to broaden capacity for families to support their

  children who are struggling with e-cigarette use and addiction.

         621.    In addition, Plaintiff would conduct more traditional outreach efforts such as media

  development and targeted marketing campaigns to support Plaintiff’s prevention and education work.

  This would require significant expenditure of resources to ensure the message was spread widely

  enough to reach students and combat Defendants’ extensive marketing and misinformation. In order to

  make the message resonate with youth, Plaintiff will have to work with youth to cultivate the most

  effective message.

         622.    Funding is also needed to establish a peer mentorship and prevention program. Peer-to-

  peer messaging is crucial because it is necessary to change the social norms around e-cigarette use, just

  as previous efforts ultimately changed social norms around combustible cigarette smoking. Defendants

  have been adept at using peer-to-peer messaging to promote their addictive e-cigarette products to kids

  through the use of social media campaigns and paid influencers. Because young people are often most

  willing to listen to other young people, countering Defendants’ conduct will require training and

  supporting youth to educate their peers.

         623.    With sufficient funding, Plaintiff would also purchase e-cigarette detectors to install in

  its bathrooms and cameras for the hallways, in order to both reduce the amount of staff time devoted to

  patrolling the bathroom and ensure that students using e-cigarettes at school are identified and

  connected with resources to help them quit. Where necessary, Plaintiff also would physically modify

  the design of certain areas of its property, such as restrooms, with alternative floorplans that have been

  demonstrated to reduce the ability of students to use contraband such as e-cigarette devices.

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          624.    Fully addressing the harms to Plaintiff caused by Defendants’ conduct will require a

  comprehensive approach. Without the resources to fund measures such as those described herein,

  Plaintiff will continue to be harmed by the ongoing consequences of Defendants’ conduct.

  C.      No Federal Agency Action, Including by the FDA, Can Provide the Relief Plaintiff Seeks
          Here.

          625.    The injuries Plaintiff has suffered and will continue to suffer cannot be addressed by

  agency or regulatory action. There are no rules the FDA could make or actions the agency could take

  that would provide Plaintiff the relief it seeks in this litigation.

          626.    Even if e-cigarettes were entirely banned today or only used by adults, millions of

  youth, including Plaintiff’s students, would remain addicted to nicotine.

          627.    Regulatory action would do nothing to compensate Plaintiff for the money and

  resources it has already expended addressing the impacts of the youth e-cigarette epidemic and the

  resources it will need in the future. Only this litigation has the ability to provide Plaintiff with the relief

  it seeks.

          628.    Furthermore, the costs Plaintiff has incurred in responding to the public health crisis

  caused by youth e-cigarette and taking the actions described above are recoverable pursuant to the

  causes of actions raised by Plaintiff. Defendants’ misconduct alleged herein is not a series of isolated

  incidents, but instead the result of a sophisticated and complex marketing scheme and related cover-up

  scheme that has caused a continuing, substantial, and long-term burden on the services provided by

  Plaintiff.

                                        VI.      CAUSES OF ACTION

               COUNT ONE — VIOLATIONS OF COLORADO PUBLIC NUISANCE LAW

          629.    Plaintiff BVSD re-alleges and incorporates by reference each of the allegations

  contained in this Complaint as though fully alleged herein.

          630.    Plaintiff brings this claim under Colorado Public Nuisance law as to all Defendants.


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           631.   Under Colorado law, “[a] public nuisance is the doing or failure to do something that

  injuriously affects the safety, health, or morals of the public or works some substantial annoyance,

  inconvenience, or injury to the public.” State, Dep’t of Health v. The Mill, 887 P.2d 993, 1002 (Colo.

  1994).

           632.   Plaintiff and its students have a right to be free from conduct that endangers their health

  and safety. Yet Defendants have engaged in conduct and omissions which unreasonably and

  injuriously interfered with the public health and safety in Plaintiff’s community and facilities and

  created substantial annoyance, inconvenience, and injury to the public by their production, promotion,

  distribution, and marketing of vapor products, including, but not limited to JUUL, for use by students

  in BVSD. Defendants’ actions and omissions have substantially, unreasonably, and injuriously

  interfered with the functions and operations of BVSD and its facilities and affected the public health,

  safety, and welfare of the BVSD community.

           633.   Each Defendant has created or assisted in the creation of a condition that is injurious to

  the health and safety of Plaintiff and its students and faculty and interferes with the comfortable

  enjoyment of life and property of the entire BVSD community.

           634.   Defendants’ conduct has directly caused a severe disruption of the public health, order,

  and safety. Defendants’ conduct is ongoing and continues to produce permanent and long-lasting

  damage.

           635.   This harm to BVSD and the public is substantial, widespread, and ongoing. It outweighs

  any potential offsetting benefit of the Defendants’ wrongful conduct because Defendants’ conduct

  violates Colorado’s public policy against marketing vapor products to minors. This policy is expressed

  through Colorado then-Governor John Hickenlooper’s Executive Order B 2018 011, finding that

  “vaping products, and e-cigarettes are particularly harmful to children” and that “[e]ven as we have

  made progress discouraging cigarette use among youth, use of e-cigarettes and vaping devices among



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  youth has increased, reaching epidemic proportions that are putting the health of our children at

  risk.”753 This policy is also expressed through statutes and regulations, including but not limiting to:

                 A.      CRS § 18-13-121(1), under which it is illegal to give, sell, distribute or offer for
                         sale a nicotine product to any person under eighteen years of age;

                 B.      CRS § 44-7-103(1), under which it is illegal to sell or permit the sale of nicotine
                         products to minors;

                 C.      CRS § 18-13-121(2), under which it is illegal for people under eighteen years of
                         age to purchase nicotine products; and

                 D.      CRS § 25-14-301, under which it is illegal for people under eighteen years of
                         age to possess nicotine products.

         636.    Defendants’ conduct violated this public policy, including by:

                 A.      Actively seeking to enter school campuses, targeting children as young as eight
                         through summer camps and school programs, extensively targeting youth
                         through social media campaigns, and recruiting “influencers” to market to teens;

                 B.      Engaging in marketing tactics specifically designed to mislead children and
                         youth and to ensnare minors into nicotine addiction, including by explicitly
                         adopting tactics prohibited from Big Tobacco, with the knowledge that those
                         tactics were likely to ensnare children and youth into nicotine addiction,
                         including using billboards and outdoor advertising, sponsoring events, giving
                         free samples, paying affiliates and “influencers” to push vapor products, and by
                         selling vapor products in flavors designed to appeal to youth;

                 C.      Engaging in advertising modeled on cigarette ads and featuring youthful-
                         appearing models and designing advertising in a patently youth-oriented
                         fashion;

                 D.      Directing advertising to youth media outlets and media designed to appeal to
                         children and youth, such as Instagram and other social media channels;

                 E.      Hosting youth-focused parties across the United States, at which free samples
                         were dispensed and in which vaping was featured prominently across social
                         media;

                 F.      Formulating vapor products with flavors with the knowledge that such flavors
                         appealed to youth and with the intent that youth become addicted or dependent
                         upon vapor products; and

                 G.      Promoting and assisting the growth of the vapor product market and its
                         availability with knowledge that vapor products were being purchased and used

  753
     John W. Hickenlooper, B 2018 011, Executive Order, State of Colo. (Nov. 2, 2018),
  https://drive.google.com/file/d/1-EapnrOOLsvBxsYlkThi7-EZEyxGn3io/view.

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                         by large numbers of youth.

         637.    The health and safety of BVSD and their families, including those who use, have used,

  or will use vapor products, as well as those affected by others’ use of vapor products, are matters of

  substantial public interest and of legitimate concern to the Plaintiff, as well as to the entire BVSD

  community.

         638.    Defendants’ conduct has affected and continues to affect a substantial number of people

  within BVSD and its facilities and is likely to continue causing significant harm.

         639.    But for Defendants’ actions, vapor products, including, but not limited to JUUL, used

  by youth would not be as widespread as it is today, and the youth vaping public health crisis that

  currently exists as a result of Defendants’ conduct would have been averted.

         640.    Defendants knew or should have known that their conduct would create a public

  nuisance. Defendants knew or reasonably should have known that their statements regarding the risks

  and benefits of vaping were false and misleading, that their marketing methods were designed to

  appeal to minors, and that their false and misleading statements, marketing to minors, and active

  efforts to increase the accessibility of vapor products and grow JUUL’s market share, or the market

  share of Defendants’ products, were causing harm to you and to municipalities, schools, and counties,

  including students, faculty and families that make up BVSD.

         641.    Thus, the public nuisance caused by Defendants was reasonably foreseeable, including

  the financial and economic losses incurred by Plaintiff.

         642.    Alternatively, Defendants’ conduct was a substantial factor in bringing about the public

  nuisance even if a similar result would have occurred without it. By directly marketing to youth and

  continuing these marketing practices after it was evident that children were using JUUL products in

  large numbers and were specifically using these products in schools, JLI directly facilitated the spread

  of the youth vaping crisis and the public nuisance affecting BVSD.



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         643.    By seeking to capitalize on JLI’s success in addicting minors to nicotine and by directly

  marketing to youth and continuing these marketing practices after it was evident that children were

  using JUUL products and other similar products in large numbers and were specifically using these

  products in schools, these products directly facilitated the spread of the youth vaping crisis and the

  public nuisance affecting BVSD.

         644.    Altria, by investing billions of dollars in JLI and actively working to promote the sale

  and spread of JUUL products with the knowledge of JLI’s practice of marketing JUUL products to

  youth and its failure to control youth access to JUUL products, directly facilitated the spread of the

  youth vaping crisis and the public nuisance affecting BVSD.

         645.    Plaintiff has taken steps to address the harm caused by Defendants’ conduct, including,

  but not limited to, those listed in section V.B. above in this Complaint.

         646.    Fully abating the epidemic of youth vaping resulting from Defendants’ conduct will

  require much more than these steps.

         647.    Plaintiff therefore requests all the relief to which it is entitled, including damages in an

  amount to be determined at trial and an order providing for the abatement of the public nuisance that

  Defendants have created or assisted in the creation of, and enjoining Defendants from future conduct

  contributing to the public nuisance described above.

    COUNT TWO — VIOLATIONS OF THE RACKETEER INFLUENCED AND CORRUPT
               ORGANIZATIONS ACT (“RICO”), 18 U.S.C. § 1961(C)

         648.    Plaintiff BVSD re-alleges and incorporates by reference each of the allegations

  contained in this Complaint as though fully alleged herein.

         649.    This claim is brought by Plaintiff against Defendants JLI, Monsees, Bowen, Pritzker,

  Huh, Valani, and Altria (the “RICO Defendants”) for actual damages, treble damages, and equitable

  relief under 18 U.S.C. § 1964 for violations of 18 U.S.C. § 1961, et seq. For ease of reference,




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  Defendants JLI, Monsees, Bowen, Pritzker, Huh, and Valani are referred to below as the “Early

  Enterprise Defendants.”

         650.    At all relevant times, each RICO Defendant is and has been a “person” within the

  meaning of 18 U.S.C. § 1961(3), because they are capable of holding, and do hold, “a legal or

  beneficial interest in property.”

         651.    Plaintiff is a “person,” as that term is defined in 18 U.S.C. § 1961(3), and has standing

  to sue as they were and are injured in their business and/or property as a result of the RICO

  Defendants’ wrongful conduct described herein.

         652.    Section 1962(c) makes it “unlawful for any person employed by or associated with any

  enterprise engaged in, or the activities of which affect, interstate or foreign commerce, to conduct or

  participate, directly or indirectly, in the conduct of such enterprise’s affairs through a pattern of

  racketeering activity . . . .” 18 U.S.C. § 1962(c).

         653.    Section 1962(d) makes it unlawful for “any person to conspire to violate” Section

  1962(c), among other provisions. See 18 U.S.C. § 1962(d).

         654.    Each RICO Defendant conducted the affairs of an enterprise through a pattern of

  racketeering activity and conspired to do so, in violation of 18 U.S.C. § 1962(c) and § 1962(d).

         655.    Plaintiff demands the applicable relief set forth in the Prayer for Relief below.

  A.     Description of the Nicotine Market Expansion Enterprise

         656.    RICO defines an enterprise as “any individual, partnership, corporation, association, or

  other legal entity, and any union or group of individuals associated in fact although not a legal entity.”

  18 U.S.C. § 1961(4).

         657.    Under 18 U.S.C. § 1961(4) a RICO “enterprise” may be an association-in-fact that,

  although it has no formal legal structure, has (i) a common purpose, (ii) relationships among those

  associated with the enterprise, and (iii) longevity sufficient to pursue the enterprise’s purpose. See

  Boyle v. United States, 556 U.S. 938, 946 (2009).

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         658.    The RICO Defendants formed an association-in-fact enterprise—the Nicotine Market

  Expansion Enterprise. The Nicotine Market Expansion Enterprise exists separately from the otherwise

  legitimate business operations of JLI, Altria, or the investment companies with which Defendants

  Pritzker, Huh, and Valani are affiliated. Rather, the Enterprise is an ongoing and continuing business

  organization consisting of “persons” within the meaning of 18 U.S.C. § 1961(3) that created and

  maintained systematic links for a more nefarious common purpose: maintaining and expanding the

  number of nicotine-addicted e-cigarette users in order to ensure a steady and growing customer base,

  including by maintaining and expanding JLI’s massive, and ill-gotten, share of the e-cigarette market.

         659.    The Early Enterprise Defendants and non-defendant Veratad Technologies LLC

  (“Veratad”) formed the Nicotine Market Expansion Enterprise by at least 2015, when the Early

  Enterprise Defendants prepared to launch the JUUL e-cigarette and capture and grow a market of

  nicotine-addicted users, including youth, that would serve as customers for life.

         660.    As tobacco companies have long known, profitable growth requires a pipeline of

  “replacement smokers” or vapers. For that reason and others, Defendant Altria joined the Nicotine

  Market Expansion Enterprise in the Spring of 2017. The Early Enterprise Defendants, for their part,

  eagerly invited Altria into the fold—they needed allies and resources to further their Enterprise, and,

  despite their public statements to the contrary, sought to be a part of the tobacco industry.

         661.    When Altria joined the Nicotine Market Expansion Enterprise, it shared the Early

  Enterprise Defendants’ common purpose: maintaining and expanding the number of nicotine-addicted

  e-vapor users in order to ensure a steady and growing customer base. Among Altria’s motivations for

  pursuing this common purpose was access to JLI’s customer base that would serve as Altria’s pipeline

  of “replacement smokers” or vapers.

         662.    The Nicotine Market Expansion Enterprise involved a growing membership and

  changed its shape to fit its current needs, adding members when necessary and eliminating them when

  they became obsolete. From 2015 through 2017, the Enterprise consisted of the Early Enterprise

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  Defendants and non-defendant Veratad. In the Spring of 2017, Defendant Altria joined the Nicotine

  Market Expansion Enterprise. Non-defendant member Veratad would leave the Enterprise sometime in

  2018 when it stopped coordinating with Defendant JLI. Each Early Enterprise Defendant is liable for

  the predicate acts of the enterprise committed no later than its formation in 2015, and Defendant Altria

  is liable for the predicate acts of the enterprise committed no later than when it joined the Enterprise in

  Spring 2017.

            663.   As described above, the Early Enterprise Defendants established an ongoing

  relationship through, among other connections, Defendants’ Priztker, Huh, and Valani’s investment in

  JLI; Defendants’ Bowen, Monsees, Pritzker, Huh, and Valani’s control of the JLI Board of Directors;

  the Early Enterprise Defendants’ assumption of “final say” on all marketing for JLI products, including

  fraudulent advertising; and the Early Enterprise Defendants’ coordination on ensuring broad access to

  JLI products, including underage access, with non-defendant Enterprise member Veratad. And the

  Early Enterprise Defendants and Altria established an ongoing relationship through, among other

  connections, Altria’s equity investment in JLI, the many informal and formal agreements between

  these two Defendants and their coordinated activities in furtherance of the common purpose of the

  Nicotine Market Expansion Enterprise, and the overlap between JLI executives and leadership and

  Altria.

            664.   The RICO Defendants formed the Nicotine Market Expansion Enterprise in order to

  engage in a collaborative scheme to defraud. As described above, the Nicotine Market Expansion

  Enterprise Defendants shared and acted on a common purpose of maintaining and expanding the

  number of nicotine-addicted e-cigarette users in order to ensure a steady and growing customer base,

  including by maintaining and expanding JLI’s massive, and ill-gotten, share of the e-cigarette market.

            665.   The Nicotine Market Expansion Enterprise has been in existence for almost five years

  and continues to operate to this day. As described above, it has had sufficient longevity to pursue the

  Nicotine Market Expansion Enterprise’s common purpose.

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  B.     Conduct of the Nicotine Market Expansion Enterprise

         666.    “[T]o conduct or participate, directly or indirectly, in the conduct” of an enterprise, “one

  must participate in the operation or management of the enterprise itself.” Reves v. Ernst & Young, 507

  U.S. 170, 185 (1993).

         667.    As described above, each RICO Defendant participated in the operation or management

  of the Nicotine Market Expansion Enterprise. Illustrative but non-exhaustive examples include the

  following:

         Early Leadership

         668.    As described in Sections IV.A, IV.B, and IV.C, Defendants Bowen and Monsees were

  the visionaries behind the Enterprise and would lead it in its early days.

         Fraudulent Marketing Scheme

         669.    As described in Sections IV.E.3, IV.E.4, and IV.E.7.a, JLI, and Defendants Bowen,

  Monsees, Pritzker, Huh, and Valani (through their “final say” on all of JLI’s marketing efforts) caused

  false and misleading advertisements that omitted references to JUUL’s nicotine content and potency to

  be transmitted via the mail and wires, including the Vaporized campaign.

         Youth Access Scheme

         670.    As described in Section IV.E.9, Defendant JLI (through its employees) coordinated with

  non-defendant member Veratad on behalf of the other Early Enterprise Defendants to expand youth

  access to JUUL products.

         671.    As described in Section IV.E.9, Veratad was a key player in the Nicotine Market

  Expansion Enterprise. And while each member of the Enterprise was not involved in every scheme

  (Veratad, for example, did not transmit the advertisements or packaging containing misrepresentations

  regarding JLI’s nicotine content), each worked in furtherance of the same common purpose and was

  aware of the other members’ participation in the Enterprise. Moreover, each scheme was integral to the

  Enterprise’s success in maintaining and expanding the number of nicotine-addicted e-cigarette users in

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  order to ensure a steady and growing customer base. Veratad shared this common purpose, and its

  motivation for doing so was to maintain a lucrative client – one of several clients who relied on

  Veratad for intentionally ineffective age verification services. Veratad knew that JUUL products were

  being purchased online by youth and that youth were able to “pass” age verification, yet coordinated

  with JLI to reduce the requirements for purchasers to “pass” age verification.

         Coopting JLI’s Board of Directors

         672.      As described in Section IV.E.7.b, Defendants Pritzker, Huh, and Valani took control of

  the JLI Board of Directors in October 2015, so they could use the Board as an instrumentality to

  effectuate fraudulent schemes in furtherance of the Nicotine Market Expansion Enterprise’s common

  purpose. In doing so, leadership of the Enterprise transitioned from Bowen and Monsees to Pritzker,

  Huh, and Valani.

         Coordinating Activities of JLI and Altria

         673.      By August 2016, Defendants Pritzker, Huh, and Valani had ceded executive leadership

  at JLI to a new CEO, Tyler Goldman. Thus, when these parties started to coordinate with Altria, it was

  JLI (through its executives and employees—including Tyler Goldman and his successors) and Altria

  (through its executives and employees) that primarily directed the affairs of the Enterprise, although

  Defendants Bowen, Monsees, Pritzker, Huh, and Valani remained critical to the success of the

  Enterprise’s common purpose. Without their control of the JLI Board of Directors and prior fraudulent

  conduct, the close coordination between JLI and Altria, and Altria’s investment in JLI, would not have

  been possible.

         674.      As described in Sections IV.A and IV.F, the Early Enterprise Defendants and Altria

  began to actively coordinate their activities in 2017 and each took actions that would further the

  Enterprise’s common purpose of maintaining and expanding the number of nicotine-addicted e-

  cigarette users in order to ensure a steady and growing customer base, including by maintaining and

  expanding JLI’s massive, and ill-gotten, share of the e-cigarette market. For example, as alleged above:

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          675.    As early as 2017, the Early Enterprise Defendants and Altria shared data and strategy to

  support their common purpose, through a conduit, Avail Vapor.

          676.    By 2018, Altria was taking actions to ensure JLI’s products had access to prime shelf

  space in retail locations.

          677.    By 2018, Altria was distributing and marketing JLI’s products to its wider base of

  retailers.

          678.    In December 2018, Altria decided to cash in on its role in the Nicotine Market

  Expansion Enterprise by making a $12.8 billion equity investment in JLI, the largest equity investment

  in United States history. This investment would give Altria three seats on the JLI Board of Directors,

  and thus allow it to assert greater control over both JLI and the Nicotine Market Expansion Enterprise,

  which used the instrumentalities of JLI to effectuate many of its fraudulent schemes.

          Nicotine Content Misrepresentation Scheme

          679.    As described in Section IV.D, the Early Enterprise Defendants and Altria caused

  thousands, if not millions, of JUUL pod packages to be distributed to consumers with false and

  misleading information regarding the JUUL pods’ nicotine content. The Early Enterprise Defendants

  also caused the same false and misleading information to be distributed via JLI’s website.

          Flavor Preservation Scheme

          680.    As described in Sections IV.C.6 and IV.H.2, the RICO Defendants worked in concert to

  defraud the public and regulators in order to prevent regulation and public outrage that would have

  impeded their plan to maintain and expand the number of nicotine-addicted e-cigarette users in order to

  ensure a steady and growing customer base. Specifically, they worked to ensure the FDA allowed

  certain flavors, namely mint, to remain on the market.




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         Cover-up Scheme

         681.    The RICO Defendants were not only concerned with protecting flavors, however. In

  light of growing public scrutiny of JLI’s role in the youth e-cigarette crisis, these defendants continued

  their scheme to prevent a complete ban on JLI’s product due to regulatory action or public outcry.

         682.     As described in Sections IV.D.2 and IV.E.12, JLI maintained its website pages that

  provided false information about the addictive potential of its products and denied that JLI marketed to

  youth, and Defendants Bowen, Monsees, Pritzker, Huh, and Valani provided direct input as to the

  content of the JLI website and had “final say” over JLI’s marketing messaging.

         683.    As described in paragraphs Sections IV.D.4 and IV.E.12, JLI, and Defendants Bowen,

  Monsees, Pritzker, Huh, and Valani (through their “final say” on all of JLI’s marketing efforts) caused

  false and misleading advertising to be distributed over television and the internet in order to give the

  impression that JLI’s product was a smoking cessation device and that JLI never marketed to youth.

  Defendant Altria continued this scheme by transmitting the fraudulent “Make the Switch”

  advertisements in packs of its combustible cigarettes.

         684.    As described in Section IV.E.12, beginning in October 2018, both Altria and JLI were

  transmitting false and misleading communications to the public and the government in an attempt to

  stave off regulation and public outcry.

         685.    And no later than December 2018, Altria began providing even more services to the

  Nicotine Market Expansion Enterprise, as described in Section IV.F.3.

         686.    The pattern of racketeering activity by the RICO Defendants, described below, provides

  further support that each RICO Defendant conducted or participated in the conduct of the Nicotine

  Market Expansion Enterprise.

  C.     Pattern of Racketeering Activity

         687.    To carry out, or attempt to carry out, the objectives of the Nicotine Market Expansion

  Enterprise, the RICO Defendants, each of whom is a person associated-in-fact with the Enterprise, did

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  knowingly conduct or participate in, directly or indirectly, the affairs of the Enterprise through a

  pattern of racketeering activity within the meaning of 18 U.S.C. §§ 1961(1), 1961(5), 1962(c), and

  employed the use of the mail and wire facilities, in violation of 18 U.S.C. § 1341 (mail fraud) and 18

  U.S.C. § 1343 (wire fraud).

         688.    Specifically, the RICO Defendants have committed, conspired to commit, and/or aided

  and abetted in the commission of, at least two predicate acts of racketeering activity (i.e., violations of

  18 U.S.C. §§ 1341, 1343), within the past ten years.

         689.    The multiple acts of racketeering activity which the RICO Defendants committed, or

  aided or abetted in the commission of, were related to each other, pose a threat of continued

  racketeering activity, and therefore constitute a “pattern of racketeering activity.”

         690.    The racketeering activity was made possible by the Enterprise’s regular use of the

  facilities, services, and employees of the members of the Enterprise.

         691.    The RICO Defendants participated in the Nicotine Market Expansion Enterprise by

  using mail, telephone, and the internet to transmit mailings and wires in interstate or foreign

  commerce.

         692.    The RICO Defendants used, directed the use of, and/or caused to be used, thousands of

  interstate mail and wire communications in service of the Enterprise’s objectives through common

  misrepresentations, concealments, and material omissions.

         693.    In devising and executing the objectives of the Nicotine Market Expansion Enterprise,

  the RICO Defendants devised and knowingly carried out material schemes and/or artifices to defraud

  the public and regulators by (1) transmitting advertisements that fraudulently and deceptively omitted

  any reference to JUUL’s nicotine content or potency (or any meaningful reference, where one was

  made); (2) causing false and misleading statements regarding the nicotine content of JUUL pods to be

  posted on the JLI website; (3) causing thousands, if not millions, of JUUL pod packages containing

  false and misleading statements regarding the nicotine content of JUUL pods to be transmitted via U.S.

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  mail; (4) representing to consumers and the public-at-large that JUUL was created and designed as a

  smoking cessation device, and by misrepresenting the nicotine content and addictive potential of its

  products; (5) making fraudulent statements to the FDA to convince the FDA to allow certain flavors,

  namely mint, to remain on the market; and (6) making fraudulent statements to the public (including

  through advertising), the FDA, and Congress to stave off a total prohibition on JUUL e-cigarettes that

  was being contemplated in light of JLI’s role in the youth e-cigarette epidemic.

          694.    For the purpose of furthering the Enterprise’s common purpose of maintaining and

  expanding the number of nicotine-addicted e-cigarette users in order to ensure a steady and growing

  customer base, including by preserving and increasing JLI’s market share, even at the expense of

  exposing and addicting children to nicotine, the RICO Defendants committed these racketeering acts,

  which number in the thousands, intentionally and knowingly with the specific intent to advance the

  Enterprise’s objectives.

          695.    The RICO Defendants’ predicate acts of racketeering, 18 U.S.C. § 1961(1), include, but

  are not limited to:

                  A.       Mail Fraud: the Nicotine Market Expansion Enterprise violated 18 U.S.C. §
                           1341 by sending or receiving, or by causing to be sent and/or received,
                           fraudulent materials via U.S. mail or commercial interstate carriers for the
                           purpose of deceiving the public, regulators, and Congress; and
                  B.       Wire Fraud: the Nicotine Market Expansion Enterprise violated 18 U.S.C. §
                           1343 by transmitting and/or receiving, or by causing to be transmitted and/or
                           received, fraudulent materials by wire for the purpose of deceiving the public,
                           regulators, and Congress.

          696.    The Nicotine Market Expansion Enterprise falsely and misleadingly used the mails and

  wires in violation of 18 U.S.C. §§ 1341, 1343. Illustrative and non-exhaustive examples include the

  following:

  From                        To                          Date                          Description
  Fraudulent Statements Omitting Reference to JUUL’s Nicotine Content (see Sections IV.E.3, IV.E.4, and IV.E.7.a )




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  From                        To                          Date                          Description
  Fraudulent Statements Omitting Reference to JUUL’s Nicotine Content (see Sections IV.E.3, IV.E.4, and IV.E.7.a )
  All Early Enterprise         Public (via television,          2015                         “Vaporized” Campaign,
  Defendants                   internet, and mail)                                           and other Advertising
                                                                                             campaigns transmitted via
                                                                                             the mails and wires which
                                                                                             omitted any reference to
                                                                                             JUUL’s nicotine content.
  JLI                          Members of the public on         June 2015 to April 7, 2016   171 promotional emails
                               JLI’s email distribution list                                 were sent to members of the
                                                                                             public with no mention of
                                                                                             JUUL nicotine content. For
                                                                                             example, on July 11, 2015,
                                                                                             JLI knowingly caused an
                                                                                             email to be sent via the
                                                                                             wires in interstate
                                                                                             commerce from JUUL’s
                                                                                             email address to people
                                                                                             who had signed up from
                                                                                             JUUL emails, including
                                                                                             youth. This email
                                                                                             advertised JUUL’s
                                                                                             promotion events and said
                                                                                             “Music, Art, & JUUL.
                                                                                             What could be better? Stop
                                                                                             by and be gifted a free
                                                                                             starter kit.” This email did
                                                                                             not mention that JUUL
                                                                                             contained nicotine nor that
                                                                                             JUUL or the free starter kits
                                                                                             were only for adults.
  JLI                          Public (via internet –           June 2015 to October 6,      JLI’s Twitter feed,
                               Twitter)                         2017                         @JUULvapor, and its 2,691
                                                                                             tweets, did not contain a
                                                                                             nicotine warning. For
                                                                                             example, on August 7,
                                                                                             2015, JLI knowingly
                                                                                             caused a tweet to be posted
                                                                                             on JLI’s Twitter Feed,
                                                                                             @JUULvapor, advertising
                                                                                             the Cinespia “Movies All
                                                                                             Night Slumber Party” and
                                                                                             captioned it “Need tix for
                                                                                             @cinespia 8/15? We got
                                                                                             you. Follow us and tweet
                                                                                             #JUULallnight and our
                                                                                             faves will get a pair of tix!”
                                                                                             This tweet was delivered
                                                                                             via the wires in interstate
                                                                                             commerce to members of
                                                                                             the public, including
                                                                                             followers of JLI’s Twitter
                                                                                             Feed, which included
                                                                                             youth. This tweet did not
                                                                                             mention that JUUL
                                                                                             contained nicotine.



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  From                        To                          Date                          Description
  Fraudulent Statements Omitting Reference to JUUL’s Nicotine Content (see Sections IV.E.3, IV.E.4, and IV.E.7.a )
  JLI                          Public (via internet –       July 28, 2017                JLI knowingly caused a
                               Twitter)                                                  tweet to be posted on JLI’s
                                                                                         Twitter Feed,
                                                                                         @JUULvapor, showing an
                                                                                         image of a Mango
                                                                                         JUULpod next to mangos,
                                                                                         and captioned “#ICYMI:
                                                                                         Mango is now in Auto-
                                                                                         ship! Get the #JUULpod
                                                                                         flavor you love delivered &
                                                                                         save 15%. Sign up today.”
                                                                                         This tweet was delivered
                                                                                         via the wires in interstate
                                                                                         commerce to members of
                                                                                         the public, including
                                                                                         followers of JLI’s Twitter
                                                                                         Feed, which included
                                                                                         youth. This tweet did not
                                                                                         mention that JUUL
                                                                                         contained nicotine. On
                                                                                         information and belief, due
                                                                                         to the Early Enterprise
                                                                                         Defendant’s coordination
                                                                                         with Veratad, mango
                                                                                         JUULpods were actually
                                                                                         shipped to youth.
  JLI                          Public (via internet –       August 4, 2017               JLI knowingly caused a
                               Twitter)                                                  tweet to be posted on JLI’s
                                                                                         Twitter Feed,
                                                                                         @JUULvapor, promoting
                                                                                         Mint JUULpods with an
                                                                                         image stating “Beat The
                                                                                         August Heat with Cool
                                                                                         Mint” and “Crisp
                                                                                         peppermint flavor with a
                                                                                         pleasant aftertaste,”
                                                                                         captioned “A new month
                                                                                         means you can stock up on
                                                                                         as many as 15 #JUULpod
                                                                                         packs. Shop now.” This
                                                                                         tweet was delivered via the
                                                                                         wires in interstate
                                                                                         commerce to members of
                                                                                         the public, including
                                                                                         followers of JLI’s Twitter
                                                                                         Feed, which included
                                                                                         youth. This tweet did not
                                                                                         mention that JUUL
                                                                                         contained nicotine. On
                                                                                         information and belief, due
                                                                                         to the Early Enterprise
                                                                                         Defendant’s coordination
                                                                                         with Veratad, mint
                                                                                         JUULpods were actually
                                                                                         shipped to youth.


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  From                        To                          Date                          Description
  Fraudulent Statements Omitting Reference to JUUL’s Nicotine Content (see Sections IV.E.3, IV.E.4, and IV.E.7.a )
  JLI                          Public (via internet –       August 28, 2017              JLI knowingly caused a
                               Twitter)                                                  tweet to be posted on JLI’s
                                                                                         Twitter Feed,
                                                                                         @JUULvapor, comparing
                                                                                         JUULpods to dessert with
                                                                                         an image and stating “Do
                                                                                         you bruleé? RT if you enjoy
                                                                                         dessert without a spoon
                                                                                         with our Crème Brulee
                                                                                         #JUULpods.” This tweet
                                                                                         was delivered via the wires
                                                                                         in interstate commerce to
                                                                                         members of the public,
                                                                                         including followers of JLI’s
                                                                                         Twitter Feed, which
                                                                                         included youth. This tweet
                                                                                         did not mention that JUUL
                                                                                         contained nicotine. On
                                                                                         information and belief, due
                                                                                         to the Early Enterprise
                                                                                         Defendant’s coordination
                                                                                         with Veratad, Crème Brulee
                                                                                         JUULpods were actually
                                                                                         shipped to youth.



  From                         To                           Date                       Description
  Fraudulent Statements that the Coordination with Veratad was Designed to Reduce Youth Access (see Section
  IV.E.9)




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  From                         To                           Date                       Description
  Fraudulent Statements that the Coordination with Veratad was Designed to Reduce Youth Access (see Section
  IV.E.9)
  JLI                         Public (via internet – email    October 15, 2017          JLI knowingly caused a JLI
                              to a member of the press)                                 spokeswoman to send an
                                                                                        email to a newspaper in
                                                                                        New York, ANMY, stating
                                                                                        that JLI uses “industry-
                                                                                        leading ID match and age
                                                                                        verification technology to
                                                                                        ensure that customers” are
                                                                                        over 21 and that the
                                                                                        “information is verified
                                                                                        against multiple databases.”
                                                                                        This email was delivered
                                                                                        via the wires in interstate
                                                                                        commerce to a member of
                                                                                        the press. The Early
                                                                                        Enterprise Defendants
                                                                                        intended this statement to
                                                                                        be published to members of
                                                                                        the public and it was in fact
                                                                                        published to members of
                                                                                        the public. This statement
                                                                                        was false and fraudulent in
                                                                                        furtherance of the
                                                                                        Enterprise because the
                                                                                        Early Enterprise Defendants
                                                                                        were coordinating with
                                                                                        Veratad to ensure that their
                                                                                        age verification system did
                                                                                        not actual prevent youth
                                                                                        from purchasing JUUL.
  JLI                         Public (via Pam Tighe at        October 17, 2016          “There is an extensive age
                              CBS News)                                                 verification process in place
                                                                                        to purchase JUUL online”
                                                                                        and that JLI “work[s] with
                                                                                        Veratad Technologies, the
                                                                                        state-of-the-art, gold-
                                                                                        standard for age
                                                                                        verification. . . . Veratad
                                                                                        uses billions of records
                                                                                        from multiple trusted data
                                                                                        sources to verify the
                                                                                        information customers
                                                                                        provide and to ensure
                                                                                        customers qualify to access
                                                                                        and purchase products from
                                                                                        JUULvapor.com.” This
                                                                                        email was delivered via the
                                                                                        wires in interstate
                                                                                        commerce to a member of
                                                                                        the press. The Early
                                                                                        Enterprise Defendants
                                                                                        intended this statement to
                                                                                        be published to members of
                                                                                        the public. This statement
                                                                                        was false and fraudulent in

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  From                         To                           Date                       Description
  Fraudulent Statements that the Coordination with Veratad was Designed to Reduce Youth Access (see Section
  IV.E.9)
                                                                                        furtherance of the
                                                                                        Enterprise because the
                                                                                        Early Enterprise Defendants
                                                                                        were coordinating with
                                                                                        Veratad to ensure that their
                                                                                        age verification system did
                                                                                        not actual prevent youth
                                                                                        from purchasing JUUL.
  JLI                         Public (via internet –        June 5, 2018                JLI knowingly caused a
                              Twitter)                                                  tweet to be posted on JLI’s
                                                                                        Twitter Feed,
                                                                                        @JUULvapor, stating
                                                                                        “We’ve partnered with
                                                                                        Veratad Technologies to
                                                                                        complete a public records
                                                                                        search, only reporting back
                                                                                        whether or not you are 21
                                                                                        years of age or older.” This
                                                                                        tweet was delivered via the
                                                                                        wires in interstate
                                                                                        commerce to members of
                                                                                        the public, including
                                                                                        followers of JLI’s Twitter
                                                                                        Feed, which included
                                                                                        youth. This statement was
                                                                                        fraudulent because the
                                                                                        Early Enterprise Defendants
                                                                                        were coordinating with
                                                                                        Veratad to ensure that their
                                                                                        age verification system did
                                                                                        not actual prevent youth
                                                                                        from purchasing JUUL.
  All Early Enterprise        Public (via JLI’s website)    November 13, 2018           JLI was “Restricting
  Defendants                                                                            Flavors to Adults 21+ On
                                                                                        Our Secure Website” and
                                                                                        that JLI’s age-verification
                                                                                        system was “an already
                                                                                        industry-leading online
                                                                                        sales system that is
                                                                                        restricted to 21+ and
                                                                                        utilizes third party
                                                                                        verification.” A video
                                                                                        accompanying this message
                                                                                        stated “At JUUL labs we’re
                                                                                        committed to leading the
                                                                                        industry in online age
                                                                                        verification security to
                                                                                        ensure that our products
                                                                                        don’t end up in the hands of
                                                                                        underage users” and
                                                                                        included an image of a
                                                                                        computer with a chain
                                                                                        wrapped around it and
                                                                                        locked in place. This
                                                                                        message was posted using

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  From                         To                           Date                       Description
  Fraudulent Statements that the Coordination with Veratad was Designed to Reduce Youth Access (see Section
  IV.E.9)
                                                                                              the wires in interstate
                                                                                              commerce on JLI’s website
                                                                                              and was directed to and
                                                                                              seen by the public. These
                                                                                              statements were fraudulent
                                                                                              because the Early
                                                                                              Enterprise Defendants were
                                                                                              and had been coordinating
                                                                                              with Veratad to ensure that
                                                                                              their age verification
                                                                                              system did not actual
                                                                                              prevent youth from
                                                                                              purchasing JUUL



  From                        To                            Date                              Description
  Fraudulent Statements that JUUL is a Cessation Device (see Section IV.D.4)
  JLI                          Public (via internet –           July 5, 2017                  The @JUULvapor Twitter
                               Twitter)                                                       account published a tweet
                                                                                              stating “Here at JUUL we
                                                                                              are focused on driving
                                                                                              innovation to eliminate
                                                                                              cigarettes, with the
                                                                                              corporate goal of improving
                                                                                              the lives of the world’s one
                                                                                              billion adult smokers.”
  All Early Enterprise         Public (via internet – JLI       April 25, 2018 (or earlier)   “JUUL Labs was founded
  Defendants                   Website)                         to Present                    by former smokers, James
                                                                                              and Adam, with the goal of
                                                                                              improving the lives of the
                                                                                              world’s one billion adult
                                                                                              smokers by eliminating
                                                                                              cigarettes. We envision a
                                                                                              world where fewer adults
                                                                                              use cigarettes, and where
                                                                                              adults who smoke cigarettes
                                                                                              have the tools to reduce or
                                                                                              eliminate their consumption
                                                                                              entirely, should they so
                                                                                              desire.”
  Kevin Burns (former JLI      Public (via internet – JLI       November 13, 2018             “To paraphrase
  CEO)                         Website)                                                       Commissioner Gottlieb, we
                                                                                              want to be the offramp for
                                                                                              adult smokers to switch
                                                                                              from cigarettes, not an on-
                                                                                              ramp for America’s youth
                                                                                              to initiate on nicotine.”
  All Early Enterprise         Public (via internet – JLI       September 19, 2019            “JUUL Labs, which exists
  Defendants                   Website)                                                       to help adult smokers
                                                                                              switch off of combustible
                                                                                              cigarettes.”
  Howard Willard (Altria       Public (via internet – Altria    December 20, 2018             “We are taking significant
  CEO)                         website)                                                       action to prepare for a


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  From                        To                            Date                            Description
  Fraudulent Statements that JUUL is a Cessation Device (see Section IV.D.4)
                                                                                            future where adult smokers
                                                                                            overwhelmingly choose
                                                                                            non-combustible products
                                                                                            over cigarettes by investing
                                                                                            $12.8 billion in JUUL, a
                                                                                            world leader in switching
                                                                                            adult smokers . . . . We
                                                                                            have long said that
                                                                                            providing adult smokers
                                                                                            with superior, satisfying
                                                                                            products with the potential
                                                                                            to reduce harm is the best
                                                                                            way to achieve tobacco
                                                                                            harm reduction.”
  Howard Willard               FDA (via U.S. mail or         October 25, 2018               “We believe e-vapor
                               electronic transmission of                                   products present an
                               letter to Commissioner                                       important opportunity to
                               Gottlieb)                                                    adult smokers to switch
                                                                                            from combustible
                                                                                            cigarettes.”



  From                       To                          Date                               Description
  Fraudulent Statements Regarding Nicotine Content in JUUL pods (see Section IV.D)
  All Early Enterprise         Public (via internet – JLI    July 2, 2019 (or earlier) to   “Each 5% JUUL pod is
  Defendants                   website)                      Present                        roughly equivalent to one
                                                                                            pack of cigarettes in
                                                                                            nicotine delivery.”
  All Early Enterprise         Public (via internet – JLI    April 21, 2017                 “JUUL pod is designed to
  Defendants                   website)                                                     contain approximately
                                                                                            0.7mL with 5% nicotine by
                                                                                            weight at time of
                                                                                            manufacture which is
                                                                                            approximately equivalent to
                                                                                            1 pack of cigarettes or 200
                                                                                            puffs.”
  All RICO Defendants          Public (via U.S. mail         2015 to Present                JUUL pod packages (1)
                               distribution of JUUL pod                                     claiming a 5% nicotine
                               packaging)                                                   strength; (2) stating that a
                                                                                            JUUL pod is
                                                                                            “approximately equivalent
                                                                                            to about 1 pack of
                                                                                            cigarettes.”



  From                        To                           Date                          Description
  Fraudulent Statements to Prevent Regulation of Mint Flavor (see Sections IV.C.6 and IV.H.2)
  JLI                          FDA (via U.S. mail or         October 16, 2018 (FDA)         JLI’s Action Plan that
                               electronic transmission);                                    fraudulently characterizes
                               Public (via internet – JLI    November 12, 2018              mint as a non-flavored
                               website)                      (Public)                       tobacco and menthol
                                                                                            product, suggesting that it
                                                                                            was a product for adult


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  From                        To                           Date                          Description
  Fraudulent Statements to Prevent Regulation of Mint Flavor (see Sections IV.C.6 and IV.H.2)
                                                                                        smokers.
  Howard Willard (Altria      FDA (via U.S. mail or           October 25, 2018          Letter from H. Willard to
  CEO)                        electronic transmission of                                FDA fraudulently
                              letter to Commissioner                                    representing mint as a non-
                              Gottlieb)                                                 flavored tobacco and
                                                                                        menthol product,
                                                                                        suggesting that it was a
                                                                                        product for adult smokers.
  JLI                         FDA (via U.S. mail or           November 5, 2018          Fraudulent youth
                              electronic transmission)                                  prevalence study
                                                                                        transmitted by JLI to the
                                                                                        FDA.



  From                        To                         Date                        Description
  Fraudulent Statements to Prevent Ban on JUUL Products or Overwhelming Public Outcry (see Section IV.E.12)
  All Early Enterprise        Public (via Television)         January 2019              $10 million “Make the
  Defendants                                                                            Switch” advertising
                                                                                        campaign for the purpose of
                                                                                        deceiving the public and
                                                                                        regulators that JLI was only
                                                                                        targeting adult smokers
                                                                                        with its advertising and
                                                                                        product and that JUUL was
                                                                                        a cessation product.
  Altria                      Public (via inserts in          December 2018 - Present   “Make the Switch”
                              combustible cigarette                                     advertising campaign for
                              packs)                                                    the purpose of deceiving
                                                                                        smokers that JUUL was a
                                                                                        cessation product.
  Ashely Gould, JLI Chief     Public (via interview with      December 14, 2017         “It’s a really, really
  Administrative Officer      CNBC, later posted on                                     important issue. We don’t
                              internet)                                                 want kids using our
                                                                                        products.”
  JLI                         Public (via internet -social    March 14, 2018            “We market our products
                              media)                                                    responsibly, following strict
                                                                                        guidelines to have material
                                                                                        directly exclusively toward
                                                                                        adult smokers and never to
                                                                                        youth audiences.”
  Kevin Burns (then-CEO of    FDA (via U.S. mail or           October 16, 2018 (FDA)    JLI’s Action Plan that
  JLI)                        electronic transmission);                                 fraudulently states: “We
                              Public (via internet – JLI      November 12, 2018         don’t want anyone who
                              website)                        (Public)                  doesn’t smoke, or already
                                                                                        use nicotine, to use JUUL
                                                                                        products. We certainly
                                                                                        don’t want youth using the
                                                                                        product. It is bad for public
                                                                                        health, and it is bad for our
                                                                                        mission. JUUL Labs and
                                                                                        FDA share a common goal
                                                                                        – preventing youth from
                                                                                        initiating on nicotine. . . .
                                                                                        Our intent was never to


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  From                        To                         Date                        Description
  Fraudulent Statements to Prevent Ban on JUUL Products or Overwhelming Public Outcry (see Section IV.E.12)
                                                                                      have youth use JUUL
                                                                                      products.”

  Kevin Burns                 Public (via interview with      July 13, 2019           “First of all, I’d tell them
                              CNBC – later posted on                                  that I’m sorry that their
                              internet)                                               child’s using the product.
                                                                                      It’s not intended for them. I
                                                                                      hope there was nothing that
                                                                                      we did that made it
                                                                                      appealing to them. As a
                                                                                      parent of a 16-year-old, I’m
                                                                                      sorry for them, and I have
                                                                                      empathy for them, in terms
                                                                                      of what the challenges
                                                                                      they’re going through.”
  All Early Enterprise        Public (via internet - JLI      August 29, 2019         “We have no higher priority
  Defendants                  website)                                                than to prevent youth usage
                                                                                      of our products which is
                                                                                      why we have taken
                                                                                      aggressive, industry leading
                                                                                      actions to combat youth
                                                                                      usage.”
  James Monsees               Public (via statement to        August 27, 2019         Monsees said selling JUUL
                              New York Times – later                                  products to youth was
                              posted on internet)                                     “antithetical to the
                                                                                      company’s mission.”
  JLI                         Public (via statement to Los    September 24, 2019      “We have never marketed
                              Angeles Times – later                                   to youth and we never
                              posted on internet)                                     will.”
  JLI (via counsel)           FDA (via U.S. mail or           June 15, 2018           Letter from JLI's Counsel at
                              electronic transmission to                              Sidley Austin to Dr.
                              Dr. Matthew Holman)                                     Matthew Holman, FDA,
                                                                                      stating: “JUUL was not
                                                                                      designed for youth, nor has
                                                                                      any marketing or research
                                                                                      effort since the product’s
                                                                                      inception been targeted to
                                                                                      youth.” and “With this
                                                                                      response, the Company
                                                                                      hopes FDA comes to
                                                                                      appreciate why the product
                                                                                      was developed and how
                                                                                      JUUL has been marketed
                                                                                      — to provide a viable
                                                                                      alternative to cigarettes for
                                                                                      adult smokers.”
  James Monsees               Congress (via U.S. mail or      July 25, 2019           Written Testimony of J.
                              electronic transmission of                              Monsees provided to
                              written testimony)                                      Congress, stating “We
                                                                                      never wanted any non-
                                                                                      nicotine user, and certainly
                                                                                      nobody under the legal age
                                                                                      of purchase, to ever use JLI
                                                                                      products. . . .That is a
                                                                                      serious problem. Our


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  From                        To                         Date                        Description
  Fraudulent Statements to Prevent Ban on JUUL Products or Overwhelming Public Outcry (see Section IV.E.12)
                                                                                      company has no higher
                                                                                      priority than combatting
                                                                                      underage use.”
  Howard Willard              FDA (via U.S. mail or         October 25, 2018          “[W]e do not believe we
                              electronic transmission of                              have a current issue with
                              letter to Commissioner                                  youth access to or use of
                              Gottlieb)                                               our pod-based products, we
                                                                                      do not want to risk
                                                                                      contributing to the issue.”
  Howard Willard              Congress (via U.S. mail or    October 14, 2019          “In late 2017 and into early
                              electronic transmission of                              2018, we saw that the
                              letter to Senator Durbin)                               previously flat e-vapor
                                                                                      category had begun to grow
                                                                                      rapidly. JUUL was
                                                                                      responsible for much of the
                                                                                      category growth and had
                                                                                      quickly become a very
                                                                                      compelling product among
                                                                                      adult vapers. We decided to
                                                                                      pursue an economic interest
                                                                                      in JUUL, believing that an
                                                                                      investment would
                                                                                      significantly improve our
                                                                                      ability to bring adult
                                                                                      smokers a leading portfolio
                                                                                      of non-combustible
                                                                                      products and strengthen our
                                                                                      competitive position with
                                                                                      regards to potentially
                                                                                      reduced risk products.”
  All Early Enterprise        Public (via Pam Tighe at      October 17, 2016          “Our Marketing Efforts are
  Defendants                  CBS News)                                               Adult-targeted. . . Any
                                                                                      media is focused on 21+
                                                                                      adult smokers and we
                                                                                      always adhere to or exceed
                                                                                      all tobacco guidelines for
                                                                                      advertising in home, radio
                                                                                      and digital.”
  Kevin Burns, then-CEO of    Public (via JLI’s website)    April 25, 2018            “Our company’s mission is
  JLI                                                                                 to eliminate cigarettes and
                                                                                      help the more than one
                                                                                      billion smokers worldwide
                                                                                      switch to a better alternative
                                                                                      . . . . We are already seeing
                                                                                      success in our efforts to
                                                                                      enable adult smokers to
                                                                                      transition away from
                                                                                      cigarettes and believe our
                                                                                      products have the potential
                                                                                      over the long-term to
                                                                                      contribute meaningfully to
                                                                                      public health in the U.S.
                                                                                      and around the world. At
                                                                                      the same time, we are
                                                                                      committed to deterring


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  From                        To                         Date                        Description
  Fraudulent Statements to Prevent Ban on JUUL Products or Overwhelming Public Outcry (see Section IV.E.12)
                                                                                      young people, as well as
                                                                                      adults who do not currently
                                                                                      smoke, from using our
                                                                                      products. We cannot be
                                                                                      more emphatic on this
                                                                                      point: No young person or
                                                                                      non-nicotine user should
                                                                                      ever try JUUL.”
  Ashely Gould, JLI Chief     Public (via JLI’s website)    April 25, 2018            “Our objective is to provide
  Administrative Officer                                                              the 38 million American
                                                                                      adult smokers with
                                                                                      meaningful alternatives to
                                                                                      cigarettes while also
                                                                                      ensuring that individuals
                                                                                      who are not already
                                                                                      smokers, particularly young
                                                                                      people, are not attracted to
                                                                                      nicotine products such as
                                                                                      JUUL . . . . We want to be a
                                                                                      leader in seeking solutions,
                                                                                      and are actively engaged
                                                                                      with, and listening to,
                                                                                      community leaders,
                                                                                      educators and lawmakers
                                                                                      on how best to effectively
                                                                                      keep young people away
                                                                                      from JUUL.”
  JLI                         Public (via JLI’s website)    July 24, 2018             “We welcome the
                                                                                      opportunity to work with
                                                                                      the Massachusetts Attorney
                                                                                      General because, we too,
                                                                                      are committed to preventing
                                                                                      underage use of JUUL. We
                                                                                      utilize stringent online tools
                                                                                      to block attempts by those
                                                                                      under the age of 21 from
                                                                                      purchasing our products,
                                                                                      including unique ID match
                                                                                      and age verification
                                                                                      technology. Furthermore,
                                                                                      we have never marketed to
                                                                                      anyone underage. Like
                                                                                      many Silicon Valley
                                                                                      technology startups, our
                                                                                      growth is not the result of
                                                                                      marketing but rather a
                                                                                      superior product disrupting
                                                                                      an archaic industry. When
                                                                                      adult smokers find an
                                                                                      effective alternative to
                                                                                      cigarettes, they tell other
                                                                                      adult smokers. That’s how
                                                                                      we’ve gained 70% of the
                                                                                      market share. . . . Our
                                                                                      ecommerce platform
                                                                                      utilizes unique ID match

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  From                        To                         Date                        Description
  Fraudulent Statements to Prevent Ban on JUUL Products or Overwhelming Public Outcry (see Section IV.E.12)
                                                                                      and age verification
                                                                                      technology to make sure
                                                                                      minors are not able to
                                                                                      access and purchase our
                                                                                      products online.”
  JLI                         Public (via JLI’s website)    July 26, 2018             “We did not create JUUL to
                                                                                      undermine years of
                                                                                      effective tobacco control,
                                                                                      and we do not want to see a
                                                                                      new generation of smokers.
                                                                                      . . . We want to be part of
                                                                                      the solution to end
                                                                                      combustible smoking, not
                                                                                      part of a problem to attract
                                                                                      youth, never smokers, or
                                                                                      former smokers to nicotine
                                                                                      products. . . .We adhere to
                                                                                      strict guidelines to ensure
                                                                                      that our marketing is
                                                                                      directed towards existing
                                                                                      adult smokers.”
  Adam Bowen                  Public (via statement to      August 27, 2018           Bowen said he was aware
                              New York Times – later                                  early on of the risks e-
                              posted on internet)                                     cigarettes posed to
                                                                                      teenagers, and the company
                                                                                      had tried to make the
                                                                                      gadgets “as adult-oriented
                                                                                      as possible,” purposely
                                                                                      choosing not to use cartoon
                                                                                      characters or candy names
                                                                                      for its flavors.
  James Monsees               Public (via statement to      November 16, 2018         “Any underage consumers
                              Forbes, later published on                              using this product are
                              internet)                                               absolutely a negative for
                                                                                      our business. We don’t
                                                                                      want them. We will never
                                                                                      market to them. We never
                                                                                      have.”
  Altria                      Public (via internet)         December 20, 2018         Statement published in
                                                                                      Altria news release stating:
                                                                                      “Altria and JUUL are
                                                                                      committed to preventing
                                                                                      kids from using any
                                                                                      tobacco products. As recent
                                                                                      studies have made clear,
                                                                                      youth vaping is a serious
                                                                                      problem, which both Altria
                                                                                      and JUUL are committed to
                                                                                      solve. As JUUL previously
                                                                                      said, ‘Our intent was never
                                                                                      to have youth use JUUL
                                                                                      products.’”
  Altria                      Public (via Earnings Call)    January 31, 2019          “Through JUUL, we have
                                                                                      found a unique opportunity
                                                                                      to not only participate


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  From                        To                         Date                        Description
  Fraudulent Statements to Prevent Ban on JUUL Products or Overwhelming Public Outcry (see Section IV.E.12)
                                                                                      meaningfully in the e-vapor
                                                                                      category but to also support
                                                                                      and even accelerate
                                                                                      transition to
                                                                                      noncombustible alternative
                                                                                      products by adult smokers.”
  K.C. Crosthwaite, JLI’s     Public (via JLI’s website)    September 25, 2019         “I have long believed in a
  CEO                                                                                 future where adult smokers
                                                                                      overwhelmingly choose
                                                                                      alternative products like
                                                                                      JUUL. That has been this
                                                                                      company’s mission since it
                                                                                      was founded, and it has
                                                                                      taken great strides in that
                                                                                      direction.”
  JLI                         Public (via JLI’s website)    March 29, 2020            “JUUL was designed with
                                                                                      adult smokers in mind.”

          697.     The mail and wire transmissions described herein were made in furtherance of the

  RICO Defendants’ schemes and common course of conduct, thereby increasing or maintaining JLI’s

  market share, resulting in corresponding high profits for each RICO Defendant.

          698.     As described above, the Nicotine Market Expansion Enterprise had a scheme to defraud

  the public and regulators in order to continue selling nicotine products to youth, and to protect their

  market share, by denying that JLI marketed to youth and claiming that JUUL was actually created and

  designed as a smoking cessation device or mitigated risk product.

          699.     The RICO Defendants used these mail and wire transmissions in furtherance of this

  scheme by transmitting deliberately false and misleading statements to the public and to government

  regulators.

          700.     The RICO Defendants had a specific intent to defraud regulators and the public. For

  example, as alleged above, the members of the Nicotine Market Expansion Enterprise made repeated

  and unequivocal statements through the wires and mails that they were not marketing to children and

  that their product was designed for adult smokers. As even the evidence pre-discovery shows, this is

  not true. The authors of these fraudulent statements are high level executives at JLI and Altria and who

  would reasonably be expected to have knowledge of their company’s internal research, public

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  positions, and long-term strategies. Because these high level executives made statements inconsistent

  with the internal knowledge and practice of the corporations, it would be absurd to believe that these

  highly ranked representatives and agents of these corporations had no knowledge that their public

  statements were false and fraudulent. Similarly, the RICO Defendants caused to be transmitted through

  the wires and mails false and misleading statements regarding the nicotine content in JUUL pods

  which JLI’s own internal data, and Altria’s own pharmacokinetic studies, showed were false.

  Moreover, each of the Early Enterprise Defendants had “final say” over all marketing statements by

  JLI and thus caused such statements to be made, notwithstanding that they knew they were false for the

  reasons detailed above.

         701.    The RICO Defendants intended for the public and regulators to rely on these false

  transmissions and this scheme was therefore reasonably calculated to deceive persons of ordinary

  prudence and comprehension.

         702.    Both the public and government regulators did rely on the Nicotine Market Expansion

  Enterprise’s mail and wire fraud. For example, the regulators, including the FDA, relied on the

  Nicotine Market Expansion Enterprise’s statements that mint was not an appealing flavor for

  nonsmokers in allowing mint JUUL pods to remain on the market and relied on the Nicotine Market

  Expansion Enterprise’s statements that it did not market to youth in allowing the RICO Defendants to

  continue marketing and selling JUUL. Congress likewise relied on the Enterprise’s statements in not

  bringing legislation to recall or ban e-cigarettes, despite the calls of members of both parties to do just

  that. And the public relied on statements (or absence thereof) that were transmitted by the RICO

  Defendants regarding the nicotine content in and potency of JUUL pods in deciding to purchase JUUL

  products and relied on statements denying JLI’s past youth marketing in not creating a public outcry

  forcing these products to be removed from the market.

         703.    Many of the precise dates of the fraudulent uses of the U.S. mail and interstate wire

  facilities have been deliberately hidden and cannot be alleged without access to the RICO Defendants’

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  books and records. However, Plaintiff has described the types of predicate acts of mail and/or wire

  fraud, including the specific types of fraudulent statements upon which, through the mail and wires, the

  Nicotine Market Expansion Enterprise engaged in fraudulent activity in furtherance of its overlapping

  schemes.

         704.    These were not isolated incidents, instead, the RICO Defendants engaged in a pattern of

  racketeering activity by committing thousands of predicate acts in a five-year period in the form of

  mail and wire fraud. That each RICO Defendant participated in a variety of schemes involving

  thousands of predicate acts of mail and wire fraud establishes that such fraudulent acts are part of the

  Enterprise’s regular way of doing business. Moreover, Plaintiff expects to uncover even more

  coordinated, predicate acts of fraud as discovery in this case continues.

  D.     Plaintiff Has Been Damaged by the Nicotine Market Expansion Enterprise Defendants’
         RICO Violations

         705.    Plaintiff has been injured by the Nicotine Market Expansion Enterprise Defendants’

  conduct, and such injury would not have occurred but for the predicate acts of those defendants which

  also constitute the acts taken by the RICO Defendants in furtherance of their conspiracy pursuant to

  Section 1962(d). By working to preserve and expand the market of underage JUUL customers,

  fraudulently denying JLI’s youth-focused marketing, and deceiving regulators and the public in order

  to allow JUUL products and mint-flavored JUULpods to remain on the market, the Nicotine Market

  Expansion Enterprise caused the expansion of an illicit e-cigarette market for youth in Plaintiff’s

  schools and caused a large number of youth in Plaintiff’s schools to become addicted to nicotine, thus

  forcing Plaintiff to expend time, money, and resources to address the epidemic Defendants created

  through their conduct. Indeed, the Nicotine Market Expansion Enterprise Defendants intentionally

  sought to reach into schools and deceive public health officials in order to continue growing JLI’s

  youth customer base. The repeated fraudulent misstatements by the Nicotine Market Expansion




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  Enterprise Defendants denying that JLI marketed to youth have served to preserve JUUL’s market

  share—a market share that is based upon children purchasing JLI’s tobacco products.

         706.    Plaintiff was a direct victim of Defendants’ misconduct. The Nicotine Market

  Expansion Enterprise Defendants displayed a wanton disregard for public health and safety by

  intentionally addicting youth, including youth in Plaintiff’s schools, to nicotine and then attempting to

  cover up their scheme in order to maintain and expand JUUL’s market share. Defendants actively

  concealed that they marketed to youth in order to avoid public condemnation and to keep their

  products on the market and continue youth sales. This forced Plaintiff to shoulder the responsibility for

  this youth e-cigarette crisis created by Defendants’ misconduct. The harm from the illicit youth e-

  cigarette market created by Defendants required Plaintiff to expend its limited financial and other

  resources to mitigate the health crisis of youth e-cigarette use. The expansion of this youth e-cigarette

  market was the goal of the Nicotine Market Expansion Enterprise and is critical to its success.

  Therefore, the harm suffered by Plaintiff because it must address and mitigate the youth e-cigarette

  crisis was directly foreseeable and, in fact, an intentional result of Defendants’ misconduct.

         707.    The creation and maintenance of this youth e-cigarette market directly harms Plaintiff

  by imposing costs on its business and property. Plaintiff’s injuries were not solely the result of routine

  school district expenses. Instead, as a result of Defendants’ misconduct, Plaintiff has been and will be

  forced to go far beyond what a school district might ordinarily be expected to pay to enforce the laws

  and to promote the general welfare in order to combat the youth e-cigarette crisis. This includes

  providing new programs and new services as a direct result and in direct response to Defendants’

  misconduct. As a result of the conduct of the Nicotine Market Expansion Enterprise Defendants,

  Plaintiff has incurred and will incur costs that far exceed the norm.

         708.    There are no intervening acts or parties that could interrupt the causal chain between the

  Defendants’ mail and wire fraud and Plaintiff’s injuries. Defendants, in furtherance of the Nicotine

  Market Expansion Enterprise’s common purpose, made false and misleading statements directly to the

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  public, including Plaintiff, its employees, and its students. And in the case of fraud on third parties

  (i.e., FDA and Congress), causation is not defeated merely because the RICO Defendants deceived a

  third party into not taking action where the FDA’s and Congress’s failure to regulate directly allowed

  youth in Plaintiff’s community to purchase products that should not have been on the market and/or

  that should not have been marketed to minors.

         709.    As to predicate acts occurring prior to September 15, 2016 Plaintiff did not discover,

  and could not have been aware despite the exercise of reasonable diligence, until shortly before the

  initiation of the instant litigation that Defendants transmitted fraudulent statements via the mails and

  wires regarding the topics described above including, inter alia, the true nicotine content in and

  delivered by JUUL products, such information the Defendants concealed and failed to truthfully

  disclose.

         710.    The Nicotine Market Expansion Enterprise’s violations of 18 U.S.C. § 1962(c) have

  directly and proximately caused injuries and damages to Plaintiff and Plaintiff is entitled to bring this

  action for three times its actual damages, as well as for injunctive/equitable relief, costs, and

  reasonable attorneys’ fees and costs pursuant to 18 U.S.C. § 1964(c).

   COUNT THREE — VIOLATIONS OF THE RACKETEER INFLUENCED AND CORRUPT
               ORGANIZATIONS ACT (“RICO”), 18 U.S.C. § 1962(D)

         711.    Plaintiff incorporates by reference all preceding paragraphs.

         712.    The RICO Defendants have not undertaken the practices described herein in isolation,

  but as part of a common scheme and conspiracy. In violation of 18 U.S.C. § 1962(d), the members of

  the Nicotine Market Expansion Enterprise agreed to conspire and conspired to violate 18 U.S.C.

  § 1962(c), as described herein. The conspiracy is coterminous with the time period in which the

  Nicotine Expansion Market Enterprise has existed, beginning in 2015 and continuing to this day (with

  Defendant Altria joining the conspiracy in Spring 2017). The RICO Defendants’ agreement is

  evidenced by their predicate acts and direct participation in the control and operation of the Enterprise


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  in furtherance of a common purpose, as detailed above in relation to the RICO Defendants’ substantive

  violation of Section 1962(c). The acts in furtherance of the conspiracy attributable to the RICO

  Defendants include each of the predicate acts underlying the Nicotine Market Expansion Enterprise’s

  violation of Section 1962(c), as described above. Various other persons, firms, and corporations,

  including third-party entities and individuals not named as defendants in this Amended Complaint,

  have participated as co-conspirators with the members of the Nicotine Market Expansion Enterprise in

  these offenses and have performed acts in furtherance of the conspiracy to increase or maintain

  revenue, maintain or increase market share, and/or minimize losses for the Defendants and their named

  and unnamed co-conspirators throughout the illegal scheme and common course of conduct.

         713.    Plaintiff has been injured by the Nicotine Market Expansion Enterprise Defendants’

  conduct, and such injury would not have occurred but for the predicate acts of those defendants which

  also constitute the acts taken by the RICO Defendants in furtherance of their conspiracy pursuant to

  Section 1962(d). The combined effect of the RICO Defendants’ acts of mail and wire fraud in

  furtherance of their conspiracy, including working to preserve and expand the market of underage

  JUUL customers, fraudulently denying JLI’s youth-focused marketing, and deceiving regulators and

  the public in order to allow JUUL products and mint-flavored JUUL pods to remain on the market, was

  to cause e caused the expansion of an illicit e-cigarette market for youth in Plaintiff’s schools and

  cause a large number of youth in Plaintiff’s schools to become addicted to nicotine, thus forcing

  Plaintiff to expend time, money, and resources to address the epidemic Defendants created through

  their conduct. Indeed, the Nicotine Market Expansion Enterprise Defendants intentionally sought to

  reach into schools and deceive public health officials in order to continue growing JLI’s youth

  customer base. The repeated fraudulent misstatements by the Nicotine Market Expansion Enterprise

  Defendants denying that JLI marketed to youth have served to preserve JUUL’s market share—a

  market share that is based upon children purchasing JLI’s tobacco products. The harm to Plaintiff

  would not have occurred absent the RICO Defendants’ conspiracy to engage in a pattern of

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  racketeering activity through a RICO Enterprise, the common purpose of which was maintaining and

  expanding the number of nicotine-addicted e-cigarette users, and youth in particular, in order to ensure

  a steady and growing customer base, including by preserving and growing JLI’s ill-gotten market

  share.

           714.   Plaintiff was a direct victim of Defendants’ misconduct. The Nicotine Market

  Expansion Enterprise Defendants’ acts in furtherance of their RICO conspiracy displayed a wanton

  disregard for public health and safety by intentionally addicting youth, including youth in Plaintiff’s

  schools, to nicotine and then attempting to cover up their scheme in order to maintain and expand

  JUUL’s market share. Defendants actively concealed that they marketed to youth in order to avoid

  public condemnation and to keep their products on the market and continue youth sales. This forced

  Plaintiff to shoulder the responsibility for this youth e-cigarette crisis created by Defendants’

  misconduct. The harm from the illicit youth e-cigarette market created by Defendants required Plaintiff

  to expend its limited financial and other resources to mitigate the health crisis of youth e-cigarette. The

  expansion of this youth e-cigarette market was the goal of the Nicotine Market Expansion Enterprise

  and is critical to its success. Therefore, the harm suffered by Plaintiff because it must address and

  mitigate the youth e-cigarette crisis was directly foreseeable and, in fact, an intentional result of

  Defendants’ misconduct.

           715.   The creation and maintenance of this youth e-cigarette market, and Defendants actions

  in furtherance of their RICO conspiracy, directly harms Plaintiff by imposing costs on its business and

  property. Plaintiff’s injuries were not solely the result of routine school district expenses. Instead, as a

  result of Defendants’ misconduct, Plaintiff has been and will be forced to go far beyond what a school

  district might ordinarily be expected to pay to enforce the laws and to promote the general welfare in

  order to combat the youth e-cigarette crisis. This includes providing new programs and new services as

  a direct result and in direct response to Defendants’ misconduct. As a result of the conduct of the



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  Nicotine Market Expansion Enterprise Defendants, Plaintiff has incurred and will incur costs that far

  exceed the norm.

         716.    There are no intervening acts or parties that could interrupt the causal chain between the

  RICO Defendants’ mail and wire fraud acts in furtherance of their RICO conspiracy and Plaintiff’s

  injuries. The RICO Defendants, in furtherance of their conspiracy to form the Nicotine Market

  Expansion Enterprise and advance its common purpose, made false and misleading statements directly

  to the public, including Plaintiff, its employees, and its students. And in the case of fraud on third

  parties (i.e., FDA and Congress), causation is not defeated merely because the RICO Defendants

  deceived a third party into not taking action where the FDA’s and Congress’s failure to regulate

  directly allowed youth in Plaintiff’s community to purchase products that should not have been on the

  market and/or that should not have been marketed to minors.

         717.    As to predicate acts undertaken in furtherance of the conspiracy which occurred prior to

  September 15, 2016, Plaintiff did not discover, and could not have been aware despite the exercise of

  reasonable diligence, until shortly before the initiation of the instant litigation that the RICO

  Defendants transmitted fraudulent statements via the mails and wires regarding the topics described

  above including, inter alia, the true nicotine content in and delivered by JUUL products, such

  information the RICO Defendants concealed and failed to truthfully disclose.

         718.    The Nicotine Market Expansion Enterprise’s violations of 18 U.S.C. § 1962(d) have

  directly and proximately caused injuries and damages to Plaintiff and Plaintiff is entitled to bring this

  action for three times its actual damages, as well as for injunctive/equitable relief, costs, and

  reasonable attorneys’ fees and costs pursuant to 18 U.S.C. § 1964(c).

                                    COUNT FOUR — NEGLIGENCE

         719.    Plaintiff incorporates by reference all preceding paragraphs.




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             720.   Defendants owed Plaintiff a duty to not expose Plaintiff to an unreasonable risk of

  harm, and to act with reasonable care as a reasonably careful person and/or company would act under

  the circumstances.

             721.   At all times relevant to this litigation, Defendants had a duty to exercise reasonable care

  in the design, research, manufacture, marketing, advertisement, supply, promotion, packaging,

  sale, and distribution of      Defendants’ e-cigarette products, including the duty to take all

  reasonable steps necessary to manufacture, promote, and/or sell a product that was not

  unreasonably dangerous to consumers, users, and other persons coming into contact with the

  product.

             722.   At all times relevant to this litigation, Defendants had a duty to exercise reasonable care

  in the marketing, advertisement, and sale of their e-cigarette products. Defendants’ duty of care

  owed to consumers and the general public, including Plaintiff, included providing accurate, true,

  and correct information concerning the risks of using Defendants’ products and appropriate,

  complete, and accurate warnings concerning the potential adverse effects of e-cigarette use and

  nicotine use and, in particular, JLI’s patented nicotine salts and the chemical makeup of JUULpods

  liquids.

             723.   At all times relevant to this litigation, Defendants knew or, in the exercise of

  reasonable care, should have known of the hazards and dangers of Defendants’ products and

  specifically, the health hazards posed by using JUUL pods and other e-cigarette products and continued

  use of nicotine, particularly among adolescents.

             724.   Accordingly, at all times relevant to this litigation, Defendants knew or, in the

  exercise of reasonable care, should have known that use of Defendants’ products by students

  could cause Plaintiff’s injuries and thus created a dangerous and unreasonable risk of injury to

  Plaintiff.



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         725.    Defendants also knew or, in the exercise of reasonable care, should have known that

  users and consumers of Defendants’ products were unaware of the risks and the magnitude of the risks

  associated with the use of Defendants’ products including but not limited to the risks of continued

  nicotine use and nicotine addiction.

         726.    As such, Defendants, by action and inaction, representation and omission, breached

  their duty of reasonable care, failed to exercise ordinary care, and failed to act as a reasonably

  careful person and/or company would act under the circumstances in the design, research,

  development, manufacture, testing, marketing, supply, promotion, advertisement, packaging, sale,

  and distribution of their e-cigarette products, in that Defendants manufactured and produced

  defective products containing nicotine and other chemicals known to cause harm to consumers, knew

  or had reason to know of the defects inherent in their products, knew or had reason to know that a

  consumer’s use of the products created a significant risk of harm and unreasonably dangerous

  side effects, and failed to prevent or adequately warn of these risks and injuries.

         727.    Despite their ability and means to investigate, study, and test their products and to

  provide adequate warnings, Defendants have failed to do so. Indeed, Defendants have wrongfully

  concealed information and have made false and/or misleading statements concerning the safety

  and/or use of Defendants’ products and nicotine vaping.

         728.    Defendants’ negligence included:

                  a.      Researching, designing, manufacturing, assembling, inspecting, testing,
                          packaging, labeling, marketing, advertising, promoting, supplying, distributing,
                          and/or selling their products, without thorough and adequate pre- and post-
                          market testing;

                  b.      Failing to undertake sufficient studies and conduct necessary tests to determine
                          whether or not their products were safe for their intended use;

                  c.      Failing to use reasonable and prudent care in the design, research, manufacture,
                          formulation, and development of their products so as to avoid the risk of
                          serious harm associated with the prevalent use of e-cigarettes and nicotine
                          products;


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              d.   Designing and manufacturing their products to cause nicotine addiction,
                   including by maximizing nicotine delivery while minimizing “throat hit” or
                   “harshness”;

              e.   Failing to utilize proper materials, ingredients, additives and components in the
                   design of their products to ensure they would not deliver unsafe doses of
                   nicotine;

              f.   Designing and manufacturing their products to appeal to minors and young
                   people, including through the use of flavors and an easily concealable, tech-
                   inspired design;

              g.   Advertising, marketing, and promoting their products to minors, including
                   through the use of viral social media campaigns;

              h.   Failing to take steps to prevent their products from being sold to, distributed to,
                   or used by minors;

              i.   Failing to provide adequate instructions, guidelines, and safety precautions to
                   those persons who Defendants could reasonably foresee would use their
                   products;

              j.   Affirmatively encouraging new JUUL users through an instructional starter
                   pack insert to disregard any initial discomfort and to continue e-cigarette use by
                   instructing users to “keep trying even if the JUUL feels too harsh,” and telling
                   them, “[d]on’t give up, you’ll find your perfect puff”;

              k.   Failing to disclose to, or warn, Plaintiff, users, consumers, and the general
                   public of negative health consequences associated with exposure to nicotine
                   and other harmful and toxic ingredients contained in Defendants’ products;

              l.   Misrepresenting to Plaintiff, users, consumers, and the general public the actual
                   nicotine content of Defendants’ products;

              m.   Failing to disclose to Plaintiff, users, consumers, and the general public that
                   Defendants’ products deliver more nicotine than represented;

              n.   Misrepresenting Defendants’ products as non-addictive, less addictive, and/or
                   safer nicotine delivery systems than traditional cigarettes;

              o.   Representing that Defendants’ products were safe for their intended use when,
                   in fact, Defendants knew or should have known that the products were not safe
                   for their intended use;

              p.   Declining to make or propose any changes to the labeling or other promotional
                   materials for Defendants’ e-cigarette and nicotine products that would alert
                   consumers and the general public, including minors in Plaintiffs’ schools of the
                   true risks of using Defendants’ products;




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                   q.      Advertising, marketing, and recommending Defendants’ products while
                           concealing and failing to disclose or warn of the dangers known by Defendants
                           to be associated with, or caused by, the use of Defendants’ products;

                   r.      Continuing to disseminate information to consumers, which indicates or
                           implies that Defendants’ products are not unsafe for their intended use;

                   s.      Continuing the manufacture and sale of Defendants’ products with knowledge
                           that the products were unreasonably unsafe, addictive, and dangerous;

                   t.      Failing to recall Defendants’ products; and

                   u.      Committing other failures, acts, and omissions set forth herein.

          729.    Defendants knew and/or should have known that it was foreseeable that Plaintiff would

  suffer injuries as a result of Defendants’ failure to exercise reasonable care in the manufacturing,

  marketing, labeling, distribution, and sale of Defendants’ products, particularly when Defendants’

  products were made and marketed so as to be attractive and addictive to youth who spend many hours

  each week on Plaintiff’s property and under Plaintiff’s supervision.

          730.    Plaintiff did not know the nature and extent of the injuries that could result from the

  intended use of e-cigarette products including, but not limited to, JLI’s patented JUULpods liquids, by

  Plaintiff’s students.

          731.    Defendants’ negligence helped to and did produce, and was the proximate cause of,

  the injuries, harm, and economic losses that Plaintiff suffered, and will continue to suffer, and such

  injuries, harm and economic losses would not have happened without Defendants’ negligence as

  described herein.

          732.    E-cigarette use is one of the most disruptive behavioral situation in Plaintiff’s schools

  and Plaintiff’s injuries, harm and economic losses include, but are not limited to:

                  A.      Expending, diverting and increasing staff time to confiscate product;

                  B.      Expending, diverting and increasing staff time to communicate and engage with
                          parents;

                  C.      Expending, diverting and increasing the time that teachers must be out of class
                          to prepare witness statements and assist in investigations;


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              D.      Expending, diverting and increasing staff time associated with discipline and
                      suspension of students;

              E.      Expending, diverting and increasing staff time associated with routing students
                      to social workers to develop and convene support groups for suspended
                      students;

              F.      Expending, diverting and increasing staff time associated with routing students
                      to social workers to develop and conduct prevention programing;

              G.      Expending, diverting and increasing resources for modifications to the health
                      curriculum; and

              H.      Expending, diverting and increasing resources to make physical changes to
                      schools and/or address property damage in schools.

                             COUNT FIVE — NEGLIGENCE PER SE

       733.   Plaintiff incorporates by reference all preceding paragraphs.

       734.   Defendants violated the following statutes and regulations, including but not limited to:

              A.      Colo. Rev. Stat. Ann. § 18-13-121(1)(a), which prohibits the sale or furnishing

       of cigarettes, tobacco products, or nicotine products, to a minor;

              B.      Colo. Rev. Stat. Ann. § 18-13-121(2)(a), which prohibits minors from buying,

       possessing, or knowingly accepting cigarettes, tobacco products, or nicotine products.

       735.   Defendants’ conduct violated these state laws, including by:

              A.      Actively seeking to enter school campuses, targeting children as young as eight

       through summer camps and school programs, extensively targeting youth through social media

       campaigns, and recruiting “influencers” to market to teens;

              B.      Engaging in marketing tactics specifically designed to mislead children and

       youth and to ensnare minors into nicotine addiction, including by explicitly adopting tactics

       prohibited from Big Tobacco, with the knowledge that those tactics were likely to ensnare

       children and youth into nicotine addiction, including using billboards and outdoor advertising,

       sponsoring events, giving free samples, paying affiliates and “influencers” to push e-cigarette

       products, and by selling e-cigarette products in flavors designed to appeal to youth;

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                 C.      Engaging in advertising modeled on cigarette ads and featuring youthful-

         appearing models and designing advertising in a patently youth-oriented fashion;

                 D.      Directing advertising to youth media outlets and media designed to appeal to

         children and youth, such as Instagram and other social media channels;

                 E.      Hosting youth-focused parties across the United States, at which free samples

         were dispensed and in which e-cigarette use was featured prominently across social media;

                 F.      Formulating e-cigarette products with flavors with the knowledge that such

         flavors appealed to youth and with the intent that youth become addicted or dependent upon e-

         cigarette products;

                 G.      and Promoting and assisting the growth of the e-cigarette product market and its

         availability with knowledge that e-cigarette products were being purchased and used by large

         numbers of youth.

         736.    Defendants’ conduct described in the preceding paragraph and throughout the

  Complaint also violated the following state law:

                 A.      Colo. Rev. Stat. Ann. § 6-1-105 et seq., which prohibits deceptive or unfair acts

         or practices, fraud, misleading and/or false representations, concealment, suppression or

         omission of material facts with an intent that others rely on such concealment, suppression or

         omission, in connection with the sale or advertisement of merchandise.

         737.    Altria, by investing billions of dollars in JLI and actively working to promote the sale

  and spread of JUUL products with the knowledge of JLI’s practice of marketing JUUL products to

  youth and its failure to control youth access to JUUL products, directly facilitated the spread of the

  youth e-cigarette crisis and the above-mentioned violations of state law affecting Plaintiff.

         738.    A violation of the above-mentioned statutes constitutes negligence per se.




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         739.    As a foreseeable consequence of Defendants’ violation of the above-mentioned state

  statutes, Plaintiff suffered direct and consequential economic and other injuries as a result of dealing

  with the e-cigarette epidemic in Plaintiff’s schools.

         740.     E-cigarette use is one of the most disruptive behavioral situation in Plaintiff’s schools

  and Plaintiff’s injuries, harm and economic losses include, but are not limited to:

                 A.      Expending, diverting and increasing staff time to confiscate product;

                 B.      Expending, diverting and increasing staff time to communicate and engage with
                         parents;

                 C.      Expending, diverting and increasing the time that teachers must be out of class
                         to prepare witness statements and assist in investigations;

                 D.      Expending, diverting and increasing staff time associated with discipline and
                         suspension of students;

                 E.      Expending, diverting and increasing staff time associated with routing students
                         to social workers to develop and convene support groups for suspended
                         students;

                 F.      Expending, diverting and increasing staff time associated with routing students
                         to social workers to develop and conduct prevention programing;

                 G.      Expending, diverting and increasing resources for modifications to the health
                         curriculum; and

                 H.      Expending, diverting and increasing resources to make physical changes to
                         schools and/or address property damage in schools.

         741.    Plaintiff has taken steps to address the harm caused by Defendants’ conduct, including,

  but not limited to, those listed in Section V.B above.

         742.    Fully abating the epidemic of youth e-cigarette use resulting from Defendants’ conduct

  will require much more than these steps.

         743.    Plaintiff therefore requests all the relief to which it is entitled in its own right and

  relating to the special damage or injury it has suffered, and not in any representative or parens patriae

  capacity on behalf of students, including damages in an amount to be determined at trial and an order

  enjoining Defendants from continued violation of the above-mentioned state law.


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                                       PRAYER FOR RELIEF

        WHEREFORE, Plaintiff prays for judgment as follows:

          744. Entering an Order that Defendants are jointly and severally liable;

          745. Enjoining Defendants from engaging in further actions violating state statutes as

   described herein;

          746. Awarding equitable relief to fund prevention education and addiction treatment;

          747. Awarding actual and compensatory damages;

          748. Awarding statutory damages in the maximum amount permitted by law;

          749. Awarding reasonable attorneys’ fees and costs of suit;

          750. Awarding pre-judgment and post-judgment interest; and

          751. Such other and further relief as the Court deems just and proper under the

   circumstances.

                                     JURY TRIAL DEMANDED

        Plaintiff hereby demands a trial by jury.

        RESPECTFULLY SUBMITTED this this 15th day of September, 2020.

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